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          EXHIBIT A
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                                     Dell PowerConnect
                                            5500 Series
                          System User Guide




  Regulatory Models: PowerConnect 5524, 5524P, 5548, 5548P
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          Notes, Cautions, and Warnings
                 NOTE: A NOTE indicates important information that helps you
                 make better use of your system.
                 CAUTION: A CAUTION indicates potential damage to
                 hardware or loss of data if instructions are not followed.
                 WARNING: A WARNING indicates a potential for property
                 damage, personal injury, or death.




          ____________________
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          Regulatory Models PC5524, PC5524P, PC5548 and PC5548P

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        Preface
        PowerConnect 5524/5548 and PowerConnect 5524P/5548P are stackable,
        advanced multi-layer devices.
        This guide contains the information needed for installing, configuring, and
        maintaining the device through the web-based management system, called
        the OpenManage Switch Administrator.
        This guide describes how to configure each system through the web-based
        management system and through CLI commands.
        The CLI Reference Guide, which is available on the Documentation CD,
        provides additional information about the CLI commands.




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        Features
        This section describes the features of the PowerConnect 5524/P and 5548/P
        switches.
        For a complete list of all updated device features, see the latest software
        version Release Notes.
        This section contains the following topics:
         •   IP Version 6 (IPv6) Support
         •   Stack Support
         •   Power over Ethernet
         •   Green Ethernet
         •   Head of Line Blocking Prevention
         •   Flow Control Support (IEEE 802.3X)
         •   Back Pressure Support
         •   Virtual Cable Testing (VCT)
         •   Auto-Negotiation
         •   MDI/MDIX Support
         •   MAC Address Supported Features
         •   Layer 2 Features
         •   IGMP Snooping
         •   Port Mirroring
         •   Broadcast Storm Control
         •   VLAN Supported Features
         •   Spanning Tree Protocol Features
         •   Link Aggregation
         •   Quality of Service Features
         •   Quality of Service Features
         •   Device Management Features


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         •   Security Features
         •   DHCP Server
         •   Protected Ports
         •   iSCSI Optimization
         •   Proprietary Protocol Filtering


        IP Version 6 (IPv6) Support
        The device functions as an IPv6-compliant host, as well as an IPv4 host (also
        known as dual stack). This enables device operation in a pure IPv6 network as
        well as in a combined IPv4/IPv6 network.
        For more information, see "IP Addressing" on page 202.


        Stack Support
        The system supports up to eight units with two fixed HDMI stacking ports.
        The HDMI ports are 1.3a specification, Category 2 High Speed cables, 340
        MHz (10.2 Gbit/s).
             it is recommended to use HDMI cable version 1.4
        The stacking feature supports the following features:
         •   Fast-link failover
         •   Software auto-synch.
         •   Improved response time to events, such as master failover
         •   Auto-numbering algorithm when choosing unit number
        For more information, see "Stacking Overview" on page 43


        Power over Ethernet
        Power over Ethernet (PoE) provides power to devices over existing LAN
        cabling, without updating or modifying the network infrastructure. When
        PoE is used, the network devices do not have to be placed next to a power
        source. PoE can be used in the following applications:
         •   IP Phones
         •   Wireless Access Points


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         •   IP Gateways
         •   PDAs
         •   Audio and video remote monitoring
     For more information, see "Power over Ethernet" on page 157.


     Green Ethernet
     Green Ethernet, also known as Energy Efficient Ethernet (EEE), is an effort
     to make networking equipment environmentally friendly, by reducing the
     power usage of Ethernet connections.
     The Short-Reach method, which reduces power over Ethernet cables shorter
     than 40m, is supported by the device.
     For more information, see "Green Ethernet Configuration" on page 384.


     Head of Line Blocking Prevention
     Head of Line (HOL) blocking results in traffic delays and frame loss caused
     by traffic competing for the same egress port resources. To prevent HOL
     blocking, the device queues packets, and packets at the head of the queue are
     forwarded before packets at the end of the queue.


     Flow Control Support (IEEE 802.3X)
     Flow control enables lower-speed devices to communicate with higher-speed
     devices, by requesting that the higher-speed device refrain from sending
     packets. Transmissions are temporarily halted to prevent buffer overflows.
     For more information, see "Flow Control" on page 380.


     Back Pressure Support
     On half-duplex links, the receiving port prevents buffer overflows by
     occupying the link so that it is unavailable for additional traffic.
     For more information, see "Protected Ports" on page 388.




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        Virtual Cable Testing (VCT)
        VCT detects and reports copper link cabling faults, such as open cables and
        cable shorts.
        For more information, see "Diagnostics" on page 248.


        Auto-Negotiation
        Auto-negotiation enables the device to advertise modes of operation. The
        auto-negotiation function enables an exchange of information between two
        devices that share a point-to-point link segment, and automatically
        configures both devices to take maximum advantage of their transmission
        capabilities.
        The PowerConnect 5500 series enhances auto-negotiation by providing port
        advertisement. Port advertisement enables the system administrator to
        configure the port speeds that are advertised.
        For more information, see "Port Configuration" on page 397 or "LAG
        Configuration" on page 403.


        MDI/MDIX Support
        Standard wiring for end stations is known as Media-Dependent Interface
        (MDI), and standard wiring for hubs and switches is known as Media-
        Dependent Interface with Crossover (MDIX).
        If auto-negotiation is enabled, the device automatically detects whether the
        cable connected to an RJ-45 port is MDIX (crossed) or MDI (straight). This
        enables both types to be used interchangeably.
        If auto-negotiation is not enabled, only MDI (straight) cables can be used.
        For more information, see "Port Configuration" on page 397 or "LAG
        Configuration" on page 403.


        MAC Address Supported Features
        MAC Address Capacity Support
        The device supports up to 16K MAC addresses and it reserves specific MAC
        addresses for system use.

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     Static MAC Entries
     MAC entries can be manually entered in the Bridging Table, as an alternative
     to learning them from incoming frames. These user-defined entries are not
     subject to aging, and are preserved across resets and reboots.
     For more information, see "Static Addresses" on page 418.

     Self-Learning MAC Addresses
     The device enables controlled MAC address learning from incoming packets.
     The MAC addresses are stored in the Bridging Table.
     For more information, see "Dynamic Addresses" on page 421.

     Automatic Aging for MAC Addresses
     MAC addresses from which no traffic is received for a given period, are aged
     out. This prevents the Bridging Table from overflowing.
     For more information, see "Dynamic Addresses" on page 421.

     VLAN-Aware MAC-Based Switching
     The device always performs VLAN-aware bridging. Classic bridging
     (IEEE802.1D), in which frames are forwarded based only on their destination
     MAC address, is not performed. However, a similar functionality can be
     configured for untagged frames. Frames addressed to a destination MAC
     address that is not associated with any port are flooded to all ports of the
     relevant VLAN.

     MAC Multicast Support
     Multicast service is a limited Broadcast service that enables one-to-many and
     many-to-many connections for information distribution. In Layer 2 Multicast
     service, a single frame is addressed to a specific Multicast address, from which
     copies of the frame are transmitted to the relevant ports. When Multicast
     groups are statically enabled, you can set the destination port of registered
     groups, as well as define the behavior of unregistered Multicast frames.
     For more information, see "Multicast" on page 508.




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        Layer 2 Features

        IGMP Snooping
        Internet Group Membership Protocol (IGMP) Snooping examines IGMP
        frame contents, when they are forwarded by the device from work stations to
        an upstream Multicast router. From the frame, the device identifies work
        stations configured for Multicast sessions, and which Multicast routers are
        sending Multicast frames. The IGMP Querier simulates the behavior of a
        Multicast router. This enables snooping of the Layer 2 Multicast domain even
        if there is no Multicast router.
        For more information, see "IGMP Snooping" on page 519.


        Port Mirroring
        Port mirroring monitors network traffic by forwarding copies of incoming and
        outgoing packets from a monitored port to a monitoring port. Users specify
        which target port receives copies of all traffic passing through a specified
        source port.
        For more information, see "Port Mirroring" on page 411.


        Broadcast Storm Control
        Storm Control enables limiting the number of Multicast and Broadcast
        frames accepted by and forwarded by the device.
        When Layer 2 frames are forwarded, Broadcast and Multicast frames are
        flooded to all ports on the relevant VLAN. This occupies bandwidth, and
        loads all nodes connected on all ports.
        For more information, see "Storm Control" on page 408.




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     VLAN Supported Features
     VLAN Support
     VLANs are collections of switching ports that comprise a single Broadcast
     domain. Packets are classified as belonging to a VLAN, based on either the
     VLAN tag or on a combination of the ingress port and packet contents.
     Packets sharing common attributes can be grouped in the same VLAN.
     For more information, see "VLANs" on page 459.

     Port-Based Virtual LANs (VLANs)
     Port-based VLANs classify incoming packets to VLANs, based on their ingress
     port.
     For more information, see "Defining VLAN Membership Using CLI
     Commands" on page 466.

     Full 802.1Q VLAN Tagging Compliance
     IEEE 802.1Q defines an architecture for virtual, bridged LANs, the services
     provided in VLANs, and the protocols and algorithms involved in the
     provision of these services.
     For more information, see "Virtual LAN Overview" on page 460.

     GVRP Support
     GARP VLAN Registration Protocol (GVRP) provides IEEE 802.1Q-
     compliant VLAN pruning and dynamic VLAN creation on 802.1Q trunk
     ports. When GVRP is enabled, the device registers and propagates VLAN
     membership on all ports that are part of the active underlying Spanning Tree
     Protocol topology.
     For more information, see "GVRP Parameters" on page 483.

     Voice VLAN
     Voice VLAN enables network administrators to enhance VoIP service by
     configuring ports to carry IP voice traffic from IP phones on a specific VLAN.
     VoIP traffic has a preconfigured OUI prefix in the source MAC address.
     Network administrators can configure VLANs from which voice IP traffic is



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        forwarded. Non-VoIP traffic is dropped from the Voice VLAN in Auto-Voice
        VLAN Secure mode. Voice VLAN also provides QoS to VoIP, ensuring that the
        quality of voice does not deteriorate if the IP traffic is received unevenly.
        For more information, see "Voice VLAN" on page 491.

        Guest VLAN
        Guest VLAN provides limited network access to unauthorized ports. If a port
        is denied network access via port-based authorization, but the Guest VLAN is
        enabled, the port receives limited network access through the Guest VLAN.
        For more information, see "Dot1x Authentication" on page 127.

        Private VLAN
        The Private VLAN feature provides Layer 2 isolation between ports that share
        the same Broadcast domain, or in other words, it creates a point-to-
        multipoint Broadcast domain. The ports can be located anywhere in the
        Layer 2 network (compared to the Protected Ports feature, where the ports
        must be in the same stack).
        For more information, see "Private VLAN" on page 487.

        Multicast TV VLAN
        The Multicast TV VLAN feature provides the ability to supply multicast
        transmissions to Layer 2-isolated subscribers, without replicating the
        multicast transmissions for each subscriber VLAN. The subscribers are the
        only receivers of the multicast transmissions.
        For more information, see "Multicast TV VLAN" on page 527.


        Spanning Tree Protocol Features
        Spanning Tree Protocol (STP)
        802.1d Spanning tree is a standard Layer 2 switch requirement that enables
        bridges to automatically prevent and resolve Layer 2 forwarding loops.
        Switches exchange configuration messages using specifically-formatted
        frames, and selectively enable and disable forwarding on ports.
        For more information, see "Spanning Tree" on page 428.



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     Fast Link
     STP can take 30–60 seconds to converge. During this time, STP detects
     possible loops, enabling time for status changes to propagate and for relevant
     devices to respond. This period of 30-60 seconds is considered too long a
     response time for many applications. The Fast Link option bypasses this
     delay, and can be used in network topologies, where forwarding loops do not
     occur.
     For more information on enabling Fast Link for ports and LAGs, see "STP
     Port Settings" on page 436 or "Static Addresses" on page 418.

     IEEE 802.1w Rapid Spanning Tree
     Spanning Tree takes 30–60 seconds for each host to decide whether its ports
     are actively forwarding traffic. Rapid Spanning Tree (RSTP) detects uses of
     network topologies to enable faster convergence, without creating forwarding
     loops.
     For more information, see "Spanning Tree" on page 428.

     IEEE 802.1s Multiple Spanning Tree
     Multiple Spanning Tree (MSTP) operation maps VLANs into STP instances.
     MSTP provides a different load balancing scenario. Packets assigned to various
     VLANs are transmitted along different paths within MSTP Regions (MST
     Regions). Regions are one or more MSTP bridges by which frames can be
     transmitted. The standard lets administrators assign VLAN traffic to
     unique paths.
     For more information, see "Spanning Tree" on page 428.

     STP BPDU Guard
     BPDU Guard is used as a security mechanism, to protect the network from
     invalid configurations.
     BPDU Guard is usually used either when fast link ports (ports connected to
     clients) are enabled or when the STP feature is disabled. When it is enabled
     on a port, the port is shut down if a BPDU message is received and an
     appropriate SNMP trap is generated.
     For more information, see "Spanning Tree" on page 428.



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        Link Aggregation
        Up to 32 Aggregated Links may be defined, each with up to eight member
        ports, to form a single Link Aggregated Group (LAG). This enables:
         •   Fault tolerance protection from physical link disruption
         •   Higher bandwidth connections
         •   Improved bandwidth granularity
         •   High bandwidth server connectivity
        A LAG is composed of ports with the same speed, set to full-duplex
        operation.
        For more information, see "LAG Configuration" on page 403.

        Link Aggregation and LACP
        LACP uses peer exchanges across links to determine, on an ongoing basis, the
        aggregation capability of various links, and continuously provides the
        maximum level of aggregation capability achievable between a given pair of
        devices. LACP automatically determines, configures, binds, and monitors the
        port binding within the system.
        For more information, see "Link Aggregation" on page 500.

        BootP and DHCP Clients
        DHCP enables additional setup parameters to be received from a network
        server upon system startup. DHCP service is an on-going process. DHCP is an
        extension of BootP.
        For more information, see "DHCP IPv4 Interface" on page 207.


        Quality of Service Features
        Class of Service 802.1p Support
        The IEEE 802.1p signaling technique is an OSI Layer 2 standard for marking
        and prioritizing network traffic at the data link/MAC sub-layer. 802.1p traffic
        is classified and sent to the destination. No bandwidth reservations or limits




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     are established or enforced. 802.1p is a spin-off of the 802.1Q (VLANs)
     standard. 802.1p establishes eight levels of priority, similar to the IP
     Precedence IP Header bit-field.

     Advanced QoS
     Frames that match an ACL and were permitted entrance are implicitly
     labeled with the name of the ACL that permitted their entrance. Advanced
     mode QoS actions defined in network policies can then be applied to these
     flows.
     The switch can set DSCP values and map IPv6 DSCP to egress queues in the
     same way it does for IPv4. The switch detects IPv6 frames by the IPv6 ether-
     type.
     For more information about Advanced QoS, see "QoS Advanced Mode" on
     page 668.

     TCP Congestion Avoidance
     The TCP Congestion Avoidance feature activates an algorithm that breaks up
     or prevents TCP global synchronization on a congested node, where the
     congestion is due to multiple sources sending packets with the same byte
     count.
     For more information, see "The following is an example of the CLI
     commands:" on page 656.


     Device Management Features
     SNMP Alarms and Trap Logs
     The system logs events with severity codes and timestamps. Events are sent as
     SNMP traps to a Trap Recipient List.
     For more information, see "SNMP" on page 307.




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        SNMP Versions 1, 2, and 3
        Simple Network Management Protocol (SNMP) over the UDP/IP protocol
        controls access to the system. A list of community entries is defined, each
        consisting of a community string and its access privileges. There are three
        levels of SNMP security: read-only, read-write, and super. Only a super user
        can access the Community table.
        For more information, see "SNMP" on page 307.

        Web-Based Management
        Web-based management enables managing the system from any web browser.
        The system contains an Embedded Web Server (EWS) that serves HTML
        pages, through which the system can be monitored and configured. The
        system internally converts web-based input into configuration commands,
        MIB variable settings, and other management-related settings.

        Management IP Address Conflict Notification
        This feature validates the uniqueness of the switch's IP address, whether it is
        assigned manually or through DHCP. If the IP address is not unique, the
        switch performs actions according to the address type. If the IP address is
        static, see more information about this in "IPv4 Interface Parameters" on
        page 203. If the IP address is dynamic, see more information about this
        in"DHCP IPv4 Interface" on page 207.

        Flow Monitoring (sflow)
        The switch supports statistics collection, using a sampling technology called
        sFlow that is based on RFC 3176. The sFlow sampling technology is
        embedded within the switch, and provides the ability to continuously
        monitor traffic flows on some or all the interfaces simultaneously.
        For more information, see "sFlow" on page 369.

        Configuration File Download and Upload
        The device configuration is stored in a configuration file. The configuration
        file includes both system-wide and port-specific device configuration. The
        system can display configuration files as a collection of CLI commands that
        are stored and manipulated as text files.



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     Auto-Update of Configuration/Image File
     This feature facilitates installation of new devices. When you enable the
     various auto-update options, the device automatically downloads a new
     image or configuration file when it receives its IP address from a TFTP server,
     and automatically reboots, using the image or configuration file it received.
     For more information, see "Auto-Update/Configuration Feature" on page 331.

     TFTP Trivial File Transfer Protocol
     The device supports boot image, software, and configuration
     upload/download via TFTP.

     USB File Transfer Protocol
     The device supports boot image, software, and configuration
     upload/download via USB.

     Remote Monitoring
     Remote Monitoring (RMON) is an extension to SNMP that provides
     comprehensive network traffic monitoring capabilities. RMON is a standard
     MIB that defines MAC-layer statistics and control objects, enabling real-time
     information to be captured across the entire network.
     For more information, see "Statistics/RMON" on page 596.

     Command Line Interface
     Command Line Interface (CLI) syntax and semantics conform as much as
     possible to common, industry standards. CLI is composed of mandatory and
     optional elements. The CLI interpreter provides command and keyword
     completion to assist users and save typing.

     Syslog
     Syslog is a protocol that enables event notifications to be sent to a set of
     remote servers, where they can be stored, examined, and acted upon. The
     system sends notifications of significant events in real time, and keeps a
     record of these events for after-the-fact usage.
     For more information on Syslog, see "Logs" on page 188.



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        SNTP
        The Simple Network Time Protocol (SNTP) assures accurate network
        Ethernet Switch clock time synchronization up to the millisecond. Time
        synchronization is performed by a network SNTP server. Time sources are
        prioritized by strata. Strata define the distance from the reference clock. The
        higher the stratum (where zero is the highest), the more accurate the clock.
        For more information, see "Time Synchronization" on page 162.

        Domain Name System
        Domain Name System (DNS) converts user-defined domain names into IP
        addresses. Each time a domain name is assigned, the DNS service translates
        the name into a numeric IP address. For example, www.ipexample.com is
        translated into 192.87.56.2. DNS servers maintain domain name databases
        containing their corresponding IP addresses.
        For more information, see "Domain Name System" on page 235.

        802.1ab (LLDP-MED)
        The Link Layer Discovery Protocol (LLDP) enables network managers to
        troubleshoot, and enhances network management by discovering and
        maintaining network topologies over multi-vendor environments. LLDP
        discovers network neighbors by standardizing methods for network devices to
        advertise themselves to other systems, and to store discovered information.
        The multiple advertisement sets are sent in the packet Type Length Value
        (TLV) field. LLDP devices must support chassis and port ID advertisement,
        as well as system name, system ID, system description, and system capability
        advertisements.
        LLDP Media Endpoint Discovery (LLDP-MED) increases network flexibility
        by enabling various IP systems to co-exist on a single network LLDP. It
        provides detailed network topology information, emergency call service via IP
        phone location information, and troubleshooting information.
        For more information, see "LLDP" on page 531.




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     Security Features
     SSL
     Secure Socket Layer (SSL) is an application-level protocol that enables secure
     transactions of data through privacy, authentication, and data integrity. It
     relies upon certificates and public and private keys.

     Port-Based Authentication (Dot1x)
     Port-based authentication enables authenticating system users on a per-port
     basis via an external server. Only authenticated and approved system users
     can transmit and receive data. Ports are authenticated via the Remote
     Authentication Dial-In User Service (RADIUS) server using the Extensible
     Authentication Protocol (EAP). Dynamic VLAN Assignment (DVA) enables
     network administrators to automatically assign users to VLANs during the
     RADIUS server authentication.
     For more information, see "Dot1x Authentication" on page 127.

     Locked Port Support
     Locked Port increases network security by limiting access on a specific port to
     users with specific MAC addresses. These addresses are either manually
     defined or learned on that port. When a frame is seen on a locked port, and
     the frame source MAC address is not tied to that port, the protection
     mechanism is invoked.
     For more information, see "Port Security" on page 93.

     RADIUS Client
     RADIUS is a client/server-based protocol. A RADIUS server maintains a user
     database that contains per-user authentication information, such as user
     name, password, and accounting information.

     RADIUS Accounting
     This feature enables recording device management sessions (Telnet, serial,
     and WEB but not SNMP) and/or 802.1x authentication sessions.




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        Due to the complexity of 802.1x setup and configuration, many mistakes can
        be made that might cause loss of connectivity or incorrect behavior. The
        802.1x Monitor mode enables applying 802.1x functionality to the switch,
        with all necessary RADIUS and/or domain servers active, without actually
        taking any action that may cause unexpected behavior. In this way, the user
        can test the 802.1x setup before actually applying it.
        For more information, see "RADIUS" on page 284.

        SSH
        Secure Shell (SSH) is a protocol that provides a secure, remote connection to
        a device. SSH version 2 is currently supported. The SSH server feature
        enables an SSH client to establish a secure, encrypted connection with a
        device. This connection provides functionality that is similar to an inbound
        telnet connection. SSH uses RSA and DSA Public Key cryptography for
        device connections and authentication.
        For more information, see "Security Management and Password
        Configuration" on page 71.

        TACACS+
        TACACS+ provides centralized security for validation of users accessing the
        device. TACACS+ provides a centralized, user management system, while
        still retaining consistency with RADIUS and other authentication processes.
        For more information, see "TACACS+" on page 275.

        Password Management
        Password management provides increased network security and improved
        password control. Passwords for SSH, Telnet, HTTP, HTTPS, and SNMP
        access are assigned security features.
        For more information, see "Password Management" on page 279.
        The switch provides the ability to demand strong passwords, meaning that
        they must contain both upper and lower-case letters, numbers, and
        punctuation marks.
        For more information, see "Password Management" on page 279.




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     Access Control Lists (ACL)
     Access Control Lists (ACL) enable network managers to define classification
     actions and rules for specific ingress ports. Packets entering an ingress port
     with an active ACL, are either admitted or denied entry and the ingress port is
     disabled. If they are denied entry, the user can disable the port.

     Dynamic ACL/Dynamic Policy Assignment (DACL/DPA)
     The network administrator can specify the user's ACL in the RADIUS server.
     After successful authentication, the user is assigned that ACL.
     For more information, see "Network Security" on page 92.

     DHCP Snooping
     DHCP Snooping expands network security by providing firewall security
     between untrusted interfaces and DHCP servers. By enabling DHCP
     Snooping, network administrators can differentiate between trusted
     interfaces connected to end-users or DHCP servers and untrusted interfaces
     located beyond the network firewall.
     For more information, see "DHCP Snooping" on page 564.

     ARP Inspection
     Dynamic ARP inspection is a security feature that validates ARP packets in a
     network. It intercepts, logs, and discards ARP packets with invalid IP-to-MAC
     address bindings. This capability protects the network from certain man-in-
     the-middle attacks.


     Port Profile (CLI Macro)
     Macros provide a convenient way to save and share a common configuration.
     A macro is a set of CLI commands with a unique name. When a macro is
     applied to a port, the CLI commands contained within it are executed and
     added to the Running Configuration file.
     For more information, see "Dynamic ARP Inspection" on page 551.




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        DHCP Server
        Dynamic Host Configuration Protocol (DHCP) provides a means of passing
        configuration information (including the IP address of a TFTP server and a
        configuration file name) to hosts on a TCP/IP network. The switch can serve
        as a DHCP server or client.
        For more information on the device serving as a DHCP server, see "DHCP
        Server" on page 290.
        For more information on the device serving as a DHCP client, see "DHCP
        IPv4 Interface" on page 207.


        Protected Ports
        The Protected Ports feature provides Layer 2 isolation between interfaces
        (Ethernet ports and LAGs) that share the same Broadcast domain (VLAN)
        with other interfaces.
        For more information, see "Protected Ports" on page 388.


        iSCSI Optimization
        iSCSI optimization provides the iSCSI flows with specific priority over other
        network traffic. In addition, the feature provides monitoring of iSCSI
        sessions.
        For more information, see "iSCSI Optimization" on page 584.


        Proprietary Protocol Filtering
        This feature enables user control over the filtering of packets with proprietary
        protocols such as CDP, VTP, DTP, UDLD, PaGP, and SSTP. The user can
        select any combination of the protocols to be filtered, for example: CDP and
        VTP and UDLD.
        For more information, see "Network Security" on page 92.

        DHCP Relay and Option 82
        A DHCP relay agent detects DHCP Broadcasts from DHCP clients and relays
        them to DHCP servers that may reside on different subnets.



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     The relay agent information option (Option 82) in the DHCP protocol
     enables a DHCP relay agent to send additional client information, upon
     requesting an IP address.
     Option 82 specifies the relaying switch's MAC address, the port identifier, and
     the VLAN that forwarded the packet.
     For more information, see "DHCP Relay" on page 577.

     Identifying a Switch via LED
     The switch provides the ability to turn on a LED (through the GUI interface)
     on a specific unit or on all units in a stack for a specific length of time.
     For more information, see Unit Identification (Location).




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        Hardware Description
        This section describes PowerConnect 5500 hardware.
        It contains the following topics:
         •   Device Models
         •   Device Structure
         •   LED Definitions
         •   Power Supplies




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     Device Models
     The PowerConnect 5500 switches combine versatility with minimal
     management requirements. This series includes the following device types:
         •   PowerConnect 5524 — Provides 24 10/100/1000Mbps Base-T ports
         •   PowerConnect 5524P (with PoE) — Provides 24 10/100/1000Mbps Base-T
             ports, along with Power-over-Ethernet (PoE) support
         •   PowerConnect 5548 — Provides 48 10/100/1000Mbps Base-T ports
         •   PowerConnect 5548P (with PoE) — Provides 24 10/100/1000Mbps Base-T
             ports, along with Power-over-Ethernet (PoE) support
     Each of these devices provides, in addition to the above ports, two HDMI
     ports, two SPF+ ports, an RS-232 console port, and a USB port, as shown in
     Figure 5-1.
             NOTE: 10/100/1000Mbps Baset-T ports are also known as Gigabit ports or G ports.

     Device Structure
     This section describes the structure of the devices.
     It contains the following topics:
         •   Front Panel
         •   Buttons and LEDs
         •   Back Panel
         •   Ventilation System
         •   System LEDs
         •   Port LEDs




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        Front Panel
        Figure 5-1 shows the front panel of the PowerConnect 5548 device with its
        various ports labelled. The PowerConnect 5524 device from the
        PowerConnect 5548 device in that there are 24 G ports and not 48.
        Figure 5-2 shows the buttons/LEDs on the right side in greater detail.

        Figure 3-1. PowerConnect 5548 Ports



                          Giga Ports (odd numbered)


                                                                             USB Port
                                                                      Console
                                                                       Port




                                                                     HDMI Ports
                          Giga Ports (even numbered)                      SPF+ Ports
        The following ports are found on the devices.
         •   24/48 G Ports
         •   Two XG Ports (also known as Small Form Factor Plugable (SFP)+ Ports)
             These are 10 Gigabit ports, designated as 1000Base-X-SFP+. The SFP+
             ports are fiber transceivers designated as 10000 Base-SX or LX. They
             include TWSI (Two-Wire Serial Interface) and internal EPROM.
         •   RS-232 Console Port
             This port is used for a terminal connection for debugging and software
             downloads. The default baud rate is 9,600 bps. The baud rate can be
             configured from 2400 bps up to 115,200 bps.
         •   Two HDMI Ports
             The HDMI ports are 1.3a specification, category 2 high-speed cables, 340
             MHz (10.2 Gbit/s). They are used for stacking purposes.


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             NOTE: it is recommended to use HDMI cable version 1.4
         •   Single USB Port
             This port is used for firmware upgrade from a USB device.



     Buttons and LEDs

     LEDs on Front Panel
     Figure 5-2 shows the extreme, right-hand part of the front panel, which
     contains buttons and LEDs, in addition to ports.

     Figure 3-2. Button/LED Panel

                 Console Port
                                            Stacking Unit ID

                                    Reset
                                                       Power Status




                                                                         Fan


                                                                         RPS




                    Port LEDs
                                                      Master
     These LEDs are described in Table 5-1 and Table 5-2.

     Reset Button
     The PowerConnect 5500 switches have a reset button, located on the front
     panel that is used for manual reset (reboot) of the device.
     The single reset circuit of the switch is activated by power-up or low-voltage
     conditions.



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        The Reset button does not extend beyond the unit’s front, and it must be
        activated with a pin.

        Back Panel
        The back panel of the non-PoE models, shown in Figure 5-3, contains a
        Redundant Power Supply (RPS) connector, Location LED, and power
        connector.
        The back panel of the PoE models, shown in Figure 5-4, contains a Modular
        Power Supply (MPS) connector, Location LED, power connector, and two fan
        outlets.

        Figure 3-3. PowerConnect 5524/48 Back Panel

                  Locator        RPS
                                                                     A/C Power Supply




        Figure 3-4. PowerConnect 5524/48/P Back Panel


                Locator          MPS
                          Fan             Fan           A/C Power Supply




        The elements on the back panel are used as follows:
         •   Locator LED — This LED is lit when the Unit Identification feature is
             selected. See "Unit Identification (Location)" on page 367 for more
             information about this feature.
         •   RPS/MPS — Connector for auxiliary power supply. See "Power Supplies"
             on page 42 for more information.



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         •   A/C Power Supply — Connector for AC power supply. See "Power
             Supplies" on page 42 for more information.
         •   Fans — Fan outlets. See "Ventilation System" on page 38 for more
             information.

     Ventilation System
     The PowerConnect 5500/P switches have two built-in fans. Operation can be
     verified by observing the LED that indicates if one or more fans are faulty
     (see Table 5-1).
     The fan outlets are shown in Figure 5-4.


     LED Definitions
     The front panel contains light emitting diodes (LEDs) that indicate the
     status of links, power supplies, fans, and system diagnostics.
     These are described below.

     System LEDs
     The system LEDs of the PowerConnect 5500 devices provide information
     about the power supplies, fans, thermal conditions, and diagnostics.
     Figure 5-2 shows the location of the system LEDS on the device.
     Table 5-1 describes the meaning of the colors of the system LEDs.

     Table 3-1. System LED Indicators

      LED                  Color              Description
      Power Supply         Green Static       The switch is turned on.
      (PWR)
                           Green Flashing     The Locator function is enabled.
                           Off                The switch is turned off.
      Status               Green Static       The switch is operating normally.
                           Green Flashing     The switch is booting.
                           Red Static         A critical system error has occurred.
                           Red Flashing       A non-critical system error has occurred.




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        Table 3-1. System LED Indicators (Continued)

        LED                 Color               Description
        Stacking No.                            Indicates the unit ID of the device in the
                                                stack.
        Modular/Redundan Green Static           The MPS/RPS is currently operating.
        cy Power Supply
                         Red Static             The MPS/RPS failed.
        (MPS/RPS)
                         Off                    The MPS/RPS is not plugged in.
        Locator             Green Flashing      Locator function is enabled.
                            Green Static        Locator function is disabled.
        Master              Green Static        The device is a master unit.
                            Off                 The device is not a master unit.
        Fan (FAN)           Green Static        All device fans are operating normally.
                            Red Static          One or more of the device fans are not
                                                operating.




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     Port LEDs

     Gigabit Ports
     Each Giga port has two LEDs associated with it. The speed/link (LNK) LED
     is located on the left side of the port, while the activity/PoE LED is located on
     the right side of the port. The activity/PoE LED is labelled ACT in non-PoE
     devices, and is labelled PoE in PoE-enabled devices, as shown in Figure 5-5.

     Figure 3-5. Giga Port LEDs


                     LNK                                        ACT/PoE




                     LNK
                                                                 ACT/PoE
     Table 5-2 describes the LED indications for the Gigabit ports:

     Table 3-2. Giga Port s on non-PoE-enabled Devices LEDs

      LED                  Color            Description
      LNK                  Green Flashing Link is up and the port is either transmitting
                                          or receiving at 1000 Mbs.
                           Yellow Flashing Link is up and the port is either transmitting
                                           or receiving data at 100 Mbps.
                           Solid green      Link is up high speed.
                           Solid amber      Link is up at lower speeds.
                           OFF              The port is currently not operating.
      ACT                  Green Flashing There is activity on the port.
                           Off              There is no activity on the port.




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        Table 5-3 describes the LED indications for Gigabit ports on PoE-enabled
        devices.

        Table 3-3. Giga Port s on PoE-enabled Devices LEDs

        LED       Color               Description
        LNK       Flashing green      Link is up and the port is either transmitting or
                                      receiving at 1000 Mbs.
                  Flashing amber      Link is up and the port is either transmitting or
                                      receiving data at 100 Mbps.
                  Solid green         Link is up high speed.
                  Solid amber         Link is up at lower speeds.
                  Off                 Port is currently not operating.
        PoE       Flashing green      There is activity on the port and the PoE is off.
                  Flashing amber      There is activity on the port and the PoE is on.
                  Amber solid         There is no activity on the port and the PoE power is
                                      on.
                  Off                 There is no activity on the port and the PoE is off.

        HDMI Port LEDs
        The HDMI ports have a Speed/link (LNK) LED on their left side and an
        activity (ACT) LED on their right side.
        Table 5-4 describes the HDMP port LEDs:

        Table 3-4. HDMI (Stacking) Port LEDs

        LED                 Color                Description
        Speed/Link          Solid green          Port is linked to device.
                            Off                  Port is currently not operating.
        ACT                 Flashing green       Port is either transmitting or receiving.


                            Off                  Port is not transmitting or receiving.




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     SFP LEDs
     The SFP+ ports each have two LEDs, marked as LNK and ACT, associated
     with them. Figure 5-5 describes these LEDs.

     Table 3-5. SFP Port LEDs

      LED                  Color              Description
      LNK                  Solid green        Link is at highest speed.
                           Solid amber        Link is at lowest speed.


                           Off                Port is currently not linked.
      ACT                  Flashing green     Port is either transmitting or receiving.

     Stack ID LED
     The front panel of the device contains a Stack ID panel used to display the
     Unit ID for the Stack Master and members, as shown in Figure 5-2.


     Power Supplies
     The device has an internal power supply unit (AC unit) and a connector to
     connect PowerConnect 5500/P devices to a PowerConnect EPS-470 unit, or
     to a PowerConnect MPS-600 unit.
     The PowerConnect 5500/P devices have the following internal power
     supplies:
         •   24 Port non-PoE devices — 54 Watt.
         •   48 Port non-PoE devices — 100 Watt.
         •   24/48 Port PoE devices — 600 Watt.
     Operation with both power supply units is regulated through load sharing.
     Power supply LEDs indicate the status of the power supply.
     The AC power supply unit operates from 90 to 264 VAC, 47 to 63 Hz. The AC
     power supply unit uses a standard connector. A LED, shown in Figure 5-3,
     indicates whether the AC unit is connected.
     When the device is connected to a supplementary power source, the
     probability of failure in the event of a power outage decreases.


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        Stacking Overview
        This section describes how the Stacking feature of the PowerConnect 5500
        series functions.
        It contains the following topics:
         •   Stack Overview
         •   Stack Members and Unit IDs




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     Stack Overview
     The PowerConnect 5500 Stacking feature provides multiple switch
     management through a single switch, so that all units in the stack are treated
     as if they were a single switch. All stack members are accessed through the
     management IP address, through which the stack is managed.
     Each switch is a member in a stack, although the stack may consist of only a
     single switch.
     Up to eight units can be stacked.
     This section covers the following topics:
         •   Stack Operation Modes
         •   Stacking Units
         •   Stack Topology

     Stack Operation Modes
     All stacks must have a Master unit, and may have a Master Backup unit. All
     other units are connected to the stack as members (slaves).
     A unit in the stack can be in one of the following modes:
         •   Stack Master — Runs the fully operational software of a switch. In
             addition, it runs configures and manages all other units in the stack. All
             protocols run in the context of the Master unit. It is responsible for
             updating and synchronizing the Master Backup.
             The Stack Master detects and reconfigures the ports with minimal
             operational impact in the event of:
             Unit failure
             Inter-unit stacking link failure
             Unit insertion
             Unit removal
             When the Master unit boots, or when inserting or removing a stack
             member, the Master unit initiates a stacking discovering process.




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         •   Slave Unit — Runs a slave version of the software that enables the
             applications running on the Master’s CPU to control and manage the
             resources of the slave unit.
         •   Master Backup — Runs as a slave unit, as described above, and in
             addition, continuously monitors the existence and operation of the stack
             master. If the master unit fails, the master-backup unit assumes the Master
             Backup role.

        Stacking Units
        PowerConnect 5500 series switches use two HDMI 10G ports for stacking.
        To connect the units in the stack:
         1 Insert one end of an HDMI cable into the left-hand HDMI port on the
           unit at the top of the stack and the other end into the right-hand HDMI
           port of the unit immediately below it (this is called crossover).
         2 Repeat this process until all units are connected.
         3 (Optional) Connect the left-hand HDMI port of the unit at the bottom of
           the stack to the right-hand HDMI port of the unit at the top of the stack.
           This step provides increased bandwidth and redundancy.




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     The results of this process are shown in Figure .

     Figure 4-1. Stacking Ring Topology




                                                                        HDMI Ports



                                                             n   el
                                                          Pa
                                                     nt
                                                  Fro
                                                                        HDMI Ports



                                                                   el
                                                          P   an
                                                       nt
                                                   Fro
                                                                        HDMI Ports




                                                            n    el
                                                         Pa
                                                      nt
                                                  Fro
                                                                        HDMI Ports



                                                             n   el
                                                          Pa
                                                     nt
                                                  Fro




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        Stack Topology
        The PowerConnect 5500 series systems operates in a ring or chain topology.

        Ring Topology
        In a ring topology all units in the stack are connected to each other, forming a
        circle. Each unit in the stack accepts data and sends it to the unit to which it
        is attached. The packet continues through the stack until it reaches its
        destination. The system discovers the optimal path on which to send traffic.
        Figure shows units of a stack connected in a ring topology.

        Stacking Failover Topology - Chain Topology
        Difficulties occur when a unit in the ring becomes non-functional, or a link is
        severed. In this case, the system automatically switches to a chain topology,
        without any system downtime.
        In chain topology, each unit in the stack is connected to neighboring unit
        except for the last unit, which is not connected to any other unit.
        In the chain topology, the stack continues to function as long as there is a
        master- or backup-enabled unit in each segment of the stack.
        When the ring topology is switched to chain topology, an SNMP message is
        automatically generated, but no stack management action is required. The
        unit that failed must be repaired to restore full stacking operation in the ring
        topology.
        After the stacking issues are resolved, the units can be reconnected without
        interruption, and the ring topology is restored.


        Stack Members and Unit IDs
        This section describes how to configure the stack.
        It contains the following topics:
         •   Adding a Unit to the Stack
         •   Assigning Unit IDs
         •   Selecting the Master and Master Backup Units
         •   Switching from the Master to the Master Backup
         •   Replacing Stacking Members


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         •   Loading Software onto Stack Members
         •   Rebooting the Stack
         •   Managing Configuration Files on the Stack

     Adding a Unit to the Stack
     The recommended procedure to add a unit to a stack is as follows:
         1 Place the powered-off unit in its physical place in the stack, and insert the
           stacking link in the unit (but do not connect it to the rest of the stack).
         2 Power up the unit, and set the correct Unit ID, as described below.
         3 Reboot the unit and connect it to the rest of the stack through the stack
           link.

     Assigning Unit IDs
     Each unit in the stack has a unique ID that defines the unit’s position and
     function in the stack, as shown in Figure 5-2.
     The unit that is assigned Unit ID 1 is the Master unit, by default. The unit
     that is assigned Unit ID 2 is the Master Backup unit.
     When you power-up the stack, each unit is assigned a unique Unit ID. This is
     displayed on the front panel of the unit, as shown in Figure 5-2.
     The Unit ID of each unit can be either automatically assigned or manually
     assigned, as described in step 1 to step 4 below.
     To assign IDs to the units in the stack, do the following for each unit in the
     stack:
         1 Connect the unit to the terminal.




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         2 Turn on the unit to begin auto boot and press Return or Esc to abort and
           enter the Start Up menu.
                    Startup Menu
                    [1]Download Software
                    [2]Erase Flash File
                    [3]Password Recovery Procedure
                    [4]Set Terminal Baud-Rate
                    [5]Stack Menu
                    [6]Back

         3 Select Stack Menu to open the Stack Menu.
                    [1]Show Unit Stack ID
                    [2]Set Unit Stack ID
                    [3]Back

         4 Select Set Unit Stack ID. Enter either a Unit ID for manual assignment or
           0 to indicate that the unit ID will be assigned automatically.
             NOTE: The entire stack should be connected, as shown in Figure 6-1, before
             powering up the units.

        Selecting the Master and Master Backup Units
        A unit is master-enabled if it assigned Unit ID 1 and Unit 2. All other units in
        the stack (slaves) have unit IDs of 3-8.
        The stack master assignment is performed during the configuration boot
        process. One master-enabled stack member is elected as Master, and the
        other master-enabled stack member is selected as Master Backup, according
        to the following decision process:
         •   A master is selected from the set of the two Master-enabled units. Priority
             is given to the lowest unit ID, but also takes into account the amount of
             time the unit is UP (Up Time) as follows:




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             –   When a master-enabled unit is inserted to a running stack, (or when
                 Master and Backup master both start at the same time), they
                 exchange each other’s UP TIME (the time since they powered up). If
                 the time difference is smaller than 10 minutes, the unit with the
                 lowest unit ID is elected; otherwise, the unit with the longest UP time
                 is elected.
             –   If a Master-enabled unit (with ID 1 or 2) is inserted into an
                 operational stack, it will be elected as a backup master.
             –   If a Master unit and/or a backup Master unit is removed from the
                 stack and the user wishes to configure one of the slave units
                 (numbered 3-8) to be a Master backup, the user must reset the unit’s
                 ID. This can be done as follows:
                 •    If there is a Master-enabled unit in the stack: Do -switch n
                      renumber 2 (through CLI or GUI). This makes the nth unit a
                      master-enabled unit.
                 •    If there is no Master-enabled unit in the stack: Press the reset
                      button on the unit to be master-enabled, and assign it a unit ID=
                      1 using the boot menu.
         •   The user can force a master-enabled unit to be the master unit of the
             stack, even if the master election process did not select it. This is done by
             switching over to the backup unit.
                  NOTE: Two stacking member are considered the same age if they were
                  inserted within a ten minute interval, for example, if Unit 2 is inserted in the
                  first minute of a ten-minute cycle, and Unit 1 is inserted in fifth minute of the
                  same cycle, the units are considered to be the same age.
                  NOTE: If two stack members are discovered to have the same Unit ID, only
                  the older unit is included in the stack. The stack continues to function and a
                  message is sent notifying that a unit failed to join the stack.
     The Stack Master and the Master Backup maintain a Warm Standby. The
     Warm Standby ensures that the Master Backup takes over for the Stack
     Master if a failover occurs, so that the stack continues to operate normally.
     During the Warm Standby, the Master and the Master Backup are
     synchronized with the static configuration. When the Stacking Master is
     configured, it must synchronize the Master Backup. The dynamic




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        configuration is not saved, for example, dynamically-learned MAC addresses
        are not saved, but dynamic information is learned quickly and automatically
        by network traffic.

        Switching from the Master to the Master Backup
        The Master Backup replaces the Stack Master if one or more of the following
        events occur:
         •   The Stack Master fails or is removed from the stack.
         •   Links from the Stack Master to the stacking members fails.
         •   User performs soft switchover via the Web interface or the CLI.
        Switching between the Stack Master and the Master Backup results in limited
        service loss. Dynamic tables are relearned if a failure occurs. The Running
        Configuration file is synchronized between Stack Master and the Master
        Backup, and continues running on the Master Backup.

        Replacing Stacking Members
        If a unit is removed from the stack, and replaced with a unit with the same
        unit ID, the stack member is configured with the original unit configuration.
        Otherwise, if the new unit has either more or fewer ports than the previous
        unit, the results depend on the device type of the new and original units, as
        defined in Table 6-1:

        Table 4-1. Port Configurations when Replacing Units

        New Unit            Original Unit        New Port Configuration
        5548P or 5548       5548P or 5548        Port configurations remain the same.
                            5524 or 5524P        The first 24 Giga (GE) ports receive the
                                                 respective 5524/P 24 GE port
                                                 configurations. The 10 G port
                                                 configurations remain the same.




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     Table 4-1. Port Configurations when Replacing Units (Continued)

      New Unit             Original Unit       New Port Configuration
      5524P or 5524        5548P or 5548       The PowerConnect 5524/P 24 Gigabit
                                               ports receives the first 24 Giga 5548/P port
                                               configurations. The 10 Giga port
                                               configurations remain the same. The
                                               remaining ports receive the default port
                                               configuration.
                           5524P or 5524       Port configurations remain the same.

     Loading Software onto Stack Members
     Software can be downloaded to all units simultaneously, or to the master unit
     alone. If software is only loaded to the master unit, when new software is
     selected, and the Master is rebooted, the Master updates the software on the
     remaining units.
     In this way, all units in the stack run the same software version.

     Rebooting the Stack
     Whenever a reboot occurs, topology discovery is performed, and the Master
     learns all units IDs in the stack.
     Configuration files are changed only through explicit user configuration, and
     are not automatically modified when units are added, removed or reassigned
     unit IDs.
     Each time the system reboots, the Startup Configuration file in the Master
     unit is used to configure the stack.

     Managing Configuration Files on the Stack
     The Startup Configuration and Running Configuration file are stored on the
     stack master.
     Each port in the stack is referenced in the configuration files by its port type
     and unit ID/0/port number, for example "gi1/0/24", which means Giga port 24
     on unit 1 (the middle 0 is reserved for future use).
     Configuration files are managed from the Stack Master, including:
         •   Saving to flash memory


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        •   Uploading configuration files to an external TFTP server/HTTP client
        •   Downloading configuration files from an external TFTP server/HTTP
            client
        •   Download/upload through the USB port
                NOTE: Stack configuration for all configured ports is saved, even if the stack
                is reset and/or the ports are no longer present.




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        Configuring the Switch
        This section describes the configuration that must be performed after the
        switch is installed and connected to power supplies. Additional advanced
        functions are described in "Advanced Switch Configuration" on page 63.
             NOTE: Before proceeding further, read the release notes for this product. You can
             download the release notes from the Dell Support website at support.dell.com.
             NOTE: We recommend that you obtain the most recent revision of the user
             documentation from the Dell Support website at support.dell.com.
        It contains the following topics:
         •   Configuration Work Flow
         •   Connecting the Switch to the Terminal
         •   Booting the Switch
         •   Configuring the Stack
         •   Configuration Using the Setup Wizard




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        Configuration Work Flow
        To configure the switches:
         1 For each switch in the stack:
             a   Connect it to a terminal, as described in the "Connecting the Switch
                 to the Terminal" on page 56.
             b   Boot the switch, as described in the "Booting the Switch" on page 57.
             c   Assign a unit ID to the switch, as described in "Assigning Unit IDs" on
                 page 48.
         2 Connect the units in the stack to each other, as described in "Configuring
           the Stack" on page 58.
         3 Connect the Master unit to the terminal, reboot the unit and the Setup
           Wizard is run automatically, as described in "Configuration Using the
           Setup Wizard" on page 58.
         4 Respond to the Setup Wizard prompts.
         5 Continue managing the switch, either through the console or Telnet, using
           the CLI or the web GUI.




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     Connecting the Switch to the Terminal
     The switch is configured and monitored through a terminal desktop system
     that runs terminal emulation software. The switch connects to the terminal
     through the console port.
     To connect the switch to a terminal:
         1 Connect an RS-232 cable to a VT100-compatible terminal or the serial
           connector of a desktop system running terminal emulation software.
         2 Connect the RS-232 cable to the switch console port on the front panel of
           the switch (see Figure 7-1) using an 8-pin RJ-45 male connector.

     Figure 5-1. Front-Panel Console Port

                                                                         Console Port




         3 Set the terminal emulation software as follows:
            a    Select the appropriate serial port to connect to the switch.
            b    Set the data rate to 9600 baud.
            c    Set the data format to 8 data bits, 1 stop bit, and no parity.
            d    Set Flow Control to none.
            e    Select VT100 for Emulation mode within your communication
                 software.
            f    Select Terminal keys for Function, Arrow, and Ctrl keys. Ensure that
                 the setting is for Terminal keys (not Windows keys).
            NOTE: You can connect a console to the console port on any unit in the stack, but
            stack management is performed only from the stack master (Unit ID 1 or 2).




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        Booting the Switch
        After the local terminal is connected, turn on power. The switch then goes
        through power-on self-test (POST). POST runs every time the switch is
        started and checks hardware components, to determine if the switch is
        operational before completely booting. If the system detects a critical
        problem, the boot process stops. If POST passes successfully, a valid
        executable image is loaded into RAM. POST messages are displayed on the
        terminal and indicate test success or failure.
        The boot process runs for approximately 40-45seconds.
        When the boot process completes, the following LEDs are lit, as shown in
        Figure 7-2:
         •   Power
         •   Status
         •   Fan (should be green)
         •   RPS (if it is being used)

        Figure 5-2. Initial LEDs

                                                                Power Status




                                                                                 Fan


                                                                                 RPS




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     Configuring the Stack
     The switch is always considered to be a stack of switches even if the stack only
     contains a single switch. If there is more than one switch in the stack, each
     switch must be configured individually. See "Assigning Unit IDs" on page 48
     for instructions on how to configure the stack.


     Configuration Using the Setup Wizard
     The Setup Wizard guides you through the initial switch configuration to get
     the system up and running as quickly as possible. Note that you can skip the
     Setup Wizard and configure the switch manually through the CLI.
     The Setup Wizard configures the following fields:
         •   SNMP Community String and SNMP Management System IP address
             (optional)
         •   Username and password
         •   Management switch IP address
         •   IP subnet mask
         •   Default gateway IP address
             NOTE: The Setup Wizard assumes the following:
             •   The PowerConnect switch was never configured before and is in the same
                 state as when you received it.
             •   The PowerConnect switch booted successfully.
             •   The console connection is established and the console prompt is displayed on
                 the screen of a VT100 terminal switch.
     Connect the Master unit to a terminal. You can identify the Master unit by
     the illuminated Master LED on the front panel of the switch (see Figure 5-2).
     To configure the system using the Setup Wizard:
         1 Obtain the following information from the network administrator:
             •   SNMP Community String and SNMP Management System IP
                 address (optional)
             •   Username and password




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            •   The IP address to be assigned to the VLAN 1 interface through which
                the switch is to be managed (by default, every external and internal
                port is a member of the VLAN 1)
            •   The IP subnet mask for the network
            •   The default gateway (next hop router) IP address for configuring the
                default route
         2 Boot the Master unit. The system automatically prompts you to use the
           Setup Wizard.
            The Setup Wizard displays the following information:
            Welcome to Dell Easy Setup Wizard
            The Setup Wizard guides you through the initial
            switch configuration and gets you up and running
            easily and quickly. You can skip the Setup Wizard
            and enter CLI mode to manually configure the
            switch. The system will prompt you with a default
            answer; by pressing Enter, you accept the default
            value.
            You must respond to the next question to run the
            Setup Wizard within 60 seconds, otherwise the
            system will continue with normal operation using
            the default system configuration.
            Would you like to enter the Setup Wizard (you must
            answer this question within 60 seconds)? (Y/N)
         3 Enter [Y] to run the wizard. If you enter [N] or if you do not respond
           within 60 seconds, the Setup Wizard automatically exits and the CLI
           console prompt appears.
            If you enter [Y] the wizard provides interactive guidance through the
            initial switch configuration.
            The following information is displayed:
            You can exit the Setup Wizard at any time by
            entering [ctrl+Z].
            The system is not set up for SNMP management by
            default.


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            To manage the switch using SNMP (required for Dell
            Network Manager) you can:
            •   Setup the initial SNMP version 2 account now.
            •   Return later and set up the SNMP version account.
                For more information on setting up a SNMP version
                2 account, see the user documentation.
            Would you like to set up the SNMP management
            interface now? [Y/N]
         4 Enter [N] to skip to Step 7 or enter [Y] to continue the Setup Wizard. If
           you enter [Y] the following information is displayed:
            To set up the SNMP management account you must
            specify the management system IP address and the
            "community string" or password that the particular
            management system uses to access the switch. The
            wizard automatically assigns the highest access
            level [Privilege Level 15] to this account.
            You can use Dell Network Manager or other
            management interfaces to change this setting later
            and to add additional management system later. For
            more information on adding management systems, see
            the user documentation.
            To add a management station:
            Please enter the SNMP community string to be used:
         5 Enter the SNMP community string. You can use the default name "public"
            Please enter the IP address of the Management
            System (A.B.C.D) or wildcard (0.0.0.0) to manage
            from any Management Station:[0.0.0.0].
         6 Enter the SNMP Management System IP.
         7 Set up user account privilege level, as follows:
            The following information is displayed:
            Now we need to set up your initial privilege
            (Level 15) user account. This account is used to
            login to the CLI and Web interface. You may set up

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            other accounts and change privilege levels later.
            For more information on setting up user accounts
            and changing privilege levels, see the user
            documentation.
            To set up a user account:
            Enter the user name:
            Please enter the user password:
            Please reenter the user password:
         8 Enter the following:
            •   User name, for example "admin"
            •   Password and password confirmation.
         9 Press Enter.
            The following information is displayed:
            Next, an IP address is setup. The IP address is
            defined on the default VLAN (VLAN 1). This is the
            IP address you use to access the Telnet, Web
            interface, or SNMP interface for the switch.
            To set up an IP address:
            Please enter the IP address of the device
            (A.B.C.D):
            Please enter the IP subnet mask (A.B.C.D or nn):
        10 Enter the management IP address and IP subnet mask, for example
           192.168.2.100 as the IP address and 255.255.255.0 as the IP subnet mask.
        11 Press Enter.
            The following information is displayed:
            Finally, set up the default gateway.
            Please enter the IP address of the gateway from
            which this network is reachable
            (e.g. 192.168.2.1).Default gateway
            (A.B.C.D):[0.0.0.0]



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         12 Enter the default gateway.
         13 Press Enter. The following is displayed (example):
             This is the configuration information that has
             been collected:
             SNMP Interface = "Dell Network
             Manager"@192.168.2.10
             User Account setup = admin
             Password = **********
             Management IP address = 192.168.2.100
             255.255.255.0
             Default Gateway = 192.168.2.1
             The following information is displayed:
             If the information is correct, please select (Y)
             to save the configuration and copy to the start-up
             configuration file. If the information is
             incorrect, select (N) to discard configuration and
             restart the wizard: [Y/N]
         14 Enter [N] to restart the wizard or enter [Y] to complete the Setup Wizard.
            If you enter [Y] the following is displayed:
             Configuring SNMP management interface.
             Configuring user account.......
             Configuring IP and subnet......
             Thank you for using Dell Easy Setup Wizard. You
             will now enter CLI mode.
             The CLI prompt is displayed. You have finished the initial configuration.
     After the initial configuration is complete, you can manage the switch from
     the connected console port using the CLI or remotely through the
     management interface, using Telnet or the Web GUI. See the Dell
     PowerConnect 5500 Series User Guide found on the Documentation CD.




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        Advanced Switch Configuration
        This section describes how to perform various configuration operations
        through the CLI.
        It includes the following topics:
         •   Using the CLI
         •   Accessing the Device Through the CLI
         •   Retrieving an IP Address
         •   Security Management and Password Configuration
         •   Configuring Login Banners
         •   Startup Menu Procedures
         •   Software Download




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     Using the CLI
     This section provides some general information for using the CLI.
     For a complete description of CLI commands, refer to the Dell
     PowerConnect 55xx Systems CLI Reference Guide.

     Command Mode Overview
     The CLI is divided into command modes, each with a specific command set.
     Entering a question mark at the terminal prompt displays a list of commands
     available for that particular command mode.
     In each mode, a specific command is used to navigate from one mode to
     another.
     These modes are described below.

     User EXEC Mode
     During CLI session initialization, the CLI is in User EXEC mode. Only a
     limited subset of commands is available in User EXEC mode. This level is
     reserved for tasks that do not change the terminal configuration and is used
     to access configuration sub-systems.
     After logging into the device, User EXEC command mode is enabled. The
     user-level prompt consists of the host name followed by the angle bracket
     (>). For example: console>
          NOTE: The default host name is console unless it has been modified during
          initial configuration.
     The User EXEC commands enable connecting to remote devices, changing
     terminal settings on a temporary basis, performing basic tests, and listing
     system information.
     To list the User EXEC commands, enter a question mark at the command
     prompt.
     To enter the next level, Privileged EXEC mode, a password is required (if
     configured).

     Privileged EXEC Mode
      Privileged EXEC mode provides access to the device global configuration.



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        Privileged access can be protected, to prevent unauthorized access and to
        secure operating parameters. Passwords are displayed on the screen, and are
        case-sensitive.
             NOTE: The enable command is only necessary if you login with privilege level less
             than 15.
        To access and list the Privileged EXEC mode commands:
         1 At the prompt type enable and press <Enter>.
         2 When a password prompt displays, enter the password and press
           <Enter>.
             The Privileged EXEC mode prompt displays as the device host name
             followed by #. For example: console#
             To list the Privileged EXEC commands, type a question mark at the
             command prompt.
             To return from Privileged EXEC mode to User EXEC mode, type disable
             and press <Enter>.
        The following example illustrates accessing privileged EXEC mode and then
        returning to the User EXEC mode:
         console> enable
         Enter Password: ******
         console#
         console# disable
         console>

        Use the exit command to return to a previous mode.
        To configure the device, enter the next level, Global Configuration mode.

        Global Configuration Mode
        The Global Configuration mode manages device configuration on a global
        level. Global Configuration commands apply to system features, rather than a
        specific protocol or interface.




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     To access Global Configuration mode, at the Privileged EXEC Mode prompt,
     type configure and press <Enter>. The Global Configuration mode displays
     as the device host name followed by (config) and the pound sign #.

         console# configure
         console(configure)#

     To list the Global Configuration commands, enter a question mark at the
     command prompt.
     The following example illustrates how to access Global Configuration mode
     and return back to the Privileged EXEC mode:

         console#
         console# configure
         console(config)# exit
         console#

     Interface Configuration Mode
     The Interface Configuration mode configures the device at the physical
     interface level (port, VLAN, or LAG). Interface commands that require
     subcommands have another level, called the Subinterface Configuration
     mode. A password is not required to access this level.
     The following example, places the CLI in Interface Configuration mode on
     port 1/0/1. The sntp command is then applied to that port.
         console# configure
         console(config)# interface gi1/0/1
         console(config-if)# sntp client enable

     To run a command in a mode, which does not contain it, use do before the
     command, as in the following example:
         console# configure
         console(config)# interface gi1/0/1
         console(config-if)# sntp client enable
         console(config-if)# do show sntp configuration


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        Accessing the Device Through the CLI
        You can manage the device using CLI commands, over a direct connection to
        the terminal console, or via a Telnet connection.

        Direct Connection
        Connect the device to the console and enter the CLI commands upon
        receiving a prompt.

        Telnet Connection
        Telnet is a terminal emulation TCP/IP protocol. RS-232 terminals can be
        virtually connected to the local device through a TCP/IP protocol network.
        Telnet is an alternative to a local login terminal, where a remote login is
        required.
        The device supports up to four simultaneous Telnet sessions. All CLI
        commands can be used over a Telnet session.
        If access is via a Telnet connection, ensure that the device has an IP address
        and that software has been downloaded to the device.
        To start a Telnet session:
         1 Select Start > Run.
             The Run window opens.
         2 Type cmd.
             The cmd window opens.
         3 In the cmd window, type Telnet <IP address> <Enter>.
             The Telnet session begins.




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     Retrieving an IP Address
     Receiving an IP Address from a DHCP Server
     When using the DHCP protocol to retrieve an IP address, the device acts as a
     DHCP client. When the device is reset, the DHCP command is saved in the
     configuration file, but the IP address is not.
     To retrieve an IP address from a DHCP server, perform the following steps:
         1 Select and connect any port to a DHCP server or to a subnet that has a
           DHCP server on it.
         2 Type the following commands to use the selected port for receiving the IP
           address.
            a     Assigning dynamic IP Addresses on a port:
                console# configure
                console(config)# interface gi1/0/1
                console(config-if)# ip address dhcp

            b     Assigning a dynamic IP Addresses on a VLAN:
                console# configure
                console(config)# interface vlan 1
                console(config-if)# ip address dhcp

            The interface receives the IP address automatically.




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         3 To verify the IP address, type show ip interface at the system prompt, as
           shown in the following example.
                console# show ip interface
                IP Address           I/F         Type      Directed    Precedence     Status
                                                           Broadcast
                ----------------- ---------      -------- --------       --------     -----
                0.0.0.0/32            gi2/0/1     DHCP     disable       No            Valid
                10.5.234.232/24       vlan 1      Static   disable       No            Valid


        When configuring/receiving IP addresses through DHCP and BOOTP (an
        older version of DHCP), the configuration received from these servers
        includes the IP address and may include the subnet mask and default
        gateway.
            NOTE: It is not necessary to delete the device configuration to retrieve an IP
            address from the DHCP server.
            NOTE: When copying configuration files, avoid using a configuration file that
            contains an instruction to enable DHCP on an interface that connects to the same
            DHCP server, or to one with an identical configuration. In this instance, the device
            retrieves the new configuration file and boots from it. The device then enables
            DHCP, as instructed in the new configuration file, and the DHCP instructs it to reload
            the same file.
            NOTE: If you configure a DHCP IP address, this address is dynamically retrieved,
            and the ip address dhcp command is saved in the configuration file. In the event of
            master failure, the backup will again attempt to retrieve a DHCP address. This could
            result in one of the following:
            •     The same IP address may be assigned.
            •     A different IP address may be assigned, which could result in loss of
                  connectivity to the management station.
            •     The DHCP server may be down, which would result in IP address retrieval
                  failure, and possible loss of connectivity to the management station.

        Receiving an IP Address From a BOOTP Server
        The standard BOOTP protocol is supported and enables the device to
        automatically download its IP host configuration from any standard BOOTP
        server in the network. In this case, the device acts as a BOOTP client.




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     To retrieve an IP address from a BOOTP server:
         1 Select and connect any port to a BOOTP server or subnet containing such
           a server.
         2 At the system prompt, enter the delete startup configuration command to
           delete the Startup Configuration from flash.
            The device reboots with no configuration and in 60 seconds starts sending
            BOOTP requests. The device receives the IP address automatically.
            NOTE: When the device reboot begins, any input at the ASCII terminal or keyboard
            automatically cancels the BOOTP process before completion and the device does
            not receive an IP address from the BOOTP server.
     The following example illustrates the process:
         console> enable
         console# delete startup-config
         Startup file was deleted
         console# reload
         You haven’t saved your changes. Are you sure you want to
         continue (Y/N) [N]?
         This command will reset the whole system and disconnect
         your current session. Do you want to continue (Y/N) [N]?
         ************************************************
         /* the device reboots */

     To display the IP address, enter the show ip interface command.
     The device is now configured with an IP address.




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        Security Management and Password
        Configuration
        System security is handled through the Authentication, Authorization, and
        Accounting (AAA) mechanism that manages user access rights, privileges,
        and management methods. AAA uses both local and remote user databases.
        Data encryption is handled through the SSH mechanism.
        Passwords can be configured for the following services:
         •   Terminal
         •   Telnet
         •   SSH
         •   HTTP
         •   HTTPS
             NOTE: When creating a user name, the default priority is 1, which provides access
             but not configuration rights. A priority of 15 must be set to enable access and
             configuration rights to the device. Although user names can be assigned privilege
             level 15 without a password, it is recommended to always assign a password. If
             there is no specified password, privileged users can access the Web interface with
             any password.
             NOTE: Passwords can be secured by using password management commands to
             force aging out of passwords, or expiration of passwords. For more information, see
             "Management Security" on page 254.
        Initial Configuration and Password Recovery
        The system is delivered without a default password, and all passwords must be
        defined by the user. If a user-defined password is lost, a password recovery
        procedure can be invoked from the Startup menu. This procedure is
        applicable for the local terminal only and enables a single access to the device
        from the local terminal with no password entered.
        The full mode of password recovery mechanism can be enabled/disabled
        through the CLI (service password-recovery command).
        This affects password recovery in the following way:
         •   Enabled: When the password-recovery mechanism is invoked, one-time
             access to the device without a password is enabled and all configuration
             and user files are retained.


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         •   Disabled: When the password-recovery mechanism is invoked, one-time
             access to the device without a password is stilled enabled, however all
             configuration files (startup and backups) are removed and the following
             log message is generated to the terminal after boot process completed: “All
             configuration and user files were removed”

     Configuring an Initial Terminal Password
     To configure an initial terminal password, enter the following commands:
         console(config)# aaa authentication login default line
         console(config)# aaa authentication enable default line
         console(config)# line console
         console(config-line)# login authentication default
         console(config-line)# enable authentication default
         console(config-line)# password george

     Configuring an Initial Telnet Password
     To configure an initial Telnet password, enter the following commands:
         console(config)# aaa authentication login default line
         console(config)# aaa authentication enable default line
         console(config)# line telnet
         console(config-line)# login authentication default
         console(config-line)# enable authentication default
         console(config-line)# password bob




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        Configuring an Initial SSH Password
        To configure an initial SSH password, enter the following commands:
         console(config)# aaa authentication login default line
         console(config)# aaa authentication enable default line
         console(config)# line ssh
         console(config-line)# login authentication default
         console(config-line)# enable authentication default
         console(config-line)# password jones

        Configuring an Initial HTTP Password
        To configure an initial HTTP password, enter the following commands:
         console(config)# ip http authentication aaa login-
         authentication local
         console(config)# username admin password user1 privilege
         15

        Configuring an Initial HTTPS Password
        To configure an initial HTTPS password, enter the following commands:
         console(config)# ip http authentication aaa login-
         authentication local
         console(config)# username admin password user1 privilege
         15

        Enter the following commands once when configuring use of a terminal, a
        Telnet, or an SSH session, for an HTTPS session.
             NOTE: In the Web browser, enable SSL 2.0 or greater for the page content to be
             displayed.
         console(config)# crypto certificate 1 generate key-
         generate
         console(config)# ip http secure-server

             NOTE: HTTP and HTTPS services require privilege level 15 access and connect
             directly to the configuration level access.



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     Configuring Login Banners
     Banners can be defined for each line, such as console and telnet) or for all
     lines. They are disabled by default.
     The following types of banners can be defined:
         •   Message-of-the-Day Banner (motd) — Displayed when the user connects
             to the device, before login. The following defines a message-of-the-day for
             the console:
              console# configure
              console(config)# line console
              console(config-line)# motd-banner
              console(config-line)# exit
              console (config)# banner motd *
              Welcome*
              console# do show banner motd
              Welcome
              Would you like to enable this banner to all lines?
              (Y/N)[Y] Y
              console(config)#




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        •   Login Banner — Displayed after the Message-of-the-Day Banner, and
            before the user has logged in. The following defines a login banner for the
            console:
             console# configure
             console(config)# line console
             console(config-line)# login-banner
             console(config-line)# exit
             console (config)# banner login *
             Please log in*
             console# do show banner login
             Would you like to enable this banner to all lines?
             (Y/N)[Y] Y
             Please log in

        •   Exec Banner — Displayed after successful login (in all privileged levels
            and in all authentication methods). The following defines an exec banner
            for the console:
             console# configure
             console(config)# line console
             console(config-line)# exec-banner
             console(config-line)# exit
             console (config)# banner exec *
             Successfully logged in*
             Would you like to enable this banner to all lines?
             (Y/N)[Y] Y
             console# do show banner exec
             Successfully logged in




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     Startup Menu Procedures
     The Startup menu enables performing various tasks, such as software
     download, flash handling and password recovery.
     You can enter the Startup menu when booting the device. User input must be
     entered immediately after the POST test.
     To enter the Startup menu:
         •   Turn the power on. After the auto-boot messages appear, the following
             menu is displayed:
              Startup Menu
              [1]Download Software
              [2]Erase Flash File
              [3]Password Recovery Procedure
              [4]Set Terminal Baud-Rate
              [5]Stack menu
              [6]Back

     The following sections describe the available Startup menu options.
             NOTE: When selecting an option from the Startup menu, take time-out into
             account. If no selection is made within 10 seconds (default), the device times out.
             This default value can be changed through the CLI.

     Download Software - Option[1]
     The software download procedure is used to replace corrupted files or
     upgrade system software, when the device does not have IP connectivity or
     when both software images of the device are corrupted and therefore you
     cannot use the web-based management system.
             NOTE: it is highly recommended that, before loading via xmodem, the baud rate of
             the device and terminal be set to 115200.




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        To download software through the Startup menu:
         1 From the Startup menu, press [1]. The following prompt is displayed:
              Downloading code using XMODEM
              !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!

         2 When using the HyperTerminal, click Transfer on the HyperTerminal
           Menu Bar and select Send File.
         3 In the Filename field, enter the file path for the file to be downloaded.
         4 Ensure that the Xmodem protocol is selected in the Protocol field.
         5 Press Send. The software is downloaded.
             NOTE: After software download, the device reboots automatically.


        Erase FLASH File - Option[2]
        In some cases, the device Startup Configuration file must be erased. If the
        configuration is erased, all parameters configured via CLI, web-management
        or SNMP must be reconfigured.
        To erase the device configuration in the Startup Configuration file:
         1 From the Startup menu, select [2]. The following message is
           displayed:
             Warning! About to erase a Flash file.
             Are you sure (Y/N)?
         2 Press Y. The following message is displayed.
             Write Flash file name (Up to 8 characters, Enter for
             none.):
         3 Enter config ("config" is the standard name for the Startup configuration
           file although you can use any name).
             The following is displayed:
              File config (if present) will be erased after system
              initialization
              ======== Press Enter To Continue ========




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            The configuration is erased when the system is reset.

     Password Recovery - Option[3]
     If a password is lost, the Password Recovery procedure can be called from the
     Startup menu. The procedure enables entry to the device a single time
     without entering a password.
     To recover a lost password when entering the local terminal only:
         1 From the Startup menu, select [3].
         2 Continue the regular startup by logging in without a password.
         3 Enter a new password or press 'ESC' to exit.
            NOTE: To ensure device security, reconfigure passwords for applicable
            management methods.

     Set Terminal Baud-Rate - Option[4]
     To set the terminal baud-rate:
         1 Type [4] and press <Enter>.
         2 Enter the new baud rate. The following is displayed:
             Set new device baud-rate: 38,400

     Note that after this step, your terminal will no longer respond. Adjust your
     terminal speed to the configured one.

     Stack Menu - Option[5]
     To configure the stack, type [5] and press <Enter>.
     For more information, see "Assigning Unit IDs" on page 48.




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        Software Download
        This section contains instructions for downloading device software (system
        and boot images) through a TFTP server or USB port. The TFTP server must
        be configured before downloading the software.

        Software Auto Synch in Stack
        When several units are stacked, they must all run the same software version.
        When a new slave device is inserted into the stack, it is first checked for
        compatibility (meaning that the master can run firmware upgrade/downgrade
        to the slave unit), and if found compatible, its boot and image software
        versions are automatically updated with the Master’s. If the slave is found not
        compatible, it is shutdown.
        A SYSLOG message is sent when a master synchronizes a slave's software.

        System Image Download
        When the device boots, it decompresses the system image from the flash
        memory area and runs it. When a new image is downloaded, it is saved in the
        other area allocated for the other system image copy.
        On the next boot, the device decompresses and runs the image from the
        currently active system image.
        A system image can be downloaded through a USB port or a TFTP server.
        To download the system image from a TFTP server, ensure that an IP address
        is configured on one of the device ports and pings can be sent to the TFTP
        server. In addition, ensure that the file to be downloaded is saved on the
        TFTP server.
        To download a system image through the USB port or TFTP server:
         1 Enter the show version command, to verify which software version is
           currently running on the device. The following is an example of the
           information that appears:
              Unit    SW version         Boot version           HW version
              ------ ------------------- ------------------- --------
              2       1.0.0.24            1.0.0.11


              console#




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         2 Enter the show bootvar command, to verify which system image is
           currently active. The following is an example of the information that is
           displayed:
                console# show bootvar
                Unit Image     Filename     Version      Date                      Status
                ----   -----    ---------    ---------    ---------------------     ---------
                2      1        image-1      1.0.0.13     04-Aug-2010   08:27:30    Active*
                2      2       image-2      1.0.0.12     29-Jul-2010    17:02:26   Not active
                console#


         3 Enter the one of the following commands to copy a new system image to
           the current unit:
            –       copy {tftp://|usb://}{tftp address}/{file name}
                    image (current unit)
            or
            To copy a new system image to all units in the stack:
            –       copy tftp://{tftp address}/{file name}
                    unit://*/image
         4 When the new image is downloaded, it is saved in the area allocated for
           the other copy of system image (image-2, as shown in the example). The
           following is an example of the information that appears:
                console# copy tftp://176.215.31.3/file1.ros image
                Accessing file ‘file1’ on 176.215.31.3Ö
                Loading file1 from 176.215.31.3:
                !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
                Copy took 00:01:11 [hh:mm:ss]

            Exclamation symbols indicate that a copying process is in progress. Each
            symbol (!) corresponds to 512 bytes transferred successfully. A period
            indicates that the copying process is timed out. Many periods in a row
            indicate that the copying process failed.




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         5 Select the image for the next boot by entering the boot system command.
           After this command, enter the show bootvar command to verify that the
           copy indicated as a parameter in the boot system command is selected for
           the next boot.
             The following is an example of the information that appears:
              console# boot system image-2
              console# show bootvar
              Images currently available on the Flash
              Image-1 active
              Image-2 not active (selected for next boot)

             If the image for the next boot is not selected by entering the boot system
             command, the system boots from the currently active image.
         6 Enter the reload command. The following message is displayed:
              console# reload
              This command will reset the whole system and
              disconnect your current session. Do you want to
              continue (y/n) [n]?

         7 Enter Y. The device reboots.

        Boot Image Download
        Loading a new boot image from the TFTP server or USB port, updates the
        boot image. The boot image is loaded when the device is powered on. A user
        has no control over the boot image copies.
        To download a boot image through the TFTP server:




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         1 Enter the show version command to verify which software version is
           currently running on the device. The following is an example of the
           information that appears:
             console# show version
             Unit   SW version            Boot version        HW version
             ----- --------------         -----------------   ----------
             2      1.0.0.24              1.0.0.11
             console#




         2 Enter the copy {tftp://|usb://}{tftp address}/{file
           name} boot command to copy the boot image to the device. The
           following is an example of the information that appears:
             console# copy tftp://50.1.1.7/contax-10014.ros image
             01-Oct-2006 11:57:35 %COPY-I-FILECPY: Files Copy - source URL
             tftp://50.1.1.7/contax-10014.ros destination URL flash://image
             !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
             01-Sep-2010 11:57:38 %INIT-I-Startup: Cold Startup
             !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
             01-Sep-2010 11:59:05 %COPY-N-: The copy operation was completed
             successfully!
             Copy: 5954757 bytes copied in 00:01:30 [hh:mm:ss]


         3 Enter the reload command. The following message is displayed:
             console# reload
             This command will reset the whole system and
             disconnect your current session. Do you want to
             continue (Y/N) [N]?

         4 Enter Y. The device reboots.




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        Using Dell OpenManage
        Administrator
        This section provides an introduction to the Dell OpenManage Switch
        Administrator user interface.
        It contains the following topics:
         •   Starting the Application
         •   Understanding the Interface
         •   Using the Switch Administrator Buttons
         •   Field Definitions
         •   Common GUI Features
         •   CLI Commands




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     Starting the Application
             NOTE: Before starting the application the IP address must be defined. For more
             information, see "Accessing the Device Through the CLI" on page 67.
         1 Open a web browser.
         2 Enter the device’s IP address in the address bar and press <Enter>.
         3 When the Log In window displays, enter a user name and password.
             NOTE: Passwords are both case sensitive and alpha-numeric.
         4 Click OK.
             The Dell OpenManage Switch Administrator home page displays.


     Understanding the Interface
     The home page contains the following views:
         •   Tree view — Located on the left side of the home page, the tree view
             provides an expandable view of the features and their components. The
             branches in the tree view can be expanded to view all the components
             under a specific feature, or retracted to hide the feature's components. By
             dragging the vertical bar to the right, the tree area can be expanded to
             display the full name of a component.
         •   Device View — Located in on the top center of the home page, the device
             view provides information about device ports, current configuration and
             status, table information, and feature components. For further
             information, see "Device Representation" on page 85
         •   Components List — Located in the bottom center of the home page,
             contains a list of the feature components. When a feature is expanded, the
             GUI page for that feature is displayed.
         •   Information Buttons— Located at the top of the home page, provide
             access to information about the device and access to Dell Support. For
             more information, see "Information Buttons" on page 87.




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        Device Representation
        The home page contains a graphical representation of the units in the stack’s
        front panels. Figure 9-1 displays the 5548 model, but the display for the other
        models are similar.

        Figure 7-1. PowerConnect Device Port Indicators

                                        Giga Ports (odd numbered)
                                                                               Stacking Unit ID




                                        Giga Ports (even numbered)
        The graphic display on the home page displays the Unit ID and port
        indicators that specify whether a specific port is currently active. Table 9-1
        describes the port colors that are displayed and their meaning:

        Table 7-1. Port Colors
         Component             Description
        Amber                   The port is currently connected at 100 Mbps.
        Green                   The port is currently connected at 1000 Mbps
        Grey                    The port is currently disconnected

               NOTE: For more information about LEDs, see "LED Definitions" on page 38.
        To configure a port double-click on its icon.
        Only ports that are physically present are displayed in the PowerConnect
        OpenManage Switch Administrator home page, and can be configured
        through the web management system. Non-present ports can be configured
        through the CLI or SNMP interfaces.

        Port Representation
        Ports are referred to in the notation: [gi/te]x/0/z, where:

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         •   gi—Giga port
         •   te —Ten Giga port
         •   x — Unit ID
         •   z — Port number




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        Using the Switch Administrator Buttons
        This section describes the buttons found on the OpenManage Switch
        Administrator interface.

        Information Buttons
        Table 9-2 describes the information buttons that provide access to online
        support and online help, as well as information about the OpenManage
        Switch Administrator interfaces. These are displayed at the top of each page.

        Table 7-2. Information Buttons

        Button                Description
        Support               Opens the Dell Support page at support.dell.com
        About                 Contains the version and build number and Dell copyright
                              information.
        Logout                Opens the Log Out window.

        Device Management Icons
        Table 9-3 describes the device management buttons.

        Table 7-3. Device Management Icons

        Button       Icon        Description


        Apply&Save               Saves changes to the Running and Startup Configuration
                                 files.


        Help                     Open online help. The online help pages are
                                 context-sensitive. For example, if the IP Addressing page is
                                 open, the help topic for that page is displayed when Help is
                                 clicked.


        Print                    Prints the Network Management System page and/or table
                                 information.




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     Table 7-3. Device Management Icons (Continued)


      Refresh                 Refreshes device information from the Running
                              Configuration file.




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        Field Definitions
        Fields that are user-defined can contain between 1–159 characters, unless
        otherwise noted on the OpenManage Switch Administrator web page. All
        letters or characters can be used, except the following: "\ / : * ? < >"


        Common GUI Features
        Table 9-4 describes the common functions that can be performed on many
        GUI pages.

        Table 7-4. Common GUI Elements

        Button               Description
        Apply                Save changes entered in GUI page to the Running
                             Configuration file.
        Back                 Go to previous page.
        Cancel               Cancel changes entered in GUI page.
        Clear All Counters   Delete counters.
        Clear Counters       Delete selected counters.
        Clear Log            Delete entries from log.
        Clear Statistics     Delete statistics.
        Copy parameters      Copy the parameters from a selected row to the selected
        from                 target rows.
        Copy parameters      Copy the parameters from a selected port to the selected
        from port            target ports.
        Details              Shows further details relevant to the current page.
        Next                 Go to next page.
        Query                Run a query after query criteria have been entered.
        Remove               Remove checked elements in the page. If Select All is
                             selected, all elements are removed.
        Reset All Counters   Delete all counters.
        Restore Defaults     Restores parameters entered in page to default values.




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     Table 7-4. Common GUI Elements (Continued)

      Button                  Description
      Telnet                  Opens a Telnet window. This only works in the Explorer 6 and
                              Firefox browsers.


     GUI Terms
     Each GUI page in the tree view is described in the following sections. A brief
     introduction is provided along with steps specifying how to enter information
     in the page. The following terms are used:
         •   Enter — Indicates that information may be entered in the field. It does
             not imply that the field is mandatory.
         •   Select —Indicates that information may be selected from a drop-down list
             or from radio buttons.
         •   Displays —Indicates that the field is display only.


     CLI Commands
     There are certain command entry conventions that apply to all commands.
     The following table describes these conventions.

     Table 7-5. Common GUI Elements


      Button                  Description
      []                      In a command line, square brackets indicate an optional
                              entry..
      {}                      In a command line, curly brackets indicate a selection of
                              compulsory parameters separated by the | character. One
                              option must be selected. For example: flowcontrol
                              {auto|on|off} means that for the flowcontrol command
                              either auto, on, or off must be selected.
      Italic Font             Indicates a parameter value.
      Bold Italic Font        Indicates a parameter key word.
      <button-name>           Any individual key on the keyboard. For example click
                              <Enter>.



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        Button           Description
        Ctrl+F4          Any combination of keys clicked simultaneously, for example:
                         Ctrl and F4.
        Screen Display   Indicates system messages and prompts appearing on the
                         console.
        all              When a parameter is required to define a range of ports or
                         parameters and all is an option, the default for the command
                         is all when no parameters are defined. For example, the
                         command interface range port-channel has the option of
                         either entering a range of channels, or selecting all. When the
                         command is entered without a parameter, it automatically
                         defaults to all.




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                                                                          8
     Network Security
     This section describes the various mechanisms for providing security on the
     switch.
     It contains the following topics:
         •   Port Security
         •   ACLs
         •   ACL Binding
         •   Proprietary Protocol Filtering
         •   Absolute Time Range
         •   Time Range Recurrence
         •   Dot1x Authentication




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        Port Security
        Network security can be enhanced by limiting access on a port to users with
        specific MAC addresses. The MAC addresses can be dynamically learned, or
        they can be statically configured.
        Port security has the following modes:
         •   Classic Lock — Locked port security monitors both received and learned
             packets that are received on specific ports. Access to the locked port is
             limited to users with specific MAC addresses. These addresses are either
             manually defined on the port, or learned on that port before it was locked.
         •   Limited Dynamic Lock — When a packet is received on a locked port,
             and the packet’s source MAC address is not tied to that port (either it was
             learned on a different port, or it is unknown to the system), a protection
             mechanism, which provides various options is invoked. Unauthorized
             packets arriving to a locked port are either:
             –   Forwarded
             –   Discarded with no trap
             –   Discarded with a trap
             –   The port is shutdown
        Locked port security enables storing a list of MAC addresses in the
        configuration file. The MAC addresses are restored when the device is reset.
        Disabled ports can be activated from the Port Configuration page.




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     To configure port security:
         1 Click Switching > Network Security > Port Security to display the Port
           Security: Summary page.

     Figure 8-1. Port Security: Summary




            Security parameters are displayed for all ports or LAGs, depending on the
            selected interface type.
         2 To modify the security parameters for a port, select it, and click Edit.
         3 Enter the following fields:
            –   Interface — Select the interface to be configured.
            –   Current Port Status — Displays the current port status.
            –   Set Port — Select to either lock or unlock the port.
            –   Learning Mode — Set the locked port type. The Learning Mode field
                is enabled only if Locked is selected in the Set Port field. The possible
                options are:
                •    Classic Lock — Locks the port using the classic lock mechanism.
                     The port is immediately locked, regardless of the number of
                     addresses that have already been learned.

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                 •    Limited Dynamic Lock — Locks the port by deleting the
                      dynamic MAC addresses associated with the port. The port learns
                      up to the maximum addresses allowed on the port. Both
                      relearning and aging MAC addresses are enabled.
             –   Max Entries (0-128) — Enter the maximum number of MAC
                 addresses that can be learned on the port. The Max Entries field is
                 enabled only if Locked is selected in the Set Port field, and the
                 Limited Dynamic Lock mode is selected in Learning Mode field.
             –   Action on Violation — Select the action to be applied to packets
                 arriving on a locked port. The possible options are:
                 •    Discard — Discard the packets from any unlearned source.
                 •    Forward — Forward the packets from an unknown source,
                      without learning the MAC address.
                 •    Shutdown — Discard the packet from any unlearned source, and
                      shut down the port. Ports remain shutdown until they are
                      reactivated, or the device is reset.
             –   Trap — Enable/disable traps being sent when a packet is received on a
                 locked port.
             –   Trap Frequency (1-1000000) — Enter the amount of time (in
                 seconds) between traps.

        Configuring Port Security Using CLI Commands
        The following table summarizes the CLI commands for configuring port
        security.
        .
        Table 8-1. Port Security CLI Commands

        CLI Command                                    Description
        set interface active               Reactivates an interface that is
        {[gigabitethernet|tengigabitethern shutdown due to port security
        et] interface|port-channel LAG-    reasons.
        number}




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     Table 8-1. Port Security CLI Commands (Continued)

      CLI Command                                    Description
      port security max {max-addr}                   Specifies the maximum number of
      no port security max                           MAC addresses that can be learned
                                                     on the port.
                                                     Use the no form of this command
                                                     to restore the default
      port security mode {lock | max-                Configures the port security
      addresses }                                    learning mode.
      no port security mode                          Use the no form of this command
                                                     to restore the default
                                                     configuration.
      port security [forward | discard | Enables port security on an
      discard-shutdown] [trap seconds]   interface.
      no port security                               Use the no form of this command
                                                     to disable port security on an
                                                     interface.
      port security                      Configures port security on an
      [forward|discard|discard-shutdown] interface.
      [trap seconds]                     Use the no form of this command
      no port security                   to disable port security.
      show ports security                Displays lock status of specified
      [[gigabitethernet|tengigabitethern interface or of all interfaces.
      et] port-number ]|port-channel
      LAG-number]




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        The following is an example of the CLI commands:
         console # show ports security
         Port   Status   Learning          Action            Maximum   Trap      Frequency
         ------- -------- --------        --------           -------    ----     ---------
         gi1/0/1 Disabled Max-Addresses     -                   10        -         -
         gi1/0/2 Disabled Lock              -                   1         -         -
         gi1/0/3 Disabled Lock              -                   1         -         -
         gi1/0/4 Disabled Lock              -                   1         -         -
         gi1/0/5 Disabled Lock              -                   1         -         -
         gi1/0/6 Disabled Lock              -                   1         -         -
         gi1/0/7 Disabled Lock              -                   1         -         -
         gi1/0/8 Disabled Lock              -                   1         -         -
         gi1/0/9 Disabled Lock              -                   1         -         -
         gi1/0/10Disabled Lock              -                   1         -         -
         gi1/0/11Disabled Lock              -                   1         -         -
         gi1/0/12Disabled Lock              -                   1         -         -




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     ACLs
     This section describes Access Control Lists (ACLs), which enable defining
     classification actions and rules for specific ingress or egress ports.
     It contains the following topics:
         •   ACL Overview
         •   MAC-Based ACLs
         •   MAC-Based ACEs
         •   IPv4-Based ACLs
         •   IPv4-Based ACEs
         •   IPv6-Based ACLs
         •   IPv6-Based ACEs

     ACL Overview
     Access Control Lists (ACLs) enable network managers to define classification
     actions and rules for specific ingress or egress ports. Packets entering an
     ingress or egress port, with an active ACL, are either admitted or denied entry.
     If entry is denied, the ingress or egress port may be disabled, for example, a
     network administrator defines an ACL rule that states that port number 20
     can receive TCP packets, however, if a UDP packet is received, the packet is
     dropped.
     ACLs are composed of Access Control Entries (ACEs) that are rules that
     determine traffic classifications. Each ACE is a single rule, and up to 256
     rules may be defined on each ACL, and up to 3000 rules globally.
     Rules are not only used for user configuration purposes, they are also used for
     features like DHCP Snooping, Protocol Group VLAN and iSCSI, so that not
     all 3000 rules are available for ACEs. It is expected that there will be at least
     2000 rules available. If there are fewer rules available, this may be due to
     DHCP Snooping or iSCSI optimization. Reduce the number of entries in
     DHCP Snooping or reduce the max number of TCP connections in the iSCSI
     configuration in order to free rules for ACEs.
     The following types of ACLs can be defined:
         •   MAC-based ACL — Examines Layer 2 fields only
         •   IPv4-based ACL —Examines the Layer 3 layer of IPv4 frames


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         •   IPv6-based ACL —Examines the Layer 3 layer of IPv6 frames

        MAC-Based ACLs
        To define a MAC-based ACL:
         1 Click Switching > Network Security > MAC Based ACL to display the
           MAC Based ACL: Summary page.

        Figure 8-2. MAC Based ACL: Summary




             The currently-defined MAC-based ACLs are displayed.
         2 To add a new ACL, click Add ACL, and enter the name of the new ACL.




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      Configuring MAC-Based ACLs Using CLI Commands
      The following table summarizes the CLI commands for configuring
      MAC-based ACLs.

      Table 8-2. MAC Based ACL CLI Commands

      CLI Command                                  Description
      mac access-list extended acl-    Defines an ACL and places the device
      name                             in MAC-extended ACL configuration
      no mac access-list extended acl- mode.
      name                             Use the no form of this command to
                                       remove the ACL.
      show interfaces access-lists                 Displays access lists applied on
                                                   interfaces.

      The following is an example of some of the CLI commands:
          console# show access-lists
          Extended IP access list ACL1
          permit 234 172.30.40.1 0.0.0.0 any
          permit 234 172.30.8.8       0.0.0.0 any




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        MAC-Based ACEs
        To add rules to an ACL:
         1 Click Switching > Network Security > MAC Based ACE to display the
           MAC Based ACE: Summary page.

        Figure 8-3. MAC Based ACE: Summary




             The currently-defined rules for the selected ACL are displayed.
         2 To add a rule click Add ACE.
         3 Select the ACL for which a rule is being created.
         4 Enter the fields:
             –   New Rule Priority — Enter the priority of the ACE. ACEs with higher
                 priority are processed first. One is the highest priority
             –   Source MAC Address — Match the source MAC address from which
                 packets have arrived to this source address. In addition to the Source
                 MAC address, you can enter a Wildcard Mask that specifies which
                 bits in the source address are used for matching and which bits are
                 ignored. A wildcard of 00:00:00:00:00:00 means the bits must be
                 matched exactly; ff:ff:ff:ff:ff:ff means the bits are irrelevant. Any
                 combination of 0s and ffs can be used.
             –   Any — Check to indicate that the source address is not matched.


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          –   Dest. MAC Address — Match the destination MAC address to which
              packets are addressed to this address. In addition to the Destination
              MAC address, you can enter a Wildcard Mask that specifies which
              bits in the source address are used for matching and which bits are
              ignored. A wildcard of 00:00:00:00:00:00 means the bits must be
              matched exactly; ff:ff:ff:ff:ff:ff means the bits are irrelevant. Any
              combination of 0s and ffs can be used.
          –   Any — Check to indicate that the destination address is not matched.
          –   VLAN ID — Match the packet’s VLAN ID to this VLAN ID. The
              possible VLAN IDs are 1 to 4095.
          –   CoS — Match the packet’s CoS value to this CoS value.
          –   Cos Mask — Match the packet’s CoS value to one of these CoS
              values.
          –   Ether type — Match the packet’s Ethertype to this one.
          –   Time Range Name — Check to associate a time range with the ACE.
              Select one of the time ranges defined in the Time Range page.
          –   Action — Select the action taken upon a match. The following
              options are available:
              •   Permit — Forward packets that meet the ACL criteria.
              •   Deny — Drop packets that meet the ACL criteria.
              •   Shutdown — Drop packets that meet the ACL criteria, and
                  disable the port to which the packet was addressed.
          –   Logging of Dropped Packets — Check to activate logging of dropped
              packets.




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        Configuring MAC-Based ACEs Using CLI Commands
        The following table summarizes the CLI commands for configuring MAC-
        based ACEs.

        Table 8-3. MAC Based ACE CLI Commands

        CLI Command                               Description
        permit {any|source-ip-address             Sets permit conditions for an MAC
        source-wildcard}                          access list (in MAC ACL configuration
        {any|destination destination-             mode).
        wildcard} [eth-type
        0|aarp|amber|dec-
        spanning|decnet-
        iv|diagnostic|dsm|etype-6000]
        [vlan vlan-id] [cos cos cos-
        wildcard] [time-range time-
        range-name]
        deny {any|source source-                  Sets deny conditions for an MAC
        wildcard} {any|destination                access list.
        destination-wildcard} [eth-type
        0|aarp|amber|dec-
        spanning|decnet-iv | diagnostic
        |dsm|etype-6000] [vlan vlan-id]
        [cos cos cos-wildcard] [time-
        range time-range-name][disable-
        port|log-input]

        The following is an example of some of the CLI commands:
         console(config)# mac access-list extended server1
         console(config-mac-al)# permit 00:00:00:00:00:01
         00:00:00:00:00:ff any




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      IPv4-Based ACLs
      To define an IPv4-based ACL:
          1 Click Switching > Network Security > IPv4 Based ACL to display the
            IPv4 Based ACL: Summary page.

      Figure 8-4. IPv4 Based ACL: Summary




             The previously-defined IPv4 ACLs are displayed.
          2 To add a new ACL, click Add ACL.
          3 Enter the name of the new ACL. Names are case-sensitive.




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        Configuring IP-based ACLs Using CLI Commands
        The following table summarizes the CLI commands for configuring IP-based
        ACLs.

        Table 8-4. IP-Based ACL CLI Commands

        CLI Command                              Description
        ip access-list extended acl-    Defines an IPv4 access list and places
        name                            the device in IPv4 access list
        no ip access-list extended acl- configuration mode
        name                            Use the no form of this command to
                                        remove the access list.

        The following is an example of some of the CLI commands:
         console(config)# ip access-list extended server-acl

        IPv4-Based ACEs
        To add a rule to an ACL:
         1 Click Switching > Network Security > IPv4 Based ACE to display the
           IPv4 Based ACE page.

        Figure 8-5. IPv4 Based ACE: Summary




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             The currently-defined rules for the selected ACL are displayed.
          2 To add a rule, click Add ACE.
          3 Select a user-defined ACL, and enter the following fields:
             –   New ACE Priority (1-2147483647) —Enter the priority of the ACE.
                 ACEs with higher priority are processed first. One is the highest
                 priority.
             –   Protocol Select From List — Select to create an ACE, based on a
                 specific protocol. The following options are available:
                 •   ICMP — Internet Control Message Protocol (ICMP). The ICMP
                     enables the gateway or destination host to communicate with the
                     source host, for example, to report a processing error.
                 •   IGMP — Internet Group Management Protocol (IGMP).
                     Enables hosts to notify their local switch or router that they want
                     to receive transmissions assigned to a specific multicast group.
                 •   IPinIP — IP in IP. Encapsulates IP packets to create tunnels
                     between two routers. This ensures that IPIP tunnel appears as a
                     single interface, rather than several separate interfaces. IPIP
                     enables tunnel intranets occur the internet, and provides an
                     alternative to source routing.
                 •   TCP — Transmission Control Protocol (TCP). Enables two hosts
                     to communicate and exchange data streams. TCP guarantees
                     packet delivery, and guarantees that packets are transmitted and
                     received in the order they are sent.
                 •   EGP — Exterior Gateway Protocol (EGP). Permits exchanging
                     routing information between two neighboring gateway hosts in an
                     autonomous systems network.
                 •   IGP — Interior Gateway Protocol (IGP). Enables for routing
                     information exchange between gateways in an autonomous
                     network.
                 •   UDP — User Datagram Protocol (UDP). Communication
                     protocol that transmits packets but does not guarantee their
                     delivery.




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                •   HMP — Host Mapping Protocol (HMP). Collects network
                    information from various networks hosts. HMP monitors hosts
                    spread over the internet as well as hosts in a single network.
                •   RDP — Reliable Data Protocol (RDP). provide a reliable data
                    transport service for packet-based applications.
                •   IDPR — Matches the packet to the IDPR protocol.
                •   IDRP — Matches the packet to the Inter-Domain Routing
                    Protocol (IDRP).
                •   RVSP — Matches the packet to the ReSerVation Protocol
                    (RSVP).
                •   AH — Authentication Header (AH). Provides source host
                    authentication and data integrity.
                •   EIGRP — Enhanced Interior Gateway Routing Protocol
                    (EIGRP). Provides fast convergence, support for variable-length
                    subnet mask, and supports multiple network layer protocols.
                •   OSPF — The Open Shortest Path First (OSPF) protocol is a
                    link-state, hierarchical interior gateway protocol (IGP) for
                    network routing Layer Two (2) Tunneling Protocol, an extension
                    to the PPP protocol that enables ISPs to operate Virtual Private
                    Networks (VPNs).
                •   IPIP — IP over IP (IPinIP). Encapsulates IP packets to create
                    tunnels between two routers. This ensures that IPIP tunnel
                    appears as a single interface, rather than several separate
                    interfaces. IPIP enables tunnel intranets occur the internet, and
                    provides an alternative to source routing.
                •   PIM — Matches the packet to Protocol Independent Multicast
                    (PIM).
                •   L2TP — Matches the packet to Internet Protocol (L2IP).
                •   ISIS — Intermediate System - Intermediate System (ISIS).
                    Distributes IP routing information throughout a single
                    autonomous system in IP networks.
            –   Protocol ID To Match — Enter a protocol number if you did not
                select a protocol by name.
            –   Any(IP) — Check to use any protocol.


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          –   Source Port (0 - 65535) — Enter the TCP/UDP source port. Enter
              either Single, Range or select Any to include all ports.
          –   Destination Port (0 - 65535) — Enter the TCP/UDP destination port.
              Enter either a Single, Range or select Any to include all ports.
          –   Source IP Address — Enter the source IP address to which addresses
              in the packet are compared.
              •   Wildcard Mask —In addition to the Source MAC address, you
                  can enter a mask that specifies which bits in the source address are
                  used for matching and which bits are ignored. A wildcard of
                  0.0.0.0 means the bits must be matched exactly in addition to the
                  IP source address; ff.ff.ff.ff means the bits are irrelevant. Any
                  combination of 0s and ffs can be used.
              •   Any — Check to indicate that the source address is not matched.
          –   Dest. IP Address — Enter the destination IP address to which
              addresses in the packet are compared.
              •   Wildcard Mask —In addition to the Destination MAC address,
                  you can enter a mask that specifies which bits in the source
                  address are used for matching and which bits are ignored. A
                  wildcard of 0.0.0.0 means the bits must be matched exactly in
                  addition to the IP destination address; ff.ff.ff.ff means the bits are
                  irrelevant. Any combination of 0s and ffs can be used.
              •   Any — Check to indicate that the destination address is not
                  matched.
          –   TCP Flags — To use TCP flags, check the TCP Flag checkbox and
              then check the desired flag(s).
          –   ICMP — Specifies an ICMP message type for filtering ICMP packets.
              This field is available only when ICMP is selected in the Protocol
              field. The following options are available:
              •   Select from List — Select an ICMP type from the list.
              •   ICMP Type — Enter the ICMP type.
              •   Any — Check to use all ICMP types.




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            –   ICMP Code — Enter an ICMP message code for filtering ICMP
                packets that are filtered by ICMP message type or ICMP message
                code. This field is available only when ICMP is selected in the
                Protocol field. The following options are available:
                •   ICMP Code — Enter an ICMP code.
                •   Any — Check to use all ICMP codes.
            –   IGMP — IGMP packets can be filtered by IGMP message type. This
                field is available only when IGMP is selected in the Protocol field. The
                following options are available:
                •   Select from List — Select an IGMP message type from the list.
                •   IGMP Type — Enter the IGMP message type.
                •   Any — Check to use all IGMP message types.
            –   Classification — Select one of the following matching options:
                •   Match DSCP(0-63) — Matches the packet DSCP value to the
                    ACL.
                •   Match IP Precedence(0-7) — Check to enable matching
                    IP-precedence with the packet IP-precedence value. IP-
                    precedence enables marking frames that exceed the CIR
                    threshold. In a congested network, frames containing a higher DP
                    value are discarded before frames with a lower DP value. If this
                    field is checked, enter a value to be matched.
            –   Time Range Name — Check to associate a time range with the ACE.
                Select one of the time ranges defined in the Time Range page.
            –   Action — Select the ACL forwarding action. The following options
                are available:
                •   Permit — Forward packets which meet the ACL criteria.
                •   Deny — Drop packets which meet the ACL criteria.
                •   Shutdown — Drop packet that meet the ACL criteria, and disable
                    the port to which the packet was addressed.
            –   Logging of Dropped Packets — Check to activate logging of dropped
                packets.




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      Configuring IP-based ACEs Using CLI Commands
      The following table summarizes the CLI commands for configuring IP-based
      ACLs.

      Table 8-5. IP-Based ACE CLI Commands

      CLI Command                                          Description
      permit protocol {any|source-ip-address               Sets conditions to
      source-wildcard} {any|destination-ip-                allow a packet to pass
      address destination-wildcard} [dscp                  a named IP access list
      number|precedence number] [time-range                ( in access list
      time-range-name]                                     configuration mode).
      permit icmp {any|source-ip-address source- The list of protocols is
      wildcard} {any|destination-ip-address      found above.
      destination-wildcard} [any|icmp-
      type][any|icmp-code]] [dscp
      number|precedence number] [time-range
      time-range-name]
      permit igmp {any|source-ip-address source-
      wildcard} {any|destination-ip-address
      destination-wildcard}[igmp-type] [dscp
      number|precedence number] [time-range
      time-range-name]
      permit tcp {any|source-ip-address source-
      wildcard} {any|source-port/port-
      range}{any|destination-ip-address
      destination-wildcard} {any|destination-
      port/port-range } [dscp number|precedence
      number] [match-all list-of-flags] [time-
      range time-range-name]
      permit udp {any|source-ip-address source-
      wildcard} {any|source-port|port-range}
      {any|destination-ip-address destination-
      wildcard} {any|destination-port/port-range
      } [dscp number|precedence number] [match-
      all time-range-name] [time-range time-
      range-name]




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        Table 8-5. IP-Based ACE CLI Commands (Continued)

        CLI Command                                                Description
        deny protocol {any|source-ip-address                       Sets deny conditions
        source-wildcard} {any|destination-ip-                      for IPv4 access list (in
        address destination-wildcard} [dscp                        access list
        number|precedence number] [time-range                      configuration mode).
        time-range-name] [disable-port|log-input]
        deny icmp {any|source-ip-address source-
        wildcard} {any|destination-ip-address
        destination-wildcard{any|icmp-type}
        {any|icmp-code} [dscp number|precedence
        number] [time-range time-range-name]
        [disable-port|log-input]
        deny igmp {any|source-ip-address source-
        wildcard} {any|destination-ip-address
        destination-wildcard}[igmp-type] [dscp
        number|precedence number] [time-range
        time-range-name] [disable-port|log-input]
        deny tcp {any|source-ip-address source-
        wildcard} {any|source-port|port-
        range}{any|destination-ip-address
        destination-wildcard} {any|destination-
        port/port-range } [dscp number|precedence
        number] [match-all list-of-flags] [time-
        range time-range-name] [disable-port|log-
        input]
        deny udp {any|source-ip-address source-
        wildcard} {any|source-port|port-range}
        {any|destination-ip-address destination-
        wildcard} {any|destination-port|port-range
        } [dscp number|precedence number] [match-
        all time-range-name] [time-range time-
        range-name] [disable-port|log-input]

        The following is an example of some of the CLI commands:
         console(config)# ip access-list extended server
         console(config-ip-al)# permit ip 1.1.1.0 0.0.0.255
         1.1.2.0 0.0.0.0



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      IPv6-Based ACLs
      The IPv6 Based ACL Page displays and enables the creation of IPv6 ACLs,
      which check pure IPv6-based traffic. IPv6 ACLs do not check IPv6-over-IPv4
      or ARP packets.
      To define IPv6-based ACLs:
          1 Click Switching > Network Security > IPv6 Based ACL to display the
            IPv6 Based ACL: Summary page.

      Figure 8-6. IPv6 Based ACL: Summary




             A list of all of the currently defined IPv6-based ACLs is displayed.
          2 To add a new ACL, click Add ACL.
          3 Enter the name of the new ACL. Names are case-sensitive.




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        Configuring IPv6-based ACLs Using CLI Commands
        The following table summarizes the CLI commands for configuring
        IPv6-based ACLs.

        Table 8-6. IP-Based ACL CLI Commands

        CLI Command                              Description
        ipv6 access-list [access-list- Defines an IPv6 access list and places
        name]                          the device in IPv6 access list
        no ipv6 access-list [access-   configuration mode
        list-name]                               Use the no form of this command to
                                                 remove the access list.

        The following is an example of some of the CLI commands:
         console(config)# ipv6 access-list server-acl

        IPv6-Based ACEs
        To add a rule to an IPv6-based ACL:
         1 Click Switching > Network Security > IPv6 Based ACE to display the
           IPv6 ACE: Summary page.

        Figure 8-7. IPv6 Based ACE: Summary




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             The currently-defined rules for the selected ACL are displayed.
          2 To add a rule click Add ACE.
          3 Select a user-defined ACL for which a rule is being created.
          4 Enter the following fields:
             –   New Rule Priority — Enter the ACE priority that determines which
                 ACE is matched to a packet, based on a first match.
             –   Protocol Select from List — Select to create an ACE, based on a
                 specific protocol. The following options are available:
                 •   TCP — Transmission Control Protocol (TCP). Enables two
                     hosts to communicate and exchange data streams. TCP
                     guarantees packet delivery, and guarantees packets are
                     transmitted and received in the order the are sent.
                 •   UDP — User Datagram Protocol (UDP). Communication
                     protocol that transmits packets but does not guarantee their
                     delivery.
                 •   ICMP — Internet Control Message Protocol (ICMP). The
                     ICMP allows the gateway or destination host to communicate
                     with the source host. For example, to report a processing error.
                 •   IPV6 — Matches the packet to the IPV6 protocol.
             –   Protocol ID To Match — Enter a protocol.
             –   Any — Check to use any protocol.
             –   Source Port — Enter the TCP/UDP source port. Enter either a Single,
                 Range or select Any to include all ports.
             –   Destination Port — Enter the TCP/UDP destination port. Enter
                 either a Single, Range or select Any to include all ports.
             –   TCP Flags — To use TCP flags, check the TCP Flag checkbox and
                 then check the desired flag(s).
             –   ICMP — Specifies an ICMP message type for filtering ICMP packets.
                 This field is available only when ICMP is selected in the Protocol
                 field. The following options are available:
                 •   Select from List — Select an ICMP type from the list.
                 •   ICMP Type — Enter the ICMP type.



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                •   Any — Check to use all ICMP types.
            –   ICMP Code — Specifies an ICMP message code for filtering ICMP
                packets that are filtered by ICMP message type or ICMP message
                code. This field is available only when ICMP is selected in the
                Protocol field. The following options are available:
                •   ICMP Code — Enter an ICMP code.
                •   Any — Check to use all ICMP codes.
            –   Source IP Address — Enter the source IP address to which addresses
                in the packet are compared. The following options are available:
                •   Prefix Length —The number of bits that comprise the source IP
                    address prefix of the subnetwork.
                •   Any — Check to indicate that the source address is not matched.
            –   Dest. IP Address — Enter the destination IP address to which
                addresses in the packet are compared. The following options are
                available:
                •   Prefix Length —The number of bits that comprise the
                    destination IP address prefix of the subnetwork.
                •   Any — Check to indicate that the destination address is not
                    matched.
            –   Traffic Class — Select one of the following options:
                •   Match DSCP — Matches the packet DSCP value to the ACL.
                •   Match IP Precedence — Matches the IP-precedence with the
                    packet IP-precedence value. IP-precedence enables marking
                    frames that exceed CIR threshold. In a congested network, frames
                    containing a higher DP value are discarded before frames with a
                    lower DP value.
            –   Time Range Name — Check to associate a time range with the ACE.
                Select one of the time ranges defined in the Time Range page.
            –   Action — The ACL forwarding action. The following options are
                available:
                •   Permit — Forwards packets that meet the ACL criteria.
                •   Deny — Drops packets that meet the ACL criteria.



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           –   Shutdown — Drops packet that meet the ACL criteria, and disables
               the port to which the packet was addressed.
           –   Logging of Dropped Packets — Check to activate logging of dropped
               packets.

      Configuring IP-based ACEs Using CLI Commands
      The following table summarizes the CLI commands for configuring IP-based
      ACLs.

      Table 8-7. IP-Based ACE CLI Commands

      CLI Command                                            Description
      permit protocol {any|{source-prefix/length Sets permit conditions
      }{any|destination- prefix/length } [dscp   for IPv6 access list.
      number|precedence number] [time-range
      time-range-name]
      permit icmp {any|{source-prefix/length
      }{any|destination-prefix/length }
      {any|icmp-type}{any|icmp-code} [dscp
      number|precedence number] [time-range
      time-range-name]
      permit tcp {any|{source-prefix/length }
      {any|source-port/port-range}
      }{any|destination prefix/length }
      {any|destination-port/port-range} [dscp
      number|precedence number] [match-all list-
      of-flags] [time-range time-range-name]
      permit udp {any|{source-prefix/length }}
      {any|source-port|port-range}
      }{any|destination prefix/length }
      {any|destination-port/port-range} [dscp
      number|precedence number] [time-range
      time-range-name]




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        Table 8-7. IP-Based ACE CLI Commands (Continued)

        CLI Command                                                Description
        deny protocol {any|{source-prefix/length                   Sets deny conditions
        }{any|destination-prefix|length} [dscp                     for IPv4 access list (in
        number|precedence number] [time-range                      Access List
        time-range-name] [disable-port|log-input]                  Configuration mode).
        deny icmp {any|{source-prefix/length
        }{any|destination-prefix/length }
        {any|icmp-type} {any|icmp-code} [dscp
        number|precedence number] [time-range
        time-range-name] [disable-port|log-input]
        deny tcp {any|{source-prefix/length }
        {any|source-port/port-range}
        }{any|destination-prefix/length}
        {any|destination-port/port-range} [dscp
        number|precedence number] [match-all list-
        of-flags] [time-range time-range-name]
        [disable-port|log-input]
        deny udp {any|{source-prefix/length }}
        {any|source-port/port-range}
        }{any|destination-prefix|length}
        {any|destination-port/port-range} [dscp
        number|precedence number] [time-range
        time-range-name] [disable-port|log-input]

        The following is an example of some of the CLI commands:
         console(config)# ipv6 access-list server
         console(config-ipv6-al)# permit tcp 3001::2/64 any any 80




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      ACL Binding
      When an ACL is bound to an interface, all the rules that have been defined
      for the ACL are applied to that interface. Whenever an ACL is assigned on a
      port or LAG, flows from that ingress or egress interface that do not match the
      ACL, are matched to the default rule, which is to Drop unmatched packets.
      To change the default action for unmatched packets to an action other than
      Drop, do the following:
          •   Add an additional ACE to the ACL with "Any" in all fields
          •   Set its action other than Drop
          •   Set the priority to the lowest in the ACL.


      To bind ACLs to interfaces:
          1 Click Switching > Network Security > ACL Binding to display the ACL
            Binding: Summary page.

      Figure 8-8. ACL Binding: Summary




              The ports on the selected unit are displayed along with their associated
              ACLs.


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            2 To bind an ACL to an interface, select an interface and click Edit.
            3 Select an ACL(s). You can select one of each type (MAC-based ACL,
              IPv4-based ACL or IPv6-based ACL) or one IPv4-based ACL and one
              IPv6-based ACL.

        Configuring ACL Bindings Using CLI Commands
        The following table summarizes the CLI commands for configuring ACL
        Bindings.
        .
        Table 8-8. ACL Bindings CLI Commands

        CLI Command                                   Description
        service-acl input acl-name1                   Controls access to an interface
        [acl-name2]                                   Use the no form of the command to
        no service-acl input                          remove access control.
        show access-lists [acl-name]                  Displays access control lists (ACLs)
                                                      configured on the switch.

        The following is an example of some of the CLI commands:
            console(config)# mac access-list extended server
            console(config-mac-al)# permit 00:00:00:00:00:01
            00:00:00:00:00:ff any
            console(config-mac-al)# exit
            console(config)# interface gi1/0/1
            console(config-if)# service-acl input server




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      Proprietary Protocol Filtering
      Protocol filters are used to disallow receiving specific proprietary protocol
      packets through an interface. These can be enabled for specific ports.
      If a protocol filter is enabled on a port, you cannot enable a QoS ACL on this
      port.
      To configure Proprietary Protocol Filtering:
          1 Click Switching > Network Security > Proprietary Protocol Filtering to
            display the Proprietary Protocol Filtering: Summary page.

      Figure 8-9. Proprietary Protocol Filtering: Summary




             A list of the ports and their filtered protocols is displayed.
          2 Click Edit to modify the filtered protocols for a specific port.
          3 Select a unit and an interface.




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            4 Move the required protocols from the Available Protocols list to the
              Filtered Protocols list. The following displays the protocols and the
              addresses that are blocked:
        Table 8-9. Protocol Filtering

                Protocol         Destination Address                Protocol Type
                blockcdp         0100.0ccc.cccc                     0x2000
                blockvtp         0100.0ccc.cccc                     0x2003
                blockdtp         0100.0ccc.cccc                     0x2004
                blockudld        0100.0ccc.cccc                     0x0111
                blockpagp        0100.0ccc.cccc                     0x0104
                blocksstp        0100.0ccc.cccd                     -
                blockall         0100.0ccc.ccc0 - 0100.0ccc.cccf    -

        Configuring Proprietary Protocol Filtering Using CLI Commands
        The following table summarizes the CLI commands for setting fields in the
        Proprietary Protocol Filtering pages.
        Only one of the following CLI commands can be active on a port at the same
        time. To add other protocol filters, the command must be negated and then
        run again with all the required protocol names.
        .
        Table 8-10.   Proprietary Protocol Filtering CLI Commands

        CLI Command                                     Description
        service-acl input protocol1                     Discards packets that are classified to
        [protocol2 … protocol6]                         specific protocols.
        no service-acl input                            Use the no form of those commands
                                                        to disable discarding of the packets.

        The following is an example of some of the CLI commands:
            console (Config-if)# service-acl input blockcdp blockvtp




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      Time Range
      Time ranges can be defined and associated with an QoS ACL, so that it is
      applied only during that time range.
      There are two types of time ranges:
          •   Absolute —This type of time range begins on a specific date or
              immediately and ends on a specific date or extends infinitely. It is created
              in the Time Range pages. A recurring element can be added to it.
          •   Recurring — This is a time range element that is added to an absolute
              range, and begins and ends on a recurring basis. It is defined in the Time
              Range Recurrence pages.
      If a time range includes both absolute and recurring ranges, the ACL is
      activated only if both absolute start time and the recurring time range have
      been reached. The ACL is deactivated when either of the time ranges is
      reached.
      The switch supports a maximum of 10 absolute time ranges.
      All time specifications are interpreted as local time (Daylight Savings Time
      does not affect this).
      To ensure that the time range entries take effect at the desired times, the
      system time must be set. For more information on setting the system time,
      see "Time Synchronization" on page 162.
      A possible use for this feature is to limit access of computers to the network
      only during business hours, after which they are locked, and access to the rest
      of the network is blocked.




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        Absolute Time Range
        To define an absolute time range:
         1 Click Switching > Network Security > Time Range to display the Time
           Range: Summary page.

        Figure 8-10. Time Range: Summary




             The existing Time Ranges are displayed.
         2 To add a new time range, click Add.
         3 Enter the name of the time range in the Time Range Name field.
         4 Define the Absolute Start time.
             –   To begin the Time Range immediately, click Immediate.
             –   To determine at what time in the future the Time Range will begin,
                 enter values in the Date and Time fields.



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          5 Define the Absolute End time.
             –   To indicate that the Time Range should not end, click Infinite.
             –   To determine the time at which the Time Range ends, enter values in
                 the Date and Time fields.
      See "Configuring Time Ranges Using CLI Commands" on page 125 for the
      CLI commands for creating time ranges.

      Time Range Recurrence
      To add a recurring time range element to an absolute time range:
          1 Click Switching > Network Security > Time Range Recurrence to display
            the Recurring Time Range: Summary page.

      Figure 8-11. Recurring Time Range: Summary




             A daily and weekly recurring element of the time range that is selected is
             displayed if they exist.


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          2 To add a recurring time range element to a time range, click Add.
          3 Select the Time Range Name to which you want to add the Time Range
            Recurrence. The Absolute Start and Absolute End fields are displayed.
          4 Check if the recurrence is Daily or Weekly in Recurrence type.
          5 If the recurrence is Daily, enter:
              –       Start Time — Select the time on which the time range starts.
              –       End Time— Select the time on which the time range ends.
              –       Weekday — Select the day of the week on which the time range
                      occurs.
          6 If the recurrence is Weekly, enter:
                      •    Start — Select the Day of the Week and Time on which the time
                           range starts.
                      •    End —Select the Day of the Week and Time on which the time
                           range ends.

        Configuring Time Ranges Using CLI Commands
        The following table summarizes the CLI commands for configuring time
        ranges.

        Table 8-11.       Time Range CLI Commands

        CLI Command                                         Description
        time-range time-range-name                          Enables time-range configuration
        no time-range time-range-name                       mode, and defines time ranges for
                                                            functions (such as access lists).
                                                            Use the no form of this command
                                                            to remove the time range
                                                            configuration.
        absolute start hh:mm day month                      Adds start and end times to the
        year                                                time range.
        no absolute start                                   Use the no form of the commands
        absolute end hh:mm day month year                   to remove the start and end times
                                                            from the time range.
        no absolute end




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      Table 8-11. Time Range CLI Commands (Continued)

      CLI Command                                       Description
      periodic day-of-the-week hh:mm to                 Adds a recurring time range to the
      day-of-the-week hh:mm                             time range.
      no periodic day-of-the-week hh:mm                 Use the no form of the commands
      to day-of-the-week hh:mm periodic                 to remove the recurring time
      list hh:mm to hh:mm day-of-the-                   range.
      week1 [day-of-the-week2… day-of-
      the-week7]
      no periodic list hh:mm to hh:mm
      day-of-the-week1 [day-of-the-
      week2… day-of-the-week7]
      periodic list hh:mm to hh:mm all
      no periodic list all hh:mm to
      hh:mm all

      The following is an example of some of the CLI commands:
          console (config)# time-range http-allowed
          console (config-time-range)# absolute start 12:00 1 jan
          2005 end 12:00 31 dec 2005
          console (config-time-range)# periodic monday 8:00 to
          friday 20:00




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        Dot1x Authentication
        This section describes Dot1x authentication.
        It contains the following topics:
         •   Port-Based Authentication Overview
         •   Dot1x Overview
         •   Port-Based Authentication Global
         •   Port-Based Authentication Interface Settings
         •   Monitoring Users
         •   Host Authentication
         •   Port Authentication Users

        Port-Based Authentication Overview
        Port-based authentication enables authenticating system users on a per-port
        basis via an external server. Only authenticated and approved system users
        can transmit and receive data. Ports are authenticated via the RADIUS server
        using the Extensible Authentication Protocol (EAP). Port Authentication
        includes:
         •   Authenticators — Specifies the device port that is authenticated before
             permitting system access.
         •   Supplicants — Specifies the host connected to the authenticated port hat
             is requesting to access the system services.
         •   Authentication Server — Specifies the external server, for example, a
             RADIUS server, which performs authentication on behalf of the
             authenticator, and indicates whether the supplicant is authorized to access
             system services.
        Port-based authentication creates two access states:
         •   Controlled Access — Permits communication between the supplicant and
             the system, if the supplicant is authorized.
         •   Uncontrolled Access — Permits uncontrolled communication, regardless
             of the port authorization state.




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      The device supports Port Based Authentication via RADIUS servers.

      Dot1x Overview
      Dot1x is an IEEE standard for port-based network access control. The Dot1x
      framework enables a device (the supplicant) to request port access from a
      remote device (authenticator) to which it is connected. The supplicant is
      permitted to send data to the port only after it is authenticated and
      authorized. If it is not authenticated and authorized, the authenticator
      discards the supplicant data, unless the data is sent to a Guest VLAN and/or
      non-authenticated VLANs.
      Authentication of the supplicant is performed by an external RADIUS server
      through the authenticator. The authenticator monitors the results of the
      authentication.
      In the Dot1x standard, a device can be a supplicant and an authenticator at a
      port, simultaneously requesting and granting port access. However, this
      device can only act as an authenticator, and does not take on the role of a
      supplicant.
      The following varieties of Dot1x exist:
          •   Single session Dot1x:
              –   A1—Single-session/Single Host — In this mode, the switch, as an
                  authenticator, supports a single Dot1x session, and grants permission
                  to use the port to an authorized supplicant. All other access requests,
                  made by other devices received from the same port, are denied until
                  the authorized supplicant is no longer using the port, or the access
                  request is to an unauthenticated or guest VLAN.
              –   Single-session/Multiple Hosts—This follows the Dot1x standard. In
                  this mode, the switch, as an authenticator, enables any device to use a
                  port, as long as it has been granted permission as a supplicant at the
                  port.
          •   Multi-Session Dot1x—Every device (supplicant) connecting to a port
              must be authenticated and authorized by the switch (authenticator),
              separately in a different Dot1x session. This is the only mode that supports
              Dynamic VLAN Assignment (DVA).




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        Dynamic VLAN Assignment (DVA)
        Dynamic VLAN Assignment (DVA) is also referred to as RADIUS VLAN
        Assignment in this guide. When a port is in Multiple Session mode and is
        DVA-enabled, the switch automatically adds the port as an untagged member
        of the VLAN that is assigned by the RADIUS server during the authentication
        process. The switch classifies untagged packets to the assigned VLAN if the
        packets originated from the devices or ports that are authenticated and
        authorized.
        For a device to be authenticated and authorized at a DVA-enabled port:
         •   The RADIUS server must authenticate the device and dynamically assign
             a VLAN to the device.
         •   The assigned VLAN must not be the default VLAN and must have been
             created on the switch.
         •   The switch must not be configured to use both a DVA and a MAC-based
             VLAN group.
         •   A RADIUS server must support DVA with RADIUS attributes tunnel-type
             (64) = VLAN (13), tunnel-media-type (65) = 802 (6), and tunnel-private-
             group-id = a VLAN ID.

        Dynamic Policy/ACL Assignment
        The Dynamic Policy/ACL Assignment feature enables specifying a user-
        defined ACL or policy in the RADIUS server. After a successful
        authentication, the user is assigned that ACL.

        Authentication Methods
        The possible authentication methods are:
         •   Dot1x — The switch supports this authentication mechanism, as
             described in the standard, to authenticate and authorize Dot1x
             supplicants.
         •   MAC-based — The switch can be configured to use this method to
             authenticate and authorize devices that do not support Dot1x. The switch
             emulates the supplicant role on behalf of the non-Dot1x-capable devices,
             and uses the MAC address of the devices as the username and password,
             when communicating with the RADIUS servers. MAC addresses for



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              username and password must be entered in lower case and with no
              delimiting characters (for example: aaccbb55ccff). To use MAC-based
              authentication at a port:
              –   A Guest VLAN must be defined.
              –   The port must be Guest-VLAN-enabled.
              –   The packets from the first supplicant, at the port before it is
                  authorized, must be untagged.
      You can configure a port to use Dot1x only, MAC-based only, or Dot1x and
      MAC-based authentication. If a port is configured to use both Dot1x and
      MAC-based authentication, a Dot1x supplicant has precedence over a
      non-Dot1x device. The Dot1x supplicant preempts an authorized, but
      non-Dot1x device, at a port that is configured with a single session.

      Unauthenticated VLAN and Guest VLANs
      Unauthenticated VLANs and Guest VLANs provide access to services that do
      not require the subscribing devices or ports to be Dot1x or MAC-Based
      authenticated and authorized.
      An unauthenticated VLAN is a VLAN that allows access by authorized and
      unauthorized devices or ports. You can configure one or more VLAN to be
      unauthenticated in the VLAN Membership pages in "VLANs" on page 459.
      An unauthenticated VLAN has the following characteristics:
          •   It must be a static VLAN, and cannot be the Guest VLAN or the default
              VLAN.
          •   The VLAN’s member ports must be manually configured as tagged
              members.
          •   The member ports must be trunk and/or general ports. An access port
              cannot be member of an unauthenticated VLAN.
      The Guest VLAN, if configured, is a static VLAN with the following
      characteristics.
          •   It must be manually defined from an existing, static VLAN.
          •   It is automatically available only to unauthorized devices, or to ports of
              devices that are connected and Guest VLAN enabled.




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         •   If a port is Guest-VLAN-enabled, the switch automatically adds the port as
             an untagged member of the Guest VLAN when the port is not authorized,
             and removes the port from the Guest VLAN when the first supplicant of
             the port is authorized.
         •   The Guest VLAN cannot be used as both the Voice VLAN and an
             unauthenticated VLAN.
        The switch also uses the Guest VLAN for authentication at ports configured
        with Multiple Session mode and MAC-based authentication. Therefore, you
        must configure a Guest VLAN before you can use the MAC-based
        authentication mode.
        For authentication to function, it must be activated both globally, in the Port-
        Based Authentication Global page and individually on each port, in the Port-
        Based Authentication Interface Settings pages.

        Monitoring Mode
        Monitoring mode enables providing users who fail authentication with
        limited network access. This enables these users to correct the reason that the
        authentication failed.
        The following are the main aspects of this feature:
         •   Enables successful authentications using the returned RADIUS
             information
         •   Provides a mechanism to report unsuccessful authentications without
             negative repercussions to the user due to administrator errors
         •   Accurately reports the data received from the successful and non-
             successful operations so that appropriate changes to problem areas may be
             made.
        The Dot1x monitoring activation command includes a special VLAN that is
        used when there is no access interface configuration present and the client(s)
        unsuccessfully authenticates. These clients are placed in the special VLAN.
        For users that unsuccessfully authenticate during re-authentication process,
        but already have existing VLANs configured, the failure to authenticate does
        not put them in a disabled state but places them back to the existing
        configuration.




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      Port-Based Authentication Global
      To globally configure authentication:
          1 Click Switching > Network Security > Dot1 Authentication > Port
            Based Authentication Global to display the Port Based Authentication
            Global page.

      Figure 8-12. Port Based Authentication Global




          2 Enter the following fields:
             –   Port Based Authentication State — Enable/disable port-based
                 authentication.
             –   Authentication Method — Select an authentication method. The
                 possible options are:




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                      •     RADIUS, None — Perform port authentication first by using the
                            RADIUS server. If no response is received from RADIUS (for
                            example, if the server is down), then no authentication is
                            performed, and the session is permitted.
                      •     RADIUS — Authenticate the user on the RADIUS server. If no
                            authentication is performed, the session is not permitted.
                      •     None — Do not authenticate the user. Permit the session.
              –       Guest VLAN — Enable/disable the use of a Guest VLAN for
                      unauthorized ports. If a Guest VLAN is enabled, all unauthorized
                      ports automatically join the VLAN selected in the Guest VLAN ID
                      field. If a port is later authorized, it is removed from the Guest VLAN.
              –       VLAN List — Select the Guest VLAN from the VLAN list.
              –       Monitoring Mode — Enable/disable logging authentication attempts.
              –       Monitoring VLAN — Enter the ID of the VLAN to which traffic
                      being monitored is routed after unsuccessful Dot1x authentication.
              –       Accept Supplicant when Dynamic Policy/ACL Assignment Has No
                      Resources — If no resources remain in the TCAM, the system can
                      either reject (disable) or allow (enable) successful authentication.

        Enabling Port-Based Authentication Globally Using the CLI Commands
        The following table summarizes the CLI commands for enabling the port
        based authentication as displayed in the Port Based Authentication Global
        page.

        Table 8-12.       Port-Based Authentication Global CLI Commands

        CLI Command                                   Description
        aaa authentication dot1x                      Specifies one or more AAA methods for
        default method1 [method2]                     use on interfaces running IEEE 802.1X.
        no aaa authentication dot1x                   Use the no form of this command to
        default                                       restore the default configuration.
        dot1x system-auth-control                     Enables 802.1x globally.
        no dot1x system-auth-control Use the no form of this command to
                                     restore the default configuration.




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      Table 8-12. Port-Based Authentication Global CLI Commands (Continued)

      CLI Command                                 Description
      dot1x system-auth-control                   Enables 802.1x globally the 802.1x
      monitor [vlan vlan-id]                      Monitoring mode and define the Monitor
      no dot1x system-auth-control                VLAN.
      monitor                                     Use the no format of the command to
                                                  return to default.
      dot1x guest-vlan                            Contains a list of VLANs. The guest
      no dot1x guest-vlan                         VLAN is selected from the VLAN List.
                                                  Use the no form of this command to
                                                  disable access.
      show dot1x                                  Displays 802.1X status for the device.

      The following is an example of the CLI commands:
          console(config)# aaa authentication dot1x default none
          console(config)# interface vlan 5
          console# show dot1x
          802.1x is disabled
                     Admin               Oper           Reauth    Reauth      Username
          Port       Mode                Mode           Control   Period
          -------- ------------------ ------------- -------- -------          --------
          gi1/0/1    Force Authorized    Authorized*    Disabled 3600         n/a
          gi1/0/2    Force Authorized    Authorized*    Disabled 3600         n/a
          gi1/0/3    Force Authorized    Authorized*    Disabled 3600         n/a
          gi1/0/4    Force Authorized    Authorized*    Disabled 3600         n/a




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        Port-Based Authentication Interface Settings
        To configure 802.1x authentication on an interface:
         1 Click Switching > Network Security > Dot1 Authentication > Port
           Based Authentication Interface Settings to display the Port Based
           Authentication Interface Settings: Summary page.

        Figure 8-13. Port Based Authentication Interface Settings




             Port parameters for the selected unit are displayed.
         2 Click Edit.
         3 Select a port for which the authentication parameters apply in the
           Interface drop-down list.
         4 Enter the parameters:
             –    User Name — Displays the username of the port.
             –    Admin Interface Control — Select the port authorization state. The
                  possible options are:
                  •   Auto — Enables port-based authentication on the interface. The
                      interface moves between an authorized or unauthorized state,
                      based on the authentication exchange between the device and the
                      client.


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              •   Authorized — Places the interface into an authorized state
                  without being authenticated. The interface resends and receives
                  normal traffic without client port-based authentication.
              •   Unauthorized — Denies the selected interface system access by
                  moving the interface into unauthorized state. The device cannot
                  provide authentication services to the client through the
                  interface.
          –   Current Interface Control — Displays the current port authorization
              state.
          –   Authentication Type — Select the type of authentication on the port.
              The possible options are:
              •   802.1x Only — 802.1X authentication is the only authentication
                  method performed on the port.
              •   MAC Only — Port is authenticated, based on the supplicant
                  MAC address. Only eight MAC-based authentications can be
                  used on the port.
              •   802.1x & MAC — Both 802.1X and MAC-based authentication
                  are performed on the switch. The 802.1X authentication takes
                  precedence.
          NOTE: For MAC authentication to succeed, the RADIUS server supplicant
               username and password must be the supplicant MAC address. The MAC
               address must be in lower case letters and entered without the “:” or “-”
               separators; for example: 0020aa00bbcc.
          –   Dynamic VLAN Assignment — Enable/disable dynamic VLAN
              assignment for this port. This feature enables you to automatically
              assign users to VLANs during the RADIUS server authentication.
              When a user is authenticated by the RADIUS server, the user is
              automatically joined to the VLAN configured on a RADIUS server.
              •   Port Lock and Port Monitor should be disabled when DVA is
                  enabled.
              •   Dynamic VLAN Assignment (DVA) can occur only if a RADIUS
                  server is configured, and port authentication is enabled and set to
                  802.1x multi-session mode.
              •   If the RADIUS Accept Message does not contain the supplicant’s
                  VLAN, the supplicant is rejected.


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                •   Authenticated ports are added to the supplicant VLAN as
                    untagged.
                •   Authenticated ports remain unauthenticated VLAN and Guest
                    VLAN members. Static VLAN configuration is not applied to the
                    port.
                •   The following list of VLANs cannot participate in DVA: an
                    Unauthenticated VLAN, a Dynamic VLAN that was created by
                    GVRP, a Voice VLAN, a Default VLAN and a Guest VLAN.
                •   Delete the supplicant VLAN while the supplicant is logged in.
                    The supplicant is authorized during the next re-authentication if
                    this supplicant VLAN is re-created, or a new VLAN is configured
                    on the RADIUS server.
            NOTE: DVA provides the same functionality as the MAC to VLAN Assignment
                feature, but does so in a standard way. Therefore, when DVA is available,
                MAC to VLAN Assignment is not available.
            –   Guest VLAN — Enable/disable port access to the Guest VLAN. If
                enabled, unauthorized users, connected to this interface, can access
                the Guest VLAN.
            –   Dynamic Policy / ACL Assignment — Enable/disable this feature.
            –   Periodic Reauthentication — Select to enable port re-authentication
                attempts after the specified Reauthentication Period.
            –   Reauthentication Period (300-4294967295) — Enter the number of
                seconds after which the selected port is reauthenticated.
            –   Reauthenticate Now — Select to enable immediate port
                re-authentication.
            –   Authentication Server Timeout (1-65535) — Enter the time interval
                that lapses before the device resends a request to the authentication
                server. The field value is specified in seconds.
            –   Resending EAP Identity Request (1-65535) — Enter the amount of
                time that lapses before EAP request are resent.
            –   Quiet Period (0-65535) — Enter the number of seconds that the
                device remains in the quiet state, following a failed authentication
                exchange.




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           –   Supplicant Timeout (1-65535) — Enter the amount of time that
               lapses before EAP requests are resent to the supplicant. The field
               value is in seconds.
           –   Max EAP Requests (1-10) — Enter the maximum number of EAP
               requests that can be sent. If a response is not received after the defined
               period (supplicant timeout), the authentication process is restarted.

      Enabling Port-Based Authentication on Interfaces Using the CLI Commands
      The following table summarizes the CLI commands for enabling the port
      based authentication as displayed in the Port Based Authentication Global
      page.

      Table 8-13. Port-Based Authentication Interface CLI Commands

      CLI Command                              Description
      dot1x port-control {auto |               Enables manual control of the port
      force-authorized | force-                authorization state.
      unauthorized}                            Use the no form of this command to
      no dot1x port-control                    restore the default configuration.
      dot1x mac-authentication                 Enables authentication based on the
      {mac-only|mac-and-802.1x}                station’s MAC address.
      no dot1x mac-authentication              Use the no form of this command to
                                               disable access.
      dot1x radius-attributes vlan Enables user-based VLAN assignment.
      no dot1x radius-attributes               Use the no form of this command to
      vlan                                     disable user-based VLAN assignment.
      dot1x guest-vlan enable                  Enables unauthorized users on the
      no dot1x guest-vlan enable               interface access to the guest VLAN.
                                               Use the no form of this command to
                                               disable access.
      dot1x max-req count                      Sets the maximum number of times that
      no dot1x max-req                         the device sends an EAP to the client,
                                               before restarting the authentication
                                               process.
                                               Use the no form of this command to
                                               restore the default configuration.



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        Table 8-13.   Port-Based Authentication Interface CLI Commands (Continued)

        CLI Command                                Description
        dot1x re-authentication                    Enables periodic re-authentication of the
        no dot1x re-authentication                 client.
                                                   Use the no form of this command to
                                                   restore the default configuration.
        dot1x timeout re-authperiod                Sets the number of seconds between re-
        seconds                                    authentication attempts.
        no dot1x timeout supp-timeout Use the no form of this command to
                                      restore the default configuration.
        dot1x re-authenticate        Manually initiates a re-authentication of
        [[gigabitethernet|tengigabit all 802.1X-enabled ports or the specified
        ethernet] port-number]       802.1X-enabled port.
        dot1x timeout quiet-period    Sets the number of seconds that the
        seconds                       device remains in the quiet state following
        no dot1x timeout quiet-period a failed authentication exchange.
                                      Use the no form of this command to
                                      restore the default configuration.
        dot1x timeout server-timeout               Sets the time for the retransmission of
        seconds                                    packets to the authentication server.
        no dot1x timeout server-                   Use the no form of this command to
        timeout                                    restore the default configuration.
        dot1x timeout supp-timeout                 Sets the time for the retransmission of an
        seconds                                    EAP request frame to the client.
        no dot1x timeout supp-timeout Use the no form of this command to
                                      restore the default configuration.
        dot1x timeout tx-period                    Sets the number of seconds that the
        seconds                                    device waits for a response to an EAP -
        no dot1x timeout tx-period                 request/identity frame, from the client,
                                                   before resending the request.
                                                   Use the no form of this command to
                                                   restore the default configuration.
        show dot1x                   Displays 802.1X status for the device or
        [[gigabitethernet|tengigabit for the specified interface.
        ethernet] port-number]



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      Table 8-13. Port-Based Authentication Interface CLI Commands (Continued)

      CLI Command                              Description
      show dot1x advanced                      Displays 802.1X advanced features for the
                                               switch or specified interface.
      show dot1x users [username               Displays 802.1X users for the device.
      username]
      dot1x guest-vlan enable                  Enables using a guest VLAN for
      no dot1x guest-vlan enable               unauthorized ports.
                                               Use the no form of this command to
                                               restore the default configuration.

      The following is an example of the CLI commands:
          console(config)# aaa authentication dot1x default none
          console(config)# interface vlan 5
          console(config-if)# dot1x auth-not-req
          console(config)# vlan database
          console(config-vlan)# vlan 2
          console(config-vlan)# exit
          console(config)# interface vlan 2
          console(config-if)# dot1x guest-vlan
          console# show dot1x


          Interface Admin          Oper Mode        Reauth        Reauth      Username
                    Mode                            Control       Period
          --------    -------      ----------       --------      ------      --------
          gi1/0/1     Auto         Authorized       Enabled       3600        Bob
          gi1/0/2     Auto         Authorized       Enabled       3600        John
          gi1/0/3     Auto         Unauthoriz       Enabled       3600        Clark
                                   ed
          gi1/0/4     Force-       Authorized       Disabled      3600        n/a
                      auth




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        Monitoring Users
        Use the Monitoring Users page to view rejected users.
         1 Click Switching > Network Security > Dot1 Authentication >
           Monitoring Users to display the Monitoring Users page.

        Figure 8-14. Monitoring Users




         2 Select a supplicant that was authenticated on the port. The supplicant’s
           information is displayed.
             –   User Name — Name assigned to this port.
             –   Port — Number of port.
             –   VLAN — Port belongs to this VLAN.
             –   MAC Address — Source of traffic.
             –   Reject Reason — Reason that traffic was rejected. See Table 8-14 for a
                 list of the possible reject reasons.
             –   Time — Time that traffic was rejected.



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      Table 8-14. Reject Reason Description

      Abbreviation         Description
      ACL-DEL              ACL was deleted by a user.
      ACL-NOTEXST          ACL sent by the RADIUS server does not exist on the device.
      ACL-OVRFL            ACL sent by the RADIUS server cannot be applied because of
                           TCAM overflow.
      AUTH-ERR             Rejected by RADIUS due to wrong user name or password in
                           the RADIUS server.
      FLTR-ERR             RADIUS accept message contains more than two filter IDs.
      FRS-MTH-DENY         First method is deny.
      IPv6WithMAC          RADIUS accept message contains filter with IPv6 DIP and
                           MAC addresses.
      IPV6WithNotIP        RADIUS accept message contains IPv6 and not IP
                           simultaneously.
      POL-BasicMode        Policy is not supported in the QoS basic mode.
      POL-DEL              Policy was deleted by a user.
      POL-OVRFL            Policy sent by radius server can not be applied because of
                           TCAM overflow.
      RAD-APIERR           RADIUS API returned error (e.g. No RADIUS server is
                           configured).
      RAD_INVLRES          RADIUS server returned invalid packet (e.g. EAP attribute is
                           missing).
      RAD-NORESP           RADIUS server is not responding.
      VLAN-DFLT            VLAN sent by a RADIUS server cannot be applied because it
                           is the default VLAN.
      VLAN-DYNAM           VLAN sent by RADIUS server cannot be applied because it is
                           a dynamic VLAN.
      VLAN-GUEST           VLAN sent by RADIUS server cannot be applied because it is
                           the Guest VLAN.




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        Monitoring Users Using the CLI Commands
        The following table summarizes the CLI commands for monitoring users:

        Table 8-15.   Monitoring Users CLI Commands

        CLI Command                              Description
        show dot1x monitoring result             Displays the captured information of each
        [username username]                      interface/host on the switch/stack.

        The following is an example of the CLI commands:
         console# show dot1x monitoring Tom
         Username: Tom
         Port g1
         Quiet period: 60 Seconds
         Tx period: 30 Seconds
         Max req: 2
         Supplicant timeout: 30 Seconds
         Server timeout: 30 Seconds
         Session Time (HH:MM:SS): 08:19:17
         MAC Address: 00:08:78:32:98:78
         Authentication Method: Remote
         Assigned VLAN: 207
         Reason for Failure:VLAN was not defined on Switch




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      Host Authentication
      Use the Host Authentication page to define the authentication mode on the
      port, and the action to perform if a violation is detected.
      To view ports and their authentication information:
          1 Click Switching > Network Security > Dot1 Authentication > Host
            Authentication to display the Host Authentication: Summary page.

      Figure 8-15. Host Authentication: Summary




             A list of the ports and their authentication modes is displayed. The fields
             are defined on the Edit page with the exception of the following field:
             –   Single Host Status — Displays the host status. The possible options
                 are:
                 •   Unauthorized — The port control is Force Unauthorized, the
                     port link is down or the port control is Auto, but a client has not
                     been authenticated via the port.



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                •    Not in Auto Mode — The port control is Forced Authorized, and
                     clients have full port access.
                •    Single-host Lock — The port control is Auto and a single client
                     has been authenticated via the port.
                •    No Single Host — Multiple Host is enabled.
            –   Number of Violations — Displays the number of packets that arrive
                on the interface in single-host mode, from a host whose MAC address
                is not the supplicant MAC address.
         2 Click Edit.
         3 In the Port drop-down list, select the port to which you want to apply the
           authentication mode.
         4 Enter the fields:
            –   Host Authentication — Define the host authentication type. The
                options are:
                •    Single — Only a single authorized host can access the port. (Port
                     Security cannot be enabled on a port in single-host mode.)
                •    Multiple Host — Multiple hosts can be attached to a single
                     802.1x-enabled port. Only the first host must be authorized, and
                     then the port is wide-open for all who want to access the network.
                     If the host authentication fails, or an EAPOL-logoff message is
                     received, all attached clients are denied access to the network.
                •    Multiple Session — A number of specific authorized hosts may
                     access the port. Each host is treated as if it was the first and only
                     user and must be authenticated. Filtering is based on the source
                     MAC address.
            –   Action on Single Host Violation — Select the action to be applied to
                packets arriving in Single Session/Single Host mode, from a host
                whose MAC address is not the supplicant MAC address. The options
                are:
                •    Discard — Discard the packets from any unlearned source.
                •    Forward — Forward the packets from an unknown source,
                     however, the MAC address is not learned.




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                •   Shutdown — Discard the packet from any unlearned source and
                    shut down the port. Ports remain shutdown until they are
                    activated, or the switch is reset.
      Host Authentication pages:
      Table 8-16. Host Authentication CLI Commands

      CLI Command                             Description
      dot1x host-mode {multi-                 Allows a single host (client) or multiple
      host|single-host|multi-                 hosts on an IEEE 802.1x-authorized port.
      sessions}
      dot1x traps mac-                        Enables sending traps when a MAC
      authentication failure                  address is successfully authenticated by
      no dot1x traps mac-                     the 802.1X mac-authentication access
      authentication failure                  control.
                                              Use the no form of this command to
                                              disable the traps.
      dot1x traps mac-                        Enables sending traps when MAC address
      authentication success                  was failed in authentication of the 802.1X
      no dot1x traps mac-                     MAC authentication access control.
      authentication success                  Use the no form of this command to
                                              disable the traps.
      dot1x violation-mode                    Configures the action to be taken, when a
      {restrict | protect |                   station whose MAC address is not the
      shutdown}                               supplicant MAC address, attempts to
      no dot1x violation-mode                 access the interface.
                                              Use the no form of this command to
                                              return to default.
      show dot1x advanced          Displays 802.1x advanced features for the
      [gigabitethernet|tengigabite device or specified interface.
      thernet] port-number]

      The following is an example of the CLI commands:
          console(config)# interface gi1/0/1
          console(config-if)# dot1x host-mode multi-host
          console(config-if)# dot1x host-mode single-host
          console(config-if)# dot1x host-mode multi-sessions


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        Port Authentication Users
        The Port Authentication Users page enables you to view users that attempted
        to be authenticated.
        To view ports and their authentication definitions:
         1 Click Switching > Network Security > Dot1 Authentication > Port
           Authentication Users to display the Port Authentication Users page.

        Figure 8-16. Port Authentication Users




             The ports and their authentication definitions are displayed.
             –    User Name — Supplicant names that were authenticated on each
                  port.
             –    Port — Number of port.
             –    Session Time — Amount of time (in seconds) that the supplicant was
                  logged on the port.




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             –   Authentication Method — Method by which the last session was
                 authenticated. The options are:
                 •   None—No authentication is applied; it is automatically
                     authorized.
                 •   RADIUS—Supplicant was authenticated by a RADIUS server.
                 •   MAC Address—Displays the supplicant MAC address.
             –   MAC Address — MAC address of user who attempted to be
                 authenticated.
             –   VLAN — VLAN assigned to the user.
             –   Filter — Filter that was applied to the user by receiving the
                 policy/ACL name from the RADIUS server (Dynamic ACL
                 Assignment).
          2 Click Details to view the names of the VLAN filters (Filter #1 and Filter
            #2) defined on the port, in addition to the above fields.




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        Display Port Authentication Users Using the CLI Commands
        The following table summarizes the CLI commands for displaying port
        authentication users:
        Table 8-17.    Display Port Authentication Users CLI Commands

        CLI Command                               Description
          show dot1x users                        Displays active 802.1x authenticated users for the
                                                  device.

        The following is an example of the CLI commands:
         console# show dot1x users
         Port         User Session         Auth      MAC                 VLAN Filter
                      Name Time            Method    Address
         ------ ----- ----------- -------- --------------                ---- ------
         gi1/0/1 Bob         1d 03:08:58   Remote    0008.3b79.8787      3
         Port         User Session         Auth      MAC                 VLAN Filter
                      Name Time            Method    Address
         ------ ----- ----------- -------- --------------                ---- ------
         gi1/01       Bob     1d 09:07:38 Remote     0008.3b79.8787          3   OK
         gi1/01       Tim     03:08:58     Remote    0008.3b79.3232          9   OK
         gi1/03       Paul    02:12:48     Remote    0008.3b89.8237          8   Warning
         console# show dot1x users username Bob
         Port         User Session         Auth      MAC                 VLAN Filter
                      Name Time            Method    Address
         ------ ----- ----------- -------- --------------                ---- ------
         gi1/01       Bob    1d 09:07:38   Remote    0008.3b79.8787          3   OK




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        Configuring System Information
        This section describes how to set system parameters, such as security features,
        switch software, system time, logging parameters and more.
        It contains the following topics:
         •   General Switch Information
         •   Time Synchronization
         •   Logs
         •   IP Addressing
         •   Diagnostics
         •   Management Security
         •   DHCP Server
         •   DHCP Server
         •   File Management
         •   Stack Management
         •   sFlow




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        General Switch Information
        This section describes how to view and set general switch parameters.
        It contains the following topics:
         •   Asset Information
         •   System Health
         •   Power over Ethernet

        Asset Information
        Use the Asset page to view and configure general device information,
        including the system name, location, contact, system MAC Address, System
        Object ID, date, time, and system up time.
        To configure general device parameters:
         1 Click System > General > Asset in the tree view to display the Asset page.

        Figure 9-1. Asset




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          2 Enter/view the parameters:
             –   System Name (0-159 Characters) — Enter the user-defined device
                 name.
             –   System Contact (0-159 Characters) — Enter the name of the contact
                 person.
             –   System Location (0-159 Characters) — Enter the location where the
                 system is currently running.
             –   MAC Address — Displays the device MAC address.
             –   Sys Object ID — Displays the vendor's authoritative identification of
                 the network management subsystem contained in the entity.
             –   Date — Enter the current date (mandatory). This date can also be
                 entered in the Manual Time Settings page. If SNTP has been defined,
                 but the SNTP server is not available, the switch uses the date and time
                 in this field and the Time field.
             –   Time — Enter the current time (mandatory). This time can also be
                 entered in the Manual Time Settings page. If SNTP has been defined,
                 but the SNTP server is not available, the switch uses the date and time
                 in this field and the Date field.
             –   System Up Time — Displays the amount of time since the last device
                 reset.
          3 For each unit in the stack (displayed in Unit No.), the following
            information is displayed:
             –   Service Tag — Displays the service reference number used when
                 servicing the device.
             –   Asset Tag — Enter the device asset tag.
             –   Serial No. — Displays the device serial number.
          4 Enter the Asset Tag (0-16 Characters) for each unit in the stack. This is
            the user-defined reference for the unit.




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        Entering Asset Information Using the CLI Commands
        The following table summarizes the CLI commands for entering fields
        displayed on the Asset page.

        Table 9-1. Asset CLI Command

        CLI Command                                Description
        snmp-server contact text                   Configures the system contact
                                                   (sysContact) name.
        no snmp-server contact
                                                   Use the no form of the command to
                                                   remove the system contact
                                                   information.
        snmp-server location text                  Configures the system location
                                                   string.
        no snmp-server location
                                                   Use the no form of this command to
                                                   remove the location string.
        hostname name                              Specifies the device host name.
        no hostname                                Use the no form of the command to
                                                   remove the existing host name.
        clock set hh:mm:ss                         Sets the system clock to this time.
        {month|day} year
        asset-tag [unit unit] tag                  Assigns the asset tag to the unit.
        no asset-tag [unit unit]                   Removes the asset tag from the unit.

        The following is an example of the CLI commands
         console      (config)#               asset-tag            2365491870




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      System Health
      To view the device’s power information and set fan administration state:
          1 Click System > General > System Health in the tree view to display the
            System Health page.

      Figure 9-2. System Health




             The System Health page displays the following fields:
             –   Unit No. — The unit in the stack for which information is displayed.
             Power Supply Status —Displays the following columns:
             –   PS — The power status of the internal power unit. The possible
                 options are:
                 •       Checked — The power supply is operating normally.
                 •       Unchecked — The power supply is not operating normally.
                 •   Not Present — The power supply is currently not present.

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            –    RPS — The device has one of two auxiliary power supplies:
                 Redundant Power Supply (RPS) for non-PoE devices and Modular
                 Power Supply (MPS) for PoE devices. Only one of these may be
                 present at one time. For each type of power supply, the possible
                 options are:
                 •       Checked — The power supply is operating normally.
                 •       Unchecked — The power supply is not operating normally.
                 •   Not Present — The power supply is currently not present.
            –    Temperature — Displays the temperature on the device.
            –    Fan Status — The device has two fans. The device constantly
                 measures the internal temperature, and powers the fans on/off
                 according to the temperature. The user can set the fans to be
                 constantly on. The possible options are:
                 •        Checked — The fans are operating normally.
                 •       Unchecked — At least one of the fans is not operating
                     normally.
            –    Fan Admin State — On/Auto status that user configured in the Edit
                 page.
            –    Fan Current Level — Specifies whether the fan is actually on or off.
         2 The lower block displays the condition under which a fan will be turned on
           or off.
            –    Fan Level — The on or off level.
            –    Condition — The temperature at which the fans will be turned on or
                 off. The device temperature is displayed in Celsius. The device
                 temperature threshold is 40 C (104 F).Table 11-2 displays the
                 temperature in Fahrenheit in increments of 5.
            NOTE: It is recommended to leave Fan User Level at Auto so that the fans
            operate according to the temperature of the switch.
         3 To control the fans on a unit, or set the default value, click Edit, and enter
           the fields:
            –    Unit ID — Select the unit ID whose fan will be adjusted.




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           –    Fan Admin State — Set one of the options:
                •   Auto — Fans are turned on when the internal temperature of the
                    switch is higher than the threshold displayed on the Summary
                    page in the Condition field.
                •   ON — Turns fan on under all conditions

      Table 9-2. Celsius to Fahrenheit Conversion Table
       Celsius                      Fahrenheit
      0                             32
      5                             41
      10                            50
      15                            59
      20                            68
      25                            77
      30                            86
      35                            95
      40                            104

      Viewing System Health Information Using the CLI Commands
      The following table summarizes the CLI commands for viewing fields
      displayed on the System Health page.

      Table 9-3. System Health CLI Command

      CLI Command                         Description
      show system [unit unit]             Displays system information.
      system fans always-on               Sets the system fans to On regardless of device
      [unit unit]                         temperature.
      no system fans always-on Use the no form of the command to return to
                               default
      show system fans                    Displays the fans’ status.




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        The following is an example of the CLI commands:
         console# show system
         Unit                   Type
         ---- ----------------------
             2        PowerConnect 5548
         Unit Main Power Supply Redundant Power Supply
         ---- ----------------- ----------------------
             2               OK
         Unit        Fans Status
         ---- -------------
             2            OK
         Unit         Temperature (Celsius)            Temperature Sensor Status
         ---- ------------------------- ---------------------
             2                    41                                  OK
         Unit            Up time
         ---- ---------------
             2        02,00:03:32

        Power over Ethernet
        A Power over Ethernet (PoE) switch is a type of PSE (Power Sourcing
        Equipment) that delivers electrical power to connected Powered Devices
        (PDs) over existing copper cables, without interfering with the network
        traffic, updating the physical network or modifying the network
        infrastructure.
        Using PoE eliminates the need to:
         •       Place all network devices next to power sources.
         •       Deploy double-cabling systems, significantly decreasing installation costs.
        PoE can be used in any network that deploys relatively low-powered devices
        connected to the Ethernet LAN. PDs are devices that receive power from the
        PowerConnect power supplies, such as:
         •       IP phones


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          •   Wireless access points
          •   IP gateways
          •   Audio and video remote monitoring devices
      PDs are connected to the device via the Gigabit ports.
      To configure PoE parameters on devices equipped with PoE:
          1 Click System > General > Power over Ethernet in the tree view to display
            the Power Over Ethernet: Summary page.

      Figure 9-3. Power Over Ethernet: Summary




          2 The PoE global parameters are displayed:
              –   Power Status — The inline power source status.
                  •   On — The power supply unit is functioning.
                  •   Off — The power supply unit is not functioning.



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                 •   Faulty — The power supply unit is functioning, but an error has
                     occurred, for example, a power overload or a short circuit.
            –    Nominal Power — The actual amount of power the device can supply,
                 in watts.
            –    Consumed Power — The amount of the power used by the device, in
                 watts.
         3 Enter the following parameters:
            –    System Usage Threshold (1-99 Percent) — Enter the percentage of
                 power consumed before a trap is generated.
            –    Traps — Enable/disable traps if system usage goes over the threshold.
                 The possible options are:
                 •   Enable — Enables PoE traps on the device. If traps are enabled,
                     you must also enable SNMP, and configure at least one SNMP
                     notification recipient.
                 •   Disable — Disables PoE traps on the device.
         4 To view PoE port settings for a unit in the stack, select its Unit ID. The
           port PoE parameters are displayed for all ports on the unit. The fields
           displayed in this block are described in the Edit page.
         5 To set PoE settings for a port, click Edit.
         6 Select a port in the Port field, and enter the following PoE parameters for
           the PDs connected to this port.
            –    PoE Admin Status — Select the device PoE mode. The possible
                 options are:
                 •   Auto — Enables the Device Discovery protocol, and provides
                     power to the device using the PoE unit. The Device Discovery
                     Protocol enables the device to discover Powered Devices attached
                     to the device interfaces, and to learn their classification.
                 •   Never — Disables the Device Discovery protocol, and stops the
                     power supply to the device using the PoE module.
            –    Power Priority Level — Enter the priority that determines the power
                 that is used if the power supply is from Critical to Low. If, for
                 example, the power supply is running at 99% usage, and port 1 is
                 prioritized as Critical, but port 3 is prioritized as Low, port 1 is will
                 receive power before port 3.


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           –   Power Limit (0-15.4) — Enter the maximum amount of power
               that the PoE unit may deliver to this port.
           –   Powered Device (0-24 characters) — Enter a user-defined
               description of the PD connected to the port, such as: "Bob Smith’s
               telephone".
           The following fields are displayed on this page:
           –   PoE Operational Status — Whether the port is currently providing
               power. If it is not providing power, the reason is displayed.
           –   Power Consumption — The amount of power being consumed by
               the powered device.
           –   Overload Counter — Total power overload occurrences.
           –   Short Counter — Total power shortage occurrences.
           –   Denied Counter — Number of times the powered device was
               denied power.
           –   Absent Counter — Number of times the power supply was stopped to
               the PD because it was no longer detected. f
           –   Invalid Signature Counter — Number of times an invalid signature
               was received. Signatures are the means by which the powered device
               identifies itself to the PSE. Signatures are generated during powered
               device detection, classification, or maintenance.

      Managing PoE Using the CLI Commands
      The following table describes the CLI commands for viewing fields displayed
      on the Power Over Ethernet pages.

      Table 9-4. Power Over Ethernet CLI Commands

      CLI Command                            Description
      power inline {auto|never}              Configures the administrative status of
                                             the inline power on an interface.
      power inline powered-device            Adds a description of the powered device
      pd-type                                type. Use the no version of the command
      no power inline powered-               to remove the description.
      device                                 Use the no form of this command to
                                             restore the default configuration.


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        Table 9-4. Power Over Ethernet CLI Commands (Continued)

        CLI Command                               Description
        power inline priority                     Configures the priority of the interface
        {critical|high|low}                       from the point of view of inline power
        no power inline priority                  management.
                                                  Use the no form of this command to
                                                  restore the default configuration.
        power inline usage-threshold Configures the threshold for triggering
        no power inline usage-       alarms.
        threshold                                 Use the no form of this command to
                                                  restore the default configuration.
        power inline traps enable                 Enables PoE device traps.
        no power inline traps enable Use the no form of this command to
                                     disable traps.
        power inline limit-mode                   Sets the power limit mode of the system.
        {class|port}                              Use the no form of this command to
        no power inline limit-mode                return to default.
        show power inline            Displays PoE configuration information
        [[[gigabitethernet|tengigabi for all interfaces or for a unit in the stack.
        tethernet]port-number|vlan
        vlan-id|port-channel LAG-
        number]|module stack-member-
        number]

        The following is an example of the CLI commands:
        console# show power inline
        Unit   Power   Nominal Power     Consumed Power     Usage Threshold      Traps
        ---- ------- ------------- ------------------ ---------------            -----
         1      Off      1 Watts          0 Watts (0%)             95          Disable
         2      Off      1 Watts          0 Watts (0%)             95          Disable
         3      Off      1 Watts          0 Watts (0%)             95          Disable
         4      Off      1 Watts          0 Watts (0%)             95          Disable




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      Time Synchronization
      The system clock runs from the moment the system starts up, and keeps track
      of the date and time.
      The date and time may be either set manually, or it may be received from an
      SNTP server.
      This section describes how to set system time, and contains the following
      sections:
          •   Manual Time Settings
              –   Setting System Time and Daylight Savings Time
              –   CLI Commands for Setting Manual Time
          •   System Time from an SNTP Server
              –   Global Settings (Clock Source)
              –   SNTP Global Settings
              –   SNTP Authentication
              –   SNTP Servers
              –   SNTP Interfaces
              –   CLI Script for Receiving Time from an SNTP Server

      Manual Time Settings
      This section describes how to set the system time manually on the device.
      It contains the following topics:
          •   Setting System Time and Daylight Savings Time
          •   CLI Commands for Setting Manual Time




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        Setting System Time and Daylight Savings Time
        Use the Manual Time Settings page to set system date/time manually (as
        opposed to receiving them from an external SNTP server). For more
        information on SNTP, see "System Time from an SNTP Server" on page 170.
        If system time is kept using an external SNTP clock, and the external SNTP
        clock fails, the system time reverts to the time set here or in the Asset page.
        In addition to setting the local clock, you can use this page to enable Daylight
        Savings Time (DST) on the device.
        The following is a list of DST start and end times in various countries:
         •   Albania — Last weekend of March until the last weekend of October.
         •   Australia — From the end of October until the end of March.
         •   Australia - Tasmania — From beginning of October until the end of
             March.
         •   Armenia — Last weekend of March until the last weekend of October.
         •   Austria — Last weekend of March until the last weekend of October.
         •   Bahamas — From April to October, in conjunction with U.S. summer
             hours.
         •   Belarus — Last weekend of March until the last weekend of October.
         •   Belgium — Last weekend of March until the last weekend of October.
         •   Brazil — From the 3rd Sunday in October until the 3rd Saturday in
             March. During the period of Daylight Saving Time, Brazilian clocks go
             forward one hour in most of the Brazilian southeast.
         •   Chile — Easter Island 9th March 12th October. The first Sunday in March
             or after 9th March.
         •   China — China does not operate Daylight Saving Time.
         •   Canada — From the first Sunday in April until the last Sunday of October.
             Daylight Saving Time is usually regulated by provincial and territorial
             governments. Exceptions may exist in certain municipalities.
         •   Cuba — From the last Sunday of March to the last Sunday of October.
         •   Cyprus — Last weekend of March until the last weekend of October.
         •   Denmark — Last weekend of March until the last weekend of October.
         •   Egypt — Last Friday in April until the last Thursday in September.


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          •   Estonia — Last weekend of March until the last weekend of October.
          •   Finland — Last weekend of March until the last weekend of October.
          •   France — Last weekend of March until the last weekend of October.
          •   Germany — Last weekend of March until the last weekend of October.
          •   Greece — Last weekend of March until the last weekend of October.
          •   Hungary — Last weekend of March until the last weekend of October.
          •   India — India does not operate Daylight Saving Time.
          •   Iran — From 1st Farvardin until the 1st Mehr.
          •   Iraq — From 1st April until 1st October.
          •   Ireland — Last weekend of March until the last weekend of October.
          •   Israel — Varies year-to-year.
          •   Italy — Last weekend of March until the last weekend of October.
          •   Japan — Japan does not operate Daylight Saving Time.
          •   Jordan — Last weekend of March until the last weekend of October.
          •   Latvia — Last weekend of March until the last weekend of October.
          •   Lebanon — Last weekend of March until the last weekend of October.
          •   Lithuania — Last weekend of March until the last weekend of October.
          •   Luxembourg — Last weekend of March until the last weekend of October.
          •   Macedonia — Last weekend of March until the last weekend of October.
          •   Mexico — From the first Sunday in April at 02:00 to the last Sunday in
              October at 02:00.
          •   Moldova — Last weekend of March until the last weekend of October.
          •   Montenegro — Last weekend of March until the last weekend of October.
          •   Netherlands — Last weekend of March until the last weekend of October.
          •   New Zealand — From the first Sunday in October until the first Sunday
              on or after 15th March.
          •   Norway — Last weekend of March until the last weekend of October.
          •   Paraguay — From 6th April until 7th September.
          •   Poland — Last weekend of March until the last weekend of October.
          •   Portugal — Last weekend of March until the last weekend of October.

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         •   Romania — Last weekend of March until the last weekend of October.
         •   Russia — From the 29th March until the 25th October.
         •   Serbia — Last weekend of March until the last weekend of October.
         •   Slovak Republic — Last weekend of March until the last weekend of
             October.
         •   South Africa — South Africa does not operate Daylight Saving Time.
         •   Spain — Last weekend of March until the last weekend of October.
         •   Sweden — Last weekend of March until the last weekend of October.
         •   Switzerland — Last weekend of March until the last weekend of October.
         •   Syria — From 31st March until 30th October.
         •   Taiwan — Taiwan does not operate Daylight Saving Time.
         •   Turkey — Last weekend of March until the last weekend of October.
         •   United Kingdom — Last weekend of March until the last weekend of
             October.
         •   United States of America — From the second Sunday of March at 02:00
             to the first Sunday of November at 02:00.




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      To manually set the device time:
          1 Click System > Time Synchronization > Manual Time Settings in the
            tree view to display the Manual Time Settings page.

      Figure 9-4. Manual Time Settings




          2 Enter the following local settings:
             –   Date — The system date.
             –   Local Time — The system time.
             –   Time Zone Offset — The difference between Greenwich Mean Time
                 (GMT) and local time. For example, the Time Zone Offset for Paris is
                 GMT +1:00, while the local time in New York is GMT –5:00.
          3 To set Daylight Savings Time (DST), select the Daylight Savings field and
            select one of the possible options:
             –   USA — The device switches to DST at 2 a.m. on the second Sunday
                 of March, and reverts to standard time at 2 a.m. on the first Sunday of
                 November.



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            –   European — The device switches to DST at 1:00 am on the last
                Sunday in March, and reverts to standard time at 1:00 am on the last
                Sunday in October. The European option applies to EU members,
                and other European countries using the EU standard.
            –   Other — Specifies that you will set DST manually in the fields
                described below.
            If you selected USA or European you are finished. If you selected Other,
            proceed to the next step.
            There are two types of DST possible when Others is selected. You can set a
            specific date in a particular year, or you can set a recurring setting,
            irrespective of the year. For a specific setting in a particular year, complete
            the Daylight Savings area, and for a recurring setting, complete the
            Recurring area.
            If Other is selected, the From and To fields must be defined either in the
            Non-recurring or Recurring section.
         4 To enter non-recurring DST parameters, enter the following fields:
            –   From — The time that DST begins. The possible options are:
                •    DD/MMM/YY — The date, month, and year at which DST
                     begins.
                •    HH/MM — The time (hour and minutes) at which DST begins.
            –   To — The time that DST ends. The possible options are:
                •    DD/MMM/YY — The date, month, and year at which DST ends.
                •    HH/MM — The time (hour and minutes) at which DST ends.
         5 To enter recurring DST parameters, select Recurring and enter the
           following fields:
            –   From — The time that DST begins each year, for example, DST
                begins locally every second Sunday in April at 5:00 am. The possible
                options are:
                •    Day — The day of the week from which DST begins every year.
                •    Week — The week within the month from which DST begins
                     every year.
                •    Month — The month of the year in which DST begins every year.



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                  •   Time — The time at which DST begins every year.
              –   To — The recurring time that DST ends each year, for example, DST
                  ends locally every fourth Friday in October at 5:00 am. The possible
                  options are:
                  •   Day — The day of the week at which DST ends every year.
                  •   Week — The week within the month at which DST ends every
                      year.
                  •   Month — The month of the year in which DST ends every year.
                  •   Time — The time at which DST ends every year.

      CLI Commands for Setting Manual Time
      The following steps (in any order) must be completed before setting time
      manually:
          •   Set system time
          •   Define the time zone in relation to GMT.
          •   Configure Daylight Savings Time.
      The following table summarizes the CLI commands for setting fields
      displayed in the Manual Time Setting pages when the clock source is Local.

      Table 9-5. Manual Time Setting CLI Commands

      CLI                                    Description
      clock set hh:mm:ss {[day               Set the system clock to this time.
      month]|[month day]} year
      clock summer-time zone                 Configures the system to automatically
      recurring {usa|eu|{week                switch to summer time (according to the
      day month hh:mm week day               USA and European standards) every year on a
      month hh:mm}}[offset]                  recurring basis.




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        Table 9-5. Manual Time Setting CLI Commands (Continued)

        CLI                                  Description
        clock summer-time zone               Configures the system to automatically
        date date month year hh:mm           switch to summer time (Daylight Savings
        date month year hh:mm                Time) for a specific period - date/month/year
        [offset]                             format.
        clock summer-time zone     Use the no form of the command to
        date month date year hh:mm configure the system not to switch to
        month date year hh:mm      summer time (Daylight Savings Time).
        [offset]
        no clock summer-time
        clock timezone zone hours- Sets the time zone and names it "zone" for
        offset [minutes offset]    display purposes.
        show clock                           Displays the time and date from the system
                                             clock.




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      A sample script to set system time manually is shown below
      Table 9-6.    CLI Script to Set Manual System Time

      CLI                                                      Description
      Console# clock set 13:32:00 7 Nov 2010 Set the system time.
      console# configure                      Set the time zone to GMT
      console(config)# clock timezone Ohio +2 plus 2 hours. The name of
                                              the zone "Ohio" is purely for
                                              documentation purposes.
                                              This is not mandatory for
                                              manual time, but is
                                              recommended. It enables
                                              anyone seeing the time to
                                              know what that time is in
                                              respect to their timezone.
      console(config)# clock summer-time                       Set Daylight Savings Time
      Ohio_Summer recurring usa                                such that it recurs every year
                                                               and is based on the summer
                                                               time schedule of the USA.
                                                               The name of the zone
                                                               "Ohio_Summer" is for
                                                               documentation purposes
                                                               only.
      console(config)# exit                                    Display the system time.
      console# show clock


      System Time from an SNTP Server
      This section describes how to receive date/time from an SNTP server.
      It contains the following topics:
          •   SNTP Overview
          •   SNTP Global Settings
          •   SNTP Authentication
          •   SNTP Servers
          •   SNTP Interfaces




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        SNTP Overview
        The switch supports the Simple Network Time Protocol (SNTP), which
        provides accurate network switch clock time synchronization of up to 100
        milliseconds. The implementation of SNTP is based on SNTPv4 (RFC 2030).
        SNTP is a simple and lighter version of NTP, and can be used when the
        ultimate performance of the full NTP implementation, described in
        RFC-1305, is not required. SNTP operates with NTP, thus an SNTP client
        can work with both SNTP and NTP servers.
        The switch operates only as a client, and cannot provide time services to other
        systems.

        SNTP Server Types
        The switch can accept time information from the following server types:
         •   Unicast
             Polling for Unicast information is used for polling a server whose IP
             address is known. This is the preferred method for synchronizing device
             time, as it is most secure.
             Up to eight SNTP servers can be defined.
             If this method is selected, SNTP information is accepted only from SNTP
             servers defined in the SNTP Servers page.
             Time levels T1 - T4 (see the "Algorithm for Selecting Designated SNTP
             Server" on page 173 section) are used to determine from which server time
             information is accepted.
             If Unicast polling is not enabled or if no servers are defined on the device,
             the device accepts time information from any SNTP server of the type that
             is enabled, which responds.
         •   Anycast
             Polling for Anycast information is used when the SNTP server’s IP address
             is not defined or it cannot be reached. If this method is enabled, time
             information can be received from any SNTP server on the network. The




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              device time and date are synchronized when it proactively requests
              synchronization information.
              Anycast polling to get time information is preferable to Broadcast polling,
              because it is more secure.
              Time levels T3 and T4 are used to determine from which server time
              information is accepted.
          •   Broadcast
              Broadcast information is used if receiving Broadcast packets has been
              enabled, and one of the following situations occurs:
              –   The SNTP server IP address has not been defined.
              –   Several time-information packets are received and the Broadcast time
                  is best according to the algorithm defined in "Algorithm for Selecting
                  Designated SNTP Server" on page 173.
      Broadcast is the least secure method of receiving time, because it is both
      unsecured and the time information was not specifically requested by the
      device. Anycast is also unsecured, but time-information packets are only
      accepted if they were requested.

      Stratums
      Each SNTP server is characterized by stratums, which define the accuracy of
      its clock. The stratum is the distance, in terms of NTP hops, from the most
      authoritative time server. The lower the stratum (where zero is the lowest),
      the more accurate the clock. The switch accepts time from stratum 1 and
      above.
      The following provides examples of clocks from various stratums:
          •   Stratum 0 — A real time clock is used as the time source, for example, a
              GPS system.
          •   Stratum 1 — A server that is directly linked to a Stratum 0 time source is
              used.
          •   Stratum 2 — The time source is distanced from the Stratum 1 server over
              a network path, for example, a Stratum 2 server receives the time over a
              network link, via NTP, from a Stratum 1 server.




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        Algorithm for Selecting Designated SNTP Server
        Messages received from SNTP servers are logged, until there are three
        responding servers, or the timer expires. In any event, when the third message
        is received, the timer expires.
        A server is selected to be the “designated server” according to the following
        criteria:
         •   The stratum (the distance in terms of NTP hops from the best
             authoritative time servers) is considered, and the server with the best
             (lowest) stratum is selected.
         •   If there is a tie in stratums, packets from servers defined on the device are
             preferred to Anycast packets, which in turn are preferred to Broadcast
             packets.
         •   If multiple servers pass the above criteria, then the server that sent the first
             (earliest) time packet is chosen.
        If a better server is discovered later, it is selected to be the “designated server”
        at that time.

        Polling
        You can configure the system to acquire time information in the following
        ways:
         •   Enable polling — Time information is requested every polling interval.
         •   Do not enable polling — Time information is received when the system is
             brought up and every time that a topological change is made to the
             Running Configuration file, for example when an SNTP Unicast server is
             added.
        This is configured by the user in the SNTP Global Settings page.
        On power up, when the switch sends a request and there is no reply, it issues
        another request (three retries at most) after 20 seconds of waiting.
        If no SNTP server is found, the process is invoked every “poll interval” (set in
        the SNTP Global Settings page), and a management trap is triggered.

        Authentication
        You can require that SNTP servers be authenticated, although this is not
        mandatory (see the SNTP Authentication pages).


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      MD5 (Message Digest 5) Authentication safeguards device synchronization
      paths to SNTP servers. MD5 is an algorithm that produces a 128-bit hash
      value. MD5 is a variation of MD4, and increases MD4 security.
      MD5 both verifies the integrity of the communication and authenticates the
      origin of the communication.

      Global Settings (Clock Source)
      System time can be set manually, or it may be received from an external
      SNTP server. You if wish to set the system time manually, you do not to use
      the Global Settings page, because the default is manual (local) system time.
      To set the clock source:
          1 Click System > Time Synchronization > Global Settings in the tree view
            to display the Global Settings page.

      Figure 9-5. Global Settings




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         2 Select the Clock Source. The possible options are:
              –   Local —System time is taken from the device’s internal clock. Set this
                  as defined in "Manual Time Settings" on page 162.
              –   SNTP — System time is set via an SNTP server. Set SNTP parameters
                  as defined in "System Time from an SNTP Server" on page 170.

        Defining the Clock Source Using CLI Commands
        The following table summarizes the CLI commands for setting the clock
        source.

        Table 9-7. Clock Source CLI Command

        CLI                                   Description
        clock source {sntp}                   Configures an external time source for the
        no clock source                       system clock.
                                              Use the no form of this command to disable
                                              the external time source.
        show clock [detail]                   Displays the time and date from the system
                                              clock and its source.

        The following is an example of the CLI commands:
         console# configure
         console(config)# clock source sntp
         console# show clock detail
         3:29:03 UTC Sep 7 2010
         Time source is sntp
         Time zone:
         Offset is UTC+0

        SNTP Global Settings
        If SNTP was selected as the clock source in the Global Settings page, you
        must define the mechanism of setting time from an SNTP server. This is
        done in the SNTP pages, described below.




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      To define the types of server from which the device accepts SNTP
      information and the polling interval:
          1 Click System > Time Synchronization > SNTP Global Settings in the
            tree view to display the SNTP Global Settings page.

      Figure 9-6. SNTP Global Settings




          2 Enter the fields:
             –   Poll Interval (60-86400) — Enter the interval (in seconds) at which
                 the SNTP servers are polled.
             –   Receive Broadcast Servers Updates — Enable/disable receiving time
                 information from Broadcast servers.
             –   Receive Anycast Servers Updates — Enable/disable receiving time
                 information from Anycast SNTP servers.
             –   Receive Unicast Servers Updates — Enable/disable receiving time
                 information from the SNTP servers defined on the switch.
             –   Poll Unicast Requests — Enable/disable sending SNTP Unicast server
                 time information requests to the SNTP server.


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        Defining SNTP Global Settings Using CLI Commands
        The following table summarizes the CLI commands for setting fields
        displayed in the SNTP Global Settings pages.

        Table 9-8. SNTP Global Parameters CLI Commands

        CLI Command                          Description
        sntp client poll timer               Sets the polling time for an SNTP client.
        seconds                              Use the no form of this command to
        no sntp client poll timer            restore the default configuration.
        sntp broadcast client                Enables SNTP Broadcast clients.
        enable                               Use the no form of this command to
        no sntp broadcast client             disable SNTP Broadcast clients.
        enable
        sntp anycast client enable           Enables SNTP Anycast clients.
        no sntp anycast client               Use the no form of this command to
        enable                               disable SNTP Anycast clients.
        sntp unicast client enable           Enables SNTP predefined Unicast clients.
        no sntp unicast client               Use the no form of this command to
        enable                               disable SNTP Unicast clients.
        show sntp configuration              Displays SNTP configuration

        The following is an example of the CLI commands:
         console(config)# sntp anycast client enable

        SNTP Authentication
        Use the SNTP Authentication page to enable/disable SNTP authentication
        between the device and an SNTP server, and to set the means by which the
        SNTP server is authenticated.




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      To configure SNTP authentication:
          1 Click System > Time Synchronization > SNTP Authentication in the
            tree view to display the SNTP Authentication: Summary page.

      Figure 9-7. SNTP Authentication: Summary




             The previously-defined authentication keys are displayed.
          2 Enable/disable SNTP Authentication. This enables/disables
            authenticating SNTP sessions between the device and an SNTP server.
          3 Multiple keys can be defined. To add a new SNTP authentication key, click
            Add, and enter the fields.
             –   Encryption Key ID (1 - 4294967295) — Enter the number used to
                 identify this SNTP authentication key internally.
             –   Authentication Key (1 - 8 Characters) — Enter the key used for
                 authentication. The SNTP server must send this key for the switch to
                 use its time/date information.


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             –   Trusted Key — Check to specify that the encryption key is used to
                 authenticate the (Unicast) SNTP server. If this is not checked, the
                 key is not used for authentication (and another key(s) is used).

        Defining SNTP Authentication Settings Using CLI Commands
        The following table summarizes the CLI commands for setting fields
        displayed in the SNTP Authentication pages.

        Table 9-9. SNTP Authentication CLI Commands

        CLI Command                        Description
        sntp authenticate                  Defines authentication for received SNTP
        no sntp authenticate               traffic from servers.
                                           Use the no form of this command to disable
                                           the feature.
        sntp trusted-key key-              Authenticates the identity of a system to
        number                             which SNTP will synchronize.
        no sntp trusted-key key-           Use the no form of this command to disable
        number                             system identity authentication.
        sntp authentication-key            Defines an authentication key for SNTP.
        key-number md5 value               Use the no form of this command to remove
        no sntp authentication-            the authentication key for SNTP.
        key key-number

        The following is an example of the CLI commands:
         console(config)# sntp authenticate
         console(config)# sntp trusted-key 8
         console(config)# sntp authentication-key 8 md5 Clkkey




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      SNTP Servers
      To add an SNTP server or display SNTP server information:
          1 Click System > Time Synchronization > SNTP Servers in the tree view to
            display the SNTP Servers: Summary page.

      Figure 9-8. SNTP Servers: Summary




             The following is displayed for the previously-defined servers:
             –   SNTP Server — IP address of server.
             –   Polling — Polls the selected SNTP server for system time information,
                 when enabled.
             –   Encryption Key ID — Key Identification used to communicate
                 between the SNTP server and device.




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            –   Preference — SNTP server providing SNTP system time information.
                The system displays on of the following options:
                •   Primary — The server from which time was last accepted.
                •   Secondary — All other servers from which time was received.
            –   Status — The operating SNTP server status. The possible options are:
                •   Up — The SNTP server is currently operating normally.
                •   Down — An SNTP server is currently not available, for example,
                    the SNTP server is currently not connected or is currently down.
                •   In progress — The SNTP server is currently sending or receiving
                    SNTP information.
                •   Unknown — The progress of the SNTP information currently
                    being sent is unknown, for example, the device is currently
                    looking for an interface.
            –   Last Response — The last time a response was received from the
                SNTP server.
            –   Offset — The estimated offset of the server's clock, relative to the
                local clock, in milliseconds. The host determines the value of this
                offset, using the algorithm described in RFC 2030.
            –   Delay — The estimated round-trip delay of the server's clock, relative
                to the local clock over the network path between them, in
                milliseconds. The host determines the value of this delay, using the
                algorithm described in RFC 2030.
         2 To add an SNTP Server, click Add, and enter the fields:
            –   Supported IP Format — Select whether IPv4 or IPv6 format is used
                for the IP address of the SNTP server.
            –   IPv6 Address Type — When the server supports IPv6, this specifies
                the type of static address supported. Select one of the possible
                options:
                •   Link Local — A Link Local address that is non-routable and used
                    for communication on the same network only.
                •   Global — A globally unique IPv6 address; visible and reachable
                    from different subnets.




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           –   Link Local Interface — When the server supports an IPv6 Link Local
               address, this specifies the Link Local interface. Select one of the
               possible options:
               •    VLAN — The VLAN on which the IPv6 interface is configured.
               •    ISATAP — The IPv6 interface is configured on an ISATAP
                    tunnel.
           –   SNTP Server — Enter the SNTP server’s IP address.
           –   Poll Interval — Enable/disable polling the selected SNTP server for
               system time information, when enabled.
           –   Encryption Key ID — Check to use an encryption key, and select one
               of the encryption keys that was defined in the SNTP Authentication
               pages.

      Defining SNTP Servers Settings Using CLI Commands
      The following table summarizes the CLI commands for setting fields
      displayed in the SNTP Server pages.

      Table 9-10. SNTP Server CLI Commands

      CLI Command                            Description
      sntp server {ipv4-                     Configures the device to use SNTP to
      address|ipv6-address|ipv6-             request and accept SNTP traffic from a
      address|hostname} [poll]               server.
      [key key-id]                           Use the no form of this command to
      no sntp server {ipv4-                  remove a server from the list of SNTP
      address|ipv6-address|ipv6-             servers.
      address|hostname}
      sntp unicast client poll               Enables polling for the SNTP predefined
      no sntp unicast client poll            Unicast clients.
                                             Use the no form of this command to
                                             disable the polling for the SNTP client.
      show sntp status                       Displays the SNTP server statuses.




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        The following is an example of the CLI commands:
         console(config)# sntp server 100.1.1.1 poll key 10
         console# show sntp status
         Clock is unsynchronized
         Unicast servers:
              Server           Status      Last Response          Offset       Delay
                                                                  [mSec]        [mSec]
         --------------- --------- -------------               --------        -------
         Anycast server:
         Server Interface       Status     Last Response          Offset       Delay
                                                                  [mSec]        [mSec]
         ---------------       -------- --------------            ------       ------
         Broadcast:
         Interface         IP Address               Last Response
         ------------ --------------- -----------------------
           gi1/0/1                             00:00:00.0      Jan 1 2010

        SNTP Interfaces
        If receiving time information from Anycast servers is enabled, you can
        determine through which interface the Anycast packets are sent and received.
        If no interface is defined, Anycast requests are not sent.




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      To enable receiving Anycast updates on an interface:
          1 Click System > Time Synchronization > SNTP Interface Settings to
            display the SNTP Interface Settings: Summary page.

      Figure 9-9. SNTP Interface Settings: Summary




             The following fields are displayed for every interface for which an SNTP
             interface has been enabled:
             –   Interface — The port, LAG or VLAN on which SNTP is enabled.
             –   Receive Servers Updates — Displays whether the interface is enabled
                 to receive updates from the SNTP server.
          2 To add an interface that can receive SNTP server updates, click Add.
          3 Select an interface and enable/disable State to indicate that the interface
            can now receive/not receive SNTP server updates.




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        Defining SNTP Interface Settings Using CLI Commands
        The following table summarizes the CLI commands for setting fields
        displayed in the SNTP Interface Settings pages.

        Table 9-11.   SNTP Interface Settings CLI Commands

        CLI Command                                          Description
        sntp client enable                                   Enables the SNTP client on an
        {[[gigabitethernet|tengigabitethern                  interface in Global
        et] port-id|vlan vlan-id|port-                       Configuration mode.
        channel LAG-number]}                Use the no form of this
        no sntp client enable               command to disable the SNTP
        {[[gigabitethernet|tengigabitethern client.
        et]port-number|vlan vlan-id|port-
        channel LAG-number]}
        sntp client enable                                   Enables SNTP client on an
        no sntp client enable                                interface in Interface
                                                             Configuration mode.
                                                             Use the no form of this
                                                             command to disable the SNTP
                                                             client.
        show sntp configuration                              Shows the configuration of the
                                                             Simple Network Time Protocol
                                                             (SNTP).




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      The following is an example of the CLI commands:
          console# configure
          console(config)# sntp client enable gi1/0/1
          console# exit
          console# configure
          console(config)# interface gi1/0/1
          console(config-if)# sntp client enable
          console# show sntp configuration
          SNTP port : 123 .
          Polling interval: 1024 seconds.
          No MD5 authentication keys.
          Authentication is not required for synchronization.
          No trusted keys.
          Unicast Clients: Disabled
          Unicast Clients Polling: Disabled
          Server                     Polling       Encryption Key
          ----------------------------- ---------- -----------
          Broadcast Clients: disabled
          Anycast Clients: disabled
          Broadcast Interfaces: gi1/0/1

      CLI Script for Receiving Time from an SNTP Server
      The following is a sample script that configures receiving system time from an
      SNTP server.

      Table 9-12. Manual Time Setting CLI Commands

      CLI                                                      Description
      console# configure                                       Set the source of time as
      console(config)#clock source sntp                        an SNTP server.




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        Table 9-12.   Manual Time Setting CLI Commands (Continued)

        CLI                                                          Description
        console(config)#sntp client poll timer 6 Set polling time to 6
                                                 seconds.
        console(config)#sntp unicast client                          Enable accepting time
        enable                                                       from predefined Unicast
                                                                     clients.
        console(config)#sntp unicast client poll Enable polling predefined
                                                 Unicast clients.
        console(config)#sntp server 10.4.1.3                         Define the server that will
        poll                                                         be used as an SNTP
                                                                     server.
        console(config)#exit                                         Display SNTP settings.
        console# show sntp configuration
        console# show sntp status                                    Display SNTP servers.




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      Logs
      The Logs feature enables the switch to keep several, independent logs. Each
      log is a set of entries that record system events.
      It contains the following topics:
          •   System Log Overview
          •   Global Parameters
          •   RAM Log
          •   Log File (in Flash)
          •   Login History
          •   Remote Log Server

      System Log Overview
      System logs record events and report errors or informational messages. Some
      aspects of system logging can be configured, as described below. When you
      configure system logging, the configuration applies to all units in the stack.
      Some events are automatically logged, such as hardware problems. You may
      enable/disable logging the following types of events:
          •   Authentication Events in the Global Parameters page
          •   Copy File Events in the Global Parameters page
          •   Management Access Events in the Global Parameters page
          •   Login History in the Login History page
      Event messages have a unique format, as per the System Logs (SYSLOG)
      protocol recommended message format for all error reporting, for example,
      SYSLOG and local device reporting messages are assigned a severity code,
      and include a message mnemonic that identifies the source application
      generating the message.
      Messages may be filtered, based on their urgency or relevancy.
      Events may be logged to the following destinations:
          •   Console
          •   Logging buffer (RAM)— Messages are stored in a cyclical file buffer.
              When the maximum number of messages is reached, messages are written
              starting at the beginning of the buffer (overwriting the old messages).

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             Logs stored on the Logging buffer are deleted when the device is reset.
         •   Logging file (flash) — Messages are stored in flash memory. When the
             buffer is full, messages are written starting at the beginning of the memory
             block (overwriting the old messages).
         •   SYSLOG Server — Messages are sent to a remote server. This is useful for
             central and remote management and to provide more space for storage of
             messages. Up-to eight SYSLOG servers can be defined in the Remote
             Log Server Settings pages.
        You can select where to send logging messages according to their severity.
        Each of the severity level can be directed to the console, RAM log, flash log
        file or SYSLOG server or to any combination of these destinations.

        Global Parameters
        Use the Global Parameters page to enable/disable logging for the following
        logging severity levels.
             –   Emergency — If the device is down or not functioning properly, an
                 emergency log message is saved to the specified logging location.
             –   Alert — An alert log is saved if there is a serious device malfunction,
                 for example, all device features are down.
             –   Critical — A critical log is saved if a critical device malfunction
                 occurs, for example, two device ports are not functioning, while the
                 rest of the device ports remain functional.
             –   Error — A device error has occurred, for example, a single port is
                 offline.
             –   Warning — The lowest level of a device warning. The device is
                 functioning, but an operational problem has occurred.
             –   Notice — Provides device information to which you might have to
                 respond.
             –   Informational — Provides device information to which you do not
                 have to respond.
             –   Debug — Provides debugging messages.




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      If you enable logging, some events are automatically logged, and in addition,
      you can enable/disable specific types of logging and set their destination.
      To configure logging:
          1 Click System > Logs > Global Parameters in the tree view to display the
            Global Parameters page.

      Figure 9-10. Global Parameters




          2 Enable/disable logging in the Logging drop-down list. Console logs are
            enabled by default, and cannot be disabled.
          3 If Logging is enabled, select the types of events to be logged in addition to
            the events that are always logged:
             –   Log Authentication Events — Enable/disable generating logs when
                 users are authenticated.



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              –       Log Copy Files Events — Enable/disable generating logs when files
                      are copied.
              –       Log Management Access Events — Enable/disable generating logs
                      when the device is accessed using a management method, for
                      example, each time the device is accessed using SSH, a device log is
                      generated.
          4 To select the destination of logging messages, according to their severity
            levels, check the minimum severity level that will be associated with the
            console log, RAM log, Log file (Flash memory) and remote SYSLOG
            servers. When a severity level is selected, all severity levels above the
            selection are selected automatically.

        Enabling Logs Using CLI Commands
        The following table summarizes the CLI commands for setting fields
        displayed in the Global Parameters page.

        Table 9-13.     Global Log Parameters CLI Commands

        CLI Command                                     Description
        logging on                                      Enables error message logging.
        no logging                                      Turns off error message logging.
        logging console level                           Limits messages logged to the
        no logging console level                        console, based on severity.
                                                        Use the no form of this command to
                                                        disable logging limiting to the
                                                        console.
        logging file level                              Limits SYSLOG messages stored in
        no logging file                                 flash memory, based on severity.
                                                        Use the no form of this command to
                                                        cancel using the buffer.
        file-system logging                             Enables the logging of file system
        {copy|delete-rename}                            events.




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      Table 9-13. Global Log Parameters CLI Commands (Continued)

      CLI Command                                 Description
      management logging {deny}                   Enables Management Access List
      no management logging {deny}                (ACL) deny events.
                                                  Use the no form of this command to
                                                  disable logging management access
                                                  list events.
      aaa logging {login}                         Enables logging authentication login
      no aaa logging {login}                      events.
                                                  Use the no form of this command to
                                                  disable logging authentication login
                                                  events.

      The following is an example of the CLI commands:
          console# configure
          console(config)# logging on
          console(config)# logging console errors
          console(config)# logging file alerts




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        RAM Log
        To manage the RAM log buffer:
         1 Click System > Logs > RAM Log in the tree view to display the RAM Log
           page.

        Figure 9-11. RAM Log




             The Max RAM Log Entries (20-400) line, which contains the maximum
             number of RAM log entries permitted, is displayed. When the log buffer is
             full, the oldest entries are overwritten. The Current Setting contains how
             many entries are currently permitted, and you can change this number in
             the New Setting (after reset) field.
             The following is displayed for the existing logs:
             –   Log Index — The log number in the RAM Log table.




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             –   Log Time — The time at which the log was entered into the RAM Log
                 table.
             –   Severity — The log severity.
             –   Description — The log entry text.
          2 To remove all entries from the RAM log, click Clear Log.

      Viewing and Clearing the RAM Log Table Using the CLI Commands
      The following table summarizes the CLI commands for setting the size of the
      RAM log buffer, viewing, and clearing entries in the RAM log.

      Table 9-14. RAM Log Table CLI Commands

      CLI Command                   Description
      logging buffered              Sets the number of SYSLOG messages stored in the
      size                          internal buffer (RAM).
      no logging buffered           Use the no form of this command to cancel using the
                                    buffer.
      show logging                  Displays the RAM logging buffer.
      clear logging                 Clears the RAM logging buffer.

      The following is an example of the CLI commands:
          console(config)# logging buffered 300
          04-Oct-2010 09:47:04 %SYSLOG-N-LOGGINGBFRSIZE: the number
          of syslog messages stored in the internal buffer will be
          changed to 300 (after reboot).




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        Log File (in Flash)
        To view and/or clear the flash memory log file:
         1 Click System > Logs > Log File in the tree view to display the Log File
           page.

        Figure 9-12. Log File




             The following is displayed for the existing logs:
             –    Log Index — The log number in the Log file.
             –    Log Time — The time at which the log was entered.
             –    Severity — The log severity.
             –    Description — The log entry text.
         2 To remove all entries from the log file, click Clear Log.




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      Displaying the Log File Table Using the CLI Commands
      The following table summarizes the CLI commands for setting fields
      displayed in the Log File page.

      Table 9-15. Log File Table CLI Commands

      CLI Command                    Description
      show logging file              Displays the logging state and the SYSLOG
                                     messages stored in the logging file.

      The following is an example of the CLI commands:
          console# show logging file
          Logging is enabled.
          Console Logging: Level info. Console Messages: 0 Dropped.
          Buffer Logging: Level info. Buffer Messages: 62 Logged, 62
          Displayed, 200 Max.
          File Logging: Level debug. File Messages: 11 Logged, 51
          Dropped.
          SysLog server 1.1.1.1 Logging: info. Messages: 0 Dropped.
          01-Jan-2000 01:12:01 :%COPY-W-TRAP: The copy operation was
          completed successfully
          01-Oct-2010 01:11:49 :%LINK-I-Up: gi/1/0/11
          01-Oct-2010 01:11:46 :%LINK-I-Up: gi/1/0/12

      Login History
      Use the Login History page to monitor users, including the time a user
      logged in, and the protocol used to log on to the device.




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        To enable user history logging and view user login history:
         1 Click System > Logs > Login History in the tree view to display the
           Login History page.

        Figure 9-13. Login History




             The login history for the selected user or all users is displayed.
         2 Enable/disable Login History to File to record login history.
         3 Select a user or All from the User Name drop-down list. The login history
           for this user is displayed in the following fields:
             •    Login Time — The time the selected user logged on to the device.
             •    User Name — The user that logged on to the device.
             •    Protocol — The means by which the user logged on to the device.
             •    Location — The IP address of the station from which the device was
                  accessed.




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      Displaying the Device Login History Using CLI Commands
      The following table summarizes the CLI commands for viewing and setting
      fields displayed in the Login History page.

      Table 9-16. Login History CLI Commands

      CLI Command                        Description
      aaa login-history file             Enables writing to the login history file.
      no aaa login-history file Use the no form of this command to disable
                                writing to the login history file.
      show users login-history Displays the user’s login history.
      [username]

      The following is an example of the CLI commands:
          console (config)# aaa login-history file
          console# show users login-history


          Login Time       Username            Protocol              Location
          -----------      --------            --------              ----------
          01-Oct-2010      admin               HTTP                  172.16.1.8
          23:58:17
          01-Oct-2010      admin               Telnet                172.16.0.8
          07:59:23




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        Remote Log Server
        Log messages can be sent to remote log servers, using the SYSLOG protocol.
        To add a remote log server:
         1 Click System > Logs > Remote Server Settings in the tree view to display
           the Remote Log Server: Summary page.

        Figure 9-14. Remote Log Server: Summary




             The previously-defined remote servers are displayed.
         2 To add a remote log server, click Add, and enter the fields:
             –   Supported IP Format — Select whether the IPv4 or IPv6 format is
                 supported.
             –   IPv6 Address Type — When the server supports IPv6, this specifies
                 the type of static address supported. The possible options are:
                 •   Link Local — A Link Local address that is non-routable and used
                     for communication on the same network only.



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              •   Global — A globally unique IPv6 address; visible and reachable
                  from different subnets.
          –   Link Local Interface — When the server supports an IPv6 Link Local
              address, this specifies the Link Local interface. The possible options
              are:
              •   VLAN — The VLAN on which the IPv6 interface is configured.
              •   ISATAP — The IPv6 interface is configured on an ISATAP
                  tunnel.
          –   New Log Server IP Address — Enter the IP address of the remote
              SYSLOG server.
          –   UDP Port (1-65535) — Enter the UDP port to which the logs are sent
              for the selected server.
          –   Facility — Select a user-defined application from which system logs
              are sent to the remote server. Only a single facility can be assigned to a
              single server. If a second facility level is assigned, the first facility level
              is overridden. All applications defined for a device utilize the same
              facility on a server.
          –   Description (0-64 Characters) — Enter a server description.
          –   Severity to Include — Check the severity levels to be logged to the
              remote server. The event severity levels are listed on this page in
              descending order from the highest severity to the lowest. When a
              severity level is selected to appear in a log, all higher severity events are
              automatically selected to appear in the log. When a security level is
              not selected, no lower severity events appear in the log.




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        Working with Remote Server Logs Using the CLI Commands
        The following table summarizes the CLI command for working with remote
        log servers.

        Table 9-17.   Remote Log Server CLI Commands

        CLI Command                                       Description
        logging host {ipv4-address|ipv6-                  Logs messages to a remote server
        address|hostname} [port port-id]                  with this IP address.
        [severity level] [facility                        Use the no form of this command
        facility] [description text]                      to delete the SYSLOG server with
        no logging host {ipv4-                            the specified address from the list
        address|ipv6-address|hostname}                    of SYSLOGs.
        show syslog-servers                               Displays list of SYSLOG servers.

        The following is an example of the CLI commands:
         console (configure) # logging host 1.1.1.1
         console# show syslog-servers
         Device Configuration
         ---------------------------------------------------------
         IP Address        Port    Facility        Severity             Description
         ----------- ----- -------- -----------                         -----------
         1.1.1.1           514     local7              info
         1.1.1.2           514     local7              info
         1.1.1.3           514     local7              info
         1.1.1.4           514     local7              info




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      IP Addressing
      This section describes how to configure IP addresses on the switch, and
      contains the following topics:
          •   IP Addressing Overview
          •   IPv4 Interface Parameters
          •   DHCP IPv4 Interface
          •   IPv4 Static Routing
          •   IPv6 Interfaces
          •   IPv6 Default Gateway
          •   ISATAP Tunnel
          •   IPv6 Neighbors
          •   IPv6 Routes Table
          •   Domain Name System
          •   Default Domain Names
          •   Host Name Mapping
          •   ARP
          •   UDP Relay

      IP Addressing Overview
      The device functions as an IPv6-compliant host, as well as an IPv4-host (also
      known as dual stack). This enables device operation in a pure-IPv6 network,
      as well as in a combined IPv4/IPv6 network.

      Difference Between IPv4 and IPv6 Addressing
      The primary difference between IPv4 to IPv6 is the length of network
      addresses. IPv6 addresses are 128 bits, whereas IPv4 addresses are 32 bits.
      Thus, IPv6 addresses enable the use of many more unique addresses.
      The 128-bit IPv6 address format is divided into eight groups of four
      hexadecimal digits. Abbreviation of this format by replacing a group of zeros
      with double colons (::) is acceptable. IPv6 address representation can be
      further simplified by suppressing the leading zeros.



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        All IPv6 address formats are acceptable, yet for display purposes, the system
        displays the most abbreviated form, which replaces groups of zeros with
        double colons and removes the leading zeros.

        IPv6 Prefixes
        While Unicast IPv6 addresses written with their prefix lengths are permitted,
        in practice their prefix lengths are always 64 bits, and therefore are not
        required to be expressed. Any prefix that is less than 64 bits is a route or
        address range that summarizes a portion of the IPv6 address space.
        For every assignment of an IP address to an interface, the system runs the
        Duplicate Address Detection (DAD) algorithm to ensure uniqueness.
        An intermediary transition mechanism is required for IPv6-only nodes to
        communicate with IPv6 nodes over an IPv4 infrastructure. The tunneling
        mechanism implemented is the Intra-Site Automatic Tunnel Addressing
        Protocol (ISATAP). This protocol treats the IPv4 network as a virtual IPv6
        local-link, with each IPv4 address mapped to a Link Local IPv6 address.

        IPv4 Interface Parameters
        You can assign IP addresses to the interface in the following ways:
         •   Manual Assignment — Described below
         •   DHCP Server Assignment — Described in "DHCP IPv4 Interface" on
             page 207
        Multiple IP addresses can be configured in the IPv4 Interface Parameters
        pages. These IP addresses can be assigned to a port, LAG, or VLAN interface.
        When an IP address is assigned, it is checked for uniqueness in the following
        way:
         •   A gratuitous ARP request is sent three times every three seconds.
         •   If after (3+1)*3 = 12 seconds the switch has not received the ARP
             response, the IP address is considered to be unique.
         •   During the procedure the switch has to reply to gratuitous ARP and probe
             ARP requests with the validated IP address.




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      The IP address is assigned even if the above validation procedure concludes
      that the IP address in question is not unique, but a SYSLOG message is
      generated.
      In addition to the above validation procedure every time a switch receives an
      ARP request with a sender IP address that is equal to its IP address defined on
      the input interface it sends a SYSLOG message informing of IP duplication,
      containing the sender IP and MAC addresses, from the received ARP
      message.
      To assign an IP address to an interface, and to define subnets to which traffic
      can be routed:
          1 Click System > IP Addressing > IPv4 Interface Parameters in the tree
            view to display the IP Interface Parameters: Summary page.

      Figure 9-15. IPv4 Interface Parameters: Summary




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              The previously-assigned IP addresses are displayed.
          2 To add an IP address to an interface, click Add, and enter the fields:
              –       IP Address — Enter the IP address assigned to the interface.
              –       Network Mask — Select the subnetwork mask to which traffic can be
                      routed.
              –       Prefix Length — Enter the number of bits that comprise the IP
                      address prefix of the subnetwork.
              –       Interface — Select the interface for which the IP address is defined.
                      Select an interface type Port, LAG, or VLAN and the specific
                      interface number.

        Defining IPv4 Interfaces Using CLI Commands
        The following table summarizes the CLI commands for setting fields
        displayed in the IPv4 Interfaces Parameters page.

        Table 9-18.     IPv4 Interface Parameters CLI Commands

        CLI Command                                   Description
        ip address ip-address                         Sets an IP address.
        {mask|prefix-length}                          Use the no form of the command to
        no ip address [ip-address]                    remove an IP address.
        show ip interface              Displays the usability status of
        [[gigabitethernet|tengigabitet interfaces configured for IP.
        hernet]port-number|vlan vlan-
        id|port-channel LAG-number]




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      The following are sample procedures to configure a static IPv4 address on an
      interface using CLI and then to remove it:

      Table 9-19. Sample CLI Script to Configure IPv4 Statically on a VLAN

      CLI Command                                             Description
      console#config                                          Enter Global Configuration
                                                              mode.
      console(config)# interface vlan 1                       Enter Interface mode for
                                                              VLAN 1.
      console(config-if)# ip address                          Set the routing interface with
      10.5.225.40 /27                                         prefix length of 27.
      console(config-if)# ip default-                         Set the address of the default
      gateway 10.5.225.33                                     gateway
      console(config-if)# no ip address                       Remove the address (if
                                                              required).



      Table 9-20. Sample CLI Script to Configure IPv4 Statically on a Port

      CLI Command                                             Description
      console#config                                          Enter Global Configuration
                                                              mode.
      console(config)# interface gi1/0/1                      Enter Interface mode for port
                                                              1 on unit 1.
      console(config)# no switchport                          Enable the port to work as an
                                                              IP interface (Layer 3 mode).
      console(config-if)# ip address                          Configure an IP address with
      10.5.225.40 /27                                         prefix length of 27.
      console(config-if)# ip default-                         Set the address of the default
      gateway 10.5.225.33                                     gateway
      console(config-if)# no ip address                       Remove the address (if
                                                              required).




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        DHCP IPv4 Interface
        The switch can operate in the following ways:
         •   It can function as a DHCP client that obtains its own IP from a DHCP
             server, as described in this section
         •   It can function as a DHCP server that allocates IP addresses to other
             devices, as described in "DHCP Server" on page 290
        When the interface is configured as a DHCP client, it keeps requesting an IP
        address from the DHCP server, until it receives one. It then sends Address
        Resolution Protocol (ARP) packets to confirm the uniqueness of the IP
        address. If the ARP response shows that the IP address is in use, the switch
        sends a DHCPDECLINE message to the DHCP server, and sends another
        DHCPDISCOVER packet that restarts the process.
        IP address collisions occur when the same IP address is used in the same IP
        subnet by more than one device. Address collisions require administrative
        actions on the DHCP server and/or the devices that collide.
        Up to 32 interfaces (ports, LAGs, and/or VLAN) on the switch can be
        configured with a static or dynamic IP address. The IP subnets to which these
        IP addresses belong are known as directly connected/attached IP subnets.
        The IP address assignment rules for the switch are as follows:
         •   If the IP address on the switch is changed, the switch issues gratuitous
             ARP packets to the corresponding VLAN, to check IP address collisions.
         •   When a client must renew its lease, prior to its expiration date, a
             DHCPREQUEST message is sent.
         •   A specific interface can have either a static IP address or a dynamic IP
             address, but not both.




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      To define the switch as a DHCP client:
          1 Click System > IP Addressing > DHCP IPv4 Interface in the tree view to
            display the DHCP IPv4 Interface: Summary page.

      Figure 9-16. DHCP IPv4 Interface: Summary




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              The previously-configured DHCP IPv4 interfaces are displayed.
          2 To add an interface that can receive an IP address, click Add and select the
            whether the interface is a port, LAG or VLAN in the Interface field.

        Defining DHCP IPv4 Interfaces Using CLI Commands
        The following table summarizes the CLI commands for setting fields in the
        DHCP IPv4 Interface pages.

        Table 9-21.   DHCP IPv4 Interface CLI Commands

        CLI Command                         Description
        ip address dhcp                     Acquires an IP address on an Ethernet interface
        no ip address dhcp                  from the Dynamic Host Configuration Protocol
                                            (DHCP).
                                            Use the no form of this command to release an
                                            acquired IP address.




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      Configuring DHCP IPv4 Interfaces Using CLI
      The following is a sample CLI script to configure a dynamic IPv4 address on
      an interface and then to remove it:

      Table 9-22. Sample CLI Script to Configure IPv4 Dynamically on a VLAN

      CLI Command                                           Description
      console#config                                        Enter Global Configuration
                                                            mode.
      console(config)# interface vlan 1                     Enter VLAN mode for VLAN
                                                            1.
      console(config)# no switchport                        Enable the port to work as an
                                                            IP interface (Layer 3 mode).
      console(config-if)# ip address dhcp                   Use the DHCP protocol to
                                                            acquire the IP address.
      console(config-if)# no ip address                     Remove the address (if
      dhcp                                                  required).



      Table 9-23. Sample CLI Script to Configure IPv4 Dynamically on a Port

      CLI Command                                           Description
      console#config                                        Enter Global Configuration
                                                            mode.
      console(config)# interface vlan 1                     Enter VLAN mode for VLAN
                                                            1.
      console(config-if)# ip address dhcp                   Use the DHCP protocol to
                                                            acquire the IP address.
      console(config-if)# no switchport                     Enable the port to work as an
                                                            IP interface (Layer 3 mode).
      console(config-if)# no ip address                     Remove the address (if
      dhcp                                                  required).


      IPv4 Static Routing
      IPv4 static routes can be configured for IP addresses that are not on directly
      connected networks. These are defined in the IPv4 Static Routing pages.

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        When routing traffic, the next hop is determined according to the longest
        prefix match (LPM algorithm). A destination IPv4 address may match
        multiple routes in the IPv4 Static Route table. The switch uses the matched
        route with the longest prefix match.
        To add an IPv4 static route:
         1 Click System > IP Addressing > IPv4 Static Routing in the tree view to
           display the IPv4 Static Routing: Summary page.

        Figure 9-17. IPv4 Static Routing: Summary




         2 Click Add to add a destination, and enter the fields:
             –    Destination IP Prefix — Enter the destination IPv4 prefix. If all zeros
                  are entered, this represents a default route.
             –    Network Mask — Select the destination IPv4 mask.
             –    Prefix Length — Select the length of the destination IPv4 address
                  prefix.


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            –   Next Hop — Enter the IP address to which the packet is forwarded on
                the route to the destination address. This is typically the address of a
                neighboring switch.
            –   Route Type — Select the route type. The possible options are:
                •   Reject — Rejects the route and stops routing to the destination
                    network via all gateways. This ensures that if a frame arrives with
                    the destination IP of this route, it is dropped.
                •   Remote — The route is a remote path.
            –   Metric (1-255) — Enter the administrative distance (cost) to the
                destination.

      Defining IPv4 Static Routing Using CLI Commands
      The following table summarizes the CLI commands for configuring IPv4
      static routing.

      Table 9-24. IPv4 Static Routing CLI Commands

      CLI Command                                       Description
      ip routing                                        Enables IPv4 Routing.
      no ip routing                                     Use the no format of the
                                                        command to disable IPv4
                                                        Routing.
      ip route prefix {mask|prefix-                     Configures static routes.
      length} ip-address-next-hop                       Use the no form of this
      [metric distance] [reject-route]                  command to remove static
      no ip route prefix {mask|prefix-                  routes.
      length} [ip-address-next-hop]
      show ip route                                     Displays the current routing
                                                        table state.

      The following is an example of the CLI command:
          console(config)# ip route prefix 192.168.1.1 /8
          10.5.234.255 metric 3 reject-route




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        Configuring Two IP Networks on Two Different VLANS Using CLI
        The following shows how to configure two IP networks on two different
        VLANS using CLI:

        Table 9-25.   Sample CLI Script to Configure Two IP Networks on Two Different VLANSs

        CLI Command                                           Description
        console#config                                        Enter Global Configuration
                                                              mode.
        console(config)# vlan database                        Enter VLAN mode.
        console(config-vlan)# vlan 100-150                    Create VLANs number 100 to
                                                              150.
        console(config-vlan)# exit                            Exit VLAN mode.
        console(config)#interface gi1/0/1                     Enter Interface mode for port
                                                              1 on unit 1.
        console(config-if)# switchport access Make port a member of
        vlan 100                              VLAN 100.
        console(config-if)# ip address                        Set the IP address with mask.
        1.1.1.1 255.255.255.0
        console(config-vlan)# exit                            Exit Interface mode for port.
        console(config)#interface gi1/0/2                     Enter Interface mode for port
                                                              2 on unit 1.
        console(config-if)# switchport access Make port a member of
        vlan 150                              VLAN 150.
        console(config-if)# ip address                        Set the IP address with mask.
        2.1.1.1 255.255.255.0
        console(config-vlan)# exit                            Exit Interface mode for port.

        To test this setup described in Figure 11-18:
          1 Connect a host whose address is 1.1.1.2 to interface 1/0/1 (default route
            1.1.1.1)
          2 Connect a host whose address 2.1.1.2 to port 1/0/2 (default route 2.1.1.1)
          3 Ping from 1.1.1.2 to 2.1.1.2 to verify the configuration



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      Figure 9-18. IP Routing Setup
                                                         Switch

                                   VLAN 100




            PC 1.1.1.1


                                              VLAN 150




                                                             PC 2.1.1.1




      IPv6 Interfaces
      The system supports IPv6-addressable hosts.
      To define IPv6 interfaces:
          1 Click System > IP Addressing > IPv6 Interface in the tree view to open
            the IPv6 Interface: Summary page.

      Figure 9-19. IPv6 Interface: Summary




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         2 Select an interface. The IPv6 addresses defined on the interface are
           displayed. In addition to the fields described in the Add pages, the
           following fields are displayed:
            –   ICMP Error Rate Limit Interval (0-2147483647) — Enter the
                rate-limit interval for ICMPv6 error messages in milliseconds. The
                value of this parameter together with the Bucket Size parameter
                (below) determines how many ICMP error messages may be sent per
                time interval, for example, a rate-limit interval of 100 ms and a bucket
                size of 10 messages translates to 100 ICMP error messages per second.
            –   ICMP Error Rate Limit Bucket Size (1-200) — Enter the bucket size
                for ICMPv6 error messages. The value of this parameter together with
                the ICMP Error Rate Limit Interval parameter determines how many
                ICMP error messages may be sent per time interval, for example, a
                rate-limit interval of 100 ms and a bucket size of 10 messages
                translates to 100 ICMP error messages per second.
         3 To add a new IPv6 interface, click Add IPv6 Interface, and enter the fields:
            –   Interface — Select an IPv6 interface to be configured.
            –   Number of DAD Attempts — Enter the number of consecutive
                neighbor solicitation messages that are sent on an interface while
                Duplicate Address Detection (DAD) is performed on Unicast IPv6
                addresses on this interface. New addresses remain in a tentative state
                while duplicate address detection is performed. A field value of 0,
                disables duplicate address detection processing on the specified
                interface. A field value of 1, indicates a single transmission without
                follow up transmissions.
            –   Autoconfiguration — Enable/disable stateless auto configuration of
                IPv6 address assignment. When enabled, the router solicitation ND
                procedure is initiated. This discovers a router in order to assign an IP
                address to the interface, based on prefixes received with RA messages.
                When auto configuration is disabled, no automatic assignment of
                IPv6 global Unicast addresses is performed, and existing,
                automatically-assigned IPv6 global Unicast addresses are removed
                from the interface.




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             –   Send ICMP Unreachable — Enable/disable transmission of ICMPv6
                 address Unreachable messages. When enabled, unreachable messages
                 are generated for any packet arriving on the interface with unassigned
                 TCP/UDP port.
          4 To add an address to an IPv6 interface, click Add IPv6 Address, and enter
            the fields for the selected interface:
             –   IPv6 Address Type — Check the means by which the IP address was
                 added to the interface. The possible options are:
                 •   Link Local — The IP address is link local; non-routable and can
                     be used for communication on the same network only. A Link
                     Local address has a prefix of 'FE80'.
                 •   Global Unicast — The IP address is a globally unique IPv6
                     Unicast address; visible and reachable from different subnets.
                 •   Global Anycast — The IP address is a globally unique IPv6
                     Anycast address; visible and reachable from different subnets.
             –   IPv6 Address — Enter the IPv6 address assigned to the interface. The
                 address must be a valid IPv6 address, specified in hexadecimal using
                 16-bit values between colons. An example of an IPv6 address is
                 2031:0:130F:0:0:9C0:876A:130D and the compressed version is
                 represented as 2031:0:130F::9C0:876A:130D. Up to five IPv6
                 addresses (not including Link Local addresses) can be set per
                 interface, with the limitation of up to128 addresses per system.
             –   Prefix Length — For global Unicast or Anycast, enter the length of the
                 IPv6 prefix. The length is a decimal value that indicates how many of
                 the high-order contiguous bits of the address comprise the prefix (the
                 network portion of the address). The Prefix field is applicable only on a
                 static IPv6 address defined as a Global IPv6 address.
             –   EUI-64 — For global Unicast or Anycast, check to use the EUI-64
                 option.




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        Defining IPv6 Interfaces Using CLI Commands
        The following table summarizes the CLI commands for setting fields
        displayed in the IPv6 Interface pages.

        Table 9-26.   IPv6 Interfaces CLI Commands

        CLI Command                                  Description
        ipv6 enable [no-autoconfig]                  Enables the IPv6 addressing mode on an
        no ipv6 enable                               interface.
                                                     Use the no form of this command to
                                                     disable the IPv6 addressing mode on an
                                                     interface
        ipv6 address autoconfig                      Enables automatic configuration of IPv6
        no ipv6 address autoconfig                   addresses, using stateless auto
                                                     configuration on an interface. Addresses
                                                     are configured depending on the prefixes
                                                     received in Router Advertisement
                                                     messages.
                                                     Use the no form of this command to
                                                     disable address auto configuration on the
                                                     interface.
        ipv6 icmp error-interval                     Configures the rate limit interval and
        milliseconds [bucketsize]                    bucket size parameters for IPv6 Internet
        no ipv6 icmp error-interval                  Control Message Protocol (ICMP) error
                                                     messages.
                                                     Use the no form of this command to
                                                     return the interval to its default setting.
        ipv6 address ipv6-             Configures an IPv6 address for an
        address/prefix-length [eui-64] interface.
        [anycast]                      Use the no form of this command to
        no ipv6 address [ipv6-         remove the address from the interface.
        address/prefix-length] [eui-
        64]




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      Table 9-26. IPv6 Interfaces CLI Commands (Continued)

      CLI Command                                Description
      ipv6 address ipv6-                         Configures an IPv6 link-local address for
      address/prefix-length link-                an interface.
      local                                      Use the no form of this command to
      no ipv6 address link-local                 return to the default link local address on
                                                 the interface.
      ipv6 unreachables                          Enables the generation of ICMP for IPv6
      no ipv6 unreachables                       (ICMPv6) unreachable messages for
                                                 packets arriving on a specified interface.
                                                 Use the no form of this command to
                                                 prevent the generation of unreachable
                                                 messages.
      ipv6 nd dad attempts attempt               Configures the number of consecutive
                                                 neighbor solicitation messages that are
                                                 sent on an interface while Duplicate
                                                 Address Detection (DAD) is performed
                                                 on the unicast IPv6 addresses of the
                                                 interface.
      show ipv6 interface                        Displays the usability status of interfaces
      [[gigabitethernet|tengigabite              configured for IPv6.
      thernet] port-number|vlan
      vlan-id|port-channel LAG-
      number]
      show ipv6 icmp error-interval              Displays the IPv6 ICMP error
                                                 interval.




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        The following is a sample script to configure IPv6 using CLI:

        Table 9-27.   Sample CLI Script to Configure IPv6 on a Port

        CLI Command                                              Description
        console#config                                           Enter Global Configuration
                                                                 mode.
        console(config)# interface vlan 1                        Enter VLAN mode for VLAN
                                                                 1.
        console(config-if)# ipv6 enable                          Enable IPv6 (dynamic).
        console(config-if)# ipv6 address                         Set the IPv6 address (static)
        5::1/64


        IPv6 Default Gateway
        Use the IPv6 Default Gateway pages to configure and view the default IPv6
        router addresses. This list contains routers that are candidates to become the
        switch default router for non-local traffic. The switch randomly selects a
        router from the list. The switch supports one static IPv6 default router.
        Dynamic default routers are routers that have sent router advertisements to
        the switch IPv6 interface.
        When adding or deleting IP addresses, the following events occur:
         •    When removing an IP interface, all of its default gateway IP addresses are
              removed.
         •    Dynamic IP addresses cannot be removed.
         •    An alert message is displayed after a user attempts to insert more than one
              IP address.
         •    An alert message is displayed when attempting to insert a non-Link Local
              type address.




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      To configure a router:
          1 Click System > IP Addressing > IPv6 Default Gateway in the tree view to
            display the IPv6 Default Gateway: Summary page.

      Figure 9-20. IPv6 Default Gateway: Summary




             The previously-defined routers are displayed with the following fields:
             –   IPv6 Default IPv6 Address — The router’s address.
             –   Interface — The interface on which the router is accessed.
             –   Type — The means by which the default gateway was configured. The
                 possible options are:
                 •   Static — The default gateway is user-defined.
                 •   Dynamic — The default gateway is dynamically configured
                     through router advertisement.




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               –      State — The router’s status. The possible options are:
                      •     Incomplete — Address resolution is in progress and the link-layer
                            address of the default gateway has not yet been determined.
                      •     Reachable — The default gateway is known to have been
                            reachable recently (within tens of seconds ago).
                      •     Stale — The default gateway is no longer known to be reachable
                            but until traffic is sent to the default gateway, no attempt is made
                            to verify its reachability.
                      •     Delay — The default gateway is no longer known to be reachable,
                            and traffic has recently been sent to the default gateway. Rather
                            than probe the default gateway immediately, however, there is a
                            delay sending probes for a short while in order to give upper-layer
                            protocols a chance to provide reachability confirmation.
                      •     Probe — The default gateway is no longer known to be reachable,
                            and Unicast Neighbor Solicitation probes are being sent to verify
                            reachability.
                      •     Unreachable — No reachability confirmation was received.
            2 To add an IPv6 default gateway, click Add, and enter the fields:
               –      IPv6 Address Type — Displays that the IP address was added to the
                      interface through a link local address.
               –      Link Local Interface — Displays the outgoing interface through
                      which the default gateway can be reached.
               –      Default Gateway IPv6 Address — Enter the Link Local IPv6 address
                      of the default gateway.

        Defining IPv6 Default Gateway Parameters Using CLI Commands
        The following table summarizes the CLI commands for setting fields
        displayed in the IPv6 Default Gateway pages
        .
        Table 9-28.       IPv6 Default Gateway CLI Commands

        CLI Command                                 Description
        ipv6 default-gateway ipv6- Defines an IPv6 default gateway.
        address




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      Table 9-28. IPv6 Default Gateway CLI Commands (Continued)

      CLI Command                          Description
      show ipv6 route                      Displays the current state of the IPv6 routing
                                           table.

      The following are examples of these CLI command:
          console(config)# ipv6 default-gateway fe80::abcd
          console(config-if)# do show ipv6 route
          Codes: L - Local, S - Static, I - ICMP, ND - Router
          Advertisement
          The number in the brackets is the metric.
          L 3000::/64 is directly connected, VLAN 20 Lifetime Infinite
          L 4003::/64 is directly connected, VLAN 20 Lifetime Infinite
          L 5003::/64 is directly connected, VLAN 20 Lifetime Infinite
          L 6003::/64 is directly connected, VLAN 20 Lifetime Infinite

      ISATAP Tunnel
      To deliver IPv6 addresses in an IPv4 network, a tunneling process must be
      defined that encapsulates IPv6 packets in IPv4 packets.
      The Intra-Site Automatic Tunnel Addressing Protocol (ISATAP) is an IPv6
      transition mechanism that is used to transmit IPv6 packets between
      dual-stack nodes (nodes that can accept both IPv4 and IPv6 addresses) on top
      of an IPv4 network.
      When enabling ISATAP on a tunnel interface, an explicit IPv4 address is
      configured as the tunnel source, or an automatic mode exists, where the
      lowest IPv4 address is assigned to an IP interface. This source IPv4 address is
      used for setting the tunnel interface identifier according to ISATAP
      addressing conventions. When a tunnel interface is enabled for ISATAP, the
      tunnel source must be set for the interface in order for the interface to
      become active.
      An ISATAP address is represented using the [64-bit prefix]:0:5EFE:w.x.y.z,
      where 5EFE is the ISATAP identifier and w.x.y.z is a public or private IPv4
      address. Thus, a Link Local address will be represented as FE80::5EFE:w.x.y.z



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        After the last IPv4 address is removed from the interface, the ISATAP IP
        interface state becomes inactive and is represented as Down, however the
        Admin state remains Enabled.
        When defining tunneling, note the following:
         •   An IPv6 Link Local address is assigned to the ISATAP interface. The initial
             IP address is assigned to the interface, and the interface state becomes
             Active.
         •   If an ISATAP interface is active, the ISATAP router IPv4 address is resolved
             via DNS by using ISATAP-to-IPv4 mapping. If the ISATAP DNS record is
             not resolved, the ISATAP host name-to-address mapping is searched in the
             host name cache.
         •   When an ISATAP router IPv4 address is not resolved via the DNS process,
             the status of the ISATAP IP interface remains Active. The system does not
             have a default gateway for ISATAP traffic until the DNS procedure is
             resolved.
         •   In order for an ISATAP Tunnel to work properly over an IPv4 network, an
             ISATAP router is must be set up.




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      To define an IPv6 ISATAP tunnel:
          1 Click System > IP Addressing > IPv6 ISATAP Tunnel in the tree view to
            display the ISATAP Tunnel page.

      Figure 9-21. IPv6 ISATAP Tunnel




          2 Enter the fields:
             –   ISATAP Status —Enable/disable the status of ISATAP on the device.
             –   IPv4 Address Type — Enter the source of the IPv4 address used by the
                 tunnel. The options are:
                 •   Auto —Use the dynamic address.
                 •   None —Disable the ISATAP tunnel
                 •   Manual —Use the manual address assigned.
             –   IPv4 Address — Enter the local (source) IPv4 address of a tunnel
                 interface.



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              –       Tunnel Router's Domain Name — Enter a specific automatic tunnel
                      router domain name.
              –       Domain Name Query Interval (10 - 3600) — Enter the interval
                      between DNS queries (before the IP address of the ISATAP router is
                      known) for the automatic tunnel router domain name.
              –       ISATAP Router Solicitation Interval (10 - 3600) — Enter the interval
                      between router solicitations messages when there is no active router.
              –       ISATAP Robustness (1 - 20) — Enter the number of DNS
                      Query/Router Solicitation refresh messages that the device sends per
                      second.
              Select the Use Default option to use the default setting of a field.

        Defining ISATAP Tunnel Parameters Using CLI Commands
        The following table summarizes the CLI commands for setting fields
        displayed in the ISATAP Tunnel pages.

        Table 9-29.     ISATAP Tunnel CLI Commands

        CLI Command                                     Description
        interface tunnel number                         Enters tunnel interface configuration
                                                        mode.
        tunnel mode ipv6ip {isatap}                     Configures an IPv6 transition
        no tunnel mode ipv6ip                           mechanism global support mode.
                                                        Use the no form of this command to
                                                        remove an IPv6 transition mechanism.
        tunnel isatap router router_name Configures a global string that
        no tunnel isatap router          represents a specific automatic tunnel
                                         router domain name.
                                                        Use the no form of this command to
                                                        remove the string associated with the
                                                        router domain name and restore the
                                                        default configuration.
        tunnel source {auto|ip-address                  Sets the local (source) IPv4 address of
        ipv4-address}                                   a tunnel interface.
        no tunnel source                                Use the no form of the command to
                                                        delete the tunnel local address.


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      Table 9-29. ISATAP Tunnel CLI Commands (Continued)

      CLI Command                                  Description
      tunnel isatap query-interval    Configures the interval between DNS
      seconds                         Queries (before the IP address of the
      no tunnel isatap query-interval ISATAP router is known) for the
                                      automatic tunnel router domain
                                      name.
                                                   Use the no form of this command to
                                                   restore the default configuration.
      tunnel isatap solicitation-                  Configures the interval between
      interval seconds                             ISATAP router solicitations messages
      no tunnel isatap solicitation-               (when there is no active ISATAP
      interval                                     router).
                                                   Use the no form of this command to
                                                   restore the default configuration.
      tunnel isatap robustness number Configures the number of DNS
      no tunnel isatap robustness     Query/Router Solicitation refresh
                                      messages that the device sends.
                                                   Use the no form of this command to
                                                   restore the default configuration.
      show ipv6 tunnel                             Displays information on the ISATAP
                                                   tunnel.

      The following is an example of a CLI script to create a tunnel:
      Table 9-30. ISATAP Tunnel CLI Script

      CLI Command                                           Description
      console#config                                        Enter Global Configuration
                                                            mode.
      console(config)# interface vlan 1                     Enter Interface mode for
                                                            VLAN 1.
      console(config-if)# ip address                        Configure an IP address with
      10.5.225.40 /27                                       prefix length of 27.
      console(config-if)# ip default-gateway Set the address of the default
      10.5.225.33                            gateway and exit Interface
      console(config-if)#exit                mode.



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        Table 9-30.   ISATAP Tunnel CLI Script

        CLI Command                                             Description
        console (config)# ip domain lookup                      Enable DNS lookup
        console(config)# ip name-server                         Define DNS server
        176.16.1.18
        console(config)# interface tunnel 1                     Enter tunnel mode
        console(config-tunnel)#tunnel mode                      Enable tunnel.
        ipv6ip isatap
        console(config-tunnel)#tunnel source                    The system minimum IPv4
        auto                                                    address will be used as the
                                                                source address for packets
                                                                sent on the tunnel interface.
        console(config-tunnel)# do show ipv6                    Display tunnel configuration
        tunnel




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      IPv6 Neighbors
      The Neighbors feature is similar in functionality to the IPv4 Address
      Resolution Protocol (ARP) feature. It enables detecting Link Local addresses
      within the same subnet, and includes a database for maintaining reachability
      information about active neighbors.
      The device supports a total of up to 64 neighbors, obtained statically or
      dynamically.
      When removing an IPv6 interface, all neighbors entered statically or learned
      dynamically, are removed.
      To add an IPv6 neighbor:
          1 Click System > IP Addressing > IPv6 Neighbors in the tree view to
            display the IPv6 Neighbors: Summary page.

      Figure 9-22. IPv6 Neighbors: Summary




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            The previously-defined neighbors are displayed along with their states.
            The possible states are:
            –   Incomplete — An address resolution is in progress, and the link-layer
                address of the neighbor has not yet been determined.
            –   Reachable — The neighbor is known to have been reachable recently
                (within tens of seconds).
            –   Stale — The neighbor is no longer known to be reachable, but until
                traffic is sent to the neighbor, no attempt is made to verify its
                reachability.
            –   Delay — The neighbor is no longer known to be reachable, and traffic
                has recently been sent to the neighbor. Rather than probe the
                neighbor immediately, however, there is a delay sending probes for a
                short while, in order to give upper-layer protocols a chance to provide
                reachability confirmation.
            –   Probe — The neighbor is no longer known to be reachable, and
                Unicast Neighbor Solicitation probes are being sent to verify
                reachability.
         2 To clear the Neighbors table, select one of the following options:
            –   None — Does not clear any entries.
            –   Static Only — Clears the static entries.
            –   Dynamic Only — Clears the dynamic entries.
            –   All Dynamic and Static — Clears the static and dynamic address
                entries.
         3 To add a new IPv6 neighbor, click Add, and enter the fields:
            –   IPv6 Interface — Displays the interface on which IPv6 Interface is
                defined.
            –   IPv6 Address — Enter the neighbor IPv6 address.
            –   MAC Address — Enter the MAC address assigned to the interface.




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          4 To modify or remove an IPv6 neighbor, click Edit, and enter the fields
            described on the Add page.
          5 If an entry for the specified IPv6 address already exists in the neighbor
            discovery cache, as learned through the IPv6 neighbor discovery process,
            you can convert the entry to a static entry. To do this, select Static in the
            Type field.

      Defining IPv6 Neighbors Using CLI Commands
      The following table summarizes the CLI commands for setting fields
      displayed in the IPv6 Neighbors pages.

      Table 9-31. IPv6 Neighbors CLI Commands

      CLI Command                                             Description
      ipv6 neighbor ipv6_addr                                 Configures a static entry in
      {[gigabitethernet|tengigabitethernet]                   the IPv6 neighbor discovery
      port-number|vlan vlan-id|port-channel                   cache.
      LAG-number]} mac_addr                 Use the no form of this
      no ipv6 neighbor ipv6_addr            command to remove a static
      {[gigabitethernet|tengigabitethernet] IPv6 entry from the IPv6
      port-number|vlan vlan-id|port-channel neighbor discovery cache.
      LAG-number]}
      show ipv6 neighbors                   Displays IPv6 neighbor
      {static|dynamic}[ipv6-address ipv6-   discovery cache information.
      address] [mac-address mac-address]
      [[gigabitethernet|tengigabitethernet]
      port-number|vlan vlan-id|port-channel
      LAG-number]]
      clear ipv6 neighbors                                    Deletes all entries in the IPv6
                                                              neighbor discovery cache.




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        The following is an example of the CLI commands:
         console# config
         console(config)# ipv6 neighbor 3000::a31b vlan 1
         001b.3f9c.84ea
         console# show ipv6 neighbors dynamic
         Interface IPv6 Address HW Address                 State        Router
         --------- ------------ ----------                 -----        -----
         VLAN 1      3000::a31b      0001b.3f9c.84ea Reachable Yes




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      IPv6 Routes Table
      The IPv6 Routes Table describes how to reach IPv6 destinations. The routing
      table is used to determine the next-hop address and the interface used for
      forwarding.
      Each dynamic entry also has an associated invalidation timer value (extracted
      from Router Advertisements). This timer is used to delete entries that are no
      longer advertised.
      To view IPv6 destinations and how they are reached:
          •   Click System > IP Addressing > IPv6 Routes Table in the tree view to
              display the IPv6 Routes Table page.

      Figure 9-23. IPv6 Routes Table




              The following is displayed for each IP address:
              –   IPv6 Address — The destination IPv6 address.



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              –       Prefix Length — The length of the IPv6 prefix. This field is applicable
                      only when the destination address is defined as a global IPv6 address.
              –       Interface — The interface that is used to forward the packet. Interface
                      refers to any Port, LAG or VLAN.
              –       Next Hop — The address to which the packet is forwarded on the
                      route to the Destination address (typically the address of a
                      neighboring router). This can be either a Link Local or Global IPv6
                      address.
              –       Metric — The value used for comparing this route to other routes
                      with the same destination in the IPv6 route table. This is an
                      administrative distance with the range of 0-255.
              –       Life-Time — The timeout interval of the route if no activity takes
                      place. Infinite means the address is never deleted.
              –       Route Type — Specifies whether the destination is directly-attached
                      and the means by which the entry was learned. The possible options
                      are:
                      •     Local — A directly-connected route entry.
                      •     Static — Manually configured route, supported only for default
                            gateway, learned through the Neighbor Discover (ND) process.
                      •     ICMP — The route was learned through ICMP Redirect
                            messages, sent by the router.
                      •     ND — Route was learned by the ND protocol from Router
                            Advertisement messages.

        Viewing IPv6 Routes Table Parameters Using CLI Commands
        The following table summarizes the CLI commands for setting fields
        displayed in the IPv6 Routes Table page.

        Table 9-32.       IPv6 Routes Table CLI Commands

        CLI Command                                        Description
        show ipv6 route                                    Displays the current state of the ipv6
                                                           routing table.




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      The following is an example of the CLI commands:
          console> show ipv6 route
          Codes: L - Local, S - Static, I - ICMP, ND - Router
          Advertisement
          The number in the brackets is the metric.
          S::/0 via fe80::77 [0] VLAN 1 Lifetime Infinite
          ND::/0 via fe80::200:cff:fe4a:dfa8 [0] VLAN 1 Lifetime
          1784 sec
          L 2001::/64 is directly connected, g2 Lifetime Infinite
          L 2002:1:1:1::/64 is directly connected, VLAN 1 Lifetime
          2147467 sec
          L 3001::/64 is directly connected, VLAN 1 Lifetime
          Infinite
          L 4004::/64 is directly connected, VLAN 1 Lifetime
          Infinite
          L 6001::/64 is directly connected, g2 Lifetime Infinite




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        Domain Name System
        The Domain Name System (DNS) converts user-defined domain names into
        IP addresses. Each time a domain name is assigned, the DNS service
        translates the name into a numeric IP address, for example,
        www.ipexample.com is translated into 192.87.56.2. DNS servers maintain
        domain name databases and their corresponding IP addresses.
        To add a DNS server and specify the active DNS server:
         1 Click System > IP Addressing > Domain Name System in the tree view
           to display the Domain Name System: Summary page.

        Figure 9-24. Domain Name System: Summary




             The list of previously-defined DNS servers is displayed.
         2 To enable mapping of host names into IP addresses through a DNS server,
           select DNS Status.
         3 To activate one of the currently-defined DNS servers, enable Active Server.


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          4 To add a DNS server, click Add, and enter the fields:
             –   Supported IP Format — Select whether the IPv4 or IPv6 format is
                 supported.
             –   IPv6 Address Type — When the server supports IPv6, this specifies
                 the type of static address supported. The possible options are:
                 •   Link Local — A Link Local address that is non-routable and used
                     for communication on the same network only.
                 •   Global — A globally unique IPv6 address; visible and reachable
                     from different subnets.
             –   Link Local Interface — When the server supports an IPv6 Link Local
                 address, this specifies the Link Local interface. The possible options
                 are:
                 •   VLAN — The VLAN on which the IPv6 interface is configured.
                 •   ISATAP — The IPv6 interface is configured on an ISATAP
                     tunnel.
             –   DNS Server — Enter the IP address of the DNS server being added.
             –   DNS Server Currently Active — Displays the DNS server that is
                 currently active.
             –   Set DNS Server Active — Check to activate the selected DNS server.

      Configuring DNS Servers Using the CLI Commands
      The following table summarizes the CLI commands for configuring the fields
      in the Domain Name System pages.

      Table 9-33. DNS CLI Commands

      CLI Command                             Description
      ip domain lookup                        Enables DNS system for translating host
                                              names to IP addresses.
      ip name-server {server1-                Sets the available name servers. Up to eight
      ipv4-address|server1-ipv6-              name servers can be set.
      address} [server-address2               The no form of the command removes a
      …server-address8]                       name server.
      no ip name-server [server-
      address … server-address8]


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        Table 9-33.   DNS CLI Commands (Continued)

        CLI Command                             Description
        clear host                              Deletes entries from the host name-to-
                                                address cache.
        clear host dhcp {name|*}                Deletes entries from the host name-to-
                                                address mapping received from DHCP.
        show hosts                              Displays the default domain name, the list
                                                of name server hosts, the static and the
                                                cached list of host names and addresses

        The following is an example of the CLI commands:
         console (config)# ip domain lookup
         console(config)# ip name-server 176.16.1.18




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      Default Domain Names
      A default domain name is used when an IP address cannot be mapped to a
      known domain name. This domain name is applied to all unqualified host
      names.
      To define the default domain name:
          1 Click System > IP Addressing > Default Domain Name to display the
            Default Domain Name page.

      Figure 9-25. Default Domain Name




             If there is a currently-defined default domain name, it is displayed.
          2 Enter the Default Domain Name (1 - 160 Characters).
             Its Type is displayed, and has one of the following options:
             –   Dynamic — The IP address was created dynamically.
             –   Static — The IP address is a static IP address.


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        Defining Default Domain Names Using the CLI Commands
        The following table summarizes the CLI commands for configuring the
        default domain name:

        Table 9-34.   Default Domain Name CLI Commands

        CLI Command                   Description
        ip domain-name name           Defines a default domain name that the software uses
        no ip domain-name             to complete unqualified host names.
                                      The no form of the command disables the use of the
                                      Domain Name System (DNS).

        The following is an example of the CLI commands:
         console(config)# ip domain-name dell.com




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      Host Name Mapping
      Host names can be dynamically mapped to IP addresses through the Domain
      Name System pages, or statically through the Host Name Mapping page.
      To assign IP addresses to static host names.
          1 Click System > IP Addressing > Host Name Mapping in the tree view to
            display the Host Name Mapping: Summary page.

      Figure 9-26. Host Name Mapping: Summary




             The currently-defined host names are displayed.
          2 Click Add to add a new host name. Up to four IP addresses can be added.
          3 For each IP address, enter the fields:
             –   Supported IP Format — Select whether the IPv4 or IPv6 format is
                 supported.




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              –       IPv6 Address Type — When the server supports IPv6, this specifies
                      the type of static address supported. The possible options are:
                      •    Link Local — A Link Local address that is non-routable and used
                           for communication on the same network only.
                      •    Global — A globally unique IPv6 address; visible and reachable
                           from different subnets.
              –       Link Local Interface — When the server supports an IPv6 Link Local
                      address, this specifies the Link Local interface. The possible options
                      are:
                      •    VLAN — The VLAN on which the IPv6 interface is configured.
                      •    ISATAP — The IPv6 interface is configured on an ISATAP
                           tunnel.
              •       Host Name (1-160 Characters) — Enter the host name to be
                      associated with the IP address entered below.
              •       IP Address — Enter the IP address of the domain. Four addresses can
                      be entered.
          4 Click Remove to delete a host name. All addresses for this host name are
            deleted at the same time.

        Mapping IP Addresses to Domain Host Names Using the CLI Commands
        The following table summarizes the CLI commands for mapping domain
        host names to IP addresses.

        Table 9-35.       Domain Host Name CLI Commands

        CLI Command                      Description
        ip host name address Defines the static host name-to-address mapping in
        [address2 address3   the host cache
        address4]
        no ip host name                  Removes the name-to-address mapping.
        clear host {name|*}              Deletes entries from the host name-to-address cache.
        show hosts [name]                Displays the default domain name, list of name server
                                         hosts, the static and the cached list of host names and
                                         addresses.




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      The following is an example of the CLI commands:
          console(config)# ip host accounting.abc.com 176.10.23.1

      ARP
      The Address Resolution Protocol (ARP) converts IP addresses into physical
      MAC addresses. ARP enables a host to communicate with other hosts when
      their IP addresses are known.
      To add an IP/MAC address mapping:
          1 Click System > IP Addressing > ARP in the tree view to display the ARP:
            Summary page.

      Figure 9-27. ARP: Summary




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            The entries in the table are displayed.
         2 Enter the parameters:
            •   ARP Entry Age Out (1 - 40000000) — Enter the amount of time in
                seconds that can pass between ARP requests for this address. After
                this period, the entry is deleted from the table.
            •   Clear ARP Table Entries — Select the type of ARP entries that are
                cleared on all devices. The possible options are:
                •   None — ARP entries are not cleared.
                •   All — All ARP entries are cleared.
                •   Dynamic — Only learned ARP entries are cleared.
                •   Static — Only static ARP entries are cleared.
         3 To add a mapping, click Add, and enter the fields:
            –   Interface — Select an interface to be associated with the addresses.
            –   IP Address — Enter the station IP address, which is associated with
                the MAC address filled in below.
            –   MAC Address — Enter the station MAC address, which is associated
                in the ARP table with the IP address.
         4 To change the status of a mapping from static to dynamic or vice versa,
           click Edit and enter the field:
            –   Status — Select the entry’s status. The possible options are:
                •   Static — The entry was statically entered.
                •   Dynamic — The entry was dynamically learned.




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      Configuring ARP Using the CLI Commands
      The following table summarizes the CLI commands for setting fields
      displayed in the ARP pages.

      Table 9-36. ARP CLI Commands

      CLI Command                             Description
      arp ip_addr mac_addr         Adds a permanent entry in the ARP
      {[gigabitethernet|tengigabit cache.
      ethernet] port-number|vlan
      vlan-id|port-channel LAG-
      number}
      no arp ip-address                       Removes an ARP entry from the ARP
                                              Table.
      arp timeout seconds                     Configures how long an entry remains in
                                              the ARP cache. This command can be
                                              used in Global Configuration mode for all
                                              interfaces, or in Interface Configuration
                                              mode for a specific interface.
      clear arp-cache                         Deletes all dynamic entries from the ARP
                                              cache
      show arp                                Displays entries in the ARP Table.
      show arp configuration                  Displays the global and interface
                                              configuration of the ARP protocol

      The following is an example of the CLI commands:
          console(config)# arp 198.133.219.232 00-00-0c-40-0f-bc
          console(config)# arp timeout 12000
          console(config)# exit
          console# show arp
          ARP timeout: 12000 Seconds
          Interface        IP Address           HW Address                Status
          ---------        ----------           ----------                ------
          gi1/0/11         10.7.1.102           00:10:B5:04:DB:4B         dynamic
          gi1/0/12         10.7.1.135           00:50:22:00:2A:A4         static


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        UDP Relay
        Switches do not typically route IP Broadcast packets between IP subnets.
        However, if configured, the switch can relay specific UDP Broadcast packets
        received from its IPv4 interfaces to specific destination IP addresses.
        To configure the relaying of UDP packets received from a specific IPv4
        interface with a destination UDP port:
         1 Click System > IP Addressing > UDP Relay in the tree view to display
           the UDP Relay: Summary page.

        Figure 9-28. UDP Relay: Summary




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             The UDP relays are displayed.
          2 To add a UDP relay, click Add, and enter the fields:
             –   Source IP Address — Select the source IP address to where the switch
                 is to relay UDP Broadcast packets, based on a configured UDP
                 destination port. The interface must be one of the IPv4 interfaces
                 configured on the switch. Select All for all addresses.
             –   UDP Port (1 - 65535) — Check Default Services to select all of the
                 following default ports:
                 •   IEN-116 Name Service (port 42)
                 •   DNS (port 53)
                 •   NetBIOS Name Server (port 137)
                 •   NetBIOS Datagram Server (port 138)
                 •   TACACS Server (port 49)
                 •   Time Service (port 37)
                 If Default Services are not selected, check the text box and enter a
                 UDP port.
             –   Destination IP Address — Enter the IP address that receives the UDP
                 packet relays. If this field is 0.0.0.0, UDP packets are discarded. If this
                 field is 255.255.255.255, UDP packets are flooded to all IP interfaces.

      Configuring UDP Relay Using the CLI Commands
      The following table summarizes the CLI commands for setting fields
      displayed in the UDP Relay pages.

      Table 9-37. UDP Relay CLI Commands

      CLI Command                                   Description
      ip helper-address {ip-                        Enables the forwarding of User
      interface|all} address [udp-                  Datagram Protocol (UDP) broadcast
      port-list]                                    packets received on an interface to a
      no ip helper-address {ip-                     specific (helper) address.
      interface|all} address                        Use the no form of this command to
                                                    disable the forwarding of broadcast
                                                    packets to a specific (helper) address.



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        The following is an example of the CLI commands:
         console (config)# ip helper-address all 172.16.9.9 49 53
         console (config)# do show ip helper-address
         Interface       Helper Address       UDP Ports
         ----------- ---------------          --------------------------
         All           172.16.9.9             49,53




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      Diagnostics
      This section describes how to perform cable tests on copper and fiber optic
      cables.
      It contains the following sections:
          •   Integrated Cable Test
          •   Optical Transceiver Diagnostics




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        Integrated Cable Test
        Time Domain Reflectometry (TDR) technology is used to test the quality
        and characteristics of a copper cable attached to a port. Cables up to 120
        meters long can be tested. Cables can only be tested when the ports are in the
        down state, with the exception of Approximated Cable Length test.
        This test can only be performed when the port is up and operating at 1 Gbps.
        To perform a cable test and view the results:
         1 Click System > Diagnostics > Integrated Cable Test: Summary in the
           tree view to display the Integrated Cable Test: Summary page.

        Figure 9-29. Integrated Cable Test: Summary




         2 Select a unit in the stack in the Unit ID field. Results from previously-run
           tests on that unit are displayed.
         3 Ensure that both ends of the copper cable are connected to a device.



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          4 Ensure that the cable is connected to tested port. Go to the Test tab.
          5 Click Test Now. The copper cable and Approximate Cable Length tests are
            performed, and the following test results are displayed:
             –   Test Result — Displays the cable test results. The possible options are:
                 •    No Cable — There is no cable connected to the port.
                 •    Open Cable — The cable is connected on only one side.
                 •    Short Cable — A short has occurred in the cable.
                 •    OK — The cable passed the test.
             –   Cable Fault Distance — Displays the distance from the port where
                 the cable error occurred.
             –   Last Update — Displays the last time the port was tested.
             –   Approximate Cable Length — Displays the approximate cable length.

      Performing Integrated Cable Tests Using CLI Commands
      The following table contains the CLI commands for performing integrated
      cable tests.

      Table 9-38. Integrated Cable Test CLI Commands

      CLI Command                                       Description
      test cable-diagnostics tdr         Performs VCT tests.
      interface[gigabitethernet|tengigab
      itethernet] port-number
      show cable-diagnostics tdr         Shows results of last VCT tests on
      interface[gigabitethernet|tengigab ports.
      itethernet] port-number
      show cable-diagnostics cable-      Displays the estimated copper
      length interface                   cable length attached to a port.
      [gigabitethernet|tengigabitetherne
      t] port-number




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        The following is an example of the CLI commands:
         console> enable
         console# test cable-diagnostics tdr gi1/0/3
         Cable is open at 100 meters.
         console# show cable-diagnostics cable-length interface
         gi2/0/5
         Port         Length [meters]
         -------      ----------------
         gi2/0/5        < 50

        Optical Transceiver Diagnostics
        The Optical Transceiver Diagnostics page displays the operating conditions
        reported by the SFP (Small Form-factor Pluggable) transceiver. Some
        information might not be available for SFPs that do not support the digital
        diagnostic monitoring standard SFF-8472.
        The following is the list of the compatible SFPs:
         •   SFP:
             –   X3366 — 1000Base-SX, Finisar FTLF8519P2BNL
             –   U3650 — 1000Base-LX, Finisar FTRJ1319P1BTL
         •   SFP+:
             –   N743D — SR, Finisar FTLX8571D3BCL
             –   T307D — LR, Finisar FTLX1471D3BCL
             –   C043H — LRM, Avago AFBR-707SDZ-D1
             –   N198M — LRM, Finisar FTLX1371D3BCL




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      To view the results of optical fiber tests:
          •   Click System > Diagnostics > Optical Transceiver Diagnostics in the
              tree view to display the Optical Transceiver Diagnostics page.
      Figure 9-30. Optical Transceiver Diagnostics




              The following fields are displayed for the selected unit:
              –   Port — The port number on which the cable was tested.
              –   Temperature — The temperature (C) at which the cable is operating.
              –   Voltage — The voltage at which the cable is operating.
              –   Current — The current at which the cable is operating.
              –   Output Power — The rate at which output power is transmitted.
              –   Input Power — The rate at which input power is transmitted.
              –   Transmitter Fault — A fault occurred during transmission.
              –   Loss of Signal — A signal loss occurred in the cable.
              –   Data Ready — The transceiver has achieved power up, and data is
                  ready.


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        Performing Fiber Optic Cable Tests Using CLI Commands
        The following table contains the CLI command for performing fiber optic
        cable tests.

        Table 9-39.   Fiber Optic Cable Test CLI Commands

        CLI Command                                   Description
        show fiber-ports optical-       Displays the optical transceiver
        transceiver [interface          diagnostics.
        [gigabitethernet|tengigabitethe
        rnet] port-number] [detailed]

        The following is an example of the CLI command:

         console# show fiber-ports optical-transceiver detailed


         Port            Temp    Voltage       Current      Output    Input       POWER     LOS
                         [C]                   [aM]         [mWat]    [mWa]       [mWa]
         -------         ----    -------       ----         ----      ----        ----      ---
         gi1/0/1         48      5.15          50           1.789     1.789       No        No
         gi1/0/2         43      5.15          10           1.789     1.789       No        No




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      Management Security
      This section describes the pages used to manage device security.
      It contains the following topics:
          •   Access Profiles
          •   Profile Rules
          •   Authentication Profiles
          •   Select Authentication
          •   Active Users
          •   Local User Database
          •   Line Passwords
          •   Enable Password
          •   TACACS+
          •   Password Management
          •   RADIUS

      Access Profiles
      Access to management functions may be limited to users identified by:
          •   Ingress interface (Port, LAG, or VLAN)
          •   Source IP address
          •   Source IP subnet
      Management access may be separately defined for the following types of
      management access methods:
          •   Telnet (CLI over Telnet sessions)
          •   Secure Telnet
          •   Web (HTTP)
          •   Secure Web (HTTPS, Using SSL)
          •   SNMP




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        This means, for example, that the set of managers allowed via Telnet may be
        different than the set of Web-based managers which is, in turn, may be
        different than the set of secure-web based managers, and so on.
        A specific management access method may be completely disabled by
        denying all user access to it (e.g. denying all users access to CLI/Telnet
        management effectively disables CLI/Telnet as an available management
        interface to the system).
        By default, management access to the system, through all methods, is
        enabled over all interfaces.
             NOTE: If you enable management access through a physical port, all VLANs and
             IP interfaces on that port will be acceptable management traffic sources. If you
             enable management access through a VLAN, all ports and IP interfaces on that
             VLAN will be acceptable. If specific IP address(es) are specified, only traffic from
             the specified IP addresses on the appropriate ports will be accepted.

        Access Profiles Rules
        Each management access profile is composed of at least one rule, which acts
        as a filter, and defines the device management method, interface type, source
        IP address, network mask, and the device management access action.
        Users can be blocked or permitted management access.
        Rule priority sets the order in which the rules are implemented. Assigning an
        access profile to an interface denies access via other interfaces. If an access
        profile is not assigned to any interface, the device can be accessed by all
        interfaces.
        A total of 256 rules can be defined for all Management Access profiles.
        To add rules to existing access profiles, see "Profile Rules" on page 259.




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      Creating an Access Profile
      To define an access profile with a single rule:
          1 Click System > Management Security > Access Profiles in the tree view
            to display the Access Profiles: Summary page.

      Figure 9-31. Access Profiles: Summary




             The currently-defined access profiles are displayed.
          2 To activate an access profile, select it in the Active Access Profile field.
             If you select Console Only, active management of the device can only be
             performed using the console connection. This profile cannot be removed.
          3 To add a new profile, click Add, and enter the fields:
             –    Access Profile Name (1-32 Characters) — Enter a name for the access
                  profile.




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            –   Rule Priority (1-65535) — Enter the rule priority. Rules are applied to
                packets according to their priority. These can be viewed in the Profile
                Rules: Summary page.
            –   Management Method — Select the management method to which
                the access profile is applied. Users using this management method are
                authenticated using this access profile. The possible options are:
                •   All — The access profile is applied to all management methods.
                •   Telnet — The access profile is applied to Telnet users.
                •   Secure Telnet (SSH) — The access profile is applied to SSH
                    users.
                •   HTTP — The access profile is applied to HTTP users.
                •   Secure HTTP (HTTPS) — The access profile is applied to
                    HTTPS users.
                •   SNMP — The access profile is applied to SNMP users.
            –   Interface — Check the fields and select the interface type to which
                the rule applies.
            –   Enable Source IP Address — Check this parameter to restrict access,
                based on the source IP address. When this field is not selected, the
                source IP address cannot be entered into a configured rule.
            –   Supported IP Format — Select whether the IPv4 or IPv6 format is
                supported for the source IP addresses.
            –   Source IP Address — Enter the interface source IP address for which
                the rule applies. This is an optional field and indicates that the rule is
                valid for a subnetwork.
            –   Network Mask — Enter the IP subnetwork mask if Supported IP
                Format is IPv4.
            –   Prefix Length — Enter the number of bits that comprise the source IP
                address prefix, or the network mask of the source IP address.
            –   Action — Select whether to permit or deny management access to the
                defined interface. The possible options are:
                •   Permit — Permits access to the device.
                •   Deny — Denies access to the device.



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      Defining Access Profiles Using CLI Commands
      The following table contains the CLI command for defining an access profile,
      without its rules. The CLI commands for defining the rules are described in
      "Defining Access Profile Rules Using CLI Commands" on page 260.

      Table 9-40. Access Profile CLI Commands

      CLI Command                        Description
      management access-list             Defines an access-list for management.
      name                      Use the no form of this command to delete an
      no management access-list access list.
      name

      The following is an example of the CLI commands:
          console(config)# management access-list mlist
          console(config-macl)#




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        Profile Rules
        If an access profile already exists, meaning that a single rule has been defined
        on it, use the Profile Rules pages to add additional rules to it.
        To add a rule to a management access profiles:
         1 Click System > Management Security > Profile Rules in the tree view to
           display the Profile Rules: Summary page.

        Figure 9-32. Profile Rules: Summary




         2 Select an access profile name. Its rules are displayed in the order that they
           will be implemented.
         3 To add a rule to the selected management access profile, click Add.
         4 Select a management access profile.
         5 Complete the fields that are defined in Access Profiles pages.




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      Defining Access Profile Rules Using CLI Commands
      The following table summarizes the CLI commands for adding rules to access
      profiles.

      Table 9-41. Access Profiles CLI Commands

      CLI Command                                  Description
      permit[[gigabitethernet|tengigab Sets port permit conditions for the
      itethernet port-number]|vlan     management access list.
      vlan-id|port-channel LAG-number]
      [service service]
      permit ip-source {ipv4-          Sets port permitting conditions for
      address|ipv6-address|prefix-     the management access list, and the
      length} [mask mask|prefix-       selected management method.
      length]
      [[gigabitethernet|tengigabitethe
      rnet][port-number|vlan vlan-
      id|port-channel LAG-number]
      [service service]
      deny                             Sets port denying conditions for the
      [[gigabitethernet|tengigabitethe management access list, and the
      rnet] port-number|vlan vlan-     selected management method.
      id|port-channel LAG-number]
      [service service]
      deny ip-source {ipv4-            Sets port denying conditions for the
      address|ipv6-address|prefix-     management access list, and the
      length} [mask mask|prefix-       selected management method.
      length]
      [[gigabitethernet|tengigabitethe
      rnet] port-number|vlan vlan-
      id|port-channel LAG-number]
      [service service]
      management access-class                      Defines which access-list is used as
      {console-only|name}                          the active management connections.
      no management access-class                   Use the no form of this command to
                                                   disable management connection
                                                   restrictions.




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        Table 9-41.   Access Profiles CLI Commands (Continued)

        CLI Command                                     Description
        show management access-list                     Displays the active management
        [name]                                          access-lists.
        show management access-class                    Displays information about
                                                        management access-class.

        The following is an example of the CLI commands:
         console(config)# management access-list mlist
         console(config-macl)# permit gi1/0/1
         console(config-macl)# permit gi1/0/2
         console(config-macl)# deny gi1/0/3
         console(config-macl)# deny gi1/0/4
         console(config-macl)# exit
         console(config)# management access-class mlist
         console(config)# exit
         console# show management access-list
         mlist
         -----
         permit gi1/0/1
         permit gi1/0/2
         deny gi1/0/3
         deny gi1/0/4
         ! (Note: all other access implicitly denied)
         console# show management access-class
         Management access-class is enabled, using access list
         mlist




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      Authentication Profiles
      In addition to access profiles, you can configure authentication for
      management access methods, such as SSH, console, Telnet, HTTP, and
      HTTPS.
      User authentication can occur:
          •   Locally
          •   Via an external server, such as a TACACS+ or a RADIUS server
      User authentication occurs in the order that the methods are selected, for
      example, if both the Local and RADIUS options are selected, the user is
      authenticated first locally. If the local user database is empty, the user is
      authenticated via the RADIUS server.
      If an error occurs during the authentication, the next selected method is
      used.
      If an authentication method fails, or the user has an insufficient privilege
      level, the user is denied access to the switch. The switch then stops, does not
      continue, and does not attempt to use the next authentication method.
      If a privilege level is redefined, the user must also be re-defined.
      User authentication can also be set to None, in which case no authentication
      is performed.
      The process of configuring authentication for management access methods is
      divided into the following stages:
          •   Create an authentication profile, as described below
          •   Assign an authentication profile to a management method, as described in
              "Select Authentication" on page 265




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        To create an authentication profile:
         1 Click System > Management Security > Authentication Profiles in the
           tree view to display the Authentication Profiles: Summary page.

        Figure 9-33. Authentication Profiles: Summary




             All currently-defined authentication profiles are displayed.
         2 Click Add to add a new authentication profile, and enter the fields:
             –    Profile Name (1-12 Characters) — Enter the name of the new
                  authentication profile. Profile names cannot include blank spaces.
             –    Authentication Method: Optional Methods — Select a user
                  authentication methods that can be assigned to this authentication
                  profile. The possible options are:
                  •   Line — The line password is used for user authentication
                      (defined in "Line Passwords" on page 272).



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                •   Enable — The enable (encrypted) password is used for
                    authentication (defined in "Enable Password" on page 274).
                •   Local — The user authentication is performed by the device,
                    which checks the user name and password for authentication.
                •   RADIUS — The user authentication is performed by the
                    RADIUS server. For more information, see "RADIUS" on
                    page 284.
                •   TACACS+ — The user authentication is performed by the
                    TACACS+ server. For more information, see "TACACS+" on
                    page 275.
                •   None — No user authentication occurs.
            Select a method by highlighting it in the Optional Methods list, and
            clicking on the right arrow to move it to the Selected Methods list.

      Configuring an Authentication Profile Using CLI Commands
      The following table summarizes the CLI commands for setting fields
      displayed in the Authentication Profiles pages.

      Table 9-42. Authentication Profile CLI Commands

      CLI Command                                 Description
      aaa authentication login                    Configures login authentication.
      {default|list-name} method1                 Use the no form of the command to
      [method2]                                   remove a login authentication profile.
      no aaa authentication login
      {default|list-name}

      The following is an example of the CLI commands:
          console(config)# aaa authentication login default radius
          local enable none




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        Select Authentication
        After Authentication Profiles are defined, the Authentication Profiles can be
        assigned to Management Access methods, for example, console users can be
        authenticated by Authentication Profile 1, while Telnet users can be
        authenticated by Authentication Profile 2.
        To assign an authentication profile to a management access method:
         1 Click System > Management Security > Select Authentication in the
           tree view to display the Select Authentication page.

        Figure 9-34. Select Authentication




         2 For the Console, Telnet and Secure Telnet (SSH) types of users, select
           either the default authentication profile or one of the previously-defined
           authentication profiles.




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          3 For Secure HTTP and HTTP types of users, select one or all of the
            Optional Methods and click the right-arrow to move them to the Selected
            Methods. The options are:
             –   Local — Authentication occurs locally.
             –   None — No authentication method is used for access.
             –   RADIUS — Authentication occurs at the RADIUS server.
             –   TACACS+ — Authentication occurs at the TACACS+ server.

      Assigning Access Authentication Profiles Using CLI Commands
      The following table summarizes the CLI commands for setting fields
      displayed in the Select Authentication page.

      Table 9-43. Select Authentication CLI Commands

      CLI Command                                         Description
      aaa authentication enable {default|list-            Indicates the authentication
      name} method [method2 ...]                          method list when accessing a
                                                          higher privilege level from a
      no aaa authentication enable {default|list-         remote Telnet, Console or SSH.
      name}
      enable authentication [default|list-name]           Specifies the authentication
                                                          method for accessing a higher
      no enable authentication
                                                          privilege level from a remote
                                                          Telnet or console.
                                                          Use the no form of this
                                                          command to restore the default
                                                          authentication method
      login authentication [default|list-name]            Indicates the login
                                                          authentication method list for a
                                                          remote Telnet, Console or SSH.
      ip http authentication aaa login-                   Indicates authentication
      authentication method1 [method2]                    methods for HTTP or HTTPS
                                                          servers.
      no ip http authentication aaa login-
      authentication
      show authentication methods                         Displays information about the
                                                          authentication methods.



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        The following is an example of the CLI commands that sets authentication
        for the console using the default method list that was previously-defined:
         console(config)#line console
         console(config-line)# enable authentication default
         console(config-line)# login authentication default
         console(config-line)# exit

        The following is an example of the CLI commands that creates an
        authentication method list for http server access (RADIUS and local):
         console(config)# ip http authentication aaa login-
         authentication radius local
         console(config)# exit




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      Active Users
      To view active users on the device:
          •   Click System > Management Security > Active Users in the tree view to
              display the Active Users page.

      Figure 9-35. Active Users




              The following fields are displayed for all active users:
              –   Name — Active users logged into the device.
              –   Protocol — The management method by which the user is connected
                  to the device.
              –   Location — The user’s IP address.




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        Displaying Active Users Using CLI Commands
        The following table summarizes the CLI commands for viewing active users
        connected to the device.

        Table 9-44.   Active Users CLI Commands

        CLI Command                    Description
        show users                     Displays information about active users.

        The following example shows an example of the CLI command:
         console> show users


         Username           Protocol              Location
         --------           --------              ---------
         Bob                  Serial
         John                 SSH                 172.16.0.1
         Robert               HTTP                172.16.0.8
         Betty                Telnet              172.16.1.7




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      Local User Database
      Use the Local User Database pages to define users, passwords and access
      levels.
      To add a new user:
          1 Click System > Management Security > Local User Database in the tree
            view to display the Local User Database: Summary page.

      Figure 9-36. Local User Database: Summary




             All users are displayed even if they have been suspended.
             If a user has been suspended, it can be restored here by selecting the
             Reactivate Suspended User field.
          2 To add a user, click Add, and enter the fields:
             –   User Name (1-20 characters) — Enter the username of the user.




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              –       Access Level — Select a user access level. The lowest user access level
                      is 1 and 15 is the highest user access level. Users with access level 15
                      are Privileged Users, and only they can access and use the switch
                      administrator.
              –       Password (8-64 characters) — Enter the password of the user.
              –       Confirm Password — Confirm the password of the user.
                      The following fields are displayed:
                      •     Expiry Date — The expiration date of the user-defined password.
                      •     Lockout Status — Specifies whether the user currently has access
                            (status Usable), or whether the user is locked out due to too many
                            failed authentication attempts since the user last logged in
                            successfully (status Locked).
                      •     Reactivate Suspended User — Check to reactivate the specified
                            user’s access rights. Access rights can be suspended after
                            unsuccessfully attempting to login.

        Configuring Local Users Using CLI Commands
        The following table summarizes the CLI commands for configuring local
        users.

        Table 9-45.       Local User CLI Commands

        CLI Command                                           Description
        username name {nopassword|password Establishes a username-based
        password|password encrypted        authentication system.
        encrypted-password}                Use the no form to remove a user
        username name [privilege-level]    name.
        no username name
        set username name active                              Reactivates a suspended user’s
                                                              access rights.
        show user accounts                                    Displays users information.




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      The following is an example of the CLI commands:
          console(config)# username bob password lee privilege 15
          console# set username bob active

      Line Passwords
      To add a line password for Console, Telnet, and Secure-Telnet users:
          1 Click System > Management Security > Line Passwords in the tree view
            to display the Line Password page.

      Figure 9-37. Line Password




          2 Enter the fields for each type of user, separately:
             –    Password (0 - 159 Characters) — Enter the line password for accessing
                  the device.
             –    Confirm Password — Confirm the line password.



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              –       Console/Telnet/Secure Telnet Line Aging (1-365) — Check to set the
                      amount of time in days that elapses before a line password is aged out.
                      Enter the number of days after which the password expires.
              –       Expiry Date — Displays the expiration date of the line password.
              –       Lockout Status — Displays whether the user currently has access
                      (status Usable), or whether the user is locked out due to too many
                      failed authentication attempts since the user last logged in
                      successfully (status Locked).
              –       Reactivate Locked Line — Check to reactivate the line password for a
                      Console/Telnet/Secure Telnet session. Access rights can be suspended
                      after a number of unsuccessful attempts to log in.

        Assigning Line Passwords Using CLI Commands
        The following table summarizes the CLI commands for setting fields
        displayed in the Line Password page
        .
        Table 9-46.     Line Password CLI Commands

        CLI Command                                Description
        line {console|telnet|ssh}                  Identifies a specific line for configuration
                                                   and enters the Line Configuration
                                                   command mode.
        password password                          Sets a password on a line.
        [encrypted]                                Use the no form of this command to
        no password                                remove the password.

        The following is an example of the CLI commands:
            console(config)# line console
            console(config-line)# password dell




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      Enable Password
      To set a local password to control access to Normal and Privilege levels
      activities.
          1 Click System > Management Security > Enable Passwords in the tree
            view to display the Enable Password page.

      Figure 9-38. Enable Password




          2 Enter the fields:
             –   Select Enable Access Level — Select the access level to associate with
                 the enable password. The lowest user access level is 1 and 15 is the
                 highest user access level. Users with access level 15 are Privileged
                 Users, and only they can access and use the OpenManage Switch
                 Administrator.
             –   Password (0-159 characters) — Enter the enable password.
             –   Confirm Password — Confirm the password.


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              –       Expiry Date — If Aging is selected, displays the expiration date of the
                      enable password.
              –       Lockout Status — Displays the number of failed authentication
                      attempts since the user last logged in successfully (if the Enable
                      Login Attempts checkbox is selected in the Password Management
                      page.) Specifies LOCKOUT, when the user account is locked.
              –       Reactivate Suspended User — Check to reactivate the specified user’s
                      access rights. Access rights can be suspended after unsuccessfully
                      attempting to login.

        Assigning Enable Passwords Using CLI Commands
        The following table summarizes the CLI commands for setting fields
        displayed in the Enable Password page.

        Table 9-47.     Enable Password CLI Commands

        CLI Command                                 Description
        enable password [level                      Sets a local password to control access to
        level] d [encrypted]                        user and privilege levels.
        no enable password [level                   Use the no form of this command to
        level]                                      remove the password requirement.

        The following is an example of the CLI commands:
         console(config)# enable password level 15 secret

        TACACS+
        The device can act as a Terminal Access Controller Access Control System
        (TACACS+) client. TACACS+ provides centralized validation of users
        accessing the device, while still retaining consistency with RADIUS and other
        authentication processes.
        TACACS+ provides the following services:
         •    Authentication — Provides authentication during login and via user
              names and user-defined passwords.
         •    Authorization — Performed at login after authentication. The TACACS+
              server checks the privileges of the authenticated user.



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      The TACACS+ protocol ensures network integrity through encrypted
      protocol exchanges between the device and TACACS+ server.
      To configure TACACS+ servers:
          1 Click System > Management Security > TACACS+ in the tree view to
            display the TACACS+: Summary page.

      Figure 9-39. TACACS+: Summary




             The list of currently-defined TACACS+ servers is displayed. The
             parameters for each server is displayed, along with its connection status.
          2 Enter the default parameters for TACACS+ servers. These values are used
            unless values are added in the TACACS+ Add or Edit pages.
             –   Source IP Address — The device IP address used for the TACACS+
                 session between the device and the TACACS+ server. The default is
                 0.0.0.0., which means that any IP address of the device can be used to
                 communicate with the TACACS+ server.




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            –   Key String (1-128 Characters) — The authentication and encryption
                key for TACACS+ communications between the device and the
                TACACS+ server. This key must match the encryption key sent by the
                TACACS+ server. This key is encrypted.
            –   Timeout for Reply (1-30) — The amount of time that passes before
                the connection between the device and the TACACS+ server times
                out.
         3 To add a TACACS+ server, click Add, and enter the fields on the page.
           The fields below are those that were not described on the TACACS+:
           Summary page.
            –   Host IP Address — Enter the TACACS+ server IP address.
            –   Priority (0-65535) — Enter the order in which the TACACS+ servers
                are used if several are defined.
            –   Source IP Address — Enter either specific device IP address for the
                TACACS+ server.
            –   Authentication Port (0-65535) — Enter the port number through
                which the TACACS+ session occurs.
            –   Timeout for Reply (1-30) — Enter the amount of time that passes
                before the connection between the device and the TACACS+ server
                times out.
            –   Single Connection — Check to maintain a single open connection
                between the device and the TACACS+ server.




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           Wherever available, check Use Default to use a value that was entered in
           the TACACS+: Summary page.

      Defining TACACS+ Settings Using CLI Commands
      The following table summarizes the CLI commands for setting fields
      displayed in the TACACS+ Settings pages.

      Table 9-48. TACACS+ CLI Commands

      CLI Command                                 Description
      tacacs-server host {ip           Configures a TACACS+ host.
      address|hostname}[single-        Use the no form of this command to
      connection] [port port-number]   delete the specified TACACS+ host.
      [timeout timeout][key key-
      string][source source] [priority
      priority]
      no tacacs-server host {ip-
      address|hostname}
      tacacs-server key key-string                Specifies the authentication and
      no tacacs-server key                        encryption key for all TACACS+
                                                  communications between the device
                                                  and the TACACS+ server.
                                                  Use the no form of this command to
                                                  disable the key.
      tacacs-server timeout timeout               Specifies the timeout value in
      no tacacs-server timeout                    seconds.

      tacacs-server source-ip source              Specifies the source IP address.
      no tacacs-server source-ip                  Use the no form of this command to
      source                                      restore the default configuration.
      show tacacs [ip-address]                    Displays configuration and statistics
                                                  for a TACACS+ server.




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        The following is an example of the CLI commands:
         console(config)# tacacs-server source-ip 172.16.8.1
         console# show tacacs
         Device Configuration
         -----------------------------
         IP Address    Status   Port      Single       TimeOut   Source IP   Priority
                                          Connection
         ---------- ------      ------    ----------   -------- ---------- --------
         1.1.1.11     Not         49       No           Global    Global      10
                      Connected
         1.1.1.21     Not         49       No           Global    Global      19
                      Connected
         1.1.1.31     Not         49       No           Global    Global      18
                      Connected
         1.1.1.41     Not         49       No           Global    Global      17
                      Connected
         Global values
         --------------
         TimeOut : 5
         -----------------------------
         Source IP : 0.0.0.0


        Password Management
        Password management provides increased network security and improved
        password control. This feature is optional and must be enabled in the
        Password Management page.
        Passwords for SSH, Telnet, HTTP, HTTPS, and SNMP access can be assigned
        security features that include:
         •   Minimum password lengths
         •   Password expiration dates (password aging)
         •   Prevention of frequent password reuse
         •   Lockout of users after failed login attempts
         •   Number of repeated characters allowed
         •   Number of different character classes required in the password. Numeric,
             alphabetic, and special characters are all character classes.


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      Password aging starts immediately after password management is enabled.
      However it is only effective if system time on the device is taken from an
      SNTP server. Passwords expire according to the user-defined expiration
      date/time. Ten days prior to password expiration, the device displays a
      password expiration warning message.
      After the password has expired, users can log in a few additional times.
      During the remaining logins, an additional warning message displays
      informing the user that the password must be changed. If the password is not
      changed, users are locked out of the system, and can only log in using the
      console. Password warnings are logged in the SYSLOG file.
           NOTE: Password aging is enabled only after setting the switch to use SNTP for
           setting time.




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        To define password management parameters:
         1 Click System > Management Security > Password Management in the
           tree view to display the Password Management page.

        Figure 9-40. Password Management




         2 Check the required fields and enter their values:
             –   Enable Strong Passwords — Check to enable this feature.
             –   Number of Classes — Select a number of character classes. The
                 character classes are: upper case characters, lower case characters,
                 digits and punctuation. The number of character classes selected
                 indicates how many different types of characters must be in the
                 password.
             –   Repeated Characters — Select the number of permissible repeated
                 characters in the password.




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           –   Password Minimum Length (8-64 characters) — When checked,
               specifies the minimum password length. Enter the minimum
               password length.
           –   Enable Login Attempts — When checked, enables locking a user out
               of the device when a faulty password is used more than the number of
               times entered. Select the maximum number of login attempts.
           –   Global Password Aging (1-365) — When checked, specifies that the
               password will expire in the number of days entered. Enter the number
               of days. This is only enabled after setting the switch to use SNTP for
               setting time
           –   Consecutive Passwords Before Reuse (1-10) — When checked,
               indicates the number of times a password must be changed, before the
               password can be reused. Select the number of times.
           –   Password History Hold Time (1-365) — When checked, the password
               history will be deleted after the number of days entered. Enter the
               number of days.

      Password Management Using CLI Commands
      The following table summarizes the CLI commands for setting fields
      displayed in the Password Management page.

      Table 9-49. Password Management CLI Commands

      CLI Command                                  Description
      passwords strength-check enable              Enforces password strength checks.
      no passwords strength-check                  Use the no form of this command
                                                   to disable enforcing password
                                                   strength checks.
      passwords strength [max-limit                Enforces limits of repeated
      repeated characters | minimum                characters and character classes.
      character-classes]                           Use the no form of this command
      no passwords strength                        to disable enforcing limits of
                                                   repeated characters and character
                                                   classes.




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        Table 9-49.   Password Management CLI Commands (Continued)

        CLI Command                                       Description
        password min-length length                        Defines the minimum password
        no password min-length                            length.
                                                          Use the no form of this command
                                                          to remove the restriction.
        passwords aging days                              Enforces password aging.
        no passwords aging                                Use the no form of this command
                                                          to return to default.
        password history number                           Defines the amount of times a
        no password history                               password is changed, before the
                                                          password can be reused.
        password history hold-time days                   Configures the duration that a
        no password history hold-time                     password is relevant for tracking
                                                          passwords history.
                                                          Use the no form of this command
                                                          to return to the default
                                                          configuration.
        password lockout number                           Defines the number of times a
        no password lockout                               faulty password is entered before
                                                          the user is locked out of the device.
                                                          Use the no form of this command
                                                          to disable the lockout feature.
        show password configuration                       Displays password management
                                                          information.

        The following is a sample script that sets password strength rules and creates a
        user with a valid password.

        Table 9-50.   CLI Script to Configure Strong Password

        CLI Command                                              Description
        console#configure                                        Enable strong passwords.
        console(conf)# passwords strength-
        check enable




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      Table 9-50. CLI Script to Configure Strong Password

      CLI Command                                             Description
      console(config)# passwords strength                     Enable that passwords must
      minimum character-classes 3                             contain at least three
                                                              character classes.
      password min-length 8                                   Enable that passwords must
                                                              contain at least eight
                                                              characters.
      console(config)# username admin                         Create a user named
      privilege 15 password FGH123!@#                         "admin" with privilege level
                                                              15 and password that fits
                                                              the strength rules.

      RADIUS
      Remote Authentication Dial-In User Service (RADIUS) servers provide
      additional security for networks. Up to four RADIUS servers can be defined.
      RADIUS servers provide a centralized authentication method for:
          •   Telnet Access
          •   Secure Shell Access
          •   Web Access
          •   Console Access




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        To add a RADIUS server:
         1 Click System > Management Security > RADIUS in the tree view to
           display the RADIUS: Summary page.

        Figure 9-41. RADIUS: Summary




             The RADIUS default parameters and previously-defined RADIUS servers
             are displayed.
         2 Enter the default parameters to be used when these parameters are not
           entered for a specific server.
             –   Default Retries (1-10) — The default number of transmitted requests
                 sent to RADIUS server before a failure occurs.
             –   Default Timeout for Reply (1-30) — The default amount of the time
                 (in seconds) that the device waits for an answer from the RADIUS
                 server before timing out.
             –   Default Dead time (0-2000) — The default amount of time (in
                 minutes) that a RADIUS server is bypassed for service requests.
             –   Default Key String (0-128 Characters) — The Default Key string
                 used for authenticating and encrypting all RADIUS communications
                 between the device and the RADIUS server. This key is used for
                 encryption.
             –   Source IPv4 Address — The source IP v4 address that is used for
                 communication with RADIUS servers.



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             –   Source IPv6 Address — The source IP v6 address that is used for
                 communication with RADIUS servers.
          3 To add a RADIUS server, click Add, and enter the fields:
             –   Supported IP Format — Select whether the IPv4 or IPv6 format is
                 supported.
             –   IP Address — Enter the RADIUS server IP address.
             –   Priority (0-65535) — Enter the priority of the authentication server
                 being added. 0 is the highest value. This is used to configure the order
                 in which servers are queried.
             –   Authentication Port (0-65535) — Enter the authentication port used
                 to verify the RADIUS server authentication. Enter 0 if you do not
                 want this server to be used for authentication purposes.
             –   Accounting Port (0-65535) — Enter the accounting port, which is the
                 UDP port number of the RADUS server used for accounting requests.
                 Enter 0 if you do not want this server to be used for accounting
                 purposes.
             –   Usage Type — Enter the RADIUS server usage. The possible options
                 are:
                 •   Login — Used for login authentication and/or accounting.
                 •   802.1x — Used for 802.1x authentication and/or accounting.
                 •   All — Used for all types of authentication and/or accounting.
          4 Enter the following fields if you do not want to use the default values
            entered in the RADIUS: Summary page. If you do want to use the default
            values, check Use Default for these fields.
             –   Number of Retries (1-10) — Enter the number of requests sent to the
                 RADIUS server before a failure occurs.
             –   Timeout for Reply (1-30) — The amount of the time in seconds that
                 the device waits for an answer from the RADIUS server before retrying
                 the query, or switching to the next server.
             –   Dead Time (0-2000) — The amount of time (in minutes) that a
                 RADIUS server is bypassed for service requests.
             –   Key String (0-128 Characters) — The key string used for
                 authenticating and encrypting all RADIUS communications between
                 the device and the RADIUS server.

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              –       Source IP Address — The device IP address that is used for
                      communication with RADIUS servers.

        Defining RADIUS Servers Using CLI Commands
        The following table summarizes the CLI commands for defining fields
        displayed on the RADIUS pages.

        Table 9-51.     RADIUS Server CLI Commands

        CLI Command                                      Description
        radius-server host {ipv4-                        Specifies a RADIUS server host.
        address|ipv6-address|ipv6z-                      Use the no form of the command to
        address|hostname} [auth-port                     delete the specified RADIUS server
        auth-port-number] [acct-port                     host.
        acct-port-number][timeout
        timeout] [retransmit retries]
        [deadtime deadtime] [key key-
        string] [source {ipv4-
        address|ipv6-address}] [priority
        priority] [usage
        {login|802.1x|all}]
        no radius-server host {ipv4-
        address|ipv6-address|hostname}
        radius-server timeout timeout                    Sets the interval for which a device
        no radius-server timeout                         waits for a server host to reply.
                                                         Use the no form of this command to
                                                         restore the default configuration.
        radius-server source-ip source-                  Specifies the source IPv4 address
        ip-address                                       that will be used for the IPv4
        no radius-server source-ip                       communication with RADIUS
        source-ip-address                                servers.
                                                         Use the no form of this command to
                                                         restore the default configuration.




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      Table 9-51. RADIUS Server CLI Commands (Continued)

      CLI Command                                 Description
      radius-server source-ipv6                   Specifies the source IPv6 address
      source-ipv6-address                         that will be used for the IPv6
      no radius-server source-ipv6                communication with RADIUS
      source-ipv6-address                         servers.
                                                  Use the no form of this command to
                                                  restore the default configuration.
      radius-server retransmit retries Specifies the number of times the
      no radius-server retransmit      software searches the list of
                                       RADIUS server hosts.
                                                  Use the no form of this command to
                                                  restore the default configuration.
      radius-server deadtime deadtime             Configures unavailable servers to be
      no radius-server deadtime                   skipped.
                                                  Use the no form of this command to
                                                  restore the default configuration.
      radius-server key key-string                Sets the authentication and
      no radius-server key                        encryption key for all RADIUS
                                                  communications between the router
                                                  and the RADIUS server.
                                                  Use the no form of this command to
                                                  restore the default configuration.
      show radius-servers                         Displays the RADIUS server
                                                  settings.




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        The following is an example of CLI commands:
         console(config)# radius-server host 192.168.10.1 auth-
         port 20 timeout 20
         console(config)# radius-server key enterprise-server
         console# show radius-servers
           IP address     Port     Port    Time-    Ret-   Dead-    Source IP    Prio. Usage

                            Auth   Acct     Out     rans   Time
         --------------- ----- ----- ------ ------ ------ --------------- ----- ---
            1.1.1.11      1812     1813     Global Global Global      Global          10   all
            1.1.1.21      1812     1813     Global Global Global      Global          19   all
            1.1.1.31      1812     1813     Global Global Global      Global          18   all
            1.1.1.41      1812     1813     Global Global Global      Global          17   all
            1.1.1.51      1812     1813     Global Global Global      Global          16   all


         Global values
         --------------
         TimeOut : 3
         Retransmit : 3
         Deadtime : 0
         Source IP : 0.0.0.0
         Source IPv6 : ::




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      DHCP Server
      The switch can operate as either:
          •   DHCP client that obtains its own IP from a DHCP server, as described in
              "DHCP IPv4 Interface" on page 207
          •   DHCP server that allocates IP addresses to other devices, as described in
              this section
      This section contains the following topics:
          •   DHCP Server Overview
          •   DHCP Server Properties
          •   Network Pool
          •   Excluded Addresses
          •   Static Hosts
          •   Address Binding

      DHCP Server Overview
      A DHCP server uses a defined pool of IP addresses (user-defined) from which
      it allocates IP addresses to DHCP clients.
      The DHCP server can allocate IP addresses in the following modes:
          •   Static Allocation — The hardware address of a host is manually mapped
              to an IP address.
          •   Permanent Allocation — An IP address sent to the client through a
              standard request-reply mechanism, is owned by that client permanently
              (unless changes in the network environment/connections take place, for
              any reason).
          •   Dynamic Allocation — A client obtains a leased IP address for a specified
              period of time. The IP address is revoked at the end of this period, and the
              client must request another IP address.




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        DHCP Server Properties
        If the device is configured to act as a DHCP server, pinging capability can be
        enabled. The DHCP server pings an IP address in the address pool before
        assigning that IP address to a requesting client. If the ping is unanswered, the
        DHCP server assumes that the address is not in use and assigns the address to
        the client.
        To configure the device as a DHCP server:
         1 Click System > DHCP Server > DHCP Server Properties in the tree view
           to display the DHCP Server Properties page.

        Figure 9-42. DHCP Server Properties




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          2 Enter the fields:
             –   DHCP Server Status — Enable/disable the ability of the device to
                 function as a DHCP server.
             –   DHCP Ping — Enable/disable the DHCP server to ping the offered
                 IP address before responding to a client request.
             –   DHCP Ping Retries — Enter the number of pings that are sent before
                 discarding an IP address. Use Default reverts to the default Ping
                 Retries setting.
             –   DHCP Ping Timeout — Enter the maximum time interval (in
                 milliseconds) that the DHCP server waits for a ping reply. Use Default
                 reverts to the default Ping Timeout.

      Defining DHCP Server Using CLI Commands
      The following table summarizes the CLI commands for defining the switch as
      a DHCP server.

      Table 9-52. DHCP Server CLI Commands

      CLI Command                                Description
      ip dhcp server                             Enables the DHCP server feature on
      no ip dhcp server                          the device.
                                                 Use the no form of this command to
                                                 disable the DHCP server feature.
      ip dhcp ping enable                        Enables the DHCP server to send ping
      no ip dhcp ping enable                     packets before assigning the address to a
                                                 requesting client.
                                                 Use the no form of this command to
                                                 prevent the server from pinging pool
                                                 addresses.
      ip dhcp ping count number                  Specifies the number of packets a
      no ip dhcp ping count                      DHCP server sends to a pool address as
                                                 part of a ping operation.
                                                 Use the no form of this command to
                                                 restore the default configuration.




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        Table 9-52.   DHCP Server CLI Commands (Continued)

        CLI Command                                 Description
        ip dhcp ping timeout                        Specifies the time interval during which
        milliseconds                                a DHCP server waits for a ping reply
        no ip dhcp ping timeout                     from an address pool.
                                                    Use the no form of this command to
                                                    restore default values.

        The following is an example of the CLI commands:
         console(config)# ip dhcp ping enable
         console(config)# ip dhcp ping count 5




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      Network Pool
      When the device is serving as a DHCP server, a pool of IP addresses must be
      defined, from which the switch will allocate IP addresses to clients.
      Each IP pool has a lease duration.
      To create a pool of IP addresses, and define their lease durations:
          1 Click System > DHCP Server > Network Pool in the tree view to display
            the Network Pool: Summary page.

      Figure 9-43. Network Pool: Summary




             The previously-defined network pools are displayed.
          2 Click Add to define a new network pool, and enter the fields:
             –   Pool Name — Enter the pool name.
             –   Subnet IP Address — Enter the subnet in which the network pool
                 resides.


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                •   Network Mask — Check and enter the pool’s network mask.
                •   Prefix Length — Check and enter the number of bits that
                    comprise the address prefix.
            –   Address Pool Start — Enter the first IP address in the range of the
                network pool.
            –   Address Pool End — Enter the last IP address in the range of the
                network pool.
            –   Lease Duration — Enter the amount of time a DHCP client can use
                an IP address from this pool. The total lease duration is 4294967295
                seconds, i.e. 49710.2696 days. Thus a lease of 49710 days, 0 hours, 0
                minutes and 0 seconds is a legal value, while a lease of 49710 days, 23
                hours, 59 minutes and 59 seconds results in an Out of Range alert.
                •   Days — The duration of the lease in number of days. The range is
                    0 to 49710 days.
                •   Hours — The number of hours in the lease. A days value must be
                    supplied before an hours value can be added.
                •   Minutes — The number of minutes in the lease. A days value and
                    an hours value must be added before a minutes value can be
                    added.
                •   Infinite — The duration of the lease is unlimited.
            –   Default Router — Enter the default router for the DHCP client.
            –   Domain Name Server — Enter the DNS server available to the DHCP
                client.
            –   Domain Name — Enter the domain name for a DHCP client. The
                domain name may contain up to 32 characters.
            –   NetBIOS WINS Server — Enter the NetBIOS WINS name server
                available to a DHCP client.
            –   NetBIOS Node Type — Select how to resolve the NetBIOS name.
                Valid node types are:
                •   Empty — Default value.
                •   Broadcast — IP Broadcast messages are used to register and
                    resolve NetBIOS names to IP addresses.




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               •    Peer-to-Peer — Point-to-point communications with a NetBIOS
                    name server are used to register and resolve computer names to IP
                    addresses.
               •    Mixed — A combination of b-node and p-node communications
                    is used to register and resolve NetBIOS names. M-node first uses
                    b-node; then, if necessary, p-node. M-node is typically not the best
                    choice for larger networks because its preference for b-node
                    Broadcasts increases network traffic.
               •    Hybrid — A hybrid combination of b-node and p-node is used.
                    When configured to use h-node, a computer always tries p-node
                    first and uses b-node only if p-node fails. This is the default.
           –   SNTP Server — Enter the IP address of the time server for the DHCP
               client.
           –   Next Server — Enter the IP address of the next server in the boot
               process of a DHCP client. If the next server in the boot process is not
               configured, the DHCP server uses inbound interface helper addresses
               as boot servers.
           –   Next Server Name — Enter the name of the next server in the boot
               process.
           –   Image File Name — Enter the name of the file that is used as a boot
               image.

      Configuring Network Pool Using CLI Commands
      The following table summarizes the CLI commands for defining a pool of
      addresses on the DHCP server.

      Table 9-53. Network Pool CLI Commands

      CLI Command                             Description
      ip dhcp pool network name    Configures a DHCP address pool on a
      no ip dhcp pool network name DHCP Server and enters DHCP Pool
                                   Configuration mode.
                                              Use the no form of this command to remove
                                              the address pool.




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        Table 9-53.   Network Pool CLI Commands (Continued)

        CLI Command                              Description
        address {network-number|low              Configures the subnet number, mask and
        low-address high high-                   start and end addresses for a DHCP address
        address} {mask|prefix-                   pool on a DHCP Server.
        length}                                  Use the no form of this command to remove
        no address                               the subnet number and mask.
        lease {days [{hours}                     Configures the time duration of the lease for
        [minutes]]|infinite}                     an IP address that is assigned from a DHCP
        no lease                                 server to a DHCP client.
                                                 Use the no form of this command to restore
                                                 the default value
        default-router ip-address                Configures the default router list for a
        [ip-address2 ... ip-                     DHCP client.
        address8]                                Use the no form of this command to remove
        no default-router                        the default router list.
        dns-server ip-address [ip-               Configures the DNS IP servers available to a
        address2 ... ip-address8]                DHCP client.
        no dns-server                            Use the no form of this command to remove
                                                 the DNS server list.
        domain-name domain                       Specifies the domain name for a DHCP
        no domain-name                           client.
                                                 Use the no form of this command to remove
                                                 the domain name.
        netbios-name-server ip-      Configures the NetBIOS Windows Internet
        address [ip-address2 ... ip- Naming Service (WINS) servers that are
        address8]                    available to Microsoft DHCP clients.
        no netbios-name-server                   Use the no form of this command to remove
                                                 the NetBIOS name server list.
        netbios-node-type {b-node|p- Configures the NetBIOS node type for
        node|m-node|h-node}          Microsoft Dynamic Host Configuration
        no netbios-node-type         Protocol (DHCP) clients.
                                                 Use the no form of this command to remove
                                                 the NetBIOS node type.




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      Table 9-53. Network Pool CLI Commands (Continued)

      CLI Command                            Description
      time-server ip-address [ip-            Specifies the time servers list for a DHCP
      address2 ... ip-address8]              client.
      no time-server                         Use the no form of this command to remove
                                             the time servers list.
      next-server ip-address                 Configures the next server in the boot
      no next-server                         process of a DHCP client.
                                             Use the no form of this command to remove
                                             the boot server.
      next-server-name name                  Configures the next server name in the boot
      no next-server-name                    process of a DHCP client.
                                             Use the no form of this command to remove
                                             the boot server name.
      bootfile filename                      Specifies the default boot image file name
      no bootfile                            for a DHCP client.
                                             Use the no form of this command to delete
                                             the boot image file name.
      show ip dhcp pool network              Displays the DHCP network pool
      [name]                                 configuration.

      The following is an example of the CLI commands:
          console(config)# ip dhcp pool network pool1
          console(config-dhcp)# address 10.12.1.99 255.255.255.0
          01b7.0813.8811.66
          console(config-dhcp)# lease 1




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        Excluded Addresses
        By default, the DHCP server assumes that all pool addresses in a pool may be
        assigned to clients. A single IP address or a range of IP addresses can be
        excluded.
        To define an excluded address range:
         1 Click System > DHCP Server > Excluded Addresses in the tree view to
           display the Excluded Addresses: Summary page.

        Figure 9-44. Excluded Addresses: Summary




             The previously-defined excluded IP addresses are displayed.
         2 To add a range of IP addresses to be excluded, click Add, and enter the
           fields:
             –   Start IP Address — First IP address in the range of excluded IP
                 addresses.



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            –   End IP Address — Last IP address in the range of excluded IP
                addresses.

      Excluding Addresses Using CLI Commands
      The following table summarizes the CLI commands for excluding addresses.

      Table 9-54. Excluding Addresses Using CLI Commands

      CLI Command                                 Description
      ip dhcp excluded-address low-               Configures a DHCP address pool on a
      address [high-address]                      DHCP Server and enter DHCP Pool
      no ip dhcp excluded-address                 Configuration mode.
      low-address [high-address]                  Use the no form of this command to
                                                  remove the address pool.
      show ip dhcp excluded-addresses Displays the excluded addresses.

      The following is an example of the CLI commands:
          console(config)# ip dhcp excluded-address 172.16.1.100
          172.16.1.199
          console> show ip dhcp excluded-addresses
          The number of excluded addresses ranges is 2
          Excluded addresses:
          10.1.1.212- 10.1.1.219, 10.1.2.212- 10.1.2.219




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        Static Hosts
        To manually allocate permanent IP addresses to clients (known as static
        hosts):
         1 Click System > DHCP Server > Static Hosts in the tree view to display
           the Static Hosts: Summary page.

        Figure 9-45. Static Hosts: Summary




             The static hosts are displayed.
         2 To add a static host, click Add, and enter the fields:
             –   Host Name — Enter the host pool name, which can be a string of
                 symbols and an integer.
             –   IP Address — Enter the IP address that was statically assigned to the
                 host.
             •   Network Mask — Enter the pool’s network mask.
             •   Prefix Length — Enter the number of bits that comprise the address
                 prefix.



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          –   Client Identifier — Enter a unique identification of the client
              specified in dotted hexadecimal notation, such as: 01b6.0819.6811.72.
              or:
          –   MAC Address — Enter the MAC address of DHCP static host.
          –   Client Name — The name of the client, using a standard set of ASCII
              characters. The client name must not include the domain name.
          –   Default Router — Enter the default router for the DHCP client.
          –   Domain Name Server — Enter the DNS server available to the DHCP
              client.
          –   Domain Name — Enter the domain name for a DHCP client. The
              domain name may contain up to 32 characters.
          –   NetBIOS WINS Server — Enter the NetBIOS WINS name server
              available to a DHCP client.
          –   NetBIOS Node Type — Select how to resolve the NetBIOS name.
              Valid node types are:
              •     Empty — Default value.
              •     Broadcast — IP Broadcast messages are used to register and
                    resolve NetBIOS names to IP addresses.
              •     Peer-to-Peer — Point-to-point communications with a NetBIOS
                    name server are used to register and resolve computer names to IP
                    addresses.
              •     Mixed — A combination of b-node and p-node communications
                    is used to register and resolve NetBIOS names. M-node first uses
                    b-node; then, if necessary, p-node. M-node is typically not the best
                    choice for larger networks because its preference for b-node
                    Broadcasts increases network traffic.
              •     Hybrid — A hybrid combination of b-node and p-node is used.
                    When configured to use h-node, a computer always tries p-node
                    first and uses b-node only if p-node fails. This is the default.
          –   SNTP Server — Enter the IP address of the time server for the DHCP
              client.




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              –       Next Server — Enter the IP address of the next server in the boot
                      process of a DHCP client. If the next server in the boot process is not
                      configured, the DHCP server uses inbound interface helper addresses
                      as boot servers.
              –       Next Server Name — Enter the name of the next server in the boot
                      process.
              –       Image File Name — Enter the name of the file that is used as a boot
                      image.

        Defining Static Hosts Using CLI Commands
        The following table summarizes the CLI commands for defining static hosts.

        Table 9-55.     Defining Static Hosts Using CLI Commands

        CLI Command                                       Description
        ip dhcp pool host                                 Configures a DHCP static address
        no ip dhcp pool host                              on a DHCP Server and enters the
                                                          DHCP Pool Host Configuration
                                                          mode.
                                                          Use the no form of this command to
                                                          remove the address pool.
        ip host name address [address2                    Defines the static host name-to-
        address3 address4]                                address mapping in the host cache.
        no ip host name                                   Use the no form of this command to
                                                          remove the static hostname-to-
                                                          address mapping.
        show hosts                                        Displays the default domain name,
                                                          the list of name server hosts, the
                                                          static and the cached list of host
                                                          names and addresses.
        clear host                                        Deletes entries from the host name-
                                                          to-address cache.

        See Table 11-53 for the remaining CLI commands that are common to the
        Network Pool pages, but are used in the context DHCP Pool Host context.




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      The following is an example of the CLI commands:
          console(config)# ip dhcp pool host station
          console(config-dhcp)#ip host accounting.website.com
          176.10.23.1
          console# show hosts
          System Name:
          Default domain:      Domain name is not configured
          Name/address lookup is enable
          Name servers (Preference order): 1.1.1.1 1.1.1.2 1.1.1.3
          1.1.1.4 1.1.1.5
          Configured host name-to-address mapping:
          Host                                        IP Address
          --------------------------------- -----------------------
          accounting.website.com                      176.10.23.1




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        Address Binding
        Use the Address Binding page to view and remove the IP addresses allocated
        by the switch and their corresponding MAC addresses.
        To view and/or remove address bindings:
         •   Click System > DHCP Server > Address Binding in the tree view to
             display the Address Binding page.

        Figure 9-46. Address Binding




             The following fields for the address bindings are displayed:
             –   IP Address — The IP addresses of the client.
             –   Client Identifier/MAC Address — A unique identification of the
                 client specified as a MAC Address or in dotted hexadecimal notation,
                 e.g., 01b6.0819.6811.72.
             –   Lease Expiration — The lease expiration date and time of the host’s
                 IP address.
             –   Type — The manner in which the IP address was assigned to the
                 client. The possible options are:
                 •    Static — The hardware address of the host was mapped to an IP
                      address.

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            •   Permanent — The IP address, obtained dynamically from the
                switch, is owned by the client permanently (unless changes in the
                network environment/connections take place, for any reason).
            •   Dynamic — The IP address, obtained dynamically from the
                switch, is owned by the client for a specified period of time. The
                IP address is revoked at the end of this period, at which time the
                client must request another IP address.




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         SNMP
        This section describes the Simple Network Management Protocol (SNMP)
        for managing network devices.
        It contains the following topics:
         •   SNMP Overview
         •   SNMP Global Settings
         •   SNMP Views
         •   SNMP Access Control (Groups)
         •   SNMP User Security Model (Users)
         •   SNMP Communities
         •   SNMP Notification Filters
         •   SNMP Notification Recipients

        SNMP Overview
        The switch supports the SNMPv1, SNMPv2 and SNMPv3.

        SNMP v1 and v2
        The SNMP agent maintains a list of variables that are used to manage the
        switch. These variables are stored in the Management Information Base
        (MIB) from which they may be presented. The SNMP agent defines the MIB
        specification format, as well as the format used to access the information over
        the network. Access rights to the SNMP agents are controlled by access
        strings.
        SNMPv1 and v2 are enabled by default.

        SNMP v3
        In addition to the features provided by SNMPv1 and SNMPv2, SNMPv3
        applies access control and a new trap mechanism to SNMPv1 and SNMPv2
        PDUs. In addition, a User Security Model (USM) can be defined, which
        includes:
         •   Authentication — Provides data integrity and data origin authentication.




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          •   Privacy — Protects against disclosure of message content. Cipher Block-
              Chaining (CBC) is used for encryption. Either authentication alone can
              be enabled on an SNMP message, or both authentication and privacy can
              be enabled on an SNMP message. However privacy cannot be enabled
              without authentication.
          •   Timeliness — Protects against message delay or message redundancy. The
              SNMP agent compares incoming message to the message time
              information.
          •   Key Management — Defines key generation, updates, and use.
      The switch supports SNMP notification filters, based on Object IDs (OIDs),
      which are used by the system to manage switch features.
      Authentication or Privacy Keys are modified in the User Security Model
      (USM).
      SNMPv3 can only be enabled if the Local Engine ID is enabled.

      SNMP Access Rights
      Access rights in SNMP are managed in the following ways:
          •   SNMPv1 and SNMPv2 — Communities
              The community name is a password sent by the SNMP management
              station to the device for authentication purposes.
              A community string is transmitted along with the SNMPv1,v2 frames, but
              neither the frames nor the community string are encrypted. Since
              SNMPv1 and SNMPv2 are not encrypted, they are not secure.
              Communities can be associated with views or groups, and they are defined
              in the Community pages.
          •   SNMPv3 — Users and Groups
              SNMP v3 works with users instead of communities. The users belong to
              groups that have access rights assigned to them. Users are defined in the
              User Security Model pages
              SNMPv3 provides two security mechanisms:
              –   Authentication — The switch checks that the SNMP user is an
                  authorized system administrator. This is done for each and every
                  frame.


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             –    Privacy — SNMP frames can carry encrypted data.
             These mechanisms can be combined to provide three levels of security:
             –    No security
             –    Authentication
             –    Authentication and Privacy. Note that for both authentication and
                  privacy to be enabled, two groups with the same name, one with
                  authentication and one with privacy, must be created.
             A group is a label for a combination of attributes that determines whether
             members have read, write, and/or notify privileges. Users can be associated
             with a group. A group is operational only when it is associated with an
             SNMP user.

        Model OIDs
        The following are the switch model Object IDs (OIDs):

         Model Name             Object ID
         PC5524                 10895.3030
         PC5524P                10895.3032
         PC5548                 10895.3031
         PC5548P                10895.3033

        SNMP Global Settings
        The Engine ID is used by SNMPv3 entities to uniquely identify themselves.
        An SNMP agent is considered an authoritative SNMP engine. This means
        that the agent responds to incoming messages (Get, GetNext, GetBulk, Set),
        and sends Trap messages to a manager. The agent's local information is
        encapsulated in fields in the message.
        Each SNMP agent maintains local information that is used in SNMPv3
        message exchanges (not relevant for SNMPv1 or SNMPv2). The default
        SNMP Engine ID is comprised of the enterprise number and the default
        MAC address. The SNMP engine ID must be unique for the administrative
        domain, so that no two devices in a network have the same engine ID.




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      The local information is stored in four read-only MIB variables:
      snmpEngineId, snmpEngineBoots, snmpEngineTime, and
      snmpEngineMaxMessageSize.
      To configure SNMP:
          1 Click System > SNMP > Global Parameters in the tree view to display
            the Global Parameters page.

      Figure 9-47. Global Parameters




             The global parameters are displayed.
          2 Enter the fields:
             –   Local Engine ID (10-64 Hex Characters) — Check and enter the
                 local device engine ID. The field value is a hexadecimal string. Each
                 byte in hexadecimal character strings is two hexadecimal digits. Each
                 byte can be separated by a period or a colon. The Engine ID must be
                 defined before SNMPv3 is enabled.
                 For stacked devices, verify that the Engine ID is unique for the
                 administrative domain. This prevents two devices in a network from
                 having the same Engine ID.


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              –       Use Default — Check to use the device-generated Engine ID. The
                      default Engine ID is based on the device MAC address, and is defined
                      per standard as:
                      •    First 4 octets — First bit = 1, the rest is IANA Enterprise number
                           = 674.
                      •    Fifth octet — Set to 3 to indicate the MAC address that follows.
                      •    Last 6 octets — MAC address of the device.
              –       SNMP Notifications — Enable/disable the switch sending SNMP
                      notifications.
              –       Authentication Notifications — Enable/disable the switch sending
                      SNMP traps when authentication fails.

        Setting SNMP Global Parameters Using CLI Commands
        The following table summarizes the CLI commands for setting fields in the
        Global Parameters page.

        Table 9-56.       SNMP Global Parameters Commands

        CLI Command                                  Description
        snmp-server engine ID local                  Specifies the local device engine ID. The
        {engine-id-string|default}                   field values is a hexadecimal string. Each
        no snmp-server engine ID                     byte in hexadecimal character strings is two
        local                                        hexadecimal digits. Each byte can be
                                                     separated by a period or colon. The Engine
                                                     ID must be defined before SNMPv3 is
                                                     enabled.
                                                     Use the no form of this command to
                                                     remove the configured engine ID.
        snmp-server enable traps                     Enables the router to send Simple Network
        no snmp-server enable traps                  Management Protocol traps.
                                                     Use the no form of the command to disable
                                                     SNMP traps.




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      Table 9-56. SNMP Global Parameters Commands (Continued)

      CLI Command                             Description
      snmp-server trap                        Enables the router to send Simple Network
      authentication                          Management Protocol traps when
      no snmp-server trap                     authentication fails.
      authentication                          Use the no form of this command to
                                              disable SNMP failed authentication traps.
      show snmp                               Checks the status of SNMP
                                              communications.

      The following is an example of the CLI commands:
          console(config)# snmp-server enable traps
          console(config)# snmp-server trap authentication
          console(config)# snmp-server engineid local default
          The engine-id must be unique within your administrative
          domain.
          Do you wish to continue? [Y/N]y
          The SNMPv3 database will be erased. Do you wish to
          continue? [Y/N]y

      SNMP Views
      An SNMP view, which is a collection of MIB subtrees, provides or blocks
      access to device features.
      Each subtree is defined by the Object ID (OID) of the root of its subtrees. In
      extreme cases this subtree can be a leaf. Well-known names can be used to
      specify the root of the desired subtree, or an OID can be entered (see "Model
      OIDs" on page 309).
      Each subtree is either included in or excluded from the view being defined.




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        Views can be attached to groups in the Access Control pages.
        To create an SNMP view:
         1 Click System > SNMP > View Settings in the tree view to display the
           View Settings: Summary page.

        Figure 9-48. View Setting: Summary




         2 Select a view name. Its subtrees are displayed.
         3 To remove a subtree from an SNMP view, click Remove. The subtrees of
           the default views (Default, DefaultSuper) cannot be changed.
         4 To add a new view, click Add, and enter a new View Name (1-30
           Characters).
         5 To complete the definition of the view, click Edit, and select a View Name
           to modify. Enter the fields:
             –   New Object ID Subtree — Check to specify the device feature OID
                 included or excluded in the selected SNMP view.


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                  •     Selected from List — Select the device feature OID by using the
                        Up and Down buttons to scroll through a list of all device OIDs.
                  Or:
                  •     Insert — Specify the device feature OID.
            –     View Type — Specify if the defined OID branch will be included or
                  excluded in the selected SNMP view.

      Defining SNMP Views Using CLI Commands
      The following table summarizes the CLI commands for defining fields
      displayed in the View Settings pages.

      Table 9-57. SNMP View CLI Commands

      CLI Command                                  Description
      snmp-server view view-name                   Creates or updates a SNMP server view
      oid-tree {included|excluded}                 entry.
      no snmp-server view view-name                Use the no form of this command to
      [oid-tree]                                   remove an SNMP server view entry.
      show snmp views [viewname]                   Displays the configuration of a view or all
                                                   views.

      The following is an example of CLI commands:
          console(config)# snmp-server view user1 1 included
          console(config)# end
          console# show snmp views
          Name                  OID Tree                  Type
          ------------          ---------------           --------
          user1                 system                    included
          Default               iso                       included
          Default               snmpVacmMIB               excluded
          Default               usmUser                   excluded
          Default               rndCommunityTable         excluded
          DefaultSuper          iso                       included



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        SNMP Access Control (Groups)
        For ease of use, users may be assigned to groups. In this way, it is possible to
        assign feature access rights to an entire group, instead of assigning them
        individually to users. Users are created in the User Security Model pages.
        Groups can be defined in any version of SNMP, but only SNMPv3 groups can
        be assigned authentication methods.
        To add an SNMP group, and assign it access control privileges:
         1 Click System > SNMP > Access Control in the tree view to display the
           Access Control: Summary page.

        Figure 9-49. Access Control: Summary




             Previously-defined groups are displayed.
         2 To add a new group, click Add, and enter the fields:
             –   Group Name (1-30 Characters) — Enter a group name.




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           –   Security Model — Select the SNMP version of the group.
           –   Security Level — Select the security level attached to the group.
               Security levels apply to SNMPv3 only. The possible options are:
               •    No Authentication — Neither authentication nor the privacy
                    security levels are assigned to the group.
               •    Authentication — Authenticates SNMP messages, and ensures
                    that the origin of the SNMP message is authenticated.
               •    Privacy — Encrypts SNMP message.
           –   Operation — Select the group access rights. The possible options are:
               •    Read — The management access is restricted to read-only, and
                    changes cannot be made to the assigned SNMP view. If desired,
                    select a view from the drop-down list.
               •    Write — The management access is read-write and changes can
                    be made to the assigned SNMP view. If desired, select a view from
                    the drop-down list.
               •    Notify — Sends traps for the assigned SNMP view. If desired,
                    select a view from the drop-down list.

      Defining SNMP Access Control Using CLI Commands
      The following table summarizes the CLI commands for defining fields
      displayed in the Access Control pages.

      Table 9-58. SNMP Access Control CLI Commands

      CLI Command                                 Description
      snmp-server group groupname                 Configure a new Simple Network
      {v1|v2|v3 {noauth|auth|priv}}               Management Protocol (SNMP)
      [read readview] [write                      group, or a table that maps SNMP
      writeview] [notify notifyview]              users to SNMP views.
      no snmp-server group groupname              Use the no form of this command to
      {v1|v2|v3 [noauth|auth|priv]}               remove a specified SNMP group.
      [context-name]
      show snmp groups [groupname]                Displays the configuration of groups




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        The following is an example of the CLI commands:
         console (config)# snmp-server group user-group v3 priv
         read user-view
         console# show snmp groups
         Name         Security                          Views
                 Model       Level          Read        Write         Notify
         ----- -----        -------      -------       -------      ----------
         1       V1       noauth          -             -              -
         2       V1       noauth          -             -              -
         3       V1       noauth          -             -              -
         4       V1       noauth          -             -              -
         5       V1       noauth          -             -              -

        SNMP User Security Model (Users)
        An SNMP user is defined by the following:
         •   Login credentials (username, password, and authentication method)
         •   Context and scope in which the user operates
         •   Association with a group
         •   Engine ID
        SNMP user login credentials are verified using a local database.
        After a user is authenticated, it takes on the attributes of its group, and can
        then access the views permitted to this group. A user can only be a member of
        a single group.
        Before you create an SNMPv3 user, create an SNMPv3 group in the Access
        Control pages.
        When the configuration file is saved, SNMP communities/users are not
        saved. This means that if you configure another device with this
        configuration file, you must define the SNMP communities/users on that
        device.




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      To create an SNMP V3 user, and assign it to a group and view:
          1 Click System > SNMP > User Security Model in the tree view to display
            the User Security Model: Summary page.

      Figure 9-50. User Security Model: Summary




             The currently-defined users and their groups are displayed.
          2 To add a user, click Add, and enter the fields:
             –   User Name (1-30 Characters) — Enter a new user name.
             –   Engine ID — Specifies the local or remote SNMP entity, to which the
                 user is connected. Changing or removing the local SNMP Engine ID
                 deletes the SNMPv3 User Database. Select either Local or Remote. If
                 Remote is selected, enter the remote engine ID.
             –   Group Name — Select from a list of user-defined SNMP groups.
                 SNMP groups are defined in the Access Control Group pages.



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            –   Authentication Method — Select an authentication method used to
                authenticate users. The possible options are:
                •   None — No user authentication is used.
                •   MD5 Password — HMAC-MD5-96 password is used for
                    authentication.
                •   SHA Password — Users are authenticated using the HMAC-SHA-
                    96 authentication level.
                •   MD5 Key — Users are authenticated using the HMAC-MD5
                    algorithm.
                •   SHA Key — Users are authenticated using the HMAC-SHA-96
                    authentication level.
            –   Password (0-32 Characters) — If the MD5 Password or SHA Password
                authentication method was selected, enter the user-defined password
                for a group.
            –   Authentication Key (MD5-16; SHA-20 Hex Characters) — If the
                MD5 Key or SHA Key authentication method was selected, enter the
                HMAC-MD5-96 or HMAC-SHA-96 keys. The authentication and
                privacy keys are entered to define the authentication key. If only
                authentication is required, 16 bytes are defined for MD5. If both
                privacy and authentication are required, 32 bytes are defined for MD5.
                Each byte in hexadecimal character strings is two hexadecimal digits.
                Each byte can be separated by a period or a colon.
            –   Privacy Key (16 Hex Characters) — If the MD5 Key or SHA Key
                authentication method was selected, enter the privacy key. If only
                authentication is required, 20 bytes are defined. If both privacy and
                authentication are required, 16 bytes are defined. Each byte in
                hexadecimal character strings is two hexadecimal digits. Each byte can
                be separated by a period or colon.




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      Defining SNMPv3 Users Using CLI Commands
      The following table summarizes the CLI commands for defining fields
      displayed in the User Security Model pages.

      Table 9-59. SNMP Users CLI Commands

      CLI Command                                             Description
      snmp-server user username groupname                     Configures a new SNMP V3
      {v1|v2c|[remote-host] v3 [encrypted]                    user.
      [auth {md5|sha} auth-password]}       Use the no form of the
      no snmp-server user username [remote- command to remove a user.
      host]
      show snmp users [username]                              Displays the configuration of
                                                              users.

      The following is an example of the CLI commands:
          console(config)# snmp-server user tom acbd v1
          console(config)# snmp-server user tom acbd v2c
          console(config)# snmp-server user tom acbd v3

      SNMP Communities
      When using SNMP v1,2, communities strings (passwords) are used to provide
      access rights in the following ways:
          •   Basic Table — The access rights of a community can be read-only, read-
              write, or SNMP Admin. In addition, you can restrict access to the
              community to only certain MIB objects using a view. Views are defined in
              the Views Setting pages.
          •   Advanced Table — Access rights to a community are assigned to a group
              that consists of users. A group can have Read, Write, and Notify access to
              views. Groups are defined in the Access Control pages.




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        To define an SNMP community:
         1 Click System > SNMP > Communities in the tree view to display the
           Communities: Summary page.

        Figure 9-51. SNMP Community




            The Basic and Advanced tables are displayed.
         2 To add a new community, click Add.
         3 Define the SNMP management station by entering its IP address
           information:
            –   Supported IP Format — Select whether the IPv4 or IPv6 format is
                being used.
            –   IPv6 Address Type — When the community supports IPv6, this
                specifies the type of static address supported. The possible options are:
                •   Link Local — A Link Local address that is non-routable and used
                    for communication on the same network only.


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                 •   Global — A globally unique IPv6 address; visible and reachable
                     from different subnets.
             –   Link Local Interface — When the server supports an IPv6 Link Local
                 address, this specifies the Link Local interface. The possible options
                 are:
                 •   VLAN — The VLAN on which the IPv6 interface is configured.
                 •   ISATAP — The IPv6 interface is configured on an ISATAP
                     tunnel.
             –   SNMP Management Station — Enter the management station IP
                 address for which the SNMP community is defined, or choose All to
                 be able to receive SNMP messages from anywhere.
             –   Community String (1-20 Characters) — Enter the community string,
                 which functions as a password, and is used to authenticate the
                 management station to the device.
          4 To associate access mode and views directly with the community, enter the
            fields:
             –   Basic — Check to enable SNMP Basic mode for a selected
                 community.
             –   Access Mode — If Basic is selected, specify the access rights of the
                 community. The possible options are:
                 •   Read-Only — Management access is restricted to read-only, and
                     changes cannot be made to the community.
                 •   Read-Write — Management access is read-write and changes can
                     be made to the device configuration, but not to the community.
                 •   SNMP Admin — User has access to all device configuration
                     options, as well as permissions to modify the community.
             –   View Name — Select a view from a list of user-defined SNMP views.
                 The view determines other characteristics associated with the
                 community.
          5 To use Advanced mode, enter the fields:
             –   Advanced — When SNMP Advanced mode is selected, you can select
                 an SNMP group to specify the SNMP access control rules for the
                 selected community. The SNMP Advanced mode is defined only with
                 SNMPv3.


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              –       Group Name — Select the group to be associated with the
                      community.

        Configuring Communities Using CLI Commands
        The following table summarizes the CLI commands for setting fields in the
        Community pages.

        Table 9-60.     SNMP Community CLI Commands

        CLI Command                                     Description
        snmp-server community community                 Sets up the community access string
        [view view-name] [ro|rw|su]                     to permit access to the SNMP
        {ipv4-address|ipv6-address}                     protocol.
        [mask mask-value|prefix-length                  Use the no form of this command to
        prefix-value] [type router|oob]                 remove the specified community
                                                        string
        snmp-server community-group                     Sets up community access string to
        community group-name [ipv4-                     permit limited access to the SNMP
        address|ipv6-                                   protocol, based on group access
        address][mask|prefix-length]                    rights.
        [type router|oob]
        no snmp-server community string
        [ipv4-address|ipv6-address]
        show snmp                                       Displays the current SNMP device
                                                        configuration.

        The following is an example of the CLI commands:
         console (config)# snmp-server community dell ro 10.1.1.1

        SNMP Notification Filters
        Notification filters determine the type of SNMP notifications that are sent to
        the management station, based on the OID of the notification to be sent.
        Each OID is linked to a device feature or a feature aspect.
        SNMP notification filters provide the following services:
         •    Identification of management trap targets
         •    Trap filtering


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          •   Selection of trap generation parameters
          •   Access control checks
      After creating a notification filter, attach it to a notification recipient in the
      SNMPv1,2 Notification Recipients pages.
      To add a notification filter:
          1 Click System > SNMP > Notification Filters in the tree view to display
            the Notification Filter: Summary page.

      Figure 9-52. Notification Filter: Summary




          2 The OIDs of the selected filter are displayed.
          3 If required, the notification filter type can be changed by selecting one of
            the following options:
              –   Excluded — OID traps or informs will not be sent.
              –   Included — OID traps or informs will be sent.



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          4 To add a new notification filter, click Add.
          5 In addition to the fields described in the Summary page, enter the fields:
              –       Filter Name (1-30 Characters) — Enter the notification filter name.
              –       New Object Identifier Tree — Check to specify the device feature
                      OID included or excluded in the selected SNMP view.
                      •     Selected from List — Select the device feature OID by using the
                            Up and Down buttons to scroll through a list of all device OIDs.
                      or:
                      •     Object ID — Specify the device feature OID.
              –       Filter Type — Select whether the defined OID branch will be
                      Included or Excluded in the selected SNMP view.

        Configuring Notification Filters Using CLI Commands
        The following table summarizes CLI commands for defining fields displayed
        in the Notification Filter pages.

        Table 9-61.       SNMP Notification Filter CLI Commands

        CLI Command                                               Description
        snmp-server filter filter-name oid- Creates or updates an SNMP
        tree {included|excluded}            notification filter.
        no snmp-server filter filter-name                         Use the no form of this
        [oid-tree]                                                command to remove the
                                                                  specified SNMP server filter
                                                                  entry.
        show snmp filters [filter-name]                           Displays the configuration of
                                                                  SNMP notification filters




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      The following is an example of CLI commands:
          console (config)# snmp-server filter user1 iso included
          console(config)# end
          console # show snmp filters


          Name               OID Tree               Type
          -----------        -------------          --------
          user1              iso                    Included

      SNMP Notification Recipients
      An SNMP notification is a trap message, sent from the switch to the SNMP
      management station, indicating that a certain event has occurred, such as a
      link up or down.
      Trap receivers, also known as notification recipients, are network nodes to
      which trap messages are sent by the switch.
      A trap receiver entry contains the IP address of the node and the SNMP
      credentials corresponding to the version that will be included in the trap
      message. When an event arises that requires a trap message to be sent, it is
      sent to every node listed in the trap receiver list.
      Some messages are of an informational nature and are called "informs"
      instead of traps.




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        To add notification recipients, and attach them to notification filters:
         1 Click System > SNMP > Notification Recipient in the tree view to
           display the Notification Recipients: Summary page.

        Figure 9-53. Notification Recipients: Summary




             The previously-defined notification recipients are displayed.
         2 To add a new notification recipient, click Add, and enter the fields:
             –    Supported IP Format — Select whether the IPv4 or IPv6 format is
                  supported.
             –    IPv6 Address Type — When the recipient supports IPv6, this specifies
                  the type of static address supported. The possible options are:
                  •   Link Local — A Link Local address that is non-routable and used
                      for communication on the same network only.
                  •   Global — A globally unique IPv6 address; visible and reachable
                      from different subnets.




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             –   Link Local Interface — When the server supports an IPv6 Link Local
                 address, this specifies the Link Local interface. The possible options
                 are:
                 •    VLAN — The IPv6 interface is configured on this VLAN.
                 •    ISATAP — The IPv6 interface is configured on an ISATAP
                      tunnel.
             –   Recipient IP — The IP address to whom the traps are sent.
             –   Notification Type — The notification sent. The possible options are:
                 •    Trap — Traps are sent.
                 •    Inform — Informs are sent.
             If SNMP versions 1 and 2 are enabled for the selected recipient, enter the
             fields:
             –   Community String — The community string of the trap manager.
             –   Notification Version — The message trap SNMP version (v1 or v2).
             If SNMPv3 is used to send and receive traps, enter the fields:
             –   User Name — The user to whom SNMP notifications are sent.
             –   Security Level — The means by which the packet is authenticated.
                 The possible options are:
                 •    No Authentication — The packet is neither authenticated nor
                      encrypted.
                 •    Authentication — The packet is authenticated.
                 •    Privacy — The packet is both authenticated and encrypted.
          3 Enter the fields for all versions of SNMP:
             –   UDP Port (1-65535) — The UDP port used to send notifications. The
                 default is 162.
             –   Filter Name — Select an SNMP filter from a list of previously-defined
                 SNMP filters.
             –   Timeout (1-300) — The amount of time (seconds) the device waits
                 before resending informs.
             –   Retries (1-255) — The amount of times the device resends an inform
                 request.



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        Configuring SNMP Notification Recipients Using CLI Commands
        The following table summarizes the CLI commands for setting fields in the
        Notification Recipients pages.

        Table 9-62.   SNMP Notification CLI Commands

        CLI Command                                      Description
        snmp-server host {ipv4-                          Creates or updates a notification
        address|ipv6-address|hostname}                   recipient receiving notifications in
        [traps|informs] [version {1|2c|3                 SNMP version 1, 2 or 3.
        [auth|noauth|priv]}] community-                  Use the no form of this command to
        string [udp-port port] [filter                   remove the specified host.
        filtername] [timeout seconds]
        [retries retries]
        no snmp-server host {ipv4-
        address|ipv6-address|hostname}
        [traps|informs] [version {1|2c|3}]
        show snmp                                        Shows the current SNMP
                                                         configuration.

        The following is an example of the CLI commands:
         console(config)# snmp-server host 172.16.1.1 private
         console(config)# end
         console# show snmp
         Community-              Community-            View Name        IP Address
         String                  Access
         -------------           ------------          ---------        ----------
         public                  read only             user-view        All
         private                 read write            default          172.16.1.1
         private                 su                    DefaultSup       172.17.1.1
                                                       er




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      File Management
      This section describes how to manage device firmware (image files) and
      configuration files.
      It contains the following topics:
          •   File Management Overview
          •   Auto-Update/Configuration Feature
          •   File Download
          •   File Upload
          •   Active Images
          •   Copy Files
          •   File System

      File Management Overview
      This section describes the system files found in the system and how they can
      be updated (downloaded) and backed up (uploaded).

      System Files
      The following system files are maintained on the system:
          •   Startup Configuration File — Files with extension .text. These files
              contain the commands required to configure the device at startup or after
              reboot. The Startup Configuration file is created from the Running
              Configuration file, or can be created from another file.
          •   Running Configuration File — Files with extension .text. These files
              contain all Startup Configuration file commands, as well as all commands
              entered during the current session. After the device is powered down or
              rebooted, all commands stored in the Running Configuration file are lost.
              During the startup process, all commands in the Startup Configuration
              file are copied to the Running Configuration file, and applied to the
              device.
              During the session, new configuration commands are added to the
              Running Configuration file. To update the Startup Configuration file with
              these configuration commands, the Running Configuration file must first
              be copied to the Startup Configuration file before powering down the


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             device. This can be done manually in the Copy Files page or see "Auto-
             Update/Configuration Feature" on page 331 for more information about
             how to perform this automatically.
         •   Image Files—Files with extension .ros. System file images are saved in two
             flash files called Image 1 and Image 2. The active image contains the
             active copy, while the other image contains a backup copy. The device
             boots and runs from the active image. If the active image is corrupted, the
             system automatically boots from the non-active image. This is a safety
             feature for faults occurring during the software upgrade process.

        Downloading/Uploading System Files
        System files can be manually loaded from (downloaded) or copied to
        (uploaded) a TFTP server or a USB drive. This can be done in one of the
        following ways:
         •   Manually—System files can be downloaded using the File Download page
             and uploaded using the File Upload page.
         •   Automatically (Auto Update/Configuration)—System files can be
             downloaded automatically, as follows:
             –   Auto-Configuration—If the Auto-Configure feature is enabled (in the
                 Auto Update of Configuration/Image File page), the Startup
                 Configuration file (in various conditions described below) might be
                 automatically updated after reboot.
             –   Auto-Update—If the Firmware Auto-Update feature is enabled in the
                 Auto Update of Configuration/Image File page, the image file is might
                 be automatically updated (in various conditions described below).

        Auto-Update/Configuration Feature
        The Auto-Update/Configuration feature enables initial configuration of the
        device and upgrading of the firmware through an automatic process, which
        enables the administrator to ensure that the configuration/firmware of all the
        devices in the network is up-to-date.




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      The required configuration files/images are stored on a USB key or TFTP
      server, and these are downloaded to all the devices in the network when the
      device boots up instead of booting from a local startup configuration file.
      Auto-Update/Configuration also enables quick installation of new devices on
      the network, since an out-of-box device can be configured to retrieve its
      configuration file from the network/USB, allowing instant access to it from
      the administrator's management station and up-to-date configuration on the
      device.
      NOTE: If Auto-Update is performed through the USB port, in addition to upgrading
              the Startup Configuration and image file, a new IP address can also be assigned
              to the device. See "Setup Files" on page 332 below.

      Setup Files
      In addition to placing configuration and image files on the USB key, the USB
      key might also contain a setup file, which is a file with a .setup extension.

      Setup File Contents
      A setup file contains one or more lines. Each line contains some or all of the
      following fields:
          •   MAC Address—This indicates to which device the line applies. In this
              way, a single setup file can be used for multiple devices.
          •   New IP Address—The new IP address to be assigned to the device.
          •   New IP Address Mask—The IP address mask to be applied to the new IP
              address assigned to the device.
          •   Configuration File Name—Name of the configuration file to be used as
              the Startup Configuration.
          •   Image File Name—Name of the image file to be loaded on device.
          •   Flag—Indicates the status of the line. The following values can be used in
              this field:
              –   In-Use—This line has already been applied. It is no longer a candidate
                  for future use.
              –   Invalid—The line is invalid, do not use.
              –   Blank—There is no value for the flag field. This line is a candidate to
                  be applied to the device.


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        Setup File Format
        A line in a setup file contains all or some of the above fields separated by
        spaces (in the following order):
             <MAC-Address> <New-IP-Address> <New-IP-Mask> <Configuration-
             File-Name> <Image-File-Name> <flag>
             If the <flag> field is omitted, it is considered to be blank.
        A line can be in one of the following formats:
         •   Format A—Contains all possible fields:
             <MAC_address (of device)> <New_IP_Address> <New_IP_Mask>
             <Configuration-File-Name> <Image-File-Name> <flag>
             Examples:
             –   0080.c200.0010 192.168.0.10 255.255.255.0 switch-X.text pc5500-
                 4018.ros
                 This means that the line applies to the device with MAC address:
                 0080.c200.0010; a new IP address of 192.168.0.10 is to be assigned to
                 the device, with mask: 255.255.255.0. The switch-x.text is the Startup
                 Configuration file and pc5500-4018.ros is the new image file.
             –   0080.c200.0010 192.168.0.10 255.255.255.0 switch-X.text pc5500-
                 4018.ros in-use
                 This line will not be used because the flag is in-use indicating that it
                 has already been used for some device, and it would be incorrect to use
                 if for another device.
             –   0080.c200.0010 192.168.0.10 255.255.255.0 switch-X.text pc5500-
                 4018.ros invalid
                 This line will not be used because the flag is invalid indicating that it
                 is failed in the past.




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          •   Format B—Contains the following 4 fields:
              <MAC_address> <Configuration-File-Name> <Image-File-Name>
              <flag>
              Example:
              0080.c200.0010 switch-X.text pc5500-4018.ros
              This means that the line applies to the device with MAC address:
              0080.c200.0010. The switch-x.text is the Startup Configuration file and
              pc5500-4018.ros is the new image file.
          •   Format C—Contains the following 5 fields:
              <IP_address> <IP_mask> <Configuration-File-Name> <Image-File-
              Name> <Flag>
              Example:
              192.168.0.10 255.255.255.0 switch.text pc5500-4018.ros
              This means that the line applies to any device (no MAC address is
              supplied); a new IP address of 192.168.0.10 is to be assigned to the device,
              with mask: 255.255.255.0. The switch-x.text is the Startup Configuration
              file and pc5500-4018.ros is the new image file.
          •   Format D—Contains the following 3 fields:
              <IP_address> <IP_mask> <Flag>
              Example:
              192.168.0.10 255.255.255.0
              This means that the line applies to any device (no MAC address is
              supplied); a new IP address of 192.168.0.10 is to be assigned to the device,
              with mask: 255.255.255.0.




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        Triggering the Auto-Update/Configuration Process
        When the Auto-Update/Configuration feature is enabled (in the Auto
        Update of Configuration/Image File page), the device automatically attempts
        to download a new image or configuration file (under certain circumstances)
        using one of the following processes:
         •   The Auto-Update process is triggered from the USB drive if a USB key in
             the USB drive is found.
         •   The Auto-Configuration process is triggered from the USB drive after the
             Auto-Update process completed and the device was rebooted (if a new
             image file was loaded), and if the following conditions are fulfilled:
             –   There is a USB key in the USB drive.
             –   Force Configuration Download at Next Startup has been enabled by
                 the boot host dhcp command, or the Startup Configuration file is
                 empty.
             See "Performing Auto-Update from a USB Drive" on page 336.
         •   The Auto-Update from a TFTP server is triggered if the following
             conditions are fulfilled:
             –   The conditions for a USB Auto-Update are not fulfilled.
             –   An IP address of a TFTP server is received from a DHCP server.
             –   A file name is received from DHCP server.
         •   The Auto-Configuration from a TFTP server is triggered if the following
             conditions are fulfilled:
             –   The conditions for USB Auto-Configuration are not fulfilled.
             –   The switch as DHCP client received a configuration file name or a
                 TFTP URL.
             –   Force Configuration Download at Next Startup enabled by the boot
                 host dhcp command, or, the Startup Configuration file is empty.
             See "Preparations for Using Auto Configuration from a TFTP Server" on
             page 338.
        NOTES:
         •   DHCP client never triggers the Auto-Update process from a TFTP server
             after attempting (whether successfully or not) to auto-update/configure
             configuration/image file from the USB drive.

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          •   If the auto process involved setting the IP address of the device from the
              setup file, the auto process from the TFTP server can be triggered.
          •   If the USB drive contains a setup file, but that setup file does not include a
              line that can be used for the current device, the DHCP client is able to
              trigger the Auto-Update process from TFTP (because the USB process
              never started at all).

      Automatic DHCP IP Interface Assignment
      The user can manually define a DHCP interface in the DHCP IPv4 page.
      If the user does not do this, the switch automatically creates a DHCP
      interface on the VLAN with the lowest VLAN ID that does not have an IP
      address defined on it after boot if both of the following conditions are
      fulfilled:
          •   There is no DHCP IP interface.
          •   There is a VLAN without an IP address.

      Preparations for Using Auto Update/Configuration from a USB Drive
      Before Auto-Update/Configuration from a USB drive can be performed, the
      following steps must be performed:
      1.      Enable Auto-Update/Configuration in the Auto Update of
              Configuration/Image File page.
      2.      (Optional) Create a line in the setup file for this device containing the
              required options and load it on the USB key.
      3.      Load configuration/image files on the USB key as required.
      4.      Insert the USB key in the USB drive and reboot the device.

      Performing Auto-Update from a USB Drive
      When Auto-Update is initiated from a USB drive, the following steps are
      performed:
      1.      Locate the correct setup file—The USB drive is searched for a setup file.
              One of the following can occur:
              –    Setup file is not found—The root folder of the USB is searched for an
                   image files (with .ros extension).
                   •   The image file with the most recent version is loaded into the
                       image file if the versions are different.

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                  •   If a new image file was loaded, the device is rebooted.
                  •   The USB drive is searched for a configuration file (.text
                      extension). If there is more than one configuration file, the file
                      named powerconnect.text is loaded (if it is not found the process
                      is stopped).
             –    One or more setup files are found—If a single setup file is found, it is
                  used; if several files are found, the file powerconnect.setup is used. If
                  no setup file with this name is found, the process is stopped.
        2.   Find the line in the setup file relevant to the device—When the correct
             setup file is found, it is searched for a line relevant to the device, as
             follows:
             –    The setup file is searched for a line with format A or B in which there
                  is a match to the device's MAC address. If such line is found, and its
                  format is valid (the <flag> field is empty), the line is applied.
             –    If no line for the specific device was found, the setup file is searched
                  for valid lines with formats C or D. The first line found is applied.
        3.   Apply the correct line—When the correct line in the setup file is found,
             it is applied, as follows:
             –    If the line contains an IP address and IP mask, the IP address is
                  configured on the default VLAN.
             –    If the line contains an image file and its version differs from the
                  current image file version, the USB image file is loaded and the switch
                  is rebooted.
             –    If a new image file was loaded, it is loaded onto all units in the stack.
             –    If the line contains a configuration file, the configuration file is
                  appended to running configuration file.
        4.   Mark the flag in the applied line—When the line is applied (successfully
             or not), its flag is set, as follows:
             –    If the line contains an IP address and IP mask (format C or D), the IP
                  address is configured on the default VLAN and the line is marked as
                  "in-use". This ensures that the line is not used for another device.
             –    If the line was not applied successfully, for one of the following
                  reasons, the line is marked as "invalid" and a SYSLOG message is sent.



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                  •    The configuration file specified by the line does not exist on the
                       USB key or is corrupted.
                  •    The image file specified by the line does not exist on the USB key
                       or is corrupted.
              –   If parsing of the line failed for some other reason, the line is ignored
                  and a SYSLOG message is sent.
      NOTE: When both Auto-Update and Auto-Configuration are performed, the image
              file is loaded first, the device is booted and then the configuration file is loaded.

      Preparations for Using Auto Configuration from a TFTP Server
      The Auto-Update/Configuration feature enables configuring the device from
      a configuration file found on the TFTP server.
      Two methods may be used:
          •   One-file Read, described in "Auto Configuration (One File Read Method)"
              on page 338. This method is used if a configuration file is found on the
              TFTP server.
          •   Multi-file Read, described in "Auto Configuration (Multi File Read
              Method)" on page 339. This method is used if a configuration file name is
              not found on the DHCP server, or the configuration file is not found on
              the TFTP server.

      Auto Configuration (One File Read Method)
      This method requires the following preparations on the DHCP and TFTP
      servers:
          •   TFTP Server
              Place a configuration file, for example config.txt in the main directory.
              This file can be created by copying a configuration file from a device.
              When the device is booted this becomes the Running configuration file.
          •   DHCP Server
              –   Configure the DHCP server with option 67 and the name of the
                  configuration file on the TFTP server (for example, config.txt).
              –   Configure the DHCP server with option -20 or 66. This is the IP
                  address of the TFTP server.



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         •   Device - On the device, one of the following cases may exist:
             –   If Configuration Auto-Config is selected, the device is configured
                 with the configuration file on the TFTP server only if the Startup
                 configuration file is empty.
             –   If Force Configuration Download at Next Startup is selected, the
                 device is configured with the configuration file on the TFTP server
                 whether the Startup configuration file is not empty or not.

        Auto Configuration (Multi File Read Method)
        If the one-file method has failed and the TFTP Server IP address has been
        provided by the DHCP Server, the switch applies the multi-file method to
        download the configuration file. The following steps are performed by the
        switch:
         •   The switch gets the hostname, as described below.
             –   If the hostname was provided by the DHCP server, this hostname is
                 used.
             –   If the hostname has not been provided by a DHCP server, and if the
                 user has configured the sysName variable, its value is used as a
                 hostname.
             –   If neither of the above occurred, the switch uses the fp-net.cfg
                 Filename List on the TFTP server. Each file in this list is a text file
                 containing commands, each of which:
                 •   Occupies one line.
                 •   Has the following format: ip host hostname ip-addr. Each line
                     maps an IP address to a hostname. When the switch identifies its
                     own IP address in this list, the hostname associated with it is used.
         •   The switch tries to download a configuration file with the following names:
             –   hostname-config
             –   hostname.cfg if the previous file does not exist
             –   host.cfg if the previous files do not exist




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      Preparations for Firmware Image Download from TFTP


      The image file download consists of the following steps:
          •   The switch downloads the Indirect Image File and extracts from it the
              name of the image file.
              Note: If the size of the image name bigger than 160 octets only the first
              160 octets will be used
          •   If the image file version differs from the current image file version, then
              the image file is loaded and the switch is rebooted.


      The preparations on the DHCP and TFTP servers require the following:
          •   TFTP Server
              –   Create a sub directory in the main directory. Place a software image
                  file in it.
              –   Create an indirect file that contains a path and the name of the
                  software version (for example indirect-contax.txt that contains
                  contax\contax-version.ros).
              –   Copy this file to the TFTP server’s main directory
          •   DHCP Server
              –   Configure the DHCP server with option -20 or 66. This is the IP
                  address of the TFTP server.
              –   Configure the DHCP server with option 125. Enter the following
                  information:
                  •    A2-02-00-00 — Enterprise Number 674 (Dell PowerConnet 55xx
                       value). It should be written from right to left. 674=02 a2
                  •    15 — Data Length
                  •    01 — Sub option code 1 (Dell PowerConnet 55xx value)
                  •    13 — Sub option length
                  •    Conversion of the file name (in the above example: conversion of
                       indirect-contax.txt from ASCII to HEX - 69-6E-64-69-72-65-63-
                       74-2D-63-6F-6E-74-61-78-2E-74-78-74



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        Auto Update Configuration through the GUI
        To set the auto update and configuration parameters:
            . NOTE: For the automatic options in this page to work the following must be
             implemented:
             •    Since Auto-Config depends on retrieving information from a DHCP server, the
                  startup configuration needs to include a DHCP IP interface. The device is
                  defined as a DHCP client, as described in "DHCP IPv4 Interface" on page 207.
                  After reboot, this command is not saved in the Startup configuration.
             •    Preparations described above must be completed on the DHCP server and
                  TFTP servers.
         1 Click System > File Management > Auto Update of
           Configuration/Image File in the tree view to display the Auto Update of
           Configuration/Image File page.

        Figure 9-54. Auto Update of Configuration/Image File




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             The auto-update-configuration options are displayed.
          2 Modify the auto-update configuration parameters as required:
             –   Configuration Auto-Config (boot host auto-config)— Enable/disable
                 automatic download of the configuration parameters to the Running
                 Configuration file. By default, this occurs only if the Startup
                 Configuration file is empty.
             –   Firmware Auto-Update (boot host auto-update)— Enable/disable
                 automatic download of the image file.
             –   Force Configuration Download at Next Startup (boot host dhcp) —
                 Enable/disable the Configuration Auto Update option to work even if
                 the Startup Configuration file is not empty.
             –   Auto-Copy Running Configuration to Startup Configuration After
                 Download (boot host auto-save)— Enable/disable the Running
                 Configuration file to be automatically copied to the Startup
                 Configuration file after downloading the Running Configuration file.

      Auto Update Configuration Using CLI Commands
      The following table summarizes the CLI commands for setting fields
      displayed in the Auto Update of Configuration/Image File page.

      Table 9-63. Auto Update of Configuration/Image File CLI Commands

      CLI Command                                Description
      boot host auto-config                      Enables the support of auto-
      no boot host auto-config                   configuration via DHCP.
                                                 Use the no form of this command to
                                                 disable DHCP auto configuration.
      boot host auto-update                      Enables the support of auto-update via
      no boot host auto-update                   DHCP.
                                                 Use the no form of this command to
                                                 disable DHCP auto configuration




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        Table 9-63.   Auto Update of Configuration/Image File CLI Commands (Continued)

        CLI Command                                  Description
        boot host dhcp                               Forces the mechanism used to
        no boot host dhcp                            download a configuration file at the
                                                     next system startup.
                                                     Use the no form of this command to
                                                     restore the host configuration file to the
                                                     default.
        boot host auto-save                          Enables automatic saving of Running
        no boot host auto-save                       configuration in Startup configuration
                                                     after download.
                                                     Use the no form of this command
                                                     restore default behavior
        show boot                                    Shows the status of the IP DHCP Auto
                                                     Config process.

        The following is an example of the CLI command to view the Auto-Update
        status:
         console# show boot
         Auto Config
         -----------
         Config Download via DHCP: enabled
         Next Boot Config Download via DHCP: force
         Auto Update
         -----------
         Image Download via DHCP: enabled




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      The following is an example of the CLI command to configure auto-update
      on the switch:
          console# configure
          console(config)# boot host auto-save
          console(config)# interface vlan 1
          console(config-if)# ip address dhcp
          console(config-if)# 01-Oct-2006 15:19:51 %BOOTP_DHCP_CL-W-
          DHCPIPCANDIDATE: The device is waiting for IP address
          verification on interface Vlan 1 , IP 10.5.225.47, mask
          255.255.255.224, DHCP server 10.5.224.25
          01-Oct-2006 15:20:03 %BOOTP_DHCP_CL-I-DHCPCONFIGURED: The
          device has been configured on interface Vlan 1 , IP
          10.5.225.47, mask 255.255.255.224, DHCP server 10.5.224.25
          01-Oct-2006 15:20:03 %COPY-I-FILECPY: Files Copy - source
          URL tftp://10.5.224.4/33.txt destination URL running-
          config
          01-Oct-2006 15:20:03 %COPY-N-TRAP: The copy operation was
          completed successfully
          01-Oct-2006 15:20:03 %COPY-I-FILECPY: Files Copy - source
          URL running-config destination URL flash://startup-config
          01-Oct-2006 15:20:10 %COPY-N-TRAP: The copy operation was
          completed successfully

      File Download
      Software and configuration files can be downloaded from an external device
      to the switch:
          •   To download from a USB port or when management computer uses HTTP
          •   To download files using TFTP




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        To download from a USB port or when management computer uses HTTP
         1 Click System > File Management > File Download in the tree view to
           display the File Download page.

        Figure 9-55. File Download




         2 For HTTP, enter the IP Format fields for the HTTP server IP address.
             –   Supported IP Format — Select whether IPv4 or IPv6 format is
                 supported.
             –   IPv6 Address Type — When the server supports IPv6, this specifies
                 the type of static address supported. The possible options are:
                 •    Link Local — A Link Local address that is non-routable and used
                      for communication on the same network only.
                 •    Global — A globally unique IPv6 address; visible and reachable
                      from different subnets.
             –   Link Local Interface — When the server supports an IPv6 Link Local
                 address, this specifies the Link Local interface. The possible options
                 are:
                 •    VLAN — The VLAN on which the IPv6 interface is configured.
                 •    ISATAP — The IPv6 interface is configured on an ISATAP
                      tunnel.




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          3 Select a Firmware/Configuration option. The possible options are:
             –   Firmware Download — A firmware file is downloaded.
             –   Configuration Download — A configuration file is downloaded.
          4 Select to download firmware or a configuration file via a USB port or
            HTTP in Download Protocol.
          5 If the Firmware Download option was selected, enter the following:
             –   Source File Name (1-64 characters) — The file to be downloaded.
             –   Destination File Type — The destination file type to which the file is
                 downloaded. The possible options are:
                 •   Software Image — Downloads the Image file. The image file
                     overwrites the non-active image. It is recommended to designate
                     that the non-active image becomes the active image after reset,
                     and then to reset the device following the download. During the
                     Image file download a dialog box opens that displays the
                     download progress, and browsing is disabled.
                 •   Boot Code — Downloads the Boot file.
          6 If the Configuration Download option was selected, enter the following:
             –   Server IP Address — Enter the IP address of the server.
             –   Source File Name (1-64 Characters) — Enter the source file name.
             –   Destination File Name — Select the destination file to which the
                 configuration file is downloaded. The possible options are:
                 •   Running Configuration — Check to download commands into
                     the Running Configuration file. The current file is overwritten.
                 •   Startup Configuration — Check to download commands into the
                     Startup Configuration file. The current file is overwritten.
                 •   New File Name (1-64 Characters) — Check to copy commands
                     into a file in flash memory. Enter the filename.
          7 Click Activate to start the download process.




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        To download files using TFTP
         1 Click System > File Management > File Download in the tree view to
           display the File Download page.

        Figure 9-56. File Download




         2 Enter the IP Format fields for the TFTP server IP address.
             –   Supported IP Format — Select whether IPv4 or IPv6 format is
                 supported.
             –   IPv6 Address Type — When the server supports IPv6, this specifies
                 the type of static address supported. The possible options are:
                 •    Link Local — A Link Local address that is non-routable and used
                      for communication on the same network only.
                 •    Global — A globally unique IPv6 address; visible and reachable
                      from different subnets.



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             –   Link Local Interface — When the server supports an IPv6 Link Local
                 address, this specifies the Link Local interface. The possible options
                 are:
                 •   VLAN — The VLAN on which the IPv6 interface is configured.
                 •   ISATAP — The IPv6 interface is configured on an ISATAP
                     tunnel.
          3 Select a Firmware/Configuration option. The possible options are:
             –   Firmware Download — A firmware file is downloaded.
             –   Configuration Download — A configuration file is downloaded.
          4 Select to download firmware or a configuration file via a TFTP server in
            Download Protocol.
          5 If the Firmware Download option was selected, enter the following:
             –   Server IP Address — The IP address of the server from which the
                 firmware file is downloaded.
             –   Source File Name (1-64 characters) — The file to be downloaded.
             –   Destination File Type — The destination file type to which the file is
                 downloaded. The possible options are:
                 •   Software Image — Downloads the Image file. The image file
                     overwrites the non-active image. It is recommended to designate
                     that the non-active image becomes the active image after reset,
                     and then to reset the device following the download. During the
                     Image file download a dialog box opens that displays the
                     download progress. The window closes automatically when the
                     download is complete.
                 •   Boot Code — Downloads the Boot file.
          6 If the Configuration Download option was selected, enter the following:
             –   Server IP Address — The TFTP server IP address from which the
                 configuration files are downloaded.
             –   Source File Name (1-64 characters) — The configuration file to be
                 downloaded.




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              –       Destination File Name — The destination file to which the
                      configuration file is downloaded. The possible options are:
                      •     Running Configuration — Check to download commands into
                            the Running Configuration file. The current file is overwritten.
                      •     Startup Configuration — Check to download commands into the
                            Startup Configuration file. The current file is overwritten.
                      •     New File Name (1-64 characters) — Check to download
                            commands into a configuration backup file. Enter the filename.
          7 Click Activate to start the download process.

        Downloading Files Using CLI Commands
        The following table summarizes the CLI commands for setting fields
        displayed in the File Download page.

        Table 9-64.       File Download CLI Commands

        CLI Command                                    Description
        copy source-url destination-                   Copies files from a source to a
        url                                            destination.

        The following is an example of the CLI command:
         console# copy tftp://10.6.6.64/pp.txt startup-config
         ....!
         Copy: 575 bytes copied in 00:00:06 [hh:mm:ss]
         01-Jan-2000 06:41:55 %COPY-W-TRAP:
         The copy operation was completed successfully

              NOTE: Each exclamation mark (!) indicates that ten packets were successfully
              transferred.

        File Upload
        Software and configuration files can be uploaded to an external device.
         •    To upload from a USB port or when management computer uses HTTP
         •    To upload a file or image using TFTP



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      The following methods can be used:
          •   To upload from a USB port or when management computer uses HTTP
          •   To upload a file or image using TFTP

      To upload from a USB port or when management computer uses HTTP
          1 Click System > File Management > File Upload in the tree view to
            display the File Upload page.

      Figure 9-57. File Upload




          2 Configuration Upload is selected automatically.
          3 Select to upload a configuration file when the management computer is
            using HTTP or from a USB port in Download Protocol.
          4 Enter the fields:
              –   Transfer File Name — The configuration file to which the
                  configuration is uploaded. The possible options are:
                  •   Running Configuration — Uploads the Running Configuration
                      file.
                  •   Startup Configuration — Uploads the Startup Configuration file.
          5 Click Activate to start the upload process. A message will be displayed
            asking where for the path of the destination file.



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        To upload a file or image using TFTP
         1 Click System > File Management > File Upload in the tree view to
           display the File Upload page.

        Figure 9-58. File Upload




         2 Enter the IP Format fields for the TFTP server IP address.
             –    Supported IP Format — Select whether IPv4 or IPv6 format is
                  supported.
             –    IPv6 Address Type — When the server supports IPv6, this specifies
                  the type of static address supported. The possible options are:
                  •   Link Local — A Link Local address that is non-routable and used
                      for communication on the same network only.
                  •   Global — A globally unique IPv6 address; visible and reachable
                      from different subnets.



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             –   Link Local Interface — When the server supports an IPv6 Link Local
                 address, this specifies the Link Local interface. The possible options
                 are:
                 •    VLAN — The VLAN on which the IPv6 interface is configured.
                 •    ISATAP — The IPv6 interface is configured on an ISATAP
                      tunnel.
          3 Select one of the options:
             –   Firmware Upload — A firmware file is uploaded.
             –   Configuration Upload — A configuration file is uploaded.
          4 Select to upload firmware or a configuration file via a TFTP server in
            Download Protocol.
          5 If Firmware Upload was selected, enter:
             –   TFTP Server IP Address — The TFTP server IP address to which the
                 software image is uploaded.
             –   Destination File Name (1-64 Characters) — The file name to which
                 the file is uploaded.
          6 If Configuration Upload was selected, enter:
             –   TFTP Server IP Address — The TFTP server IP address to which the
                 configuration file is uploaded.
             –   Destination File Name (1-64 Characters) — The configuration file
                 name/path to which the file is uploaded.
             –   Transfer File Name — The configuration file that is uploaded. The
                 possible options are:
                 •    Running Configuration — Uploads the Running Configuration
                      file.
                 •    Startup Configuration — Uploads the Startup Configuration file.
                 •    User-defined Files — Uploads the selected file. A user-defined
                      file is only displayed in this list if one was previously created by a
                      user, for example, if the user copied the running configuration file
                      to a user-defined configuration file called BACKUP-SITE-1, the
                      BACKUP-SITE-1 configuration file is displayed in the list and can
                      be selected.
          7 Click Activate to start the upload process.


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        Uploading Files Using CLI Commands
        The following table summarizes the CLI commands for setting fields
        displayed in the File Upload page.

        Table 9-65.   File Upload CLI Commands

        CLI Command                                  Description
        copy source-url destination-url Copies any file from a source to a
                                        destination.

        The following is an example of the CLI commands:
         console# copy image tftp://10.6.6.64/uploaded.ros
         !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
         Copy: 4234656 bytes copied in 00:00:33 [hh:mm:ss]
         01-Jan-2000 07:30:42 %COPY-W-TRAP:
         The copy operation was completed successfully




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      Active Images
      There are two firmware images, Image1 and Image2, stored on the switch.
      One of these images is identified as the active image, and the other is
      identified as the inactive image. The switch boots from the active image.
      You can switch the inactive image to the active image, and then reboot the
      switch.
      The active image file for each unit in the stack can be individually selected.
      To select the image file to be used after reset:
          1 Click System > File Management > Active Images in the tree view to
            display the Active Images page.

      Figure 9-59. Active Images




             The following fields are displayed:
             –   Unit ID — ID of the unit.



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              –       Active Image — The name of the image file that is currently active on
                      the unit in the stack.
              –       After Reset — The image file that will be active on the unit in the
                      stack after the device is reset. The possible options are:
                      •     Image 1 — Activates Image file 1 after the device is reset.
                      •     Image 2 — Activates Image file 2 after the device is reset.
          2 Click Apply to select the image file to be used after reset in After Reset.

        Working with the Active Image File Using CLI Commands
        The following table summarizes the CLI commands for viewing fields
        displayed in the Active Images.

        Table 9-66.       Active Image CLI Commands

        CLI Command                        Description
        boot system {image-                Sets the system image that the device loads at
        1|image-2} [switch                 startup.
        number|all]
        show version [unit                 Displays version information for the system
        unit]

        The following is an example of the CLI commands:
         console# boot system image-1 all

        Copy Files
        Firmware and configuration files can be copied between units in the stack.
        Use the Copy Files page to perform the following:
         •    Copy the firmware on the Master unit to another unit in the stack.
         •    Copy the master Running Configuration file to the master sTartup
              Configuration file, or copy the configuration to a user-defined
              configuration file.
         •    Copy the master Startup Configuration file to a backup file on the Flash
              file system or to a USB if available.




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          •   Copy a configuration file to the Running Configuration file. It is
              important to be aware that copying a file to the Running Configuration
              file actually executes these commands, so some of the configuration
              commands might fail (for example when trying to create a VLAN that is
              already defined on the system).
          •   Restore configuration factory defaults.
      To copy files:
          1 Click System > File Management > Copy Files in the tree view to display
            the Copy Files page.

      Figure 9-60. Copy Files




          2 To copy the firmware from the Master unit to the Backup Master unit or to
            all other units, select Copy Master Firmware and select the options:
              –   Source — Select either the current Master unit’s software image file or
                  boot code file.


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              –       Destination Unit — Check to copy the firmware to either the Backup
                      Master unit or all units in the stack.
          3 To copy the Running Configuration file of the Master unit to the Startup
            Configuration file of the Master unit or vice versa, select Copy
            Configuration Firmware and enter the options:
              –       Source — Select either the Running Configuration or the Startup
                      Configuration file.
              –       Destination — Select either the Running Configuration, Startup
                      Configuration file or user-created flash files, depending on the source
                      configuration file.
              or
              –       New File Name (1-64 characters) — To copy the source file to a
                      user-named file, enter the name of a file. If this option is selected,
                      check where the file is stored: Flash or USB.
          4 Select Restore Configuration Factory Defaults to replace the current
            configuration settings by the factory configuration default settings.
          5 Click Activate to initiate the selected process.

        Copying Files Using CLI Commands
        The following table summarizes the CLI commands for performing actions
        provided by the Copy Files page.

        Table 9-67.     Copy Files CLI Commands

        CLI Command                                       Description
        copy source-url destination-url                   Copies any file from a source to a
                                                          destination.
        delete startup-config                             Deletes the startup-config file.
        delete url                                        Deletes a file from the FLASH
                                                          memory device.




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      The following is an example of the CLI commands:
          console# delete startup-config
          Delete startup-config [y/n]? y
          console# 01-Oct-2006 16:10:51 %FILE-I-DELETE: File Delete -
          file URL flash://startup-config
          console# copy running-config startup-config
          Overwrite file [startup-config] ?[Yes/press any key for
          no]....01-Oct-2006 16:11
          :47 %COPY-I-FILECPY: Files Copy - source URL running-config
          destination URL flash://startup-config
          01-Oct-2006 16:12:01 %COPY-N-TRAP:
          The copy operation was completed successfully
          Copy succeeded




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        File System
        Use the File System page to view information about files currently stored on
        the system, including file names, file sizes, files modifications, and file
        permissions. The files system permits managing up to two user-defined
        backup configuration files.
        To view information about files:
         1 Click System > File Management > File System in the tree view to
           display the File System page.

        Figure 9-61. File System




         2 Select the File Location. The possible options are:
             –    Flash — Files in flash memory are displayed.
             –    USB — Files on the USB device are displayed.




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             The following information is displayed for all files in the system:
             –      File Name — The name of the file currently stored in the file
                    management system.
             –      Size — The file size.
             –      Modified — The date the file was last modified.
             –      Permission — The permission type assigned to the file.
          3 The following system-wide information is displayed if Flash was selected:
             –      Total Bytes — The total amount of the space currently being used.
             –      Free Bytes — The remaining amount of space currently free. Total
                    bytes and free bytes are not available when selecting USB.
          4 To rename a file, click its Rename button. Change the File Name.

      Managing Files Using CLI Commands
      The following table summarizes the CLI command for viewing system files.

      Table 9-68.      File Management CLI Command

      CLI Command                               Description
      dir [flash://|usb://]                     Display list of files on a flash file system
      rename url new-url                        Renames a file
      delete url                                Deletes a file

      The following is an example of the CLI commands:
          console# dir flash://
          Directory of flash:
          File Name        Permission Flash Size Data Size         Modified
          -------------- ---------- ---------- ---------           -----------------------
          1.cfg            rw          524160      14065           05-Oct-2006 21:20:36
          2.cfg            rw          524160      14065           7-Oct-2006 09:11:07
          aaafile.prv      --          65520         --            03-Oct-2006 15:45:41
          dhcpdb.sys       r-          65520         --            01-Oct-2006 19:22:49
          Total size of flash: 16121856 bytes
          Free size of flash: 524768 bytes




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        Stack Management
        This section describes how to manage the stack.
        It consists of the following topics:
         •   Stack Management Overview
         •   Stack Unit ID
         •   Versions
         •   Reset
         •   Unit Identification (Location)

        Stack Management Overview
        A stack consists of up to eight units, with support for up to 400 network ports.
        Unit 1 usually acts as the stack master and Unit 2 is the backup master. All
        other units act as slaves.
        The entire stack, without regard to the stack topology or the number of units
        in the stack, can be managed as a single switch.
        For more information about stacking, see "Stacking Overview" on page 43.
        The stacking pages described in this section enable the following actions:
         •   Switching from the Master unit to the Backup Master unit
         •   Changing unit IDs
         •   Viewing hardware and software versions on each unit
         •   Resetting either a unit or all the units in the stack
         •   Setting the Location LED on a unit(s)

        Stack Unit ID
        Use the Stack Unit ID pages to:
         •   Switch stack control from the Master unit to the Backup Master unit
         •   Change unit IDs, or enable them to be automatically numbered by the
             system




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      To switch from the Backup Master unit to the Master Unit or set unit IDs:
          1 Click System > Stack Management > Stack Unit ID in the tree view to
            display the Stack Unit ID page.

      Figure 9-62. Stack Unit ID




          2 Enter the fields:
             –   Switch Stack Control from Unit 1 to Unit 2 — Check this field to
                 make unit 2 the Master unit.
             –   Unit ID After Reset — Select Auto if you want the system to assign
                 the unit ID after reset. Select a number to assign the unit an ID
                 manually.




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        Managing Stacks Using the CLI Commands
        The following table summarizes the CLI commands for setting fields
        displayed in the Stack Unit ID page.

        Table 9-69.   Stack Unit ID CLI Commands

        CLI Command                            Description
        stack master unit                      Makes the unit specified be the Master unit.
        no stack master                        Use the no version to restore the default
                                               Master unit.
        switch current-unit-number Changes the unit ID of a specific unit.
        renumber new-unit-number

        The following is an example of the CLI commands:
         console(config)# stack master unit 2
         console(config)# switch 3 renumber 6




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      Versions
      To view the hardware and software versions currently running on the switch:
          •   Click System > Stack Management > Versions in the tree view to display
              the Versions page.

      Figure 9-63. Versions




              The following fields are displayed:
              –   Unit ID — The unit number for which the device versions are
                  displayed.
              –   Software Version — The current software version running on the
                  device.
              –   Boot Version — The current Boot version running on the device.
              –   Hardware Version — The current device hardware version.




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        Displaying Device Versions Using the CLI
        The following table summarizes the CLI commands for viewing fields
        displayed in the Versions page.

        Table 9-70.   Versions CLI Commands

        CLI Command                                Description
        show version [unit-id]                     Displays system version information for a
                                                   unit or for the whole stack.

        The following is an example of the CLI commands:
         console> show version 2
         Unit     SW Version            Boot Version       HW Version
         ----     ------------- ------------- ------------
          2       1.0.0.8        1.0.0.02     00.00.01

        Reset
        Use the Reset page to reset the device from a remote location.
        To reset a unit in the stack:
          1 If changes were made to the Running Configuration file, save them to the
            Startup Configuration file before resetting the device. This prevents the
            current device configuration from being lost. For more information about
            saving Configuration files, see "Copy Files" on page 355.




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          2 Click System > Stack Management > Reset in the tree view to display the
            Reset page.

      Figure 9-64. Reset




          3 In the Reset Unit ID field, select either the unit ID to be reset or Stack to
            reset all the units in the stack.

      Resetting the Device Using the CLI
      The following table summarizes the CLI commands for performing a reset of
      the device via the CLI:

      Table 9-71. Reset CLI Command

      CLI Command                  Description
      reload [slot unit] Reloads the operating system of a single unit or of
                                   all the units.



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        The following is an example of the CLI command:
         console# reload
         You haven't saved your changes. Are you sure you want to
         continue? (Y/N)[N] Y
         This command will reset the whole system and disconnect
         your current session. Do you want to continue? (Y/N)[N]

        Unit Identification (Location)
        The Location LED on a unit helps you to discover a specific unit, or indeed,
        all the units in a stack.
        To light up the Location LED:
          1 Click System > Stack Management > Unit Identification in the tree
            view to display the Unit Identification page.

        Figure 9-65. Unit Identification




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          2 Enter the fields:
             –   Identify Unit ID —Select a unit. This unit’s Location and Power LED
                 start blinking. Select All to cause the Location LEDs in all the units in
                 the stack to light up.
             –   Identification Duration (2-60) —Enter a time interval. The Location
                 and Power LED light up for this period of time.

      Setting the Location LED Using the CLI
      The following table summarizes the CLI commands for setting the Location
      LED:

      Table 9-72. Location LED CLI Commands

      CLI Command                                  Description
      system light [unit unit-                     Lights the location LED on a spe-
      number] [duration seconds]                   cific unit.
      system light stop                            Use the no form of this command to
                                                   turn off the light.

      The following is an example of the CLI command:
          console# system light unit 1




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        sFlow
        This section describes sFlow monitoring of traffic.
        It contains the following sections:
         •   sFlow Overview
         •   Workflow
         •   sFlow Receiver Settings
         •   sFlow Interface Settings
         •   sFlow Statistics

        sFlow Overview
        The sFlow feature enables collecting statistics using the sFlow sampling
        technology, based on sFlow V5.
        This sampling technology is embedded within switches and routers. It
        provides the ability to continuously monitor traffic flows on some or all the
        interfaces, simultaneously.
        The sFlow monitoring system consists of an sFlow agent (embedded in a
        switch or router or in a stand alone probe) and a central data collector, known
        as the sFlow receiver.
        The sFlow agent uses sampling technology to capture traffic and statistics
        from the device it is monitoring. sFlow datagrams are used to forward the
        sampled traffic and statistics to an sFlow receiver for analysis.
        sFlow V5 defines:
         •   How traffic is monitored.
         •   The sFlow MIB that controls the sFlow agent.
         •   The format of the sample data used by the sFlow agent when forwarding
             data to a central data collector. The device provides support for two types
             of sFlow sampling: flow sampling and counters sampling. The following
             counters sampling is performed according to sFlow V5 (if supported by
             the interface):
             –   Generic interface counters (RFC 2233)
             –   Ethernet interface counters (RFC 2358)



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      Workflow
      By default, flow and counter sampling are disabled.
      To enable sFlow sampling:
          1 Set the IP address of a receiver (also known as a collector) for sFlow
            statistics. Use the sFlow Receivers Settings page for this.
          2 Enable flow and/or counter sampling, direct the samples to a receiving
            interface, and configure the average sampling rate. Use the sFlow
            Interface Settings pages for this.
          3 View and clear the sFlow statistics counters. Use the sFlow Statistics page
            for this.




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      sFlow Receiver Settings
      To set the sFlow receiver parameters:
       1 Click System > sFlow > sFlow Receivers Settings in the tree view to
         display the sFlow Receivers Settings: Summary page.

      Figure 9-66. sFlow Receivers Settings: Summary




           The sflow parameters are displayed.
       2 To add a receiver (sflow analyzer), click Add and select one of the
         pre-defined sampling definition indices in Index.
       3 Enter the receiver’s address fields:
           –   Supported IP Format — Select whether IPv4 or IPv6 format is
               supported.




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             –   IPv6 Address Type — When the server supports IPv6, this specifies
                 the type of static address supported. The possible options are:
                 •   Link Local — A Link Local address that is non-routable and used
                     for communication on the same network only.
                 •   Global — A globally unique IPv6 address; visible and reachable
                     from different subnets.
             –   Link Local Interface — When the server supports an IPv6 Link Local
                 address, this specifies the Link Local interface. The possible options
                 are:
                 •   None — Disable the ISATAP tunnel.
                 •   ISATAP — The IPv6 interface is configured on an ISATAP
                     tunnel.
             –   IP Address — Enter the receiver’s IP address.
          4 Enter the fields:
             –   Syslog Port Number — Port to which SYSLOG message are sent.
             –   Maximum Header Size (Bytes) — Maximum number of bytes that
                 can be sent to the receiver in a single sample datagram (frame).

      Adding an sFlow Receiver Using the CLI Commands
      The following table summarizes the CLI commands for adding an sFlow
      receiver.

      Table 9-73. sflow Receiver CLI Commands

      CLI Command                                   Description
      sflow receiver index {ipv4-                   Defines an sFlow receiver.
      address|ipv6-address|hostname}                Use the no form of this command to
      [port port] [max-datagram-size                remove the definition of the receiver.
      bytes]
      no sflow receiver index
      show sflow configuration                      Displays the sFlow configuration for
      [port_id]                                     ports that are enabled for Flow
                                                    sampling or Counters sampling.




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      The following is an example of the CLI commands:
       console(config)# sflow receiver 2 1.1.1.1 port 6343
       console# show sflow configuration
       Receivers
       Index            IP Address                 Port     Max Datagram Size
       ----- -------------------- -------- ----------------
          1              0.0.0.0                   6343               1400
          2              172.16.1.2                6343               1400
          3              0.0.0.0                   6343               1400
          4              0.0.0.0                   6343               1400
          5              0.0.0.0                   6343               1400
          6              0.0.0.0                   6343               1400
          7              0.0.0.0                   6343               1400
          8              0.0.0.0                   6343               1400
       Interfaces
       Interface Flow          Counters            Max Header     Collector   Index
                    Sampling   Sampling Interval Size             Sampling    Counters
       --------- --------- ----------------- ------------ ----------- ---------
       gi1/0/1      1/2048     60 sec              128            1           1
       gi1/0/2      1/4096     Disabled            128            0           2




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      sFlow Interface Settings
      To sample datagrams or counters from a port, the port must be associated
      with a receiver. sFlow port settings can be configured only after a receiver has
      been defined in the sFlow Receiver Settings pages.
      To enable sampling and configure the port from which to collect the sFlow
      information:
          1 Click System > sFlow > sFlow Interface Settings in the tree view to
            display the sFlow Interface Settings: Summary page.

      Figure 9-67. sFlow Interface Settings: Summary




             The sflow interface settings are displayed.
          2 To associate an sFlow receiver with a port, click Add, and enter the fields:
             –   Interface — Select the unit/port from which information is collected.
             –   Flow Sampling — Enable/disable flow sampling. Flow sampling
                 cannot be disabled if Counters Sampling is disabled.


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           –   Flow Sampling Average Sampling Rate(1024–1073741823) — If x is
               entered, a flow sample will be taken for each x frames.
           –   Flow Sampling Receiver Index — Select one of the indices that was
               defined in the sFlow Receivers Settings pages.
           –   Flow Sampling Maximum Header Size (20–256) — Maximum
               number of bytes that should be copied from a sampled packet.
           –   Counters Sampling — Enable/disable counters sampling. Flow
               sampling cannot be disabled if Flow Sampling is disabled
           –   Counters Sampling Interval (15–86400) — If x is entered, this
               specifies that a counter sample will be taken for each x seconds.
           –   Counters Sampling Receiver Index — Select one of the indices that
               was defined in the sFlow Receivers Settings pages.

      Configuring sFlow Interfaces Using the CLI Commands
      The following table summarizes the CLI commands for configuring sFlow
      interfaces.

      Table 9-74. sflow Interface CLI Commands

      CLI Command                                  Description
      sflow flow-sampling rate                     Enables sFlow Flow sampling and
      receiver-index [max-header-size              configure the average sampling rate
      bytes]                                       of a specific port.
      no sflow flow-sampling                       Use the no form of this command to
                                                   disable Flow sampling.
      sflow counters-sampling interval Enable sFlow counters sampling and
      receiver-index                   to configure the maximum interval of
      no sflow counters-sampling       a specific port.
                                                   Use the no form of this command to
                                                   disable sFlow Counters sampling.

      The following is an example of the CLI commands:
       console(config)# interface gi2/0/3
       console(config-if)#sflow flow-sampling 1024 1




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      sFlow Statistics
      To view sFlow statistics:
          1 Click System > sFlow > sFlow Statistics in the tree view to display the
            sFlow Statistics page.

      Figure 9-68. sFlow Statistics




             The following sflow statistics per interface are displayed:
             –   Interface — Port for which sample was collected.
             –   Packets Sampled — Number of packets sampled.
             –   Datagrams Sent to Receiver — Number of sFlow sampling packets
                 sent.
          2 Click Clear Statistics to clear the counters.




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      Viewing sFlow Statistics Using the CLI
      The following table summarizes the CLI commands for viewing sFlow
      statistics:

      Table 9-75. sFlow Statistics CLI Command

      CLI Command                         Description
      show sflow statistics               Displays sFlow statistics for ports that are
      [port-id]                           enabled for Flow sampling or Counters
                                          sampling.
      clear sflow statistics              Clears sFlow statistics for ports that are
      [port-id]                           enabled for Flow sampling or Counters
                                          sampling.

      The following is an example of the CLI commands:
       console # show sflow statistics
       Total sFlow datagrams sent to collectors: 100
       Interface Packets Sampled Datagrams Sent to Collector
       --------- ------- ------------------------------------
       gi1/0/1       30         50
       gi1/0/2       10         10
       gi2/0/1       0          10
       gi2/0/2       0          0




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                                                                    10
      Ports
      This section describes how to configure port functionality.
      It contains the following topics:
          •   Overview
          •   Jumbo Frames
          •   Green Ethernet Configuration
          •   Protected Ports
          •   Port Profile
          •   Port Configuration
          •   LAG Configuration
          •   Storm Control
          •   Port Mirroring




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        Overview
        This section includes a description of port features and describes the
        following:
         •   Auto-Negotiation
         •   MDI/MDIX
         •   Flow Control
         •   Back Pressure
         •   Port Default Settings

        Auto-Negotiation
        Auto-negotiation enables automatic detection of speed, duplex mode and
        flow control on all switching 10/100/1000BaseT ports. Auto-negotiation is
        enabled on all ports by default.
        Auto-negotiation is a mechanism established between two link partners to
        enable a port to advertise its transmission rate, duplex mode and flow control
        abilities to its partner. Both ports then operate at the highest common
        denominator.
        If connecting a Network Interface Card (NIC) that does not support auto-
        negotiation or is not set to auto-negotiation, both the device switching port
        and the NIC must be manually set to the same speed and duplex mode.
        If the station, on the other side of the link, attempts to auto-negotiate with a
        device 100BaseT port that is configured to full duplex, the auto-negotiation
        results in the station attempting to operate in half duplex.

        MDI/MDIX
        The device supports auto-detection of straight-through and crossed cables on
        all 10/100/1000BaseT ports. This feature is part of auto-negotiation and is
        enabled when Auto-negotiation is enabled.
        When the MDI/MDIX (Media Dependent Interface with Crossover) is
        enabled, the automatic correction of errors in cable selection is possible, thus
        making the distinction between a straight-through cable and a crossover cable




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      irrelevant. The standard wiring for end stations is known as MDI (Media
      Dependent Interface), and the standard wiring for hubs and switches is known
      as MDIX.

      Flow Control
      The device supports 802.3x flow control for ports configured to Full Duplex
      mode. By default, this feature is enabled on all ports, and it can be disabled
      per port.
      Flow control creates a lossless link with no packet loss. The flow control
      mechanism enables the receiving side to signal to the transmitting side that
      transmission must temporarily be halted to prevent buffer overflow. This
      signaling is done by sending PAUSE frames. The ports that receives pause
      frames stops transmitting traffic.
      Flow control on the device works in Receive-Only mode, meaning that the
      interfaces with enabled flow control receive PAUSE frames, but do not send
      them.
      When flow control is enabled, the system buffers are allocated per port so
      that if the buffers of one port are consumed, other ports will still have their
      free buffers.

      Back Pressure
      The device supports back pressure for ports configured to Half Duplex mode.
      By default, this feature is disabled, and it can be enabled per port. The
      back-pressure mechanism prevents the sender from transmitting additional
      traffic temporarily. The receiver may occupy a link so it becomes unavailable
      for additional traffic.

      Port Default Settings
      Table 12-1 describes the port default settings.

      Table 10-1. Port Default Settings

      Function                            Default Setting
      Port speed and mode                 10/100/1000 BaseT copper: auto-negotiation
                                          SFP+1000/10G Mbps full duplex, auto discovery
      Port forwarding state               Enabled


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        Table 10-1.    Port Default Settings (Continued)

        Function                              Default Setting
        Port tagging                          No tagging
        Flow Control                          On
        Back Pressure                         Off




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      Jumbo Frames
      Jumbo frames are frames of up to 10 Kb in size. If Jumbo frames are not
      enabled, the system supports a packet size of up to 1,632 bytes.
      To enable jumbo frames:
          1 Click Switching > Ports > Jumbo Frames in the tree view to display the
            Jumbo Frames page.

      Figure 10-1. Jumbo Frames




              The current jumbo frames setting is displayed
          2 Enable/disable jumbo frames in the New Setting (after reset) field.
          NOTE: You must save the configuration and reboot the device in order to make jumbo
              frames operational.




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        Configuring Jumbo Frames Using CLI Commands
        The following table summarizes the CLI commands for configuring Jumbo
        frames.

        Table 10-2.   Jumbo Frames CLI Commands

        CLI Command                        Description
        port jumbo-frame                   Enables jumbo frames on the device.
        no port jumbo-frame                Use the no form of this command to disable
                                           jumbo frames.

        The following is an example of the CLI commands:
         console(config)# port jumbo-frame




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      Green Ethernet Configuration
      Green Ethernet is a name of a set of features that are designed to reduce the
      power consumption of a device, and so make it environmentally friendly.
      The Green Ethernet feature reduces overall power usage in the following
      ways:
          •   Energy Efficient Ethernet — When using EEE, systems on both sides of
              the link can disable portions of their functionality and save power during
              periods of low link utilization. EEE is a hardware feature that is enabled by
              default, and is transparent to users. This feature is defined per port,
              regardless of their LAG membership.
          •   Short-Reach Mode — Power usage is adjusted to the actual cable length.
              In this mode, the VCT (Virtual Cable Tester) length test is performed to
              measure cable length. If the cable is shorter than a predetermined length,
              the switch reduces the power used to send frames over the cable, thus
              saving energy. This mode is only supported on RJ45 ports.
              Power savings and current power consumption in Short Reach mode can
              be monitored. The total amount of saved energy can be viewed as a
              percentage of the power that would have been consumed by the physical
              interfaces had they not been running in Green Ethernet mode.




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        The above two energy saving modes must be enabled globally and then
        configured per port.

        Green Ethernet Configuration
        To configure Green Ethernet settings:
         1 Click Switching > Ports > Green Ethernet Configuration in the tree view
           to display the Green Ethernet Configuration: Summary page.

        Figure 10-2. Green Ethernet Configuration: Summary




         2 The amount of energy saved from the last switch reboot is displayed in the
           Cumulative Energy Saved field. This value is updated each time there is
           an event that affects power saving. Click Reset to reset its value.
         3 Enter the fields:
             •   Energy Efficient Ethernet — Globally enable/disable the Energy
                 Efficient Ethernet feature.
             •   Link Short-Reach Energy Saving Mode — Globally enable/disable
                 Short Reach mode.




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             •   Current Power Consumption — Displays the current power
                 consumption.
             •   Power Savings — Displays the percentage of power saved by running
                 in Green Ethernet mode.
          4 Select a unit in the stack to display its power consumption parameters. Its
            ports are displayed along with the following settings.
             –   Energy Efficient Ethernet
                 •    Oper — Enabled or not on the port
                 •    Remote Peer —Enabled or not on the remote peer
             –   Short-Reach
                 •    Oper — Enabled or not on the port
                 •    Fault Reason —Reason that short reach is not enabled
             –   Cable Length (Meter) — Length of cable.
          5 Click LLDP Interface Details.
          6 Select a unit in the stack. The following is displayed for each port on the
            unit:
             –   Port — Port number.
             –   Oper — Displays the operational status of Green Ethernet.
             –   Resolved Tx Timer (μsec) — Integer that indicates the current
                 Tw_sys_tx is supported by the local system.
             –   Local Tx Timer (μsec) — Indicates the time (in micro seconds) that
                 the transmitting link partner waits before it starts transmitting data
                 after leaving Low Power Idle (LPI mode).
             –   Resolved Rx Timer (μsec) — Integer that indicates the current
                 Tw_sys_tx supported by the remote system.
             –   Local Rx Timer (μsec) — Indicates the time (in micro seconds) that
                 the receiving link partner requests that the transmitting link partner
                 waits before transmission of data following Low Power Idle (LPI
                 mode).
             –   Remote Tx Timer (μsec) — Indicates the local link partner’s
                 reflection of the remote link partner’s Tx value.




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              –       Remote Rx Timer (μsec) — Indicates the local link partner’s
                      reflection of the remote link partner’s Rx value.

        Configuring Green Ethernet Using CLI Commands
        The following table summarizes the CLI commands for configuring Green
        Ethernet.

        Table 10-3.     Green Ethernet CLI Commands

        CLI Command                                    Description
        green-ethernet short-reach                     Enables/disables Green Ethernet short
        no green-ethernet short-reach                  reach mode.

        green-ethernet short-reach                     Forces short-reach mode on an
        force                                          interface.
        no green-ethernet short-reach                  Use the no form of this command to
        force                                          return to the default.
        green-ethernet short-reach                     Set the maximum cable length for
        threshold cable-length                         applying short-reach mode.
        no green-ethernet short-reach                  Use the no form of this command to
        threshold                                      return to the default.
        green-ethernet power-meter                     Resets the power save meter.
        reset
        eee enable                                     Enables the EEE mode globally. Can
        no eee enable                                  be used globally or per interface.
                                                       Use the no format of the command to
                                                       disable the mode.
        eee lldp enable                                Enables EEE support by LLDP on an
        no eee lldp enable                             Ethernet port.
                                                       Use the no format of the command to
                                                       disable the support.
        show eee                                       Displays EEE information.




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      Protected Ports
      Protected Port Overview
      Protected ports provide Layer 2 isolation between interfaces (Ethernet ports
      and LAGs) that share the same Broadcast domain (VLAN) with other
      interfaces. This can be used to set up a group of ports that receive similar
      services.
      A protected port does not forward traffic (Unicast, Multicast, or Broadcast) to
      any other protected port on the same switch.
      A community is a group of protected ports. Protected ports within the same
      community can forward traffic to each other.
      The following types of ports can be defined:
          •   Protected Port — Can send traffic only to uplink ports.
          •   Community Port — A protected port that is associated with a community.
              It can send traffic to other protected ports in the same community and to
              uplink ports.
          •   Uplink Port — An uplink port is an unprotected port that can send traffic
              to any port.
          •   Isolated Port — A protected port that does not belong to a community.
      Port Protection is independent of all other features and configuration
      settings. Two protected ports in a common VLAN cannot communicate with
      each other.

      Protected Port Restrictions
      The following restrictions apply to protected ports:
          •   When a protected port is placed in a LAG, it loses its protected port
              attribute and takes upon itself the LAG's protection attributes. When the
              port is removed from the LAG, its attributes are re-applied.
          •   Mirrored traffic is not subject to protected ports rules.
          •   Routing is not affected by the protected port forwarding rule, so that if a
              packet enters a protected port, it can be routed by the device to another
              protected port.




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        Protected Port Configuration
        To configure protected ports and establish their communities:
         1 Click Switching > Ports > Protected Ports in the tree view to display the
           Protected Ports: Summary page.

        Figure 10-3. Protected Ports: Summary




             A summary of all the ports and their statuses is displayed.
         2 Click Edit.
         3 Select the unit and interface.
         4 Enter values for the following fields:
             •   State — Select Protected/Unprotected to enable/disable port
                 protection.
             •   Community — Select the community to which to add the port, or
                 define the port as Isolated.


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      Configuring Protected Ports Using CLI Commands
      The following table summarizes the CLI commands for configuring
      protected ports.

      Table 10-4. Protected Ports CLI Commands

      CLI Command                                Description
      switchport protected-port                  Isolates Unicast, Multicast, and Broadcast
      no switchport protected-port               traffic on a port at Layer 2 from other
                                                 protected ports on the same switch.
                                                 Use the no form of this command to
                                                 disable protection on the port.
      switchport community                       Associates a protected port with a
      community                                  community
      no switchport community                    Use the no form of this command to
                                                 return to default.
      show interfaces protected-    Displays protected ports configuration.
      ports[gigabitethernet|tengiga
      bitethernet] port-number

      The following is an example of the CLI commands:
          console(config)# interface gi1/0/3
          console(config-if)# switchport protected-port
          console(config-if)# switchport community 1




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        Port Profile
        Port profiles provide a convenient way to save and share a port configuration.
        When a port profile, which is a set of CLI commands having a unique name,
        is applied to a port, the CLI commands contained within the profile (macro)
        are executed and added to the Running Configuration file.
        Port profiles can be applied to a specific interface, a range of interfaces, or
        globally.
        There are two types of port profiles:
         •   User Defined — Enables the user to bundle configurations, as a port
             profile, and then apply it to one or more interfaces at a time. Up to 20
             user-defined macros can be supported. These can only be defined through
             CLI commands.
         •   Built-In — Pre-defined macros that cannot be changed or deleted. The
             device includes the following built-in macros:
             –    Global
             –    Desktop
             –    Phone
             –    Switch
             –    Router
             –    Wireless Configuration
        Before a built-in profile can be applied to an interface, the global profile must
        be applied. The global profile enables QoS Advanced mode, sets Advanced
        mode parameters, CoS to queue mapping, and DSCP to queue mapping and
        defines certain standard ACLs. Use the CLI command show parser macro
        name profile-global to display the Global profile contents.




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      To assign a profile to a port:
          1 Click Switching > Ports > Port Profile in the tree view to display the Port
            Profiles: Summary page.

      Figure 10-4. Port Profile: Summary




             A summary of all the interfaces and their profiles is displayed.
          2 To assign the Global profile to the system, check Run Global Profile.
            Apply the global profile before applying a built-in interface profile.
          3 To assign a profile to an interface, click Edit.
          4 Select a unit/interface and a Assigned Profile. The Profile Description is
            displayed.
          5 Each profile requires entering various elements of VLAN information.
            Enter the fields according to the profile:
             –    VLAN Port Mode — Displays the port mode applied to ports in the
                  profile.
             –    VLAN ID-Untagged (1-4094) — Enter the VLAN for untagged
                  traffic.
             –    VLAN ID-Tagged (1-4095) — Enter the VLAN for tagged traffic.


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            –   Native VLAN ID(1-4094) — Enter the VLAN ID used for untagged
                traffic to trunk ports, or check None.
            The remaining fields on this page are display-only, and describe the port
            configuration of the profile. The following fields are described:
            Port Security fields:
            –   Mode — Learning mode. The possible options are:
                •   Classic Lock — Locks the port using the classic lock mechanism.
                    The port is immediately locked, regardless of the number of
                    addresses that have already been learned.
                •   Limited Dynamic Lock — Locks the port by deleting the
                    dynamic MAC addresses associated with the port. The port learns
                    up to the maximum addresses allowed on the port. Both
                    relearning and aging MAC addresses are enabled.
            –   Max Entries — Displays the maximum number of MAC addresses
                that can be learned on the port.
            –   Action on Violation — Action to be applied to packets arriving on a
                locked port. The possible options are:
                •   Discard — Discard the packets from any unlearned source.
                •   Forward — Forward the packets from an unknown source,
                    without learning the MAC address.
                •   Shutdown — Discard the packet from any unlearned source, and
                    shut down the port. Ports remain shutdown until they are
                    reactivated, or the device is reset.
            Spanning Tree fields:
            –   Point-to-Point Admin Status — Displays whether a point-to-point
                links is established. The possible options are:
                •   Enable — Enables the device to establish a point-to-point link, or
                    specifies for the device to automatically establish a point-to-point
                    link. To establish communications over a point-to-point link, the
                    originating PPP first sends Link Control Protocol (LCP) packets
                    to configure and test the data link. After a link is established and
                    optional facilities are negotiated as needed by the LCP, the
                    originating PPP sends Network Control Protocols (NCP) packets
                    to select and configure one or more network layer protocols.


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                      When each of the chosen network layer protocols has been
                      configured, packets from each network layer protocol can be sent
                      over the link. The link remains configured for communications
                      until explicit LCP or NCP packets close the link, or until some
                      external event occurs. This is the actual switch port link type. It
                      may differ from the administrative state.
                 •    Disable — Disables point-to-point link.
                 •    Auto — The device automatically establishes a point-to-point
                      link.
             –   Fast Link — Displays whether Fast Link mode is enabled for the port.
                 If this is enabled, the Port State is automatically placed in the
                 Forwarding state when the port is up.
             –   BPDU Guard — Displays whether BPDU Guard is enabled on the
                 port.
             Miscellaneous fields:
             –   Policy Name — Displays the name of a policy if one is defined on the
                 port.
             –   Auto Negotiation — Displays whether auto-negotiation is enabled on
                 the port. Auto-Negotiation enables a port to advertise its transmission
                 rate, duplex mode, and Flow Control abilities to other devices.
          6 Click Apply Profile to apply the profile to the specified interface.

      Configuring Port Profile Using CLI Commands
      The following table summarizes the CLI commands for configuring port
      profiles.

      Table 10-5. Port Profiles CLI Commands

      CLI Command                                       Description
      macro {apply|trace} macro-name                    Applies a macro to an interface or
      [parameter {value}] [parameter                    traces a macro configuration on an
      {value}] [parameter {value}]                      interface.




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        Table 10-5.   Port Profiles CLI Commands (Continued)

        CLI Command                                        Description
        show parser macro                  Displays the parameters for all
        [{brief|description [interface     configured macros or for one
        [gigabitethernet|tengigabitetherne macro on the switch.
        t] port-number|name macro-name}]

        The following is an example of the CLI commands:
         Switch(config) # interface gi1/0/2
         Switch(config-if) # macro trace dup
         Applying command… ‘duplex full’
         Applying command… ‘speed auto’
         Switch(config) # interface gi1/0/2
         Switch(config-if) # macro apply duplex $DUPLEX full
         $SPEED auto
         Switch(config-if) # exit
         Switch(config) # interface gi1/0/3
         Switch(config-if) # macro apply dup
         Switch(config-if) # exit

        Sample CLI Scripts
        This section provides sample scripts of CLI commands. These particular
        actions cannot be performed through the GUI, which only allows applying
        built-in macros. These scripts describe how to create macros, display them
        and apply them.
        The following is a script that creates a global macro.

        Table 10-6.   Create a Global Macro Script

        CLI Command                                                  Description
        console#config                                               Create a macro called
        console(config)# macro name interswitch                      interswitch.

        Enter macro commands one per line. End
        with the character '@'.


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      Table 10-6. Create a Global Macro Script (Continued)

      CLI Command                                              Description
      vlan database                                            Enter the commands in
      vlan 40-50                                               the macro, which create
                                                               VLANs 40 through 50.
      @
      console(config)# do show parser macro                    Display the macro.
      name interswitch
      console(config)# macro global apply                      Apply the macro.
      interswitch

      The following is a script that creates an interface macro.

      Table 10-7. Create an Interface Macro Script

      CLI Command                                              Description
      console#config                            Enter Interface mode
      console(config)# interface range gi1/0/1- for ports 1-24 on unit 1.
      24


      console(config-if-range)# macro name                     Create a macro called
      access_port                                              access_port.
      Enter macro commands one per line. End
      with the character '@'.
      disable spanning-tree                                    Enter the commands in
      @                                                        the macro, disables
                                                               spanning tree on the
                                                               interfaces.
      console(config)# do show parser macro                    Display the macro.
      name access_port
      console(config)# macro global apply                      Apply the macro to
      access_port                                              ports 1-24 on unit 1.




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        Port Configuration
        If port configuration is modified while the port is a LAG member, the
        configuration change is only effective after the port is removed from the
        LAG.
        To configure a port:
         1 Click Switching > Ports > Port Configuration in the tree view to display
           the Port Configuration: Summary page.

        Figure 10-5. Port Configuration: Summary




             All ports on the selected unit and their configuration settings are
             displayed.
         2 To modify the port settings, click Edit and select a port.
         3 Enter the following fields:
             –    Description (1 - 64 Characters) — Enter a user identification
                  attached to the port.
             –    Port Type — Displays the type of port.
             –    Admin Status — Enable/disable traffic forwarding through the port.
                  •   Up — Traffic is enabled through the port.

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              •   Down — Traffic is disabled through the port.
          –   Current Port Status — Displays whether the port is currently
              operational or non-operational.
          –   Re-Activate Suspended Port — Check to reactivate a port if the port
              has been disabled through the locked port security option.
          –   Operational Status — Displays the port operational status. The
              possible options are:
              •   Suspended — Port is currently active, and is not receiving or
                  transmitting traffic.
              •   Active — Port is currently active, and is receiving and
                  transmitting traffic.
              •   Disable — Port is currently disabled, and is not receiving or
                  transmitting traffic.
          –   Admin Speed — Select the configured rate for the port. The port type
              determines the available speed setting options. You can designate
              Administrative Speed only when port auto-negotiation is disabled.
          –   Current Port Speed — Displays the actual synchronized port speed
              (bps).
          –   Admin Duplex — Select the port duplex mode (this is only possible if
              Auto Negotiation is not enabled). The options are:
              •   Full — The interface supports transmission between the device
                  and the client in both directions simultaneously.
              •   Half — The interface supports transmission between the device
                  and the client in only one direction at a time.
          –   Current Duplex Mode — Displays the synchronized port duplex
              mode.
          –   Auto Negotiation — Select to enable auto-negotiation on the port.
              Auto-Negotiation enables a port to advertise its transmission rate,
              duplex mode, and Flow Control abilities to other devices.
          •   Energy Efficient Ethernet — Globally enable/disable Energy Efficient
              Ethernet and the EEE LLDP advertisement feature.
          –   Current Auto Negotiation — Displays the current auto-negotiation
              setting.



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            –   Admin Advertisement — Check the auto-negotiation setting the port
                advertises. The possible options are:
                •   Max Capability — The port advertises all the options that it can
                    support.
                •   10 Half — The port advertises for a 10 mbps speed port and half
                    duplex mode setting.
                •   10 Full — The port advertises for a 10 mbps speed port and full
                    duplex mode setting.
                •   100 Half — The port advertises for a 100 mbps speed port and
                    half duplex mode setting.
                •   100 Full — The port advertises for a 100 mbps speed port and full
                    duplex mode setting.
                •   1000 Full — The port advertises for a 1000 mbps speed port and
                    full duplex mode setting.
                •   10000 Full — The port advertises for a 10000 mbps speed port
                    and full duplex mode setting.
            –   Current Advertisement — Displays the port advertises its speed to its
                neighbor port to start the negotiation process. The possible field
                values are those specified in the Admin Advertisement field.
            –   Neighbor Advertisement — Displays the neighboring port’s
                advertisement settings. The field values are identical to the Admin
                Advertisement field values.
            –   Back Pressure — Enable/disable Back Pressure mode that is used with
                Half Duplex mode to disable ports from receiving messages.
            –   Current Back Pressure — Displays the current Back Pressure setting.
            –   Flow Control — Set flow control on the port. The following options
                are available:
                •   Enable/Disable — Enable/disable flow control on the port
                    (Enabled is the default).
                •   Auto Negotiation — Enables auto-negotiation of flow control on
                    the port.
            –   Current Flow Control — Displays the current Flow Control setting.




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           –   MDI/MDIX — Select one of the options that enables the device to
               decipher between crossed and uncrossed cables. Hubs and switches
               are deliberately wired opposite to the way end stations are wired, so
               that when a hub or switch is connected to an end station, a straight
               through Ethernet cable can be used, and the pairs are match up
               properly. When two hubs/switches are connected to each other, or two
               end stations are connected to each other, a crossover cable is used
               ensure that the correct pairs are connected. The possible options are:
               •    Auto — Use to automatically detect the cable type.
               •    MDIX — Use for hubs and switches.
               •    MDI — Use for end stations.
           –   Current MDI/MDIX — Displays the current device MDIX settings.
           –   LAG — Displays whether the port is part of a LAG.

      Configuring Ports Using CLI Commands
      The following table summarizes the CLI commands for configuring ports as
      displayed in the Port Configuration pages.

      Table 10-8. Port Configuration CLI Commands

      CLI Command                                   Description
      eee enable                                    Enables the EEE mode globally.
      no eee enable                                 Use the no format of the command
                                                    to disable the mode.
      eee lldp enable                               Enables EEE support by LLDP on
      no eee lldp enable                            an Ethernet port.
                                                    Use the no format of the command
                                                    to disable the support.
      description string                            Adds a description to an interface
      no description                                configuration.
                                                    Use the no form of this command to
                                                    remove the description.
      shutdown                                      Disables an interfaces.
      no shutdown                                   Use the no form of this command to
                                                    restart a disabled interface.



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        Table 10-8.   Port Configuration CLI Commands (Continued)

        CLI Command                                      Description
        set interface active              Reactivates an interface that is
        {[gigabitethernet|tengigabitethe shutdown.
        rnet] interface|port-channel LAG-
        number}
        speed {10|100|1000|10000}                        Configures the speed of a given
        no speed                                         Ethernet interface when not using
                                                         auto negotiation.
                                                         Use the no form of this command to
                                                         restore the default configuration.
        duplex {half|full}                               Configures the full/half duplex
        no duplex                                        operation of a given Ethernet
                                                         interface when not using auto
                                                         negotiation.
        negotiation [capability1                         Enables auto negotiation operation
        [capability2…capability5]                        for the speed and duplex parameters
        no negotiation                                   of a given interface.
                                                         Use the no form of this command to
                                                         disable auto-negotiation.
        back-pressure                                    Enables Back Pressure on a given
        no back-pressure                                 interface.
                                                         Use the no form of this command to
                                                         disable back pressure.
        flowcontrol {auto|on|off}                        Configures the flow control on a
        no flowcontrol                                   given interface.
                                                         Use the no form of this command to
                                                         disable flow control.
        mdix {on|auto}                                   Enables automatic crossover on a
        no mdix                                          given interface or Port-channel.
                                                         Use the no form of this command to
                                                         disable cable crossover.
        show interfaces configuration                    Displays the configuration for all
        [[gigabitethernet|tengigabitethe                 configured interfaces.
        rnet] port-number|port-channel
        LAG-number]


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      Table 10-8. Port Configuration CLI Commands (Continued)

      CLI Command                                           Description
      show interfaces advertise                             Displays the interface’s negotiation
                                                            advertisement settings.
      show interfaces status                                Displays the status for all configured
      [[gigabitethernet|tengigabitethe interfaces.
      rnet] port-number|port-channel
      LAG-number]
      show interfaces description                           Displays the description for all
      [[gigabitethernet|tengigabitethe configured interfaces.
      rnet] port-number|port-channel
      LAG-number]

      The following is an example of the CLI commands:
          console(config)# interface gi2/0/1
          console(config-if)# description "RD SW#3"
          console(config-if)# shutdown
          console(config-if)# no shutdown
          console(config-if)# speed 100
          console(config-if)# duplex full
          console(config-if)# negotiation
          console(config-if)# back-pressure
          console(config-if)# flowcontrol on
          console(config-if)# mdix auto
          console(config-if)# end
          console# show interfaces configuration gi2/0/1
                                                                Flow      Admin       Back     Mdix
          Port      Type          Duplex   Speed   Neg         control    State     Pressure Mode
          -------- ------------ ------     -----   -------- -------         -----   -------- ----
          gi2/0/1   1G-Copper     Full     1000    Enabled     Off          Up      Disabled Auto
          console# show interfaces status gi2/0/1
                                                              Flow Link              Back      Mdix
          Port       Type         Duplex   Speed Neg          ctrl State            Pressure Mode
          -------- ------------ ------     ----- -------- ---- ----------- -------- ----
          gi2/0/1    1G-Copper      --       --        --       --   Down              --       --




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        LAG Configuration
        Use the LAG Configuration pages to configure LAGs. The device supports
        up to 32 LAGs per system, meaning for all units in the stack. For information
        about Link Aggregated Groups (LAGs) and assigning ports to LAGs, see
        "Link Aggregation" on page 500.
        To configure LAGs:
         1 Click Switching > Ports > LAG Configuration in the tree view to display
           the LAG Configuration: Summary page.

        Figure 10-6. LAG Configuration: Summary




             The LAG parameters are displayed.
         2 To configure a LAG, click Edit.
         3 Select the LAG and enter the fields:
             –   LAG Mode — Select the LAG mode. The possible options are:


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              •   Static — The ports comprise a single logical port for high-speed
                  connections between networking devices.
              •   LACP — Link Aggregate Control Protocol. LACP-enabled LAGs
                  can exchange information with other links in order to update and
                  maintain LAG configurations automatically.
          –   Description (0 - 64 Characters) — Enter a user-defined description of
              the configured LAG.
          –   LAG Type — Displays the port types that comprise the LAG.
          –   Admin Status — Enable/disable the selected LAG.
          –   Current Status — Displays the LAG is currently operating.
          –   Admin Speed — Select the configured speed at which the LAG is
              operating. The possible options are:
              •   10M — The LAG is currently operating at 10 Mbps.
              •   100M — The LAG is currently operating at 100 Mbps.
              •   1000M — The LAG is currently operating at 1000 Mbps.
              •   10000 Full— The LAG is currently operating at 1000 Mbps.
          –   Current Speed — Displays the speed at which the LAG is currently
              operating.
          –   Admin Auto Negotiation — Enable/disable auto-negotiation, which is
              a protocol between two link partners that enables a LAG to advertise
              its transmission rate, duplex mode and flow control abilities to its
              partner.
          –   Current Auto Negotiation — Displays the current auto-negotiation
              setting.
          –   Admin Advertisement — If auto-negotiation is enabled, select the
              auto-negotiation setting the LAG advertises. The possible options are:
              •   Max Capability — All LAG speeds and Duplex mode settings are
                  accepted.
              •   10 Full — The LAG advertises for a 10 mbps speed LAG and full
                  duplex mode setting.
              •   100 Full — The LAG advertises for a 100 mbps speed LAG and
                  full duplex mode setting.



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                      •     1000 Full — The LAG advertises for a 1000 mbps speed LAG and
                            full duplex mode setting.
              –       Current Advertisement — Displays the speed that the LAG advertises
                      to its neighbor LAG to start the negotiation process. The possible field
                      values are those specified in the Admin Advertisement field.
              –       Neighbor Advertisement — Displays the neighboring LAG
                      advertisement settings. The field values are identical to the Admin
                      Advertisement field values.
              –       Admin Flow Control — Enable/disable flow control on the LAG.
                      Flow Control mode is effective on the ports operating in Full Duplex
                      in the LAG. The possible options are:
                      •     Enable — Enables flow control on the LAG (default).
                      •     Disable — Disables flow control on the LAG.
                      •     Auto Negotiation — Enables the auto-negotiation of flow control
                            on the LAG.
              –       Current Flow Control — Displays the current Flow Control setting.

        Configuring LAGs Using CLI Commands
        The following table summarizes the CLI commands for configuring LAGs as
        displayed in the LAG Configuration pages.

        Table 10-9.       LAG Configuration CLI Commands

        CLI Command                                        Description
        interface port-channel LAG-                        Enters the interface configuration
        number                                             mode of a specific LAG.
        channel-group port-channel mode Sets a mode for a LAG.
        {on|auto}                       Use the no form of this command
        no channel-group                restore the default configuration.
        description string                                 Adds a description to a LAG.
        no description                                     Use the no form of this command to
                                                           remove the description.




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      Table 10-9. LAG Configuration CLI Commands (Continued)

      CLI Command                                 Description
      shutdown                                    Disables the LAG.
      no shutdown                                 Use the no form of this command to
                                                  restart the LAG.
      speed {10|100|1000|10000}                   Configures the speed of the LAG
      no speed                                    when not using auto negotiation.
                                                  Use the no form of this command to
                                                  restore the default configuration.
      negotiation [capability1                    Enables auto negotiation operation for
      [capability2…capability5]                   the speed and duplex parameters of a
      no negotiation                              LAG.
                                                  Use the no form of this command to
                                                  disable auto-negotiation.
      flowcontrol {auto|on|off}                   Configures the flow control on a given
      no flowcontrol                              LAG.
                                                  Use the no form of this command to
                                                  disable flow control.
      show interfaces configuration               Displays the configuration for the
      [port-channel LAG-number]                   LAGs.
      show interface advertise                    Displays the LAG’s negotiation
                                                  advertisement settings.
      show interfaces status [port-               Displays the status for all configured
      channel LAG-number]                         LAGs.
      show interfaces description                 Displays the description for all
      [port-channel LAG-number]                   configured LAGs.
      show interfaces port-channel                Displays LAG information.
      [LAG-number]




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        The following is an example of the CLI commands:
         console(config)# interface port-channel 1
         console(config-if)# no negotiation
         console(config-if)# speed 100
         console(config-if)# flowcontrol on
         console(config-if)# exit
         console(config)# interface port-channel 2
         console(config-if)# shutdown
         console(config-if)# exit
         console(config-if)# end
         console# show interfaces port-channel
         Channel           Ports
         ---------         ---------
         ch1               Inactive: gi/1/0/(11-13)
         ch2               Active: gi/1/0/14




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      Storm Control
      When Broadcast, Multicast, or Unknown Unicast frames are received, they
      are duplicated, and a copy is sent to all possible egress ports. This means that
      in practice, they are sent to all ports belonging to the relevant VLAN. In this
      way, one ingress frame is turned into many, creating the potential for a storm.
      Storm protection provides the ability to limit the number of frames entering
      the switch, and to define the types of frames that are counted towards this
      limit.
      When a threshold (limit) is configured on the device, the port discards traffic
      when that threshold is reached. The port remains blocked until the traffic rate
      drops below this threshold. It then resumes normal forwarding.
      To configure Storm Control:
          1 Click Switching > Ports > Storm Control in the tree view to display the
            Storm Control: Summary page.

      Figure 10-7. Storm Control




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             Storm control parameters are displayed for all ports on the selected unit.
         2 To configure Storm Control on a port, click Edit.
         3 Select a port from the Port drop-down list and enter the following fields:
             –   Broadcast Control — Enable/disable forwarding Broadcast packets on
                 the specific interface.
             –   Broadcast Mode — Select the counting mode. The possible options
                 are:
                 •    Multicast & Broadcast — Counts Broadcast and Multicast traffic
                      together towards the bandwidth threshold.
                 •    Broadcast Only — Counts only Broadcast traffic towards the
                      bandwidth threshold.
             –   Broadcast Rate Threshold (3500-1000000) — Enter the maximum
                 rate (Kbits/sec) at which unknown packets are forwarded.

        Configuring Storm Control Using CLI Commands
        The following table summarizes the CLI commands for configuring Storm
        Control as displayed on the Storm Control pages.

        Table 10-10. Storm Control CLI Commands

        CLI Command                               Description
        storm-control include-                    Counts Multicast packets in the
        multicast [unknown-unicast]               Broadcast storm control.
        no storm-control include-                 Use the no form of this command to
        multicast                                 disable counting of multicast packets in
                                                  the Broadcast storm control.
        storm-control broadcast enable Enables Broadcast storm control.
        no storm-control broadcast                Use the no form of this command to
        enable                                    disable Broadcast storm control.
        storm-control broadcast level             Configures the maximum Broadcast
        kbps                                      rate.
        no storm-control broadcast                Use the no form of this command to
        level                                     return the Broadcast level to the default
                                                  value.




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      Table 10-10. Storm Control CLI Commands (Continued)

      CLI Command                                 Description
      show ports storm-control port               Displays the storm control
                                                  configuration.

      The following is an example of the CLI commands:
          console(config)# interface gi1/0/1
          console(config-if)# storm-control broadcast enable
          console(config-if)# storm-control include-multicast
          unknown-unicast
          console# show ports storm-control gi1/0/1
          Port      State          Rate [Kbits/Sec]          Included
          -------- --------        ----------------          ---------------------
          gi1/0/1   Disabled       8500                      Broadcast




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        Port Mirroring
        Switches usually only forward frames to relevant ports. To monitor traffic,
        either for information gathering, such as statistical analysis, or for
        troubleshooting higher-layer protocol operation, the Mirroring feature
        forwards frames to a monitoring port.
        Mirroring provides the ability to specify that a desired destination (target)
        port will receive a copy of all traffic passing through designated source ports.
        The frames arriving at the destination port are copies of the frames passing
        through the source port at ingress, prior to any switch action.
        It is possible to specify several source ports to be monitored by a single target
        port. However, in this case, the traffic sent to the target port is placed in the
        target port's queues on a first come, first served basis, and any excess traffic is
        silently discarded. This may mean that the traffic actually seen by any device
        attached to the target port is an arbitrarily selected subset of the actual traffic
        going through the source ports.
        Port mirroring is only relevant to physical ports. Therefore, if you want a LAG
        to function as the source of a port mirroring session, the member ports must
        be individually specified as sources.
        Up to eight sources can be mirrored. This can be any combination of eight
        individual ports.
        Before configuring Port Mirroring, note the following:
         •   Monitored ports cannot operate faster than the monitoring port.
         •   All Rx/Tx packets should be monitored to the same port.

        Destination Port Restrictions
        The following restrictions apply to destination ports:
         •   Destination ports cannot be configured as source ports.
         •   Destination ports cannot be a member of a LAG.
         •   IP interfaces cannot be configured on the destination port.
         •   GVRP cannot be enabled on the destination port.
         •   The destination port cannot be a member of a VLAN.
         •   Only one destination port can be defined.



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          •   All QoS/CoS rules that apply to the destination port, as an egress, such as
              traffic shaping, are suspended for the duration of the mirroring session.
              Any such settings, configured on the port during the mirroring session,
              take effect only after the port is no longer a destination port for a
              mirroring session.
          •   Ingress mirrored packets may arrive at the ingress port either with an
              802.1q tag or without. When the packets are mirrored to a port analyzer,
              they should be transmitted as they are received on the ingress port.
              However, in the device, the packet is transmitted out of the port analyzer
              as always tagged or always untagged (user configurable), regardless of the
              input encapsulation.

      Source Port Restrictions
      The following restrictions apply to ports specified as source ports:
          •   Source ports cannot be a member of a LAG.
          •   Source ports cannot be configured as a destination port.
          •   Up to eight source ports can be mirrored.
              NOTE: When a port is set to be a target port for a port-mirroring session, all normal
              operations on it are suspended. This includes Spanning Tree and LACP. All currently
              active protocols and services on that port are suspended.




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        Port Mirroring
        To specify source and destination ports for port mirroring:
         1 Click Switching > Ports > Port Mirroring in the tree view to display the
           Port Mirroring: Summary page.

        Figure 10-8. Port Mirroring: Summary




             The previously-defined source ports for the selected Destination Port are
             displayed, along with the fields defined in the Add page and their status.
             –   Status — Indicates if the port is currently being monitored (Active) or
                 not being monitored (notReady), because of some problem.
         2 To add a port to be mirrored, click Add, and enter the fields:
             –   Source Port — The port number from which port traffic is copied.
             –   Type — Type of traffic (Tx or Rx or both) to be copied.




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      Configuring Port Mirroring Using CLI Commands
      The following table summarizes the CLI commands for configuring Port
      Mirroring.

      Table 10-11. Port Mirroring CLI Commands

      CLI Command                        Description
      port monitor src-                  Starts a port monitoring session. This must
      interface-id [rx|tx]               be performed in Interface Configuration
      no port monitor src-               mode, which is the destination interface.
      interface-id                       Use the no form of this command to stop a
                                         port monitoring session.
      show ports monitor                 Displays the port monitoring status.

      The following is an example of the CLI commands:
          console(config)# interface gi1/0/1
          console(config-if)# port monitor gi1/0/8
          console# show ports monitor
          Source port Destination Port           Type         Status
          ----------- ----------------           ----         -----------
          gi1/0/1      gi1/0/8                   RX,TX        Active




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                                                                  11
      Address Tables
      This section describes how MAC addresses are handled on the device.
      It contains the following topics:
          •   Overview
          •   Static Addresses
          •   Dynamic Addresses




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        Overview
        MAC addresses, associated with ports, are stored in the Static Address or the
        Dynamic Address tables. Packets, addressed to a destination stored in one of
        these tables, are forwarded to the associated port.
        MAC addresses are dynamically learned when packets arrive at the device.
        Addresses are associated with ports by learning the source address of the
        frame. Frames, addressed to a destination MAC address that is not associated
        with any port, are flooded to all ports of the relevant VLAN. In order to
        prevent the bridging table from overflowing, dynamic MAC addresses, from
        which no traffic is seen for a certain period, are erased.
        Static addresses are manually entered into the table.




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      Static Addresses
      Static addresses are manually assigned to a specific interface and VLAN on
      the switch. If a static address is seen on another interface, the address is
      ignored and it is not written to the address table.
      To define a static address:
          1 Click Switch > Address Tables > Static Address Table in the tree view to
            display the Static Address Table: Summary page.

      Figure 11-1. Static Address Table




             A list of the currently-defined static addresses is displayed.
          2 To add a static address, click Add.
          3 Enter the following fields:
             •   Interface — Select a port or LAG for the entry.
             •   MAC Address — Enter the interface MAC address.
             •   VLAN ID — Check and select the VLAN ID for the port.
                 or
             •   VLAN Name — Check and enter the VLAN name.
             •   Status — Select how the entry in the table will be treated. The
                 possible options are:




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                      •     Permanent — The MAC address is never aged out of the table
                            and, if it is saved to the Startup Configuration, it is retained after
                            rebooting.
                      •     Delete on Reset — The MAC address is deleted when the device
                            is reset.
                      •     Delete on Timeout — The MAC address is deleted when a
                            timeout occurs.
                      •     Secure — The MAC address is secure when the interface is in
                            classic locked mode.
              To prevent Static MAC addresses from being deleted when the Ethernet
              device is reset, ensure that the port attached to the MAC address is locked.

        Configuring Static Addresses Using CLI Commands
        The following table summarizes the CLI commands for configuring static
        address parameters as displayed in the Static Address Table pages.

        Table 11-1.       Static Address CLI Commands

        CLI Command                                             Description
        mac address-table static mac-                           Adds a MAC-layer station source
        address vlan vlan-id interface                          address to the MAC address
        {[gigabitethernet|tengigabitethern                      table.
        et] port-number|port-channel LAG-                       Use the no form of this
        number} [permanent|delete-on-                           command to delete the MAC
        reset|delete-on-timeout|secure]                         address.
        no mac address-table static [mac-
        address] vlan vlan-id
        show mac address-table             Displays entries in the MAC
        [dynamic|static|secure] [vlan      address table.
        vlan]
        [[[gigabitethernet|tengigabitether
        net] port-number|port-channel LAG-
        number]] [address mac-address]




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      The following is an example of the CLI commands:
          console(config-if)#bridge address 00:60:70:4C:73:FF
          permanent gi1/0/8
          console# show mac address-table static
          Aging time is 300 sec
          VLAN     MAC Address                      Port       Type
          ----     ------------------               --------   --------
          1        00:60:70:4C:73:FF                gi1/0/8    static
          1        00:60:70:8C:73:FF                gi1/0/8    static
          200      00:10:0D:48:37:FF                gi1/0/9    static




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        Dynamic Addresses
        The Dynamic Address Table contains the MAC addresses acquired by
        monitoring the source addresses of traffic entering the switch. When the
        destination address for inbound traffic is found in the database, the packets
        intended for that address are forwarded directly to the associated port.
        Otherwise, the traffic is flooded to all ports in the VLAN of the frame.
        To prevent the table from overflowing and to make room for new addresses,
        an address is deleted from the table if no traffic is received from a dynamic
        MAC address for a certain period. This period of time is called the aging
        interval.
        To configure dynamic addresses:
         1 Click Switch > Address Tables > Dynamic MAC Address in the tree view
           to display the Dynamic Address page.

        Figure 11-2. Dynamic Address Table




             The current address table is displayed along with other parameters.
         2 Enter Address Aging (10-630). The aging time is a value between the user-
           configured value and twice that value minus 1. For example, if you entered
           300 seconds, the aging time is between 300 and 599 seconds.


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          3 To clear the table, check Clear Table.
          4 To display a subset of the addresses in a particular order, enter the query
            criteria and sort key under Query By, and click Query. The following fields
            are displayed for entries matching the query criteria:
             –   VLAN ID — VLAN ID in the entry.
             –   MAC Address — Interface MAC address.
             –   Interface — Port or LAG associated with the MAC address.

      Configuring Dynamic Addresses Using CLI Commands
      The following table summarizes the CLI commands for configuring static
      address parameters as displayed in the Dynamic Address Table pages.

      Table 11-2. Dynamic Address CLI Commands

      CLI Command                                       Description
      mac address-table aging-time                      Sets the aging time of the
      seconds                                           address table.
      no mac address-table aging-time                   Use the no form of this
                                                        command to restore the default.
      clear mac address-table dynamic    Removes learned or secure
      [interface                         entries from the forwarding
      [{[gigabitethernet|tengigabitether database.
      net] port-number|port-channel LAG-
      number}} [permanent|delete-on-
      reset|delete-on-timeout|secure]]
      clear mac address-table secure
      interface
      [gigabitethernet|tengigabitetherne
      t] port-number|port-channel LAG-
      number
      show mac address-table             Displays entries in the MAC
      [dynamic|static|secure] [vlan      address table.
      vlan] [interface
      [gigabitethernet|tengigabitetherne
      t] port-number|port-channel LAG-
      number] [address mac-address]




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        The following is an example of the CLI commands:
         console(config)# mac address-table aging-time 600
         console# show mac address-table dynamic

         Aging time is 300 sec

         VLAN      MAC Address                     Port            Type

         ----      ------------------              --------        --------

         1         00:60:70:4C:73:FF               gi1/0/8         dynamic

         1         00:60:70:8C:73:FF               gi1/0/8         dynamic




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                                                                    12
      GARP
      This section describes how to configure Generic Attribute Registration
      Protocol (GARP) on the device.
      It contains the following topics:
          •   GARP Overview
          •   GARP Timers




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        GARP Overview
        Generic Attribute Registration Protocol (GARP) is a general-purpose protocol
        that registers network connectivity or membership-style information. GARP
        defines a set of devices interested in a given network attribute, such as VLAN
        or Multicast address.
        The Generic Attribute Registration Protocol (GARP) provides a generic
        framework whereby devices in a bridged LAN, such as end stations and
        switches, can register and de-register attribute values, such as VLAN
        Identifiers, with each other. In doing so, these attributes are propagated to
        devices in the bridged LAN, and these devices form a reachability tree that is
        a subset of an active topology. GARP defines the architecture, rules of
        operation, state machines and variables for the registration and deregistration
        of attribute values.
        When configuring GARP, ensure the following:
         •   The leave time must be greater than or equal to three times the join time.
         •   The leave-all time must be greater than the leave time.
         •   Set the same GARP timer values on all Layer 2-connected devices. If the
             GARP timers are set differently on the Layer 2-connected devices, GARP
             application does not operate successfully.




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      GARP Timers
      To enable a GARP timer on an interface:
          1 Click Switching > GARP > GARP Timers in the tree view to open the
            GARP Timers: Summary page.

      Figure 12-1. GARP Timers: Summary




             The GARP timers are displayed.
          2 Click Edit.
          3 Select an interface, and enter the fields:
             –   GARP Join Timer (10 - 2147483640) — Enter the time, in
                 milliseconds, during which Protocol Data Units (PDU) are
                 transmitted.
             –   GARP Leave Timer (10 - 2147483640) — Enter the time interval, in
                 milliseconds, which the device waits before leaving its GARP state.
                 Leave time is activated by a Leave All Time message sent/received,
                 and cancelled by the Join message received. Leave time must be
                 greater than or equal to three times the join time.
             –   GARP Leave All Timer (10 - 2147483640) — Enter time interval, in
                 milliseconds, which all devices wait before leaving the GARP state.
                 The leave all time must be greater than the leave time.

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        Defining GARP Timers Using CLI Commands
        This table summarizes the CLI commands for defining GARP timers as
        displayed in the GARP Timers pages.

        Table 12-1.   GARP Timer CLI Commands

        CLI Command                                        Description
        garp timer {join|leave|leaveall}                   Adjusts the GARP application join,
        timer_value                                        leave, and leaveall GARP timer val-
                                                           ues.
        show gvrp configuration           Displays GVRP configuration infor-
        [[gigabitethernet|tengigabitether mation, including timer values,
        net]port-number|vlan vlan-        whether GVRP and dynamic VLAN
        id|port-channel LAG-number]       creation are enabled, and which ports
                                          are running GVRP.

        The following is an example of the CLI commands:
         console(config)# interface gi1/0/1
         console(config-if)# garp timer leave 900
         console(config-if)# end
         console# show gvrp configuration gi1/0/11
         GVRP Feature is currently Disabled on the device.
         Maximum VLANs: 223
         Port(s)      GVRP       Registration   Dynamic VLAN     Timers   (milliseconds)
                      Status                    Creation         Join     Leave     Leave All
         --------     -------    ------------   -----------      ------   -----     ---------

         gi1/0/11     Disabled   Normal         Enabled          200      900       10000




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                                                              13
      Spanning Tree
      This chapter describes the Spanning Tree Protocol.
      It contains the following topics:
          •   Spanning Tree Protocol Overview
          •   Global Settings
          •   STP Port Settings
          •   STP LAG Settings
          •   Rapid Spanning Tree
          •   Multiple Spanning Tree




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        Spanning Tree Protocol Overview
        Spanning Tree Protocol (STP) provides tree topography for any bridge
        arrangement. STP eliminates loops by providing a unique path between end
        stations on a network.
        Loops occur when alternate routes exist between hosts. Loops, in an extended
        network, can cause bridges to forward traffic indefinitely, resulting in packets
        not arriving at their destination, increased traffic, and reduced network
        efficiency.
        The device supports the following Spanning Tree versions:
         •   Classic STP — Provides a single path between end stations, avoiding and
             eliminating loops. For more information on configuring Classic STP, see
             "Global Settings" on page 431.
         •   Rapid STP (RSTP) — Provides faster convergence of the spanning tree
             than Classic STP. RSTP is most effective when the network topology is
             naturally tree-structured, and therefore faster convergence might be
             possible. RSTP is enabled by default.
             Although Classic STP is guaranteed to prevent Layer 2 forwarding loops, in
             a general network topology, there might be an unacceptable delay before
             convergence. This means that before convergence, each bridge or switch in
             the network must decide if it should actively forward traffic or not, on each
             of its ports.
             For more information on configuring Rapid STP, see "Rapid Spanning
             Tree" on page 444.
         •   Multiple STP (MSTP) — MSTP is based on RSTP. It detects Layer 2
             loops, and attempts to mitigate them by preventing the involved port from
             transmitting traffic.
             Since loops exist on a per-Layer 2-domain basis, a situation can occur
             where there is a loop in VLAN A and no loop in VLAN B. If both VLANs
             are on Port X, and STP wants to mitigate the loop, it stops traffic on the
             entire port, including VLAN B traffic, where there is no need to stop
             traffic.
             Multiple Spanning Tree Protocol (MSTP) solves this problem by enabling
             several STP instances, so that it is possible to detect and mitigate loops
             separately in each instance. By associating instances to VLANs, each


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          instance is associated with the Layer 2 domain on which it performs loop
          detection and mitigation. This enables a port to be stopped in one
          instance, such as traffic from VLAN A that is causing a loop, while traffic
          can remain active in another domain where no loop was seen, such as on
          VLAN B.
          MSTP provides full connectivity for packets allocated to any VLAN, and
          transmits packets assigned to various VLANs, through different multiple
          spanning tree (MST) regions.
          MST regions act as a single bridge.
          For more information on configuring Multiple STP, see "Multiple
          Spanning Tree" on page 448.




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        Global Settings
        To enable STP and select the STP mode on the device:
         1 Click Switching > Spanning Tree > Global Settings in the tree view to
           display the Global Settings page.

        Figure 13-1. Global Settings




             The currently-defined settings are displayed.
         2 Enter the fields:
             –    Spanning Tree State — Enable Spanning Tree on the device.
             –    STP Operation Mode — Select the STP mode enabled on the device.
                  The possible options are:
                  •   Classic STP — Enables Classic STP on the device.
                  •   Rapid STP — Enables Rapid STP on the device. This is the
                      default value.
                  •   Multiple STP — Enables Multiple STP on the device.



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          –   BPDU Handling — Select how Bridge Protocol Data Unit (BPDU)
              packets are managed when STP is disabled on the port/device. BPDUs
              are used to transmit spanning tree information. The possible options
              are:
              •   Filtering — Filter BPDU packets when spanning tree is disabled
                  on an interface.
              •   Flooding — Flood BPDU packets when spanning tree is disabled
                  on an interface.
          –   Path Cost Default Values — Select the method used to assign default
              path costs to STP ports. The possible options are:
              •   Short — Specifies 1 through 65,535 range for port path costs.
              •   Long — Specifies 1 through 200,000,000 range for port path
                  costs.
              The default path costs assigned to an interface vary according to the
              selected method:
               Interface        Long Cost             Short Cost
               LAG              20,000                4
               1000 Mbps        20,000                4
               100 Mbps         200,000               19
               10 Mbps          2,000,000             100

          Bridge Settings
          –   Priority (0-61440 in steps of 4096) — Enter the bridge priority value.
              When switches or bridges are running STP, each is assigned a priority.
              After exchanging BPDUs, the device with the lowest priority value
              becomes the Root Bridge. The default value is 32768. The port
              priority value is provided in increments of 4096. For example, 4096,
              8192, 12288, etc.
          –   Hello Time (1-10) — Check to use the device Hello Time, which is
              the interval of time in seconds that a root bridge waits between
              configuration messages. Enter a value.
          –   Max Age (6-40) — Check to use device Maximum Age Time, which is
              the time interval in seconds that a bridge waits before sending
              configuration messages. Enter a value.

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              –       Forward Delay (4-30) — Check to use device forward delay time,
                      which is the interval of time in seconds that a bridge remains in a
                      listening and learning state before forwarding packets. Enter a value.
              Designated Root — Displays the following:
              –       Bridge ID — The bridge priority and MAC address.
              –       Root Bridge ID — The root bridge priority and MAC address.
              –       Root Port — The port number that offers the lowest cost path from
                      this bridge to the Root Bridge. This is significant when the Bridge is
                      not the Root.
              –       Root Path Cost — The cost of the path from this bridge to the root.
              –       Topology Changes Counts — The total amount of STP state changes
                      that have occurred.
              –       Last Topology Change — The amount of time that has elapsed since
                      the bridge was initialized or reset, and the last topographic change
                      occurred.

        Defining STP Global Parameters Using CLI Commands
        The following table summarizes the CLI commands for defining STP global
        parameters as displayed in the Global Settings pages.

        Table 13-1.     STP Global Parameter CLI Commands

        CLI Command                                   Description
        spanning-tree                                 Enables spanning tree functionality.
        no spanning-tree                              Use the no form of this command to
                                                      disable the spanning-tree functionality.
        spanning-tree mode                            Configures the mode of the spanning tree
        {stp|rstp|mstp}                               protocol.
        no spanning-tree mode                         Use the no form of this command to
                                                      restore the default configuration.
        spanning-tree bpdu            Defines BPDU handling when the
        {filtering|flooding|bridging} spanning tree is disabled globally or on a
        no spanning-tree bpdu         single interface.
                                                      Use the no form of this command to
                                                      restore the default configuration.


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      Table 13-1. STP Global Parameter CLI Commands (Continued)

      CLI Command                              Description
      spanning-tree pathcost method Sets the default path cost method.
      {long|short}                  Use the no form of this command to return
      no spanning-tree pathcost     to the default configuration.
      method
      spanning-tree priority                   Configures the spanning tree priority.
      priority                                 Use the no form of this command to
      no spanning-tree priority                restore the default device spanning-tree
                                               priority.
      spanning-tree hello-time                 Configures the spanning tree bridge Hello
      seconds                                  Time, which is how often the device
      no spanning-tree hello-time              Broadcasts Hello messages to other
                                               devices.
                                               Use the no form of this command to
                                               restore the default configuration.
      spanning-tree max-age seconds Configures the spanning tree bridge
      no spanning-tree max-age      maximum age.
      seconds                                  Use the no form of this command to
                                               restore the default configuration
      spanning-tree forward-time    Configures the spanning tree bridge
      seconds                       forward time, which is the amount of time
      no spanning-tree forward-time a port remains in the listening and learning
                                    states before entering the forwarding state.
                                               Use the no form of this command to
                                               restore the default configuration.
      show spanning-tree            Displays spanning tree configuration.
      [[gigabitethernet|tengigabite
      thernet] port-number|port-
      channel LAG-number] [instance
      instance-id]
      show spanning-tree [detail]              Displays detailed spanning tree
      [active|blockedports]                    information on active or blocked ports.
      [instance instance-id]
      show spanning-tree mst-                  Displays spanning tree MST configuration
      configuration                            identifier.


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        The following is an example of the CLI commands:
        console(config)# spanning-tree
        console(config)# spanning-tree mode rstp
        console(config)# spanning-tree priority 12288
        console(config)# spanning-tree hello-time 5
        console(config)# spanning-tree max-age 12
        console(config)# spanning-tree forward-time 25
        console(config)# exit




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      STP Port Settings
      To   assign STP properties to individual ports:
          1 Click Switching > Spanning Tree > STP Port Settings in the tree view to
            display the STP Port Settings: Summary page.
      Figure 13-2. STP Port Settings: Summary




             The ports and their STP settings are displayed.
          2 To modify STP settings on a port, click Edit.
          3 Select the port, and enter the fields:
             –   STP — Enable/disable STP on the port.
             –   Fast Link — Check to enable Fast Link mode for the port. If this is
                 enabled, the Port State is automatically placed in the Forwarding state
                 when the port is up. Fast Link mode optimizes the time it takes for the
                 STP protocol to converge. STP convergence can take 30-60 seconds in
                 large networks.

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            –   BPDU Guard — Check to enable BPDU Guard on the port.
            –   Root Guard — Check to prevent devices outside the network core
                from being assigned the spanning tree root.
            –   Port State — Displays the current STP state of a port. If the port state
                is not disabled, it determines what forwarding action is taken on
                traffic. The possible port states are:
                •   Disabled — STP is currently disabled on the port. The port
                    forwards traffic while learning MAC addresses.
                •   Blocking — The port is currently blocked and cannot be used to
                    forward traffic or learn MAC addresses. Blocking is displayed
                    when Classic STP is enabled.
                •   Listening — The port is currently in the listening mode. The port
                    cannot forward traffic nor can it learn MAC addresses.
                •   Learning — The port is currently in the learning mode. The port
                    cannot forward traffic, however it can learn new MAC addresses.
                •   Forwarding — The port is currently in the forwarding mode. The
                    port can forward traffic and learn new MAC addresses.
            –   Role — Displays the port role assigned by the STP algorithm that
                provides STP paths. The possible options are:
                •   Root — This port provides the lowest cost path to forward packets
                    to root switch.
                •   Designated — This port is the interface through which the bridge
                    is connected to the LAN, which provides the lowest cost path
                    from the LAN to the Root Bridge.
                •   Alternate — This port provides an alternate LAG to the root
                    switch from the root interface.
                •   Backup — This port provides a backup path to the designated
                    port. Backup ports occur only when two ports are connected in a
                    loop by a point-to-point link. Backup ports also occur when a LAN
                    has two or more connections connected to a shared segment.
                •   Disabled — This port is not participating in the Spanning Tree.




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           –   Speed — Displays the speed at which the port is operating.
           –   Path Cost (1-200000000) — Enter the port contribution to the root
               path cost. The path cost is adjusted to a higher or lower value, and is
               used to forward traffic when a path being rerouted.
           –   Default Path Cost — Check to use the default path cost.
           –   Priority — Select the priority value that influences the port choice
               when a bridge has two ports connected in a loop. The priority value is
               provided in increments of 16.
           –   Designated Bridge ID — Displays the bridge priority and the MAC
               address of the designated bridge.
           –   Designated Port ID — Displays the designated port’s priority and
               interface.
           –   Designated Cost — Displays the cost of the port participating in the
               STP topology. Ports with a lower cost are less likely to be blocked if
               STP detects loops.
           –   Forward Transitions — Displays the number of times the port has
               changed from the Forwarding state to Blocking.
           –   LAG — Displays the LAG to which the port is attached.

      Defining STP Port Settings Using CLI Commands
      The following table summarizes the CLI commands for defining STP port
      parameters as displayed in the STP Port Settings page.

      Table 13-2. STP Port Settings CLI Commands

      CLI Command                                  Description
      spanning-tree disable                        Disables spanning tree on a specific
      no spanning-tree disable                     port.
                                                   Use the no form of this command to
                                                   enable the spanning tree on a port.
      spanning-tree cost cost                      Configures the spanning tree cost
      no spanning-tree cost                        contribution of a port
                                                   Use the no form of this command to
                                                   restore the default configuration.




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        Table 13-2.   STP Port Settings CLI Commands (Continued)

        CLI Command                                    Description
        spanning-tree port-priority                    Configures port priority.
        priority                                       Use the no form of this command to
        no spanning-tree port-priority                 restore the default configuration.
        show spanning-tree              Displays spanning tree configuration.
        [[gigabitethernet|tengigabiteth
        ernet] port-number|port-channel
        LAG-number][instance instance-
        id]
        spanning-tree portfast                         Enables Fast Link mode.
        no spanning-tree portfast                      Use the no form of this command to
                                                       disable the PortFast mode.
        spanning-tree bpduguard                        Shuts down an interface when it
        {enable|disable}                               receives a bridge protocol data unit
        no spanning-tree bpduguard                     (BPDU).
                                                       Use the no form of this command to
                                                       restore the default configuration.
        spanning-tree guard root                       Enables root guard on all spanning tree
                                                       instances on the interface.
        show spanning-tree [detail]                    Displays detailed spanning tree
        [active|blockedports] [instance                information on active or blocked ports.
        instance-id]




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      The following is an example of the CLI commands:
          console> enable
          console# configure
          console(config)# interface gi1/0/1
          console(config-if)# spanning-tree enable
          console(config-if)# spanning-tree cost 35000
          console(config-if)# spanning-tree port-priority 96
          console(config-if)# spanning-tree portfast
          console(config-if)# exit
          console(config)# exit
          console# show spanning-tree gi1/0/15 instance 12
          Port gi1/0/15 enabled
          State: discarding                          Role: alternate
          Port ID: 128.15                            Port cost: 19
          Type: P2p (configured: Auto) Internal Port Fast: No
          (configured: No)
          Designated bridge Priority :               Address:
          32768                                      00:00:b0:07:07:49
          Designated port ID: 128.11                 Designated path cost: 0
          Guard root: Disabled
          Number of transitions to forwarding state: 3
          BPDU: sent 482, received 1035




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        STP LAG Settings
        To assign STP parameters to LAGs:
         1 Click Switching > Spanning Tree > LAG Settings in the tree view to
           display the STP LAG Settings: Summary page.

        Figure 13-3. STP LAG Settings: Summary




             The LAGs and their STP settings are displayed.
         2 To modify STP settings on a LAG, click Edit.
         3 Select a LAG from the Select a LAG drop-down menu.
         4 Enter the fields.
             –   STP — Enable/disable STP on the LAG.
             –   Fast Link — Check to enable Fast Link mode for the LAG. If Fast
                 Link mode is enabled for a LAG, the LAG State is automatically
                 placed in Forwarding when the LAG is up. Fast Link mode optimizes
                 the time it takes for the STP protocol to converge. STP convergence
                 can take from 30-60 seconds in large networks.
             –   BPDU Guard — Check to enable BPDU Guard on the LAG.
             –   Root Guard — Check to prevent devices outside the network core
                 from being assigned the spanning tree root.


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          –   LAG State — Displays the current STP state of the LAG. If enabled,
              the LAG state determines what forwarding action is taken on traffic. If
              the bridge discovers a malfunctioning LAG, the LAG is placed in the
              Broken state. Possible LAG states are:
              •   Disabled — STP is currently disabled on the LAG. The LAG
                  forwards traffic while learning MAC addresses.
              •   Blocking — The LAG is blocked and cannot be used to forward
                  traffic or learn MAC addresses.
              •   RSTP Discarding State — The LAG does not learn MAC
                  addresses and does not forward frames. This state is union of
                  Blocking and Listening state introduced in STP (802.1.D).
              •   Listening — The LAG is in the listening mode, and cannot
                  forward traffic or learn MAC addresses.
              •   Learning — The LAG is in the learning mode, and cannot
                  forward traffic, but it can learn new MAC addresses.
              •   Forwarding — The LAG is currently in the forwarding mode, and
                  it can forward traffic and learn new MAC addresses.
              •   Broken — The LAG is currently malfunctioning, and cannot be
                  used for forwarding traffic.
          –   Role — Displays the LAG role assigned by the STP algorithm that
              provides STP paths. The possible options are:
              •   Root — This LAG provides the lowest cost path to forward
                  packets to root switch.
              •   Designated — This LAG is the interface through which the
                  bridge is connected to the LAN, which provides the lowest cost
                  path from the LAN to the Root Bridge.
              •   Alternate — This LAG provides an alternate LAG to the root
                  switch from the root interface.
              •   Backup — This LAG provides a backup path to the designated
                  port. Backup ports occur only when two ports are connected in a
                  loop by a point-to-point link. Backup ports also occur when a LAN
                  has two or more connections connected to a shared segment.
              •   Disabled — This LAG is not participating in the Spanning Tree.



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            –   Path Cost (1-200000000) — Enter the amount the LAG contributes
                to the root path cost. The path cost is adjusted to a higher or lower
                value, and is used to forward traffic when a path is being rerouted.
                The path cost has a value of 1 to 200000000.
            –   Default Path Cost — Check for the device to use the default path
                cost.
            –   Priority — Select the priority value of the LAG. The priority value
                influences the LAG choice when a bridge has looped ports. The
                priority value is given in steps of 16.
            –   Designated Bridge ID — Displays the priority and the MAC address
                of the designated bridge.
            –   Designated Port ID — Displays the ID of the selected interface.
            –   Designated Cost — Displays the cost of the port participating in the
                STP topology. Ports with a lower cost are less likely to be blocked if
                STP detects loops.
            –   Forward Transitions — Displays the number of times the LAG State
                has changed from the Forwarding state to a Blocking state.

        Defining STP LAG Settings Using CLI Commands
        For information about CLI commands for defining STP LAG settings, see
        Table 15-2.
        The following is an example of the CLI commands:
         console(config)# interface port-channel 1
         console(config-if)# spanning-tree disable
         console(config-if)# spanning-tree cost 35000
         console(config-if)# spanning-tree port-priority 96
         console(config-if)# spanning-tree portfast




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      Rapid Spanning Tree
      While classic spanning tree prevents Layer 2 forwarding loops on a general
      network topology, convergence can take from 30 to 60 seconds. This delay
      provides time to detect possible loops, and propagate status changes.
      Rapid Spanning Tree Protocol (RSTP) detects and uses network topologies
      that enable a faster convergence of the spanning tree, without creating
      forwarding loops.
      To configure RSTP:
          1 Click Switching > Spanning Tree > Rapid Spanning Tree in the tree view
            to display the Rapid Spanning Tree: Summary page.

      Figure 13-4. Rapid Spanning Tree: Summary




          2 To modify RSTP settings on an interface, click Edit and enter the fields:
             –   Interface — Select a port or LAG.
             –   State — Displays the RSTP state of the selected interface.

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         –   Role — Displays the port role assigned by the STP algorithm in order
             to provide STP paths. The possible options are:
             •   Root — This port provides the lowest cost path to forward packets
                 to root switch.
             •   Designated — This port is the interface through which the bridge
                 is connected to the LAN, which provides the lowest cost path
                 from the LAN to the Root Bridge.
             •   Alternate — This port provides an alternate LAG to the root
                 switch from the root interface.
             •   Backup — This port provides a backup path to the designated
                 port. Backup ports occur only when two ports are connected in a
                 loop by a point-to-point link. Backup ports also occur when a LAN
                 has two or more connections connected to a shared segment.
             •   Disabled — This port is not participating in the Spanning Tree.
         –   Mode — Displays if RSTP is enabled.
         –   Fast Link Operational Status — Displays if Fast Link is enabled or
             disabled for the port or LAG. If Fast Link is enabled for an interface,
             the interface is automatically placed in the forwarding state. The
             possible options are:
             •   Enable — Fast Link is enabled.
             •   Disable — Fast Link is disabled.
             •   Auto — Fast Link mode is enabled a few seconds after the
                 interface becomes active.
         –   Point-to-Point Admin Status — Select if a point-to-point links is
             established, or permits the device to establish a point-to-point link.
             The possible options are:
             •   Enable — Enables the device to establish a point-to-point link, or
                 specifies for the device to automatically establish a point-to-point
                 link. To establish communications over a point-to-point link, the
                 originating PPP first sends Link Control Protocol (LCP) packets
                 to configure and test the data link. After a link is established and
                 optional facilities are negotiated as needed by the LCP, the
                 originating PPP sends Network Control Protocols (NCP) packets
                 to select and configure one or more network layer protocols.
                 When each of the chosen network layer protocols has been

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                    configured, packets from each network layer protocol can be sent
                    over the link. The link remains configured for communications
                    until explicit LCP or NCP packets close the link, or until some
                    external event occurs. This is the actual switch port link type. It
                    may differ from the administrative state.
               •    Disable — Disables point-to-point link.
               •    Auto — The device automatically establishes a point-to-point
                    link.
           –   Point-to-Point Operational Status — Displays the Point-to-Point
               operating state.
           –   Active Protocol Migration Test — Check to run a Protocol Migration
               test. This discovers whether the link partner using STP still exists, and
               if so whether it has migrated to RSTP or MSTP. If it still exists as an
               STP link, the device continues to communicate with it by using STP.
               Otherwise, if it has been migrated to RSTP or MSTP, the device
               communicates with it using RSTP or MSTP, respectively.

      Defining Rapid STP Parameters Using CLI Commands
      The following table summarizes the CLI commands for defining Rapid STP
      parameters as displayed in the Rapid Spanning Tree pages.

      Table 13-3. Rapid STP Parameters CLI Command

      CLI Command                                  Description
      spanning-tree link-type {point-              Overrides the default link-type setting
      to-point|shared}                             determined by the port duplex mode,
      no spanning-tree spanning-tree               and enables RSTP transitions to the
      link-type                                    forwarding state.
                                                   Use the no form of this command to
                                                   restore the default configuration.
      clear spanning-tree detected-                Restarts the protocol migration
      protocols interface                          process.
      [[gigabitethernet|tengigabiteth
      ernet] port-number|port-channel
      LAG-number]




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      Table 13-3. Rapid STP Parameters CLI Command (Continued)

      CLI Command                                 Description
      show spanning-tree                          Displays spanning tree configuration.
      [[gigabitethernet|tengigabiteth
      ernet] port-number|port-channel
      LAG-number]

      The following is an example of the CLI commands:

       console(config)# interface gi1/0/5
       console(config-if)# spanning-tree link-type shared




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      Multiple Spanning Tree
      This section describes Multiple Spanning Tree Protocol (MSTP).
      It contains the following topics:
          •   MSTP Overview
          •   MSTP Properties
          •   VLAN to MSTP Instance
          •   MSTP Instance Settings
          •   MSTP Interface Settings




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      MSTP Overview
      MSTP maps VLANs into STP instances, using various load balancing
      scenarios. As a result of this partitioning into instances, if port A is blocked in
      one STP instance, the same port can be placed in the Forwarding State in
      another STP instance.
      In addition, packets assigned to various VLANs are transmitted along
      different paths within Multiple Spanning Trees Regions (MST Regions).
      Regions are one or more Multiple Spanning Tree bridges by which frames can
      be transmitted.

      MSTP Properties
      To set an MSTP region:
       1 Click Switching > Spanning Tree > MSTP Settings in the tree view to
         display the MSTP Properties: Summary page.

      Figure 13-5. MSTP Properties: Summary




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          2 Enter the following fields:
             –   Region Name (1-32 Characters) — Enter the user-defined MSTP
                 region name.
             –   Revision (0-65535) — Enter the unsigned 16-bit number that
                 identifies the current MST configuration revision. The revision
                 number is required as part of the MST configuration.
             –   Max Hops (1-40) — Enter the total number of hops that occur in a
                 specific region before the BPDU is discarded. Once the BPDU is
                 discarded, the port information is aged out.
             –   IST Master — Displays the Internal Spanning Tree Master ID. The
                 IST Master is the instance 0 root.

      Configuring MST Properties Using CLI Commands
      The following table summarizes the CLI commands for configuring MST
      properties in the MSTP Properties pages.

      Table 13-4. MSTP Properties CLI Commands

      CLI Command                            Description
      spanning-tree mst                      Enters MST Configuration mode.
      configuration
      spanning-tree mst max-hops             Configures the number of hops in an MST
      hop-count                              region before the BDPU is discarded and the
      no spanning-tree mst max-              port information is aged out (in Global
      hops                                   Configuration mode).
                                             Use the no form of this command to restore
                                             the default configuration.
      name string                            Sets the MSTP region name.
      no name                                Use the no form of this command to restore
                                             the default setting.
      revision value                         Defines the MST configuration revision
      no revision                            number.
                                             Use the no form of this command to restore
                                             the default configuration.
      exit                                   Exits the MST region configuration mode
                                             after applying configuration changes.


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      Table 13-4. MSTP Properties CLI Commands (Continued)

      CLI Command                          Description
      show {current|pending}               Displays the current or pending MST region
                                           configuration.
      show spanning tree mst-              Displays the MSTP configuration.
      configuration

      The following is an example of the CLI commands:

       console(config)# spanning-tree mst configuration
       console(config-mst)# instance 1 add vlan 10-20
       console(config-mst)# name region1
       console(config-mst)# revision 1
       console(config)# interface gi1/0/1
       console(config-if)# spanning-tree mst 1 port-priority 144
       console(config)# spanning-tree mst max-hops 10
       console(config)# spanning-tree mst configuration
       console(config-mst)# instance 2 add vlan 21-30
       console(config-mst)# name region1
       console(config-mst)# revision 1
       console(config-mst)# show pending
       Pending MST configuration
       Name: Region1
       Revision: 1
       Instance VLANs Mapped
       -------- ------------
       0            1-9,31-4094
       1            10-20
       2            21-30




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      VLAN to MSTP Instance
      To map VLANs to MSTP instances:
          1 Click Switching > Spanning Tree > VLAN to MSTP Instance in the tree
            view to display the VLAN to MSTP Instance: Summary page.

      Figure 13-6. VLAN to MSTP Instance: Summary




             The MSTP instances and their associated VLANs are displayed.
          2 To associate a VLAN with an MSTP instance, click Edit.
          3 Select the MSTP instance, the VLAN and whether to add or remove the
            VLAN from the MSTP instance association.
          4 Enter the fields:
             –   Select MST Instance ID — Select an MST instance.
             –   VLANs — Enter the VLANs being mapped to this instance.
             –   Action — Select the mapping action. The possible options are:


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               •    Add —Add these VLANS to the MST instance.
               •    Remove —Remove these VLANS from the MST instance.

      Mapping VLAN to MSTP Instances Using CLI Commands
      The following table summarizes the CLI commands for mapping VLANs to
      MSTP instances.

      Table 13-5. Mapping VLAN to MSTP Instances Using CLI Commands

      CLI Command                         Description
      spanning-tree mst                   Enters MST Configuration mode.
      configuration
      instance instance-id vlan           Maps VLANs to an MST instance.
      vlan-range                          Use the no form of this command to restore
      no instance instance-id             default mapping.
      vlan vlan-range
      show spanning-tree detail           Displays the spanning-tree configuration

      The following is an example of the CLI commands:

       console(config)# spanning-tree mst configuration
       console(config-mst)# instance 1 vlan 10-20




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      MSTP Instance Settings
      To configure MSTP instances:
          1 Click Switching > Spanning Tree > MSTP Instance Settings in the tree
            view to display the MSTP Instance Settings page.

      Figure 13-7. MSTP Instance Settings




             The MSTP instances and their associated VLANs are displayed.
          2 Select an Instance ID.
          3 Enter the Bridge Priority (0-61440) of this bridge for the selected MSTP
            instance.
          4 The following fields are displayed:
             –   Included VLANs — Displays VLANs included in this instance.
             –   Designated Root Bridge ID — Priority and MAC address of the Root
                 Bridge for the MST instance.


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           –   Root Port — Root port of the selected instance.
           –   Root Path Cost — Root path cost of the selected instance.
           –   Bridge ID — Bridge priority and the MAC address of this switch for
               the selected instance.
           –   Remaining Hops — Number of hops remaining to the next
               destination.

      Configuring MSTP Instances Using CLI Commands
      The following table summarizes the CLI commands for configuring the fields
      in the MSTP Instance pages.

      Table 13-6. Configuring MSTP Instances CLI Commands

      CLI Command                      Description
      spanning-tree mst                Enters MST Configuration mode.
      configuration
      spanning-tree mst                Configures the device priority for the specified
      instance-id priority             spanning-tree instance.
      priority                         Use the no form of this command to restore
      no spanning-tree mst             the default configuration.
      instance-id priority
      show spanning-tree               Displays the spanning-tree configuration
      detail

      The following is an example of the CLI commands:
       console(config)# spanning-tree mst configuration
       console(config-mst)# spanning-tree mst 1 priority 4096




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      MSTP Interface Settings
      To assign interfaces to MSTP instances:
          1 Click Switching > Spanning Tree > MSTP Interface Settings in the tree
            view to display the MSTP Interface Settings: Summary page.

      Figure 13-8. MSTP Interface Settings: Summary




             MSTP interface settings for the selected instance is displayed.
          2 To set MSTP settings for an interface, click Edit.
          3 Select an instance, and enter the fields:
             –   Interface ID — Assign either ports or LAGs to the selected MSTP
                 instance.
             –   Port State — Displays whether the port is enabled or disabled in the
                 specific instance.
             –   Type — Displays whether MSTP treats the port as a point-to-point
                 port, or a port connected to a hub, and whether the port is internal to
                 the MST region or a boundary port. A Master port provides
                 connectivity from a MSTP region to the outlying CIST root. A




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             Boundary port attaches MST bridges to LAN in an outlying region. If
             the port is a boundary port, it also indicates whether the device on the
             other side of the link is working in RSTP or STP mode.
         –   Role — Displays the port role assigned by the STP algorithm in order
             to provide to STP paths. The possible options are:
             •   Root — This port provides the lowest cost path to forward packets
                 to root switch.
             •   Designated — This port is the interface through which the bridge
                 is connected to the LAN, which provides the lowest cost path
                 from the LAN to the Root Bridge.
             •   Alternate — This port provides an alternate LAG to the root
                 switch from the root interface.
             •   Backup — This port provides a backup path to the designated
                 port. Backup ports occur only when two ports are connected in a
                 loop by a point-to-point link. Backup ports also occur when a LAN
                 has two or more connections connected to a shared segment.
             •   Disabled — This port is not participating in the Spanning Tree.
         –   Interface Priority — Enter the interface priority for specified instance.
         –   Path Cost (1-200,000,000) — Enter the port contribution to the
             Spanning Tree instance. If a loop occurs, the spanning tree considers
             path cost when selecting an interface to put in the Forwarding state.
         –   Default Path Cost — Check to use the default path cost.
         –   Designated Bridge ID — Displays the bridge ID number that
             connects the link or shared LAN to the root.
         –   Designated Port ID — Displays the Port ID number on the
             designated bridge that connects the link or the shared LAN to the
             root.
         –   Designated Cost — Displays the cost of the path from the link or the
             shared LAN to the root.
         –   Forward Transitions — Displays the number of times the port
             changed to the forwarding state.
         –   Remain Hops — Displays the number of hops remaining to the next
             destination.



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      Defining MSTP Interfaces Using CLI Commands
      The following table summarizes the CLI commands for defining MSTP
      interfaces as displayed in the MSTP Interfaces pages.

      Table 13-7. MSTP Interface CLI Commands

      CLI Command                       Description
      spanning-tree mst                 Sets the path cost of the port for MST
      instance-id cost cost             calculations (in Interface Configuration
      no spanning-tree mst              mode).
      instance-id cost                  Use the no form of this command to restore
                                        the default configuration.
      spanning-tree mst                 Configures the device priority for the specified
      instance-id port-                 spanning-tree instance (in Interface
      priority priority                 Configuration mode).
                                        Use the no form of this command to restore
                                        the default configuration.
      show spanning-tree mst-           Displays the MST configuration.
      configuration

      The following is an example of the CLI commands:

          console(config)# interface gi1/0/9
          console(config-if)# spanning-tree mst 1 cost 4




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                                                                         14
        VLANs
        This chapter describes how VLANs are configured on the device.
        It contains the following topics:
         •   Virtual LAN Overview
         •   VLAN Membership
         •   Port Settings
         •   LAGs Settings
         •   Protocol Groups
         •   Protocol Port
         •   GVRP Parameters
         •   Private VLAN
         •   Voice VLAN




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      Virtual LAN Overview
      A VLAN is a switched network that is logically segmented on an
      organizational basis, by functions, project teams, or applications rather than
      on a physical or geographical basis. For example, all workstations and servers
      used by a particular workgroup team can be connected to the same VLAN,
      regardless of their physical connections to the network, or the fact that they
      might be intermingled with other teams. Reconfiguration of the network can
      be done through software rather than by physically unplugging and moving
      devices or wires.
      A VLAN can be thought of as a Broadcast domain that exists within a defined
      set of switches. A VLAN consists of a number of end systems, either hosts or
      network equipment (such as bridges and routers), connected by a single
      bridging domain. The bridging domain is supported on various pieces of
      network equipment; for example, LAN switches that operate bridging
      protocols between them with a separate bridge group for each VLAN.
      VLANs are created to provide the segmentation services traditionally
      provided by routers in LAN configurations. VLANs address scalability,
      security, and network management. Routers in VLAN topologies provide
      broadcast filtering, security, address summarization, and traffic flow
      management.
      None of the switches, within a defined group, will bridge any frames, not even
      broadcast frames, between two VLANs.




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        Frame Flow
        Figure 16-1 describes the flow of VLAN frames from the Ingress port to the
        Egress port:

        Figure 14-1. Frame Flow Through a VLAN

                               Ingress                       Progress            Egress
         Received                                                                            T ransmitted
           Frame                                                                             Frame
                        VLAN             Ingress            Forwarding            Egress
                    Classification       Filtering           Decision            Filtering




                                                             Filtering
                                                             Database




        When a frame is received, it must be assigned a VLAN. VLAN assignment is
        accomplished by the following steps:
         1 If the frame contains a VLAN tag, that tag is used, otherwise the frame is
           classified by the port's default VLAN (PVID), if it is defined.
         2 After classification, the frame may pass (if enabled) through ingress
           filtering, where the frame is dropped if the frame's VLAN ID is not one of
           the VLANs to which the ingress port belongs.
         3 A forwarding decision is made, as a function of the VLAN ID and the
           destination MAC address.
         4 The egress rules define whether the frame is to be sent as tagged or
           untagged.

        Special-case VLANs
        VLAN#1 and VLAN#4095 are special-case VLANs:
         •    VLAN1 — Defined as the default VLAN, and may only be used as a Ports
              Default VLAN ID (PVID). This means that if the VLAN, whose VID is the
              current port's PVID, is deleted from the port (or from the system), that
              port's PVID is set to 1. VLAN#1 cannot be deleted from the system.
         •    VLAN #4095 — Defined (according to standard and industry practice) as
              the "discard" VLAN. A frame classified to this VLAN is silently dropped.



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      QinQ Tagging
      QinQ tagging enables you to add an additional tag to previously-tagged
      packets. The added tag provides a VLAN ID to each customer, which ensures
      private and segregated network traffic. The VLAN ID tag is assigned to a
      customer port in the service provider network. The designated port then
      provides additional services to the packets with the double-tags. This enables
      administrators to expand service to VLAN users.

      Port Modes
      Ports participating in Layer 2 switching may be classified as:
          •   Access Ports
              Ports set to Access mode belong to a single VLAN, whose VID is the
              currently set PVID (default =1). These ports accept all untagged frames,
              and all frames tagged with the VID, currently set as the port's PVID. All
              traffic is sent untagged. If the VLAN, whose VID is set as the current PVID
              of the port, is deleted from the system, or deleted from the port, the port's
              PVID will be set to 1, meaning that the port will be made a member of
              VLAN#1, the default VLAN.
              Ingress filtering is always enabled for ports in Access mode.
              Setting an Access port’s PVID to 4095 effectively shuts it down, as no
              frames will be transferred in either direction.
              Access mode ports are intended to connect end-stations to the system,
              especially when the end-stations are incapable of generating VLAN tags.
          •   Trunk Ports
              Ports set to Trunk mode may belong to multiple VLANs. The default
              VLAN membership of a trunk port is all VLANs (1-4094). A PVID must be
              set on the port (it can be a non-existing VLAN). Trunk ports accept tagged
              and untagged frames. Untagged frames will be classified to the VLAN
              whose VLAN ID (VID) is configured as the port’s PVID.
              Frames, sent from the port in the VLAN, whose VID is the current PVID,
              are sent untagged. Frames sent in all other VLANs active on the port are
              sent tagged.




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             Ingress filtering is always enabled on Trunk-mode ports. Incoming frames
             will undergo ingress filtering, and if correctly tagged, (tagged with a VID of
             one of the VLANs to which the port currently belongs) are admitted.
             The default PVID is 1 (the default VLAN). If another VID is configured as
             the port’s PVID, and the corresponding VLAN is deleted from the port or
             from the system, the port’s PVID reverts to 1, meaning that the port is
             made a member of the default VLAN.
             Setting a trunk-port’s PVID to 4095 limits traffic to tagged frames.
             Incoming untagged frames are silently discarded, and no frames are sent
             untagged.
             Trunk-mode ports are intended for switch-to-switch links, where traffic is
             usually tagged.
         •   General Ports
             Ports set to General mode may be members of multiple VLANs. Each of
             these VLANs may be configured to be tagged or untagged. This setting
             applies to transmitted frames. Incoming untagged frames are classified
             into the VLAN whose VID is the currently configured PVID.
             Ingress filtering may be disabled on General ports. Ingress filtering is
             enabled by default.
         •   Promiscuous Ports
             A promiscuous port can communicate with all ports of the same Private
             VLAN (PVLAN), including the isolated ports of the same PVLAN.
         •   Isolated
             An isolated port has complete Layer 2 isolation from the other ports within
             the same PVLAN, but not from the promiscuous ports. Isolated ports can
             communicate with promiscuous ports.
        In the factory default configuration, all ports are designated as Access ports,
        and are associated with the default VLAN.




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      Acceptable Frame Type
      The acceptable frame type can be set on a port to accept all frames (tagged
      and untagged), tagged only, or untagged only. This setting takes precedence
      over all other settings, so that if the acceptable frame type is tagged only,
      incoming untagged frames are silently discarded, even if the port has a valid
      PVID.




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        VLAN Membership
        The device supports up to 2-4094 VLANs.
        Ports are assigned to a VLAN in the Port Settings pages.
        To view the ports in a VLAN, and assign various parameters:
         1 Click Switching > VLAN > VLAN Membership in the tree view to
           display the VLAN Membership: Summary page.

        Figure 14-2. VLAN Membership: Summary




             The ports in the selected unit/VLAN are displayed along with their
             statuses.
             Each port/LAG is labeled with one of the following codes, regarding its
             membership in the VLAN:




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             –   T — Tagged. The interface is a member of a VLAN. All packets
                 forwarded by the interface are tagged. The packets contain VLAN
                 information.
             –   U — Untagged. The interface is a member of a VLAN. Packets
                 forwarded by the interface are untagged.
             –   F — Forbidden. The interface is denied membership to a VLAN.
             –   Blank — The interface is not a VLAN member. Packets associated
                 with the interface are not forwarded.
          2 Enter the fields:
             –   Show VLAN — Check one of the possible options:
                 •   VLAN ID — Check VLAN ID, and select a VLAN ID to view.
                 •   VLAN Name — Check VLAN Name, and select a VLAN ID to
                     view.
             –   VLAN Name (0-32 Characters) — Enter a new VLAN name.
             –   Status — The VLAN type. Possible values are:
                 •   Dynamic — The VLAN was dynamically created through GVRP.
                 •   Static — The VLAN is user-defined.
             –   Authentication Not Required — Enable/disable authentication on
                 the VLAN.
          3 To define a new VLAN, click ADD, and enter the fields. The fields in this
            page are described above.

      Defining VLAN Membership Using CLI Commands
      The following table summarizes the CLI commands for defining VLAN
      membership as displayed in the VLAN Membership pages.

      Table 14-1. VLAN Membership CLI Commands

      CLI Command                                 Description
      vlan database                               Enters the VLAN configuration mode.




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        Table 14-1.   VLAN Membership CLI Commands (Continued)

        CLI Command                                 Description
        vlan {vlan-range}[name vlan-                Creates a VLAN.
        name]                                       Use the no form of this command to
        no vlan vlan-range                          restore the default configuration or
                                                    delete a VLAN.
        name string                                 Adds a name to a VLAN.
        dot1x auth-not-req                          Enables unauthorized devices access to
        no dot1x auth-not-req                       the VLAN.
                                                    Use the no form of this command to
                                                    disable access to the VLAN.

        The following is an example of the CLI commands:
         console(config)# vlan database
         console(config-vlan)# vlan 1972
         console(config-vlan)# end
         console(config)# interface vlan 1972
         console(config-if)# name Marketing
         console(config-vlan)# dot1x auth-not-req
         console(config-if)# end




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      Port Settings
      After a VLAN has been defined, assign ports to it.
      To assign a VLAN to untagged packets, arriving on the device, enter the port
      default VLAN ID (PVID). All untagged packets arriving to the device are
      tagged by the ports PVID.
      All ports must have a defined PVID. If no other value is configured, the
      default VLAN PVID is used. VLAN ID #1 is the default VLAN, and cannot
      be deleted from the system.
      To configure ports on a VLAN:
          1 Click Switching > VLAN > Port Settings in the tree view to display the
            Port Settings: Summary page.

      Figure 14-3. Port Settings: Summary




             All interfaces on the selected unit and their settings are displayed.
          2 To modify the port settings, click Edit, and enter the fields:
             –   Interface — Enter the unit/port number to be modified.
             –   Switchport Mode — Select whether the port is in Layer 2 or Layer 3.
                 If the port is in Layer 2, enter the parameters described below,
                 otherwise the fields are not relevant.



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            –   Port VLAN Mode — Enter the port VLAN mode. The possible
                options are:
                •   General — The port belongs to VLANs, and each VLAN is
                    user-defined as tagged or untagged (full 802.1Q mode).
                •   Access — The port belongs to a single untagged VLAN. When a
                    port is in Access mode, the packet types that are accepted on the
                    port cannot be designated. Ingress filtering cannot be
                    enabled/disabled on an access port.
                •   Trunk — The port belongs to VLANs on which all ports are tagged
                    (except for one port that can be untagged).
                •   Customer — When a port is in Customer mode, an added tag
                    provides a VLAN ID to each customer, ensuring private and
                    segregated network traffic for that customer.
                •   Private VLAN Promiscuous — The port is a promiscuous port.
                •   Private VLAN Host — The port is an isolated port
            –   Current Reserved VLAN — Displays the VLAN currently designated
                by the system as the reserved VLAN.
            –   Reserve VLAN for Internal Use (1-4094) — Check to enter a reserved
                VLAN, and enter its ID. If none is required, check None.
            –   PVID (1-4095) — Enter a VLAN ID to be added to untagged packets.
                The possible values are 1-4095. VLAN 4095 is defined according to
                standard and industry practice as the discard VLAN. Packets classified
                to the discard VLAN are dropped.
            –   VLAN List (I - Inactive Configuration) — Enter the VLAN(s) to
                which this port belongs, and indicate its type. The possible options are:
                •   T — Tagged. The port is a member of a VLAN. All packets
                    forwarded by the LAG are tagged. The packets contain VLAN
                    information.
                •   U — Untagged. The port is a member of a VLAN. Packets
                    forwarded by the LAG are untagged.
                •   F — Forbidden. The port is denied membership to a VLAN.
                Click Add to move the port to the VLAN list together with its type.




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           –   Frame Type — Select the packet type accepted on the port. The
               possible options are:
               •    Admit All — Both tagged and untagged packets are accepted on
                    the port.
               •    Admit Tagged Only — Only tagged packets are accepted on the
                    port.
               •    Admit Untagged Only — Only untagged packets are accepted on
                    the port.
           –   Ingress Filtering — Enable/disable ingress filtering, which discards
               packets that are destined to VLANs of which the specific port is not a
               member.
           –   Native VLAN ID(1-4094) — Enter VLAN used for untagged traffic to
               trunk ports.
           –   Multicast VLAN ID(1-4094) — Enter VLAN used for Multicast TV
               VLAN traffic on access ports.
           –   Customer VLAN ID(1-4094) — Enter VLAN used for customer
               ports.

      Assigning Ports to VLAN Groups Using CLI Commands
      The following table summarizes the CLI commands for assigning ports to
      VLAN groups.

      Table 14-2. Port-to-VLAN Group Assignments CLI Commands

      CLI Command                                     Description
      switchport general acceptable-                  Configures ingress filtering based
      frame-type {tagged-only|untagged-               on packet type tagged/untagged.
      only|all}                                       Use the no form of this command
      no switchport general acceptable-               to return to default.
      frame-type
      switchport mode                                 Configures the VLAN
      {access|trunk|general}                          membership mode of a port.




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        Table 14-2.   Port-to-VLAN Group Assignments CLI Commands (Continued)

        CLI Command                                       Description
        switchport access vlan {vlan-                     Configures the VLAN ID when
        id|none}                                          the interface is in access mode.
        no switchport access vlan                         Use the no form of this command
                                                          to restore the default
                                                          configuration.
        switchport trunk allowed vlan                     Sets the trunk characteristics
        {all|none|add vlan-list|remove                    when the interface is in Trunking
        vlan-list|except vlan-list}                       mode.
        no switchport trunk allowed vlan                  Use the no form of this command
                                                          to reset a trunking characteristic
                                                          to the default.
        switchport trunk native vlan {vlan- Defines the native VLAN when
        id|none}                            the interface is in trunk mode.
        no switchport trunk native vlan                   Use the no form of this command
                                                          to restore the default
                                                          configuration.
        switchport general allowed vlan                   Sets the general characteristics
        {add|remove} vlan-list                            when the interface is in general
        [tagged|untagged]                                 mode.
        no switchport general allowed vlan                Use the no form of this command
                                                          to reset a general characteristic to
                                                          the default.
        switchport general pvid vlan-id                   Configures the PVID when the
        no switchport general pvid                        interface is in general mode.
                                                          Use the no form of this command
                                                          to restore the default
                                                          configuration.
        switchport customer vlan vlan-id                  Sets the port's VLAN when the
        no switchport customer vlan                       interface is in customer mode.
                                                          Use the no form of this command
                                                          to restore the default
                                                          configuration.




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      Table 14-2. Port-to-VLAN Group Assignments CLI Commands (Continued)

      CLI Command                                     Description
      switchport mode                                 Configure the VLAN membership
      {access|trunk|general|private-vlan              mode of a port.
      {promiscuous|host}|customer}                    Use the no form of this command
      no switchport mode                              to restore the default
                                                      configuration.




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        The following is an example of the CLI commands:
         console(config)# vlan database
         console(config-vlan)# vlan 23-25
         console(config-vlan)# end
         console(config)# interface vlan 23
         console(config-if)# name Marketing
         console(config-if)# end
         console(config)# interface gi1/0/8
         console(config-if)# switchport mode access
         console(config-if)# switchport access vlan 23
         console(config-if)# end
         console(config)# interface gi1/0/9
         console(config-if)# switchport mode trunk
         console(config-if)# switchport mode trunk allowed vlan add
         23-25
         console(config-if)# end
         console(config)# interface gi1/0/11
         console(config-if)# switchport mode general
         console(config-if)# switchport general allowed vlan add
         23,25 tagged
         console(config-if)# switchport general pvid 25




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      LAGs Settings
      VLANs can either be composed of individual ports or of LAGs. Untagged
      packets entering the device are tagged with the LAGs ID specified by the
      PVID.
      To configure LAGS on a VLAN:
          1 Click Switching > VLAN > LAG Settings in the tree view to display the
            VLAN LAG Settings page.

      Figure 14-4. VLAN LAG Settings




             All LAGs and their settings are displayed.
          2 To modify the LAG settings, click Edit, and enter the fields:
             –   LAG — Select the LAG to be modified.
             –   Switchport Mode — Select whether the LAG is in Layer 2 or Layer 3.
                 If the LAG is in Layer 2, enter the parameters described below,
                 otherwise the fields are not relevant.

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            –   Port VLAN Mode — Enter the port VLAN mode. The possible
                options are:
                •   General — The port belongs to VLANs, and each VLAN is
                    user-defined as tagged or untagged (full 802.1Q mode).
                •   Access — The port belongs to a single untagged VLAN. When a
                    port is in Access mode, the packet types that are accepted on the
                    port cannot be designated. Ingress filtering cannot be
                    enabled/disabled on an access port.
                •   Trunk — The port belongs to VLANs on which all ports are tagged
                    (except for one port that can be untagged).
                •   Customer — When a port is in Customer mode, an added tag
                    provides a VLAN ID to each customer, ensuring private and
                    segregated network traffic for that customer.
                •   Private VLAN Promiscuous — The port is a promiscuous port.
                •   Private VLAN Host — The port is an isolated port
            –   Current Reserved VLAN — Displays the VLAN currently designated
                as the reserved VLAN.
            –   Reserve VLAN for Internal Use (1-4094) — Enter the VLAN that is
                designated as the reserved VLAN after the device is reset, or select
                None.
            –   PVID (1-4095) — Assigns a VLAN ID to untagged packets. The possible
                VLAN IDs are 1-4095. VLAN 4095 is defined as per standard and
                industry practice, as the discard VLAN. Packets classified to this
                VLAN are dropped.
            –   VLAN List (I - Inactive Configuration) — Enter the VLAN(s) to
                which this LAG belongs, and indicate its type. The possible options are:
                •   T — Tagged. The LAG is a member of a VLAN. All packets
                    forwarded by the LAG are tagged. The packets contain VLAN
                    information.
                •   U — Untagged. The LAG is a member of a VLAN. Packets
                    forwarded by the LAG are untagged.
                •   F — Forbidden. The LAG is denied membership to a VLAN.
                Click Add to move the LAG to the VLAN list together with its type.



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          –   Frame Type — Packet type accepted by the LAG. The possible options
              are:
              •    Admit All — Tagged and untagged packets are both accepted by
                   the LAG.
              •    Admit Tag Only — Only tagged packets are accepted by the LAG.
              •    Admit Untagged Only — Only untagged packets are accepted on
                   the LAG.
          –   Ingress Filtering — Enable/disable Ingress filtering by the LAG.
              Ingress filtering discards packets that are destined to VLANs of which
              the specific LAG is not a member.
          –   Native VLAN ID (1-4094) — Enter VLAN used for untagged traffic
              to trunk ports, or select None.
          –   Multicast VLAN ID (1-4094) — Enter VLAN used for Multicast TV
              VLAN traffic on access ports, or select None.
          –   Customer VLAN ID (1-4094) — Enter VLAN used for customer
              ports, or select None.

      Assigning LAGs to VLAN Groups Using CLI Commands
      Refer to Table 16-2 for a list of the LAG to VLAN CLI commands.




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        Protocol Groups
        Protocol groups are based on protocol-based VLANs.

        Protocol-based VLANs
        Untagged frames received on a VLAN-aware switch can be classified by
        methods others than source port, such as data-link-layer protocol
        identification. This classification method is referred to as protocol-based
        VLANs.
        Protocol-based VLANs are useful for isolating Layer 2 traffic of various Layer
        3 protocols. If, for example, a switch serves IP stations and IPX stations that
        communicate with a single VLAN-unaware server, without using
        protocol-based VLANs, all the Layer 2 Broadcast traffic would reach all the
        stations. With protocol-based VLANs, the switch can forward incoming
        traffic from the server to stations in a specific VLAN only.
        Protocol-based VLANs are only available on General ports.
        Classification rules are set on a per-port basis, and may be sensitive to the
        frame's encapsulation. The default encapsulation assumed is Ethernet.
        On each port, a user can define associations between groups of data-link layer
        protocols and ports. For each group/port combination, the user may set the
        VLAN to which frames incoming on that port will be classified if they belong
        to any of the protocols in the group.
        Several protocol-groups may be associated to a single port, and a protocol
        group may be assigned to multiple ports, if so desired.
        It is not guaranteed that the VLAN to which the frame is classified exists in
        the system, or is active on that port.

        Restrictions
        The following frames (packet) types are supported: Ethernet, RFC 1042, and
        LLC Other.
        There may be dependencies between protocols and encapsulations, and
        specifying one protocol may automatically add additional protocols to the
        protocol-group, such as specifying IP implies ARP and vice-versa.




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      Similarly, there may be implied dependencies between encapsulations, so that
      specifying an encapsulation implies defining the protocol group for related
      encapsulations. An example of this is specifying the Ethernet encapsulation,
      even by default, implies IEEE802 encapsulation, as per RFC 1042.
      The following standards are relevant:
          •   IEEE802.1V defines VLAN assignment by protocol type.
          •   IETF RFC 10-2 defines a standard for the transmission of IP datagrams
              over IEEE 802 Networks

      Defining Protocol Groups
      Define protocol groups in two steps:
          1 Define a protocol group by assigning one or more protocols to the group
            and giving it a protocol-group ID (any integer), using the Protocol Group
            pages.
          2 Associate the group with a desired VLAN classification, per port, using the
            Protocol Port pages.




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      To define a protocol group:
       1 Click Switching > VLAN > Protocol Group in the tree view to display
         the Protocol Group: Summary page.

      Figure 14-5. Protocol Group: Summary




           The currently-defined protocol groups are displayed.
       2 To add a new protocol group, click Add, and enter the fields:
           –   Frame Type — Select a frame type to be accepted in the protocol
               group.
           –   Protocol Value — Select a protocol name.
               or
           –   Ethernet-Based Protocol Value (0600 - FFFF) — Enter the Ethernet
               protocol group type.
           –   Protocol Group ID — Assign a protocol group ID number.


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      Defining VLAN Protocol Groups Using CLI Commands
      The following table summarizes the CLI commands for defining VLAN
      Protocol groups.

      Table 14-3. VLAN Protocol Groups CLI Commands

      CLI Command                            Description
      map protocol protocol                  Maps a protocol to a protocol group.
      [encapsulation] protocols-             Protocol groups are used for protocol-
      group group                            based VLAN assignment.
      no map protocol protocol               Use the no form of this command to
      [encapsulation]                        delete a protocol from a group.

      The following is a sample of the CLI commands:
          console (config)# vlan database
          console (config-vlan)# map protocol ip protocols-group 213




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      Protocol Port
      A protocol port is a port assigned to a particular protocol group. Traffic from
      particular types of frames may be assigned to a protocol group, which has a
      port and VLAN associated with it.
      To add an interface to a protocol group:
       1 Click Switching > VLAN > Protocol Port in the tree view to display the
         Protocol Port: Summary page.

      Figure 14-6. Protocol Port: Summary




           A list of previously-defined protocol groups is displayed.
       2 To assign an interface to a protocol group, click Add, and enter the fields:
           –   Interface — Port or LAG number to be added to a protocol group.
           –   Group ID — Select a protocol group ID to which the interface is
               added.


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                Protocol ports can either be attached to a VLAN ID or a VLAN name.
            –   VLAN ID (1- 4094) —Check and enter a VLAN ID.
                or
            –   VLAN Name — Check and enter a VLAN name.

      Defining Protocol Ports Using CLI Commands
      The following table summarizes the CLI command for defining protocol
      ports.

      Table 14-4. Protocol Port CLI Commands

      CLI Command                               Description
      switchport general map                    Sets a protocol-based classification rule.
      protocols-group group vlan                Use the no form of this command to
      vlan-id                                   delete a classification.
      no switchport general map
      protocols-group group

      The following is a sample of the CLI commands:
          console (config-if)# switchport general map protocols-
          group 1 vlan 8




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      GVRP Parameters
      GARP VLAN Registration Protocol (GVRP) is provided for automatic
      distribution of VLAN membership information among VLAN-aware bridges.
      GVRP enables VLAN-aware bridges to automatically learn VLANs-to-bridge-
      ports mapping, without having to individually configure each bridge and
      register VLAN membership.
      To ensure the correct operation of the GVRP protocol, it is advised to set the
      maximum number of GVRP VLANs equal to a value which significantly
      exceeds:
           –   The number of all static VLANs both currently configured and
               expected to be configured.
           –   The number of all dynamic VLANs participating in GVRP, both
               currently configured (initial number of dynamic GVRP VLANs is 128)
               and expected to be configured.
      To set GVRP parameters:
       1 Click Switching > VLAN > GVRP Parameters in the tree view to display
         the GVRP Parameters: Summary page.

      Figure 14-7. GVRP Global Parameters




       2 Enable/disable GVRP on the device in the GVRP Global Status field.



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          3 Check Unit ID and select a unit ID to view ports on the unit, or select
            LAGs to view the LAGs in the system.
          4 To set GVRP for an interface, click Edit, and enter the fields:
             –   Interface — Specifies port or LAG for editing GVRP settings.
             –   GVRP State — Enable/disable GVRP on the interface.
             –   Dynamic VLAN Creation — Enable/disable Dynamic VLAN creation
                 on the interface.
             –   GVRP Registration — Enable/disable VLAN registration through
                 GVRP on the interface.

      Configuring GVRP Using CLI Commands
      The following table summarizes the CLI commands for configuring GVRP as
      displayed in the GVRP Global Parameters page.

      Table 14-5. GVRP Global Parameters CLI Commands

      CLI Command                                 Description
      gvrp enable                                 In Global Configuration mode, this
      no gvrp enable                              command enables GVRP globally. In
                                                  Interface Configuration mode, it
                                                  enables GVRP on the interface.
                                                  Use the no form of this command to
                                                  disable GVRP on the device.
      gvrp vlan-creation-forbid                   Enables or disables dynamic VLAN
      no gvrp vlan-creation-forbid                creation.
                                                  Use the no form of this command to
                                                  enable dynamic VLAN creation or
                                                  modification.
      gvrp registration-forbid                    De-registers all dynamic VLANs, and
      no gvrp registration-forbid                 prevents dynamic VLAN registration on
                                                  the port.
                                                  Use the no form of this command to
                                                  allow dynamic registration of VLANs on
                                                  a port.




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      Table 14-5. GVRP Global Parameters CLI Commands (Continued)

      CLI Command                              Description
      show gvrp configuration                  Displays GVRP configuration
      [[gigabitethernet|tengigabitet information, including timer values,
      hernet] port-number|port-      whether GVRP and dynamic VLAN
      channel LAG-number]            creation is enabled, and which ports are
                                               running GVRP.
      show gvrp error-statistics     Displays GVRP error statistics.
      [[gigabitethernet|tengigabitet
      hernet] port-number|port-
      channel LAG-number]
      show gvrp statistics           Displays GVRP statistics.
      [[gigabitethernet|tengigabitet
      hernet] port-number|port-
      channel LAG-number]
      clear gvrp statistics                    Clears all the GVRP statistics
      [[gigabitethernet|tengigabitet information.
      hernet] port-number|port-
      channel LAG-number]




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          console(config)# gvrp enable
          console(config)# interface gi1/0/1
          console(config-if)# gvrp enable
          console(config-if)# gvrp vlan-creation-forbid
          console(config-if)# gvrp registration-forbid
          console(config-if)# end
          console# show gvrp configuration
          GVRP Feature is currently Disabled on the device.
          Maximum VLANs: 4094
          Port(s)    GVRP-Status Registration Dynamic VLAN Timers(milliseconds)
                                               Creation         Join   Leave      Leave All
          -------- ----------- ------------ ------------ ----          -----      --------
          gi1/0/1    Disabled    Normal        Enabled           200    600        10000
          gi1/0/2    Disabled    Normal        Enabled           200    600        10000
          gi1/0/3    Disabled    Normal        Enabled           200    600        10000
          gi1/0/4    Disabled    Normal        Enabled           200    600        10000
          gi1/0/5    Disabled    Normal        Enabled           200    600        10000
          gi1/0/6    Disabled    Normal        Enabled           200    600        10000
          gi1/0/7    Disabled    Normal        Enabled           200    600        10000
          gi1/0/8    Disabled    Normal        Enabled           200    600        10000
          gi1/0/9    Disabled    Normal        Enabled           200    600        10000




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      Private VLAN
      Private VLANs (PVLANs) provide Layer 2 isolation between ports that share
      the same Broadcast domain, or in other words, they create a
      point-to-multipoint Broadcast domain. The ports can be located anywhere in
      the Layer 2 network, as opposed to protected ports which must be in the same
      stack.
      The switch ports can be members of a Private VLAN (PVLAN) in the
      following membership types:
       •   Promiscuous ports that can communicate with all ports of the same
           PVLAN, including the isolated ports of the same PVLAN.
       •   Isolated ports that have complete Layer 2-isolation from the other ports
           within the same PVLAN, but not from the promiscuous ports. Isolated
           ports can communicate with promiscuous ports.
      The PVLAN entity is implemented by allocating the following VLANs per PVLAN:
       •   Primary VLAN: Carries traffic from promiscuous ports.
       •   Isolated VLAN: Carries traffic from isolated ports.




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      To configure PVLANs:
          1 Click Switching > VLAN > Private VLAN in the tree view to display the
            Private VLAN: Summary page.

      Figure 14-8. Private VLAN: Summary




             The previously-defined private VLANs are displayed.
          2 To query by Associated Primary VLAN ID, check that field, enter a VLAN
            ID, and click Query. The associated VLANs are displayed.
          3 To define a private VLAN, click Assign, and enter the fields:
             –   Private VLAN ID — Select a VLAN to be assigned.
             –   Private VLAN Type — Select one of the possible options:
                 •    Primary — Traffic from promiscuous ports flow through this type
                      of VLAN. This is for the internet or shared servers.
                 •    Isolated —Traffic from isolated ports flow through this type of
                      VLAN.

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           –   Associate Primary VLAN — If the Private VLAN type is Isolated,
               check to associate the isolated VLAN with a primary VLAN, thus
               allowing traffic between isolated and promiscuous ports.
           –   Primary VLAN ID — Select a VLAN to be associated with the
               isolated VLAN.
       4 To assign ports to the private VLAN, click Membership.
       5 Select a Primary VLAN ID.
       6 Select a Isolated VLAN ID.
       7 Select the ports to be assigned to each VLAN, and assign each port/LAG a
         port type in the Admin row of ports/LAGs. The possible options are:
           –   H - Host (Isolated) — Port is isolated.
           –   P - Promiscuous — Port is promiscuous.
           –   C - Conditional (operational state depends on Port VLAN Mode) —
               Port receives the Port VLAN type set in the VLAN Port Settings page.
           See "Port Modes" on page 462 for a description of the various port modes.

      Configuring Private VLAN Using CLI Commands
      The following table summarizes the CLI commands for configuring private
      VLANs.

      Table 14-6. Private VLAN CLI Commands

      CLI Command                              Description
      private-vlan                             Configures a private VLAN.
      {primary|isolated}                       Use the no form of this command to
      no private-vlan                          return the VLAN to normal VLAN
                                               configuration.
      private-vlan association                 Configures the association between the
      [add|remove] secondary-vlan-             primary VLAN and the secondary
      list                                     VLANs.
      no private-vlan association              Use the no form of this command to
                                               remove the association.




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      Table 14-6. Private VLAN CLI Commands (Continued)

      CLI Command                               Description
      switchport private-vlan                   Configures the VLANs of the private-
      mapping primary-vlan-id                   vlan promiscuous port.
      [add|remove] secondary-vlan-              Use the no form of this command to
      list                                      reset to default
      no switchport private-vlan
      mapping
      switchport private-vlan host-             Configures the VLANs of the private-
      association primary-vlan-id               vlan host port.
      secondary-vlan-id                         Use the no form of this command to
      no switchport private-vlan                reset to default.
      host-association
      show vlan private-vlan [tag               Displays private VLAN information.
      vlan-id]

      The following is an example of the CLI commands:
          console# show vlan private-vlan
          Primary     Secondary       Type             Ports
          --------    ---------       ----------       ---------------------
          20                          Primary          gi1/0/1-2
          20          201             Isolated         gi1/0/1-8
          20          202             Isolated       gi1/0/1-2 gi1/09-18
          20          203             Isolated       gi1/0/1-2 gi1/0/19-21
          30                          Primary          gi1/0/22
          30          301             Isolated         gi1/0/22-28
          30          302             Isolated       gi1/0/22, gi1/0/29-38
          30          303             Isolated       gi1/0/22, gi1/0/39-41




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      Voice VLAN
      The Voice VLAN feature enables you to enhance VoIP service by configuring
      ports to carry IP-voice traffic from IP phones on a specific VLAN. This VLAN
      is configured with a QoS profile that ensures high voice quality.
      Equipment, such as VOIP phones, transmits IP traffic with a pre-configured
      Organizational Unique Identifier (OUI) prefix in the source MAC address.
      This enables the switch to dynamically identify ports connected to the VoIP
      equipment and automatically add these ports to the Voice VLAN.
      IP phones use one of the following modes, both of which are supported by the
      device:
       •   Use only tagged packets for all communications.
       •   Initially use untagged packets while retrieving the initial IP address
           through DHCP. Then the phone uses the Voice VLAN and starts sending
           tagged VoIP packets.
      Non-VoIP traffic is dropped from the Voice VLAN when the device is in Auto
      Voice VLAN secured mode.
      The Voice VLAN feature also provides QoS actions to VoIP, ensuring that the
      quality of voice does not deteriorate if the IP traffic is received unevenly.
      To summarize, when Voice VLAN is enabled and configured, and VoIP
      equipment is connected to one of the switch ports, the VoIP traffic triggers
      the switch’s Voice VLAN feature to add this port to the Voice VLAN (a VLAN
      that usually carries only voice traffic), and to assign traffic from this port a
      specific QoS profile, ensuring high voice quality.
      The device supports a single voice VLAN.




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      Properties
      To set voice VLAN parameters that apply to the voice VLAN on the device:
          1 Click Switching > VLAN > Voice VLAN > Properties in the tree view to
            display the Properties page.

      Figure 14-9. Properties




          2 Enter the fields:
             –   Voice VLAN State — Select Enable to use the Voice VLAN feature on
                 the device.
             –   Voice VLAN ID — Select the VLAN that is to be the voice VLAN.
             –   Class of Service — Select to add a CoS level to untagged packets,
                 received on the voice VLAN. The possible values are 0 to 7, where 7 is
                 the highest priority. 0 is used as a best-effort, and is invoked
                 automatically when no other value has been set.
             –   Remark CoS — Displays whether the Remark CoS is enabled.


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           –   Voice VLAN Aging Time — Enter the interval of time after which the
               port exits the voice VLAN, if no voice packets are received.
               The aging time starts after the MAC address is aged out from the
               Dynamic MAC Address table. The default time is 300 sec. For more
               information on defining MAC address age out time, see "Dynamic
               Addresses" on page 421.

      Defining Voice VLAN Properties Using CLI Commands
      The following table summarizes the CLI command for defining voice VLAN
      properties.

      Table 14-7. Voice VLAN Properties CLI Commands

      CLI Command                            Description
      voice vlan enable                      Enables automatic voice VLAN
      no voice vlan enable                   configuration for a port.
                                             Use the no form of this command to
                                             disable automatic voice VLAN
                                             configuration.
      voice vlan id vlan-id                  Enables the voice VLAN and configures
      no voice vlan id                       the voice VLAN ID in Global
                                             Configuration mode.
                                             Use the no form of this command to
                                             disable voice VLAN.
      voice vlan cos cos-queue               Sets the voice VLAN Class of Service
      [remark]                               (CoS) queue.
      no voice vlan cos                      Use the no form of this command to
                                             restore the default configuration.
      voice vlan aging-timeout               Sets the voice VLAN aging timeout in
      minutes                                Global Configuration mode.
      no voice aging-timeout                 Use the no form of this command to
                                             return to default.
      show voice vlan               Use the show voice vlan EXEC command
      [[gigabitethernet|tengigabite to display the voice VLAN status.
      thernet] port-number|port-
      channel LAG-number]



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      The following is an example of some of the CLI commands:
          console# show
          voice vlan
                               1440 minutes
          Aging timeout:
          OUI table


          MAC Address -        Description
          Prefix
          00:E0:BB             3COM
          00:03:6B             Cisco
          00:E0:75             Veritel
          00:D0:1E             Pingtel
          00:01:E3             Siemens
          00:60:B9             NEC/Philips
          00:0F:E2             Huawei-3COM
          00:09:6E             Avaya
          Voice VLAN VLAN
          ID: 8
          CoS: 6
          Remark: Yes
          Interface            Enabled           Secure     Activated
          ---------            --------          ------     ---------
          gi1/0/1              Yes               Yes        Yes
          gi1/0/2              Yes               Yes        Yes
          gi1/0/3              Yes               Yes        Yes
          gi1/0/4              Yes               Yes        Yes




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      Port Setting
      To configure voice VLAN ports properties:
       1 Click Switching > VLAN > Voice VLAN > Port Setting in the tree view
         to display the Port Setting: Summary page.

      Figure 14-10. Voice VLAN Port Setting




           A list of the ports and their voice VLAN settings is displayed.
       2 To modify the voice VLAN settings for an interface, click Edit, and enter
         the fields:
           –    Interface — Enter the specific port or LAG to which the Voice VLAN
                settings are applied.
           –    Voice VLAN Mode — Select the Voice VLAN mode. The possible
                options are:




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               •    None — Disables the selected port/LAG on the Voice VLAN. This
                    is the default.
               •    Static — Statically adds the port to the Voice VLAN. This is
                    usually done for VoIP uplink ports that connect the device to VoIP
                    PBX, for example.
               •    Auto — Indicates that if traffic with an IP phone MAC address is
                    transmitted on the port/LAG, the port/LAG joins the Voice
                    VLAN. The port/LAG is aged out of the voice VLAN if the IP
                    phone’s MAC address (with an OUI prefix) is aged out. If the
                    MAC address of the IP phones OUI was added manually to a
                    port/LAG in the voice VLAN, the user cannot add it to the Voice
                    VLAN in Auto mode, only in Static mode.
           –   Voice VLAN Security — Enable/disable security on the interface.
               Security ensures that packets arriving with an unrecognized OUI are
               dropped (for example data packets).

      Defining Voice VLAN Port Settings Using CLI Commands
      The following table summarizes the CLI command for defining Voice VLAN
      port settings.

      Table 14-8. Voice VLAN Port Settings CLI Commands

      CLI Command                         Description
      voice vlan enable                   Enables automatic voice VLAN
      no voice vlan enable                configuration on a port.
                                          Use the no form of this command to disable
                                          automatic voice VLAN configuration on a
                                          port.
      voice vlan secure                   Configures secure mode for the voice VLAN.
      no voice vlan secure                Use the no form of this command to disable
                                          secure mode.




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      The following is an example of the CLI commands:
       console(config)# interface gi1/0/1
       console(config-if)# voice vlan enable
       console(config-if)# voice vlan secure
       console(config-if)#

      OUI
      Organizationally Unique Identifiers (OUIs) are a 24-bit numbers assigned by
      the Institute of Electrical and Electronics Engineers, Incorporated (IEEE)
      Registration Authority to equipment manufacturers.
      Up to 128 OUIs can be stored on the switch. Nine specific OUIs of popular
      VoIP phones manufacturers are stored by default.
      Traffic from each type of IP phone contains the OUI for the phone
      manufacturer. When frames are received, in which the source MAC address’s
      first three octets match one of the OUIs in the OUI list, the port on which
      they are received is automatically assigned to the Voice VLAN.




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      To view existing OUIs, and add new OUIs:
          1 Click Switching > VLAN > Voice VLAN > OUI in the tree view to
            display the OUI Summary.

      Figure 14-11. OUI: Summary




             The previously-defined OUIs are displayed.
          2 To add a new OUI, click Add, and enter the fields:
             –   Telephony OUI — Enter a new OUI.
             –   Description — Enter an OUI description up to 32 characters.




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      Defining Voice VLAN OUIs Using CLI Commands
      The following table summarizes the CLI command for defining Voice VLAN
      OUIs.

      Table 14-9. Voice VLAN OUIs CLI Commands

      CLI Command                       Description
      voice vlan oui-table {add Configures the voice OUI table.
      mac-address-prefix|remove Use the no form of this command to restore
      mac-address-prefix}       the default configuration.
      [text]
      no voice vlan oui-table

      The following is an example of the CLI commands:
       console(config)# voice vlan oui-table add 00:E0:BB
       console(config)#




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                                                              15
      Link Aggregation
      This section describes link aggregation of ports.
      It contains the following topics:
          •   Link Aggregation Overview
          •   LACP Parameters
          •   LAG Membership




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        Link Aggregation Overview
        Link Aggregation optimizes port usage by linking a group of ports together to
        form a single LAG (aggregated group). Aggregating ports multiplies the
        bandwidth between the devices, increases port flexibility, and provides link
        redundancy.
        The device supports the following types of LAGs:
         •   Static LAGs — Manually-configured LAGs.
         •   Link Aggregation Control Protocol (LACP) LAGs — LACP LAGs
             negotiate aggregating a port’s links with other LACP ports located on a
             different device. If the other device ports are also LACP ports, the devices
             establishes a LAG between them.
        When you aggregate ports, the ports and LAG must fulfill the following
        conditions:
         •   All ports within a LAG must be the same media type.
         •   A VLAN is not configured on the port.
         •   The port is not assigned to another LAG.
         •   Auto-negotiation mode is not configured on the port.
         •   The port is in full-duplex mode.
         •   All ports in the LAG have the same ingress filtering and tagged modes.
         •   All ports in the LAG have the same back pressure and flow control modes.
         •   All ports in the LAG have the same priority.
         •   All ports in the LAG have the same transceiver type.
         •   The device supports up to 32 LAGs, and eight ports in each LAG.
         •   Ports can be configured as LACP ports only if the ports are not part of a
             previously configured LAG.




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      Ports added to a LAG lose their individual port configuration. When ports are
      removed from the LAG, the original port configuration is applied to the ports.
      The device uses a hash function to assign packets to a LAG member. The
      hash function statistically load-balances the aggregated link members. The
      device considers an Aggregated Link to be a single logical port.
      Aggregate ports can be linked into link-aggregation port-groups. Each group
      comprises ports with the same speed, set to full-duplex operations.
      Ports in a LAG can contain different media types if the ports are operating at
      the same speed. Aggregated links can be manually or automatically
      configured by enabling LACP on the relevant links.




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        LACP Parameters
        To define LACP LAGs, configure LACP global and port parameters, such as
        LACP system priority, timeout, and port priority.
        With all factors equal, when the LAG is configured with more candidate ports
        than the maximum number of active ports allowed, the switch activates the
        highest priority candidate ports from the dynamic LAG.
        To set LACP parameters:
         1 Click Switching > Link Aggregation > LACP Parameters in the tree
           view to display the LACP Parameters page.

        Figure 15-1. LACP Parameters




             The LACP parameters for all ports are displayed.
         2 Enter the global LACP System Priority (1-65535) value that determines
           which candidate ports will become members of the LAG.
             The page displays the LACP settings of the ports on the selected unit.
         3 To modify LACP parameters for a particular port, click Edit, and enter the
           following fields:
             –   Port — Select the port for which timeout and priority values are
                 assigned.



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           –   LACP Port Priority (1-65535) — Enter the LACP priority value for
               the port.
           –   LACP Timeout — Select the rate of periodic transmissions of LACP
               PDUs. The possible options are:
               •    Long — Slow transmission rate
               •    Short — Fast transmission rate

      Configuring LACP Parameters Using CLI Commands
      The following table summarizes the CLI commands for configuring LACP
      parameters as displayed in the LACP Parameters page.

      Table 15-1. LACP Parameters CLI Commands

      CLI Command                                    Description
      lacp system-priority value                     Configures the system priority.
      lacp port-priority value                       Configures the priority value for
                                                     physical ports.
      lacp timeout{long|short}                       Assigns an administrative LACP
                                                     timeout.
      show lacp                        Displays LACP information for
      [gigabitethernet|tengigabitether ethernet ports.
      net] port-number
      [parameters|statistics|protocol-
      state]




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      The following is an example of the CLI commands:
       console (config)# lacp system-priority 120
       console (config)# interface gi1/0/11
       console (config-if)# lacp port-priority 247
       console (config-if)# lacp timeout long
       console (config-if)# end
       console# show lacp gi1/0/11 statistics
       Port gi1/0/11 LACP Statistics:
       LACP PDUs sent:2
       LACP PDUs received:2




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      LAG Membership
      Each device supports up to 32 LAGs per system, and eight ports per LAG.
      When you add a port to a LAG, the port acquires the LAG’s properties. If the
      port cannot be configured with the LAG’s properties, it is not added to the
      LAG and an error message is generated.
      If the first port joining the LAG cannot be configured with the LAG settings,
      the port is added to the LAG, using the port default settings, and an error
      message is generated. Since this is the only port in the LAG, the entire LAG
      operates with the port’s settings, instead of the LAG’s defined settings.
      To assign ports to LAGs:
          1 Click Switching Link Aggregation LAG Membership in the tree view
            to display the LAG Membership: Summary page.

      Figure 15-2. LAG Membership: Summary




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           The LACP and static LAGs on each unit are displayed along with their
           member ports.
           This page displays the following fields:
           –   LACP — Aggregates the port to a LAG, using LACP.
           –   LAG — Adds a port to a LAG, and indicates the specific LAG to
               which the port belongs.
       2 Click Edit to change the status of a port in a LAG.
       3 Select the LAG.
       4 In the LACP row (the first row), toggle the button under the port number
         to assign either the LACP or the static LAG.
       5 In the LAG row (the second row), toggle the button to a specific number
         to aggregate or remove the port to that LAG number.

      Adding Ports to LAGs Using CLI Commands
      The following table summarizes the CLI commands for assigning ports to
      LAGs as displayed in the LAG Membership pages.

      Table 15-2. LAG Membership CLI Commands

      CLI Command                            Description
      channel-group LAG-number               Associates a port with a port-channel with or
      mode {on|auto}                         without a LACP operation.
      no channel-group                       Use the no form of this command to remove
                                             the channel-group configuration from the
                                             interface.
      show interfaces port-                  Displays port-channel information for all port
      channel [LAG-number]                   channels or for a specific port channel.

      The following is an example of the CLI commands:
       console(config)# interface gi1/0/11
       console(config-if)# channel-group 1 mode on




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                                                                16
      Multicast
      This chapter describes Multicast support on the device.
      It contains the following topics:
          •   Multicast Support Overview
          •   Global Parameters
          •   Bridge Multicast Groups
          •   Bridge Multicast Forward All
          •   IGMP Snooping
          •   Unregistered Multicast
          •   Multicast TV VLAN
          •   Multicast TV VLAN Mapping




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        Multicast Support Overview
        Multicast forwarding enables a single packet to be forwarded to multiple
        destinations. Layer 2 Multicast service is based on a Layer 2 device receiving a
        single packet addressed to a specific Multicast address. Multicast forwarding
        creates copies of the packet, and transmits the packets to the relevant ports.
        There are two types of Multicast groups:
             •    Registered Multicast Group — When traffic addressed to a registered
                  Multicast group is received, it is handled according to its entry in the
                  Multicast Filtering Database and forwarded only to the registered
                  ports.
             •    Unregistered Multicast Group — If traffic addressed to an
                  unregistered Multicast group is received, it is handled by a special
                  entry in the Multicast Filtering Database. The default setting of this is
                  to flood all such traffic (traffic in unregistered Multicast groups).
        The device supports:
             •    Forwarding L2 Multicast Packets — Forwards Layer 2 Multicast
                  packets. Layer 2 Multicast filtering is enabled by default, and is not
                  user-configurable.
             •    Filtering L2 Multicast Packets — Forwards Layer 2 packets to
                  interfaces. If Multicast filtering is disabled, Multicast packets are
                  flooded to all relevant ports.
             NOTE: The system supports Multicast filtering for 256 Multicast groups.

        Layer 2 Switching
        Layer 2 switching forwards Multicast packets to all relevant VLAN ports by
        default, managing the packet as a single Multicast transmission. While
        Multicast traffic forwarding is effective, it is not optimal, as irrelevant ports
        also receive the Multicast packets. The excess packets cause increased
        network traffic. Multicast forwarding filters enable forwarding of Layer 2
        packets to a subset of ports instead of to all ports.




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      IGMP
      Internet Group Multicast Protocol (IGMP) adds IGMP packets to Multicast
      traffic. When IGMP Snooping is enabled globally, all IGMP packets are
      forwarded to the CPU. The CPU analyzes the incoming packets and
      determines:
           •   Which ports want to join which Multicast groups.
           •   Which ports have Multicast routers generating IGMP queries.
           •   What routing protocols are forwarding packets and Multicast traffic.
      Ports requesting to join a specific Multicast group issue an IGMP report,
      specifying that the Multicast group is accepting members. This results in the
      creation of an entry in the Multicast filtering database.




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        Global Parameters
        To enable Multicast filtering and IGMP Snooping:
         1 Click Switching > Multicast Support > Global Parameters in the tree
           view to display the Global Parameters page.

        Figure 16-1. Global Parameters




         2 Enter the fields:
             –   Bridge Multicast Filtering — Enable/disable Multicast filtering.
                 Disabled is the default value.
             –   IGMP Snooping Status — Enable/disable IGMP Snooping on the
                 device. Disabled is the default value.




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      Enabling Multicast Filtering and IGMP Snooping Using CLI Commands
      The following table summarizes the CLI commands for enabling Multicast
      Filtering and IGMP snooping as displayed on the Global Parameters page.

      Table 16-1. Multicast Filtering and Snooping CLI Commands

      CLI Command                              Description
      bridge multicast filtering               Enables filtering of Multicast addresses.
      no bridge multicast filtering Use the no form of this command to
                                    disable multicast address filtering.
      ip igmp snooping                         Enables Internet Group Membership
      no ip igmp snooping                      Protocol (IGMP) snooping.
                                               Use the no form of this command to
                                               disable IGMP snooping.

      The following is an example of the CLI commands:
          console(config)# bridge multicast filtering
          console(config)# ip igmp snooping




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        Bridge Multicast Groups
        The Bridge Multicast Group: Summary page displays the ports and LAGs
        attached to a Multicast service group and the manner in which the port or
        LAG joined it.
        To add and configure a Multicast group:
         1 Click Switching > Multicast Support > Bridge Multicast Group in the
           tree view to display the Bridge Multicast Group: Summary page.

        Figure 16-2. Bridge Multicast Group: Summary




             The ports and LAGs in the selected Multicast Group are displayed.




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          2 Select a VLAN and enter the Multicast group IP address in Bridge
            Multicast Address.
              Two rows of ports and LAGs are displayed: for each unit
              –   Static — Displays available static ports/LAGs. These port/LAGs can
                  be included or excluded from the Multicast groups, as described
                  below.
              –   Current — Displays status of ports/LAGs in the Multicast group, as
                  actually applied.
          3 For each port in the VLAN, toggle to S to join the port to the selected
            Multicast group as a static port. Toggle a port to F to indicate that it is
            Forbidden to this group. Leave the field empty if it is not involved in the
            VLAN.
          4 To add a new Multicast group, click Add, and enter the fields:
              –   VLAN ID — Select the VLAN ID to set its forwarding method.
              –   New Bridge IP Multicast — Enter a Multicast group IP address.
              –   New Bridge MAC Multicast — Enter a Multicast group MAC
                  address.
              –   Ports — Select the ports to be added to a Multicast service. Toggle a
                  port to S to join the port to the selected Multicast group as a static
                  port. Toggle a port to F to indicate that it is Forbidden to this service.
                  Leave the field empty if it is not involved in the VLAN.
              –   LAGs — Select the LAGs to be added to a Multicast service. Toggle a
                  LAG to S to join the port to the selected Multicast group as a static
                  LAG. Toggle a port to F to indicate that it is Forbidden to this service.
                  Leave the field empty if it is not involved in the VLAN.
      The following table describes the codes used for the interface in this page:

      Table 16-2. IGMP Port/LAG Members Table Control Settings

      Port Control Definition
      S              Attaches the port to the Multicast group as static member in the static row.
                     The port/LAG has joined the Multicast group statically in the current row.
      F              Forbidden. The port cannot belong to the Multicast group.
      Blank          The port is not attached to a Multicast group, but it is also not forbidden.



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        Managing Bridge Multicast Groups Using CLI Commands
        The following table summarizes the CLI commands for managing Multicast
        service members as displayed in the Bridge Multicast Group pages.

        Table 16-3.   Bridge Multicast Group CLI Commands

        CLI Command                                       Description
        bridge multicast address {mac-                    Registers MAC-layer Multicast
        multicast-address|ip-multicast-                   addresses to the bridge table, and
        address}                                          adds static ports to the group.
        no bridge multicast filtering                     Use the no form of this command to
                                                          disable Multicast address filtering.
        bridge multicast forbidden                        Forbids adding a specific Multicast
        address {mac-multicast-                           address to specific ports. Use the no
        address|ip-multicast-                             form of this command to return to
        address}[add|remove]                              default
        {[gigabitethernet|tengigabitethe                  Use the no form of this command to
        rnet] interface-list|port-                        restore the default configuration.
        channel LAG-number-list}
        no bridge multicast forbidden
        address {mac-multicast-address}
        show bridge multicast address-                    Displays Multicast MAC address
        table [vlan vlan-id] [address                     table information.
        {mac-multicast-address|ip-
        multicast-address}] [format
        ip|mac]

        The following is an example of the CLI commands:
          console(config-if)# bridge multicast address 0100.5e02.0203
          add gi1/0/11,gi1/0/12
          console(config-if)# end
          console # show bridge multicast address-table



          VLAN        MAC Address                Type                   Ports

          ----        -----------                -----                  ----------

          1           0100.5e02.0203             static                 gi1/0/11,
                                                                        gigi1/0/12

          Forbidden ports for multicast addresses:



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          VLAN     MAC Address               Ports

          ----     -----------               ----------

          1        0100.5e02.0203            gi1/0/8

          19       0100.5e02.0208            gi1/0/8



          console # show bridge multicast address-table format ip



          VLAN     IP Address                Type              Ports

          ----     -----------               -----             ----------

          1        224-239.130|2.2.3         static            gi1/0/11, gi1/0/12



          Forbidden ports for multicast addresses:



          VLAN     IP Address                Ports

          ----     -----------               ----------

          1        224-239.130|2.2.3         gi1/0/8




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        Bridge Multicast Forward All
        Use the Bridge Multicast Forward All page to attach ports or LAGs to a device
        that is attached to a neighboring Multicast router/switch. After IGMP
        Snooping is enabled, Multicast packets are forwarded to the appropriate port
        or VLAN.
        To attach interfaces to a Multicast service:
         1 Click Switching > Multicast Support > Bridge Multicast Forward All in
           the tree view to display the Bridge Multicast Forward All page.

        Figure 16-3. Bridge Multicast Forward All




         2 Select a unit/VLAN and click on the ports and LAGs to be attached to the
           Multicast service. Toggle a port to S to join the port to the selected
           Multicast group as a static port. Toggle a port to F to add it as a Forbidden
           port.
             Two rows of ports and LAGs are displayed:


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            –     Static — Displays available static ports/LAGs. These port/LAGs can
                  be included or excluded from the Multicast groups, as described
                  below.
            –     Current — Displays status of ports/LAGs, as actually applied, in the
                  Multicast group.

      Managing LAGs and Ports Attached to Multicast Routers Using CLI Commands
      The following table summarizes the CLI commands for managing LAGs and
      ports attached to Multicast routers as displayed on the Bridge Multicast
      Forward All page.

      Table 16-4. Managing LAGs and Ports Attached to Multicast Routers CLI Commands

      CLI Command                                    Description
      show bridge multicast filtering                Displays the Multicast filtering
      vlan-id                                        configuration.
      bridge multicast forward-all                   Enables forwarding of all Multicast
      {add|remove}                     packets on a port.
      {[gigabitethernet|tengigabitethe Use the no form of this command to
      rnet] interface-list|port-       return to default.
      channel LAG-number-list}

      The following is an example of the CLI commands:
          console(config)# interface vlan 1
          console(config-if)# bridge multicast forward-all add
          gi1/0/3
          console(config-if)# end
          console# show bridge multicast filtering 1
          Filtering: Enabled
          VLAN:                Forward-All
          Port                 Static                         Status
          -------              -----------------              -----------
          gi1/0/11             Forbidden                      Filter
          gi1/0/12             Forward                        Forward(s)
          gi1/0/13             -                              Forward(d)


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        IGMP Snooping
        IGMP Snooping can be enabled globally, as described in the Global
        Parameters page. It can also be enabled per VLAN to support selective IPv4
        Multicast forwarding. In this case, Bridge Multicast filtering must also be
        enabled.
        By default, a Layer 2 switch forwards Multicast frames to all ports of the
        relevant VLAN, essentially treating the frame as if it were a Broadcast. When
        IGMP Snooping is enabled per VLAN, the switch forwards Multicast frames
        to ports that have registered as Multicast clients in the VLAN.
             NOTE: The switch supports IGMP Snooping only on static VLANs. It does not
             support IGMP Snooping on dynamic VLANs.




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      The IGMP Snooping Querier is used to support a Layer 2 Multicast domain
      of snooping switches in the absence of a Multicast router, for example, where
      Multicast content is provided by a local server, but the router (if one exists)
      on that network does not support Multicast.
      There should only be a single IGMP Querier in a Layer 2 Multicast domain.
      The switch supports standards-based IGMP Querier election when more than
      one IGMP Querier is present in the domain.
      The speed of IGMP Querier activity should be aligned with the IGMP-
      snooping-enabled switches. Queries should be sent at a rate that is aligned to
      the snooping table aging time. If queries are sent at a rate lower than the
      aging time, the subscriber cannot receive the Multicast packets.
      To enable IGMP Snooping on a VLAN:
          1 Click Switching Multicast Support IGMP Snooping in the tree view
            to display the IGMP Snooping page.

      Figure 16-4. IGMP Snooping




             The IGMP snooping information for the VLANs on the switch is
             displayed.
          2 To enable IGMP Snooping on a VLAN, click Edit and select the VLAN
            from the VLAN ID drop down menu.




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         3 Enter the fields:
            •   IGMP Snooping Status — Enable/disable the monitoring of network
                traffic to determine which hosts have asked to be sent Multicast
                traffic. The switch performs IGMP snooping only if IGMP snooping
                and Bridge Multicast filtering are both globally enabled.
            •   Operational IGMP Snooping Status — Displays whether IGMP
                Snooping is enabled.
            •   MRouter Ports Auto Learn — Enables or disables auto learning of the
                ports to which the Mrouter is connected.
            •   Query Robustness (1-7) — Enter the Robustness variable value to be
                used. The Robustness value enables tuning for the expected packet
                loss on a link. If a link is expected to have losses, the Robustness Value
                may be increased.
            •   Operational Query Robustness — Displays the robustness variable
                sent by the elected querier.
            •   Query Interval (30-18000) — Enter the interval between general
                queries sent by the querier .
            •   Operational Query Interval — The time interval in seconds between
                general queries sent by the elected querier
            •   Query Max Response Interval (5-20) — Enter the amount of time in
                which a host should respond to a query.
            •   Operational Query Max Response Interval — Displays the actual
                delay.
            •   Last Member Query Counter (1-7) — Enter the number of IGMP
                group-specific queries sent before the switch assumes there are no
                local members. To use the default, check Use Default.
            •   Operational Last Member Query Counter — Displays the
                operational value of the Last Member Query counter.
            •   Last Member Query Interval (100-25500) — Enter the time between
                two consecutive group-specific queries that are sent by the querier.
            •   Operational Last Member Query Interval — Displays the Last
                Member Query Interval sent by the elected querier.
            •   Intermediate Leave — Enable/disable an immediate timeout period.
                The default timeout is 10 seconds.


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           •   IGMP Querier Status — Enables or disables the IGMP Querier. The
               IGMP Querier simulates the behavior of a Multicast router, enabling
               snooping of the Layer 2 Multicast domain even though there is no
               Multicast router.
           •   Querier Source IP Address — Select the IP address of the IGMP
               Querier. Use either the VLAN’s IP address or define a unique IP
               address that will be used as a source address of the querier.
           •   Operational Source Querier IP Address — Operational Querier IP
               address.

      Configuring IGMP Snooping Using CLI Commands
      The following table summarizes the CLI commands for configuring IGMP
      snooping on a VLAN:

      Table 16-5. IGMP Snooping CLI Commands

      CLI Command                              Description
      ip igmp snooping vlan vlan-id  Enables IGMP snooping on a specific
      no ip igmp snooping vlan vlan- VLAN.
      id                             Use the no form of this command to
                                     disable IGMP snooping on a VLAN
                                     interface.
      ip igmp snooping vlan vlan-id  Enables automatic learning of
      mrouter learn pim-dvmrp        Multicast router ports in the context of
      no ip igmp snooping vlan vlan- a specific VLAN.
      id mrouter learn pim-dvmrp     Use the no form of this command to
                                     remove the configuration.
      ip igmp robustness count                 Changes the value of the IGMP
      no ip igmp robustness                    robustness variable.
                                               Use the no format of the command to
                                               return to default.
      ip igmp query-interval seconds Configures the Query interval.
      no ip igmp query-interval                Use the no format of the command to
                                               return to default.




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        Table 16-5.   IGMP Snooping CLI Commands (Continued)

        CLI Command                                Description
        ip igmp query-max-response-                Configures the Query Maximum
        time seconds                               Response time.
        no ip igmp query-max-response- Use the no format of the command to
        time                           return to default.
        ip igmp last-member-query-                 Configures the Last Member Query
        count count                                Counter.
        no ip igmp last-member-query-              Use the no format of the command to
        count                                      return to default.
        ip igmp snooping vlan vlan-id  Enables the IGMP Snooping
        immediate-leave                Immediate-Leave processing on a
        no ip igmp snooping vlan vlan- VLAN.
        id immediate-leave             Use the no format of the command to
                                       disable IGMP Snooping Immediate-
                                       Leave processing.
        ip igmp snooping vlan vlan-id              Enables the IGMP querier on a specific
        querier                                    VLAN.
        no ip igmp snooping vlan vlan- Use the no form of this command to
        id querier                     disable the IGMP querier on a VLAN
                                       interface.
        ip igmp snooping querier                   Defines the source IP address that the
        address source-ip-address                  IGMP Snooping querier would use.
        no ip igmp snooping querier                Use the no form of this command to
        address                                    return to default.
        show ip igmp snooping groups               Displays the Multicast groups learned
        [vlan vlan-id] [address ip-                by IGMP snooping.
        multicast-address]
        show ip igmp snooping                      Displays IGMP snooping configuration.
        interface vlan-id
        show ip igmp snooping mrouter              Displays information about
        [interface vlan-id]                        dynamically learned Multicast router
                                                   interfaces.




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      The following is an example of the CLI commands:
          console (config)# ip igmp snooping
          console (config)# interface vlan 1
          console (config-if)# ip igmp snooping mrouter learn-pim-dvmrp
          console (config)# interface vlan 1
          console (config-if)# ip igmp snooping leave-time-out 60
          console # do show ip igmp snooping groups
          VLAN IP Address            Querier         Ports
          ---- ----------            ------          ----------------------
          1    224-239.130           |2.2.3 Yes      gi1/0/1, gi1/0/2
          console # show ip igmp snooping interface 1
          IGMP Snooping is globaly disabled
          IGMP Snooping admin: Enabled
          IGMP Snooping oper mode: Disabled
          Routers IGMP version: 3
          IGMP snooping querier admin: disabled
          IGMP snooping querier oper: disabled
          IGMP snooping querier address admin:
          IGMP snooping querier address oper: 10.5.234.232
          IGMP snooping robustness: admin 2            oper 2
          IGMP snooping query interval: admin 125 sec oper 125 sec
          IGMP snooping query maximum response: admin 10 sec oper 10 sec
          IGMP snooping last member query counter: admin 2            oper 2
          IGMP snooping last member query interval: admin 1000 msec oper
          1000 msec
          IGMP snooping last immediate leave:               disable
          Automatic learning of Multicast router ports is enabled




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        Unregistered Multicast
        Multicast frames are generally forwarded to all ports in the VLAN. If IGMP
        Snooping is enabled, the device learns about the existence of Multicast
        groups and tracks which ports have joined what Multicast group.
        Multicast groups can also be statically enabled. This enables the device to
        forward the Multicast frames (from a registered Multicast group) only to
        ports that are registered to that Multicast group.
        Traffic from unregistered Multicast groups, which are the groups that are not
        known to the device, can either be filtered or forwarded. After a port has been
        set to Forwarding/Filtering, its configuration is valid for any VLAN of which it
        is a member (or will be a member of).
        To set the action for unregistered Multicast groups on a port:
         1 Click Switching > Multicast Support > Unregistered Multicast in the
           tree view to display the Unregistered Multicast: Summary page.

        Figure 16-5. Unregistered Multicast: Summary




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             The action for each port is displayed.
          2 To modify the forwarding action for an interface, click Edit, and enter the
            fields.
             •   Interface — Select a port or LAG.
             •   Unregistered Multicast — Select the forwarding status of the selected
                 interface. The possible options are:
                 •    Forwarding — Enables forwarding of unregistered Multicast
                      frames on the selected port or port-channel.
                 •    Filtering — Enables filtering of unregistered Multicast frames on
                      the selected VLAN interface.

      Configuring Unregistered Multicast Using CLI Commands
      The following table summarizes the CLI commands for configuring
      Unregistered Multicast on the device:

      Table 16-6. Unregistered Multicast CLI Commands

      CLI Command                                       Description
      bridge multicast unregistered                     Configures the forwarding state of
                                                        unregistered multicast addresses.
      show bridge multicast unregistered Displays the unregistered multicast
                                         filtering configuration.

      The following is an example of the CLI commands:
          console # show bridge multicast unregistered
          Port         Unregistered
          -------      --------
          gi1/0/1      Forward
          gi1/0/2      Filter
          gi1/0/3      Filter




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        Multicast TV VLAN
        This section describes the Multicast TV VLAN feature.
        It contains the following sections:
         •   Multicast TV VLAN Overview
         •   Multicast TV VLAN Membership
         •   Multicast TV VLAN Mapping

        Multicast TV VLAN Overview
        The Multicast TV VLAN feature provides the ability to supply Multicast
        transmissions to Layer 2-isolated subscribers, without replicating the
        Multicast transmissions for all subscriber VLANs. The subscribers are the
        only receivers of the Multicast transmissions.
             •   A Multicast TV VLAN can be defined for an Access port (a port that is
                 in Access mode for VLAN membership).
             •   All static VLANs are permitted to be a Multicast-TV VLAN.
             •   The configuration is performed per port.
        One or more IP Multicast address groups can be associated with a Multicast
        VLAN. The source port must belong to the Multicast VLAN. Source and
        receiver ports do not have to be members of the same VLAN.
        An end port is defined as a receiver port for the Multicast VLAN. Receiving
        ports can belong to a single user VLAN and additionally to one Multicast
        VLAN. The receiver port can be an access member in any VLAN, but not in
        the defined Multicast VLAN. In Multicast VLAN, the receiver port can only
        receive traffic and not send traffic on it. Receivers of same Multicast VLAN
        are isolated in different User (Access port) VLANs and therefore isolated from
        each other.
        If a Multicast-TV VLAN is defined on an access port, then:
             •   The access port joins the Multicast-TV VLAN.
             •   The Multicast-TV VLAN on the receiver port is always untagged.
             •   The acceptable frame type of the port is set to Admit Untagged Only.




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      Multicast TV VLAN Membership
      To view Multicast TV VLANs:
          •   Click Switching > Multicast Support > Multicast TV VLAN
              Membership in the tree view to display the Multicast TV VLAN
              Membership page.

      Figure 16-6. Multicast TV VLAN Membership




              The receiver and transceiver ports in the selected TV VLAN are displayed.

      Displaying Multicast TV VLAN Membership Using CLI Commands
      The following table summarizes the CLI command for displaying Multicast
      TV VLAN membership:

      Table 16-7. Multicast TV VLAN Membership CLI Commands

      CLI Command                            Description
      show vlan multicast-tv                 Displays information on the source ports and
      vlan vlan-id                           receiver ports of multicast-TV VLAN.




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        The following is an example of the CLI commands:
         console # show vlan multicast-tv vlan 1
         Source Ports
         -------------------------------------
         gi1/0/8, gi1/0/9
         Receiver Ports
         -------------------------------------
         gi2/0/1-18, gi3/0/1-18, gi4/0/1-18

        Multicast TV VLAN Mapping
        To set the Multicast Group IP address for a TV VLAN:
         1 Click Switching > Multicast Support > Multicast TV VLAN Mapping
           in the tree view to display the Multicast TV VLAN Mapping: Summary
           page.

        Figure 16-7. Multicast TV VLAN Mapping: Summary




             The Multicast Group IP addresses for the selected TV VLAN are displayed.
         2 To add the Multicast Group IP address for a VLAN, click Add, and enter
           the fields:
             •   VLAN ID — Enter a VLAN ID.


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            •   Multicast Group IP Address — Enter the Multicast group IP address
                for which the IGMP Snooping is enabled.

      Mapping Multicast TV VLANs to IP Addresses Using CLI Commands
      The following table summarizes the CLI command for mapping Multicast
      TV VLANs to Multicast IP addresses:

      Table 16-8. Unregistered Multicast CLI Commands

      CLI Command                                           Description
      ip igmp snooping vlan vlan-id                         Defines the Multicast IP
      multicast-tv ip-multicast-address                     addresses that are associated
      [count number]                                        with a Multicast-TV VLAN.
      no ip igmp snooping vlan vlan-id                      Use the no form of this
      multicast-tv ip-multicast-address                     command to remove all
      [count number]                                        associations.
      show ip igmp snooping multicast-tv                    Displays the IP addresses associ-
      [vlan vlan-id]                                        ated with Multicast TV VLANs.

      The following is an example of the CLI commands:
          console# show ip igmp snooping multicast-tv
          VLAN IP Address
          ---- -----------
          1000 239.255.0.0
          1000 239.255.0.1
          1000 239.255.0.2
          1000 239.255.0.3
          1000 239.255.0.4
          1000 239.255.0.5




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                                                                         17
        LLDP
        The section describes the Link Layer Discovery Protocol (LLDP).
        It contains the following topics:
         •   LLDP Overview
         •   LLDP Properties
         •   LLDP Port Settings
         •   MED Network Policy
         •   LLDP MED Port Settings
         •   Neighbors Information




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      LLDP Overview
      The Link Layer Discovery Protocol (LLDP) enables network managers to
      troubleshoot and enhance network management by discovering and
      maintaining network topologies over multi-vendor environments. LLDP
      discovers network neighbors by standardizing methods for network devices to
      advertise themselves to other systems, and to store discovered information.
      Discovery information includes:
          •   Device identification
          •   Device capabilities
          •   Device configuration
      The advertising device transmits multiple advertisement message sets in a
      single LAN packet. The multiple advertisement message sets are sent in the
      packet’s Type Length Value (TLV) field.
      LLDP devices must support chassis and port ID advertisements, as well as
      system name, system ID, system description, and system capability
      advertisements.
      LLDP Media Endpoint Discovery (LLDP-MED) increases network flexibility
      by enabling various IP systems to co-exist on a single network, and provides
      the following features:
          •   Detailed network topology information, including information on which
              devices are located on the network and where the devices are located, for
              example, which IP phone is connect to which port, which software is
              running on which switch, and which port is connected to which device.
          •   Automatic deployment of policies over networks for:
              –   QoS Policies
              –   Voice VLANs
          •   Emergency Call Service (E-911) via IP phone location information.
          •   Troubleshooting information. LLDP MED sends network managers alerts
              for:
              –   Port speed and duplex mode conflicts
              –   QoS policy misconfigurations




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        LLDP Properties
        To enable and configure LLDP:
         1 Click System > LLDP > LLDP Properties in the tree view to display the
           LLDP Properties page.

        Figure 17-1. LLDP Properties




             The current LLDP properties are displayed.
         2 Enter the fields:
             –   Enable LLDP — Enable/disable LLDP on the device.
             –   Updates Interval (5-32768) — Enter the rate at which LLDP
                 advertisement updates are sent.
             –   Hold Multiplier (2-10) — Enter the hold time to be sent in the
                 LLDP update packets, as a multiple of the timer value.



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          –   Reinitializing Delay (1-10) — Enter the minimum time, in seconds,
              that an LLDP port waits before reinitializing LLDP transmission.
          –   Transmit Delay (1-8192) — Enter the amount of time that passes
              between successive LLDP frame transmissions, due to changes in the
              LLDP local systems MIB.
          To use the default values for any field, select Use Default.




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        Configuring LLDP Using CLI Commands
        The following commands are used to set the fields in the LLDP Properties
        page.

        Table 17-1.   LLDP Properties CLI Commands

        CLI Command                              Description
        lldp run                                 Enables enable LLDP.
        no lldp run                              Use the no form of this command to
                                                 disable LLDP.
        lldp timer seconds                       Specifies how often the software sends
        no lldp timer                            LLDP updates.
                                                 Use the no form of this command to
                                                 restore the default configuration.
        lldp hold-multiplier number              Specifies the time that the receiving
        no lldp hold-multiplier                  device should hold a Link Layer Discovery
                                                 Protocol (LLDP) packet before discarding
                                                 it.
                                                 Use the no form of this command to
                                                 restore the default configuration.
        lldp reinit seconds                      Specifies the minimum time an LLDP
        no lldp reinit                           port will wait before reinitializing.
                                                 Use the no form of this command to revert
                                                 to the default setting.
        lldp tx-delay seconds                    Specifies the delay between successive
        no lldp tx-delay                         LLDP frame transmissions.
                                                 Use the no form of this command to
                                                 restore the default configuration.




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      The following is an example of the CLI commands:
      console(config)# interface gi1/0/1
      console(config-if)# lldp run
      console(config)# lldp timer 30
      console(config)# lldp hold-multiplier 3
      console(config)# lldp reinit 4




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        LLDP Port Settings
        LLDP configuration of a port includes activating LLDP notification on it,
        and selecting the optional TLVs that will be sent in the LLDP PDU, in
        addition to the mandatory ones.
        By setting these properties, it is possible to provide additional types of
        information to those network devices that support the LLDP.
        To configure LLDP per port:
         1 Click System > LLDP > LLDP Port Settings in the tree view to display
           the LLDP Port Settings: Summary page.

        Figure 17-2. LLDP Port Settings: Summary




             LLDP settings for all ports are displayed.
         2 To modify the LLDP settings for a port, click Edit and select the port to be
           configured.
         3 Select the transmission type on which LLDP is to be configured in the
           State field. The possible options are:
                 •    Tx Only — Enables LLDP on transmitting LLDP packets only.
                 •    Rx Only — Enables LLDP on receiving LLDP packets only.




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                 •   Tx & Rx — Enables LLDP on transmitting and receiving LLDP
                     packets.
                 •   Disable — LLDP is disabled on the port.
          4 Move the optional TLVs that the switch should advertise from the
            Available TLV list to the Optional TLV list. The TLVs advertise the
            following:
             –   Port Description — Information about the port, including
                 manufacturer, product name, and hardware/software version.
             –   System Name — System's assigned name (in alpha-numeric format).
                 This value equals the sysName object.
             –   System Description — Description of the network entity (in alpha-
                 numeric format). This includes the system's name and versions of the
                 hardware, operating system, and networking software supported by the
                 switch. This value equals the sysDescr object.
             –   System Capabilities — Primary functions of the switch, and whether
                 or not these functions are enabled in the switch. The capabilities are
                 indicated by two octets. Bits 0 through 7 indicate Other, Repeater,
                 Bridge, WLAN AP, Router, Telephone, DOCSIS cable device, and
                 station respectively. Bits 8 through 15 are reserved.
             –   802.3 MAC-PHY — Duplex and bit rate capability and the current
                 duplex and bit rate settings of the sending device. It also advertises
                 whether the current settings are due to auto-negotiation or manual
                 configuration.
             An alternative way to select the TLVs is to select the Use Default field, in
             which case only mandatory TLVs are used. These are: Chassis subtype
             (MAC address), Port subtype (port number), and TTL (time-to-leave).
          5 Enter the Management IP Address that is advertised from the interface.
            Check Use Default to use the default Management IP address.




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        Configuring LLDP Port Settings Using CLI Commands
        The following commands are used to configure LLDP on ports.

        Table 17-2.   LLDP Port Settings CLI Commands

        CLI Command                               Description
        lldp transmit                             Enables transmitting LLDP on an
        no lldp transmit                          interface.
                                                  Use the no form of this command to stop
                                                  transmitting LLDP on an interface.
        lldp receive                              Enables receiving LLDP on an interface.
        no lldp receive                           Use the no form of this command to stop
                                                  receiving LLDP on an interface.
        lldp optional-tlv tlv1 [tlv2 Specifies which optional TLVs
        … tlv5]                      from the basic set should be
                                     transmitted

        The following is an example of the CLI commands:
        console(config)# interface gi1/0/1
        console(config-if)# lldp transmit
        console(config-if)# lldp receive
        console(config-if)# lldp optional-tlv port-desc




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      MED Network Policy
      An LLDP-MED network policy is a set of configuration settings that is
      identified by a network policy number. Policies are loaded into LLDP-MED
      TLVs, and sent to devices connected to the switch. A network policy instructs
      the connected device as to how to send traffic, for example, a policy can be
      created for VoIP phones that instructs them to:
          •   Send voice traffic on VLAN 10
          •   Tag voice traffic with DSCP=63
          •   Transmit data-traffic to the switch (from the PC connected to the switch
              through the VoIP phone) without modification to traffic sent by the PC
              (typically, Untagged).
      For network policies to be implemented, they must be created and then
      associated with ports.
      Before policies are defined, the administrator must create the VLANs, and
      configure memberships in the VLANs, based on the specification in the
      LLDP-MED network policies.




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        To add a MED network policy:
         1 Click System > LLDP > MED Network Policy in the tree view to display
           the MED Network Policy: Summary page.

        Figure 17-3. MED Network Policy: Summary




             Previously-defined network policies are displayed.
         2 To add a network policy, click Add, and enter the fields:
             –   Network Policy Number — Select an available network policy
                 number.
             –   Application — Select the application (type of traffic) for which the
                 network policy is defined.
             –   VLAN ID — Enter the VLAN ID to which the traffic should be sent.
             –   VLAN Type —Select whether the traffic is Tagged or Untagged.




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           –   User Priority — Select the traffic priority assigned to the network
               application.
           –   DSCP Value — Select the value to be used by neighbors to mark the
               traffic sent to the switch.

      Configuring MED Network Policies Using CLI Commands
      The following commands are used to configure MED network policies.

      Table 17-3. LLDP MED Network Policies CLI Commands

      CLI Command                                    Description
      lldp med network-policy number                 Defines an LLDP MED network
      application [vlan id] [vlan-type               policy.
      {tagged|untagged}] [up                         Use the no form of this command
      priority][dscp value]                          to remove an LLDP MED
      no lldp med network-policy number              network policy.

      The following is an example of the CLI commands:
      console(config)# lldp med network-policy 1 voice-signaling
      vlan 1




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        LLDP MED Port Settings
        To assign MED network policies to ports:
         1 Click System > LLDP > MED Port Settings in the tree view to display
           the MED Port Settings: Summary page.

        Figure 17-4. MED Port Settings: Summary




         2 Select the unit in the stack. All ports on that unit are displayed along with
           the following fields:
             –   LLDP MED Status — Specifies if LLDP-MED is enabled on the
                 selected port.
             –   Network Policy — Specifies whether a network policy is assigned to
                 the port.
             –   Location — Specifies whether the location is advertised.
             –   PoE — Specifies whether PoE is enabled on the port.
         3 To modify network policies on a port, click Edit.
         4 Select the port to be configured, and enter the fields for the port:
             –   Enable LLDP-MED — Enable/disable LLDP-MED on the port.




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             –   Available TLVs — Contains a list of available TLVs that can be
                 advertised by the port. The possible options are:
                 •    Network Policy — Advertises the network policy attached to the
                      port.
                 •    Location — Advertises the port’s location.
                 •    PoE-PSE — Indicates if the connected media is a PoE or PSE
                      (Power Sourcing Equipment) device.
                 Move the TLVs to be published to the Tx Optional TLVs list.
             –   Available Network Policy — Contains a list of network policies that
                 can be assigned to a port. Move the network policies to be assigned to
                 the port to the Network Policy list.
             –   Location Coordinate (16 Bytes in Hex) — Displays the device’s
                 location map coordinates.
             –   Location Civic Address (6-160 Bytes in Hex) — Displays the device’s
                 civic or street address location, for example 414 23rd Ave E.
             –   Location ECS ELIN (10-25 Bytes in Hex) — Displays the device’s
                 ECS ELIN location.
          5 To view MED details for a port, click Details and select a port.
             The following fields are displayed for the port:
             –   Auto-Negotiation Status — Enabled specifies that auto-negotiation is
                 enabled on the port; Disabled indicates that it is not.
             –   Advertised Capabilities — The list of port capabilities advertised for
                 the port.
             –   MAU Type — The Media Attachment Unit type. The MAU performs
                 physical layer functions, including digital data conversion from the
                 Ethernet interfaces' collision detection and bit injection into the
                 network, for example, 100BASE-TX full duplex mode.
             –   System Name — The system's assigned name (in alpha-numeric
                 format). This value equals the sysName object.
             –   System Description — A description of the network entity (in alpha-
                 numeric format). This includes the system's name and versions of the
                 hardware, operating system, and networking software supported by the
                 switch. This value equals the sysDescr object.


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            –   Device ID — The device ID advertised, for example, the device MAC
                address.
            –   Device Type — The type of device.
            –   LLDP MED Capabilities — The TLVs that are advertised by the
                port.
            –   LLDP MED Device Type — Specifies whether a sender is a network
                connectivity device or an endpoint device.
            –   Application — The following fields are displayed for each possible
                application type:
                •   Application Type — The application type.
                •   Flags — The VLAN tagging status for the application type:
                    Tagged or Untagged.
                •   VLAN ID — The VLAN number for the application type.
                •   User Priority — The user priority for the application type.
                •   DSCP — The DSCP value assigned to the network policy.
            –   Location Type — Displays the port’s LLDP location type:
                •   Coordinates — Device’s location map coordinates.
                •   Civic Address — Device’s civic or street address location, for
                    example 414 23rd Ave E.
                •   ECS ELIN — Device’s ECS ELIN location.
            –   Location Address — Displays the port’s LLDP location, according to
                the Location Type.




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      Configuring MED on Ports Using CLI Commands
      The following commands are used to set the fields in the MED Port Settings
      pages.

      Table 17-4. LLDP Properties CLI Commands

      CLI Command                                Description
      lldp med enable [tlv … tlv4]               Enables LLDP MED on an interface.
      no lldp med enable                         Use the no form of this command to
                                                 disable LLDP MED on an interface.
      lldp med network-policy                    Attaches or removes an LLDP MED
      {add|remove} number                        network policy on an interface.
      no lldp med network-policy                 Use the no form of this command to
      number                                     remove all the LLDP MED network
                                                 policies from the interface
      lldp med location                          configure the LLDP MED for an
      {{coordinate data}|{civic-                 interface.
      address data}|{ecs-elin                    Use the no form of this command to
      data}}                                     delete location information for an
      no lldp med location                       interface.
      {coordinate|civic-
      address|ecs-elin}
      show lldp med configuration   Displays the LLDP MED configuration
      [gigabitethernet|tengigabitet for all interfaces or for a specific
      hernet] port-number           interface.
      show lldp local               Displays the LLDP information that is
      [gigabitethernet|tengigabitet advertised from a specific port.
      hernet] port-number




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        The following is an example of the CLI commands:
        console(config)# interface gi1/0/3
        console(config)# lldp med location civic-address 6162636465
        console# show lldp med configuration
        Fast Start Repeat Count: 4.
        Network policy 1
        -------------------
        Application type: voiceSignaling
        VLAN ID: 1 untagged
        Layer 2 priority: 0
        DSCP: 0
        Port   Capabilities Network Location PoE Notif                 Inventory
                               Policy                       ications
        --------- -------------- ---------------- ---------- ------
        gi1/0/1 Yes            Yes       Yes           No   Enabled          No
        gi1/0/2 Yes            Yes       No            No   Enabled          No




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      Neighbors Information
      Use the Neighbors Information page to view information that was received in
      LLDP advertisements from neighboring devices.
      The neighbor’s information is deleted after timeout. Timeout is the
      maximum interval that can pass without receiving an LLDP PDU from a
      neighbor. The timeout value is computed from the neighbor’s Time to Live
      TLV.
      To view neighbors information:
          1 Click System > LLDP > Neighbors Information in the tree view to
            display the Neighbors Information page.

      Figure 17-5. Neighbors Information




             The following fields are displayed for each port on the device that has a
             discovered neighbor:
             –   Port — Port number for which neighboring information is displayed


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              –       Device ID — Neighboring device ID
              –       System Name — Name of the neighboring system
              –       Port ID — Neighboring port ID
              –       Capabilities — Neighboring device capabilities
          2 Click Clear Neighbors Table to delete all the entries or select Remove to
            delete a specific port entry.
          3 Click the Details button of a port to display the Neighbors Information:
            Details page for that port.
              In addition to the fields displayed in the MED Port Settings: Details
              Advertise Information page and the Green Ethernet Configuration pages,
              the following fields are displayed for the neighbors of the selected port:
              –       Power Type — Port’s power type
              –       Power Source — Port’s power source
              –       Power Priority — Port’s power priority
              –       Power Value — Port’s power value, in Watts
              –       Hardware revision — Hardware revision
              –       Firmware revision — Firmware revision
              –       Software revision — Software revision
              –       Serial number — Device serial number
              –       Manufacturer name — Device manufacturer name
              –       Model name — Device model name
              –       Asset ID — Asset ID

        Configuring LLDP Neighbors Using CLI Commands
        The following commands are used to configure LLDP neighbors.

        Table 17-5.     LLDP Neighbors Information CLI Commands

        CLI Command                                Description
        show lldp neighbors          Displays information about neighboring
        [gigabitethernet|tengigabite devices discovered using LLDP
        thernet] port-number



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      The following is an example of the CLI commands:
          console# show lldp neighbors
          Port       Device ID                  Port ID System Capabili TTL
                                                             Name   ties
          --------- ----------------- -------- ------- ------- ----
          gi2/0/17    00:75:73:71:72:55          1/e21              0      91
          gi2/0/33    00:12:cf:7c:63:a0          1/e1               0      92
          gi2/0/33    00:11:22:11:22:33          1/g39              0      107
          gi2/0/33    00:aa:aa:aa:aa:aa          1/e37              0      106
          gi2/0/41    a4:ba:db:57:7c:8d          g13                O      97




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                                                                         18
        Dynamic ARP Inspection
        This section describes dynamic ARP inspection.
        It contains the following topics:
         •   Dynamic ARP Inspection Overview
         •   Global Settings
         •   Dynamic ARP Inspection List
         •   Dynamic ARP Inspection Entries
         •   VLAN Settings
         •   Trusted Interfaces




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      Dynamic ARP Inspection Overview
      ARP Inspection eliminates man-in-the-middle attacks, where false ARP
      packets are inserted into the subnet. ARP requests and responses are
      inspected, and their MAC-address-to-IP-address binding is checked according
      to the ARP Inspection List defined by the user (in the Dynamic ARP
      Inspection List and Dynamic ARP Inspection Entries pages). If the packet’s IP
      address was not found in the ARP Inspection List, and DHCP Snooping is
      enabled for a VLAN, a search of the DHCP Snooping database is performed.
      See "How DHCP Snooping Works" on page 564 for an explanation of the
      DHCP Snooping database. If the IP address is found the packet is valid, and is
      forwarded.
      Packets with invalid ARP Inspection bindings are logged and dropped.
      Ports are classified as follows:
          •   Trusted — Packets are not inspected.
          •   Untrusted —Packets are inspected as described above.
      The following additional validation checks may be configured by the user:
          •   Source MAC — Compares the packet’s source MAC address in the
              Ethernet header against the sender’s MAC address in the ARP request.
              This check is performed on both ARP requests and responses.
          •   Destination MAC — Compares the packet’s destination MAC address in
              the Ethernet header against the destination interface’s MAC address. This
              check is performed for ARP responses.
          •   IP Addresses — Compares the ARP body for invalid and unexpected IP
              addresses. Addresses include 0.0.0.0, 255.255.255.255, and all IP Multicast
              addresses.




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        Global Settings
        To enable ARP inspection on the device:
         1 Click Switching > Dynamic ARP Inspection > Global Settings in the
           tree view to display the Global Settings page.

        Figure 18-1. Global Settings




         2 Enter the fields:
             •    Enable ARP Inspection — Enable/disable ARP inspection.
             •    ARP Inspection Validate — Enable/disable the following checking
                  source MAC address, destination MAC address and IP addresses
                  against the respective addresses in the ARP body.
             •    Minimal Syslog Interval (0 – 86400) — Enter the minimum time
                  interval between successive ARP SYSLOG messages.




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      Setting Dynamic ARP Inspection Global Settings Using CLI Commands
      The following table summarizes the CLI commands for configuring the fields
      in the Global Settings pages.

      Table 18-1.     ARP Inspection Global Settings CLI Commands

      CLI Command                                 Description
      ip arp inspection                           Enables ARP inspection.
      no ip arp inspection                        Use the no form of this command to
                                                  disable ARP inspection.
      ip arp inspection validate                  Performs specific checks for dynamic ARP
      no ip arp inspection                        inspection.
      validate                                    Use the no form of this command to
                                                  restore the default configuration.
      ip arp inspection logging                   Sets the minimum time interval between
      interval {seconds |                         successive ARP SYSLOG messages.
      infinite}                    Use the no form of this command to
      no ip arp inspection logging restore the default configuration.
      interval

      The following is an example of some of the CLI commands:
          console(config)# ip arp inspection
          console(config)# ip arp inspection validate




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        Dynamic ARP Inspection List
        An ARP inspection list consists of entries where each entry is a pair of
        MAC/IP addresses.
        To create a new ARP inspection list and add the first entry to it:
         1 Click Switching > Dynamic ARP Inspection > Dynamic ARP
           Inspection List in the tree view to display the Dynamic ARP Inspection
           List: Summary page.

        Figure 18-2. Dynamic ARP Inspection List: Summary




             The dynamic ARP lists are displayed.
         2 To create a new list and enter the first address pair in it, click Add, and
           enter the fields:
             •   List Name — Create and enter a list name.
             •   IP Address — Enter the IP address that will be mapped to the MAC
                 address entered below.
             •   MAC Address — Enter the MAC address that will be mapped to the
                 IP address entered above.




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      Creating a Dynamic ARP Inspection List Using CLI Commands
      The following table summarizes the CLI commands for configuring the fields
      in the Dynamic ARP Inspection List pages.

      Table 18-2. Dynamic ARP Inspection List CLI Commands

      CLI Command                             Description
      ip arp inspection list                  Creates a static ARP binding list and
      create name                             enters the ARP list configuration mode.
      no ip arp inspection list               Use the no form of this command to
      create name                             delete the list.

      The following is an example of some of the CLI commands:
          console(config)# ip arp inspection list create servers
          console(config-ARP-list)#




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        Dynamic ARP Inspection Entries
        To add additional addresses to the lists defined in the Dynamic ARP
        Inspection List page:
         1 Click Switching > Dynamic ARP Inspection Entries > Dynamic ARP
           Inspection Entries in the tree view to display the Dynamic ARP
           Inspection Entries: Summary page.

        Figure 18-3. Dynamic ARP Inspection Entries: Summary




             The dynamic ARP entries for the selected list are displayed.
         2 To add a new address pair to a list, click Add and select the list.
         3 Enter the fields:
             •   IP Address — Enter the IP address that will be mapped to the MAC
                 address entered below.
             •   MAC Address — Enter the MAC address that will be mapped to the
                 IP address entered above.




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      Adding Entries to a Dynamic ARP Inspection List Using CLI Commands
      The following table summarizes the CLI commands for configuring the fields
      in the Dynamic ARP Inspection Entries pages.

      Table 18-3. Dynamic ARP Inspection List Entries CLI Commands

      CLI Command                             Description
      ip ip-address mac-address               Creates a static ARP binding.
      mac-address                  Use the no form of this command to
      no ip ip-address mac-address delete a static ARP binding..
      mac-address
      show ip arp inspection list             Displays the static ARP binding list.

      The following is an example of some of the CLI commands:
          console(config)# ip arp inspection list create servers
          console(config-arp-list)# ip 172.16.1.1 mac-address
          0060.704c.7321
          console(config-arp-list)# ip 172.16.1.2 mac-address
          0060.704c.7322
          console(config-arp-list)# do show ip arp inspection list
          List name: servers
          Assigned to VLANs:
          IP                  MAC
          --------------- ------------------
          172.16.1.1         00:60:70:4c:73:21
          172.16.1.2         00:60:70:4c:73:22
          console(config-arp-list)#




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        VLAN Settings
        To assign a list of IP/MAC address pairs, defined in the Dynamic ARP
        Inspection List pages, to a VLAN:
         1 Click Switching > Dynamic ARP Inspection Entries > VLAN Settings in
           the tree view to display the VLAN Settings: Summary page.

        Figure 18-4. VLAN Settings: Summary




             The VLANs and their associated lists of IP/MAC address pairs are
             displayed.
         2 To designate a VLAN to be associated with an ARP inspection list, click
           Add VLAN and enter the VLAN ID.
         3 Click Assign and select the List Name to be associated with the VLAN.




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      Assigning IP/MAC Address Pairs to VLANs Using CLI Commands
      The following table summarizes the CLI commands for configuring the fields
      in the VLAN Settings pages.

      Table 18-4. Assigning IP/MAC Address Pairs to VLANs CLI Commands

      CLI Command                             Description
      ip arp inspection vlan vlan- Enables ARP inspection on a VLAN, based
      id                           on the DHCP Snooping database.
                                              Use the no form of this command to
                                              disable ARP inspection on a VLAN.
      ip arp inspection list                  Assigns a static ARP binding list to a
      assign vlan-id name                     VLAN.
      no ip arp inspection list               Use the no form of this command to
      assign vlan                             delete the assignment.

      The following is an example of some of the CLI commands:
          console(config)# ip arp inspection list assign 37 servers




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        Trusted Interfaces
        Interfaces are untrusted if the packet is received from an interface outside the
        network or from an interface beyond the network firewall. Trusted interfaces
        receive packets only from within the network or the network firewall.
        To configure an interface to be trusted:
         1 Click Switching Dynamic ARP Inspection Trusted Interface in the
           tree view to display the Trusted Interface: Summary page.

        Figure 18-5. Trusted Interface: Summary




             The ports on the selected unit and their trusted status are displayed.
         2 To modify the status of an interface, click Edit.
         3 Select the interface and enable/disable its Trust Status, which is the
           DHCP Snooping Trust mode.




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      Configuring Trusted Interfaces Using CLI Commands
      The following table summarizes the CLI commands for configuring the fields
      in the Trusted Interface pages.

      Table 18-5. Configuring Trusted Interface Parameters CLI Commands

      CLI Command                             Description
      ip arp inspection trust                 Configures an interface trust state that
      no ip arp inspection trust              determines if incoming ARP packets are
                                              inspected.
                                              Use the no form of this command to
                                              restore the default configuration.
      show ip arp inspection       Displays the ARP inspection configuration
      [[gigabitethernet|tengigabit for all interfaces or a specific interface.
      ethernet] port-number|port-
      channel LAG-number]

      The following is an example of some of the CLI commands:
          console(config)# interface gi1/0/3
          console(config-if)# ip arp inspection trust




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                                                                         19
        DHCP Snooping
        This section describes DHCP Snooping and DHCP Relay features.
        It contains the following topics:
         •   DHCP Snooping
         •   DHCP Relay




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      DHCP Snooping
      This section describes DHCP snooping.
      It contains the following topics:
          •   DHCP Snooping Overview
          •   Global Parameters
          •   VLAN Settings
          •   Trusted Interfaces
          •   Snooping Binding Database

      DHCP Snooping Overview
      DHCP snooping expands network security by providing layer security
      between untrusted interfaces and DHCP servers. By enabling DHCP
      snooping, network administrators can differentiate between trusted interfaces
      connected to end-users or DHCP Servers, and untrusted interfaces located
      beyond the network firewall.

      How DHCP Snooping Works
      DHCP snooping filters untrusted messages, and stores these messages in a
      database. Interfaces are untrusted if the packet is received from an interface
      outside the network, or from an interface beyond the network firewall.
      Trusted interfaces receive packets only from within the network or the
      network firewall.
      The DHCP Snooping Binding database contains the untrusted interfaces’
      MAC address, IP address, Lease Time, VLAN ID, and interface information.
      Table 21-1 describes how DHCP packets are handled when DHCP snooping
      is enabled on an interface.

      Table 19-1. DHCP Packet Handling when DHCP Snooping is Enabled

      Packet Type                  Arriving from Untrusted    Arriving from Trusted
                                   Ingress Interface          Ingress Interface
      DHCPDISCOVER                 Forward to trusted         Forwarded to trusted
                                   interfaces only.           interfaces only.




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        Table 19-1.   DHCP Packet Handling when DHCP Snooping is Enabled (Continued)

        Packet Type                Arriving from Untrusted   Arriving from Trusted
                                   Ingress Interface         Ingress Interface
        DHCPOFFER                   Filter.                  Forward the packet
                                                             according to DHCP
                                                             information. If the
                                                             destination address is
                                                             unknown the packet is
                                                             filtered.
        DHCPREQUEST                Forward to trusted        Forward to trusted
                                   interfaces only.          interfaces only.
        DHCPACK                    Filter.                   Same as DHCPOFFER
                                                             and an entry is added to
                                                             the Binding database.
        DHCPNAK                     Filter.                  Same as DHCPOFFER.
                                                             Remove entry if exists.
        DHCPDECLINE                Check if there is         Forward to trusted
                                   information in the        interfaces only
                                   database. If the
                                   information exists and
                                   does not match the
                                   interface on which the
                                   message was received, the
                                   packet is filtered.
                                   Otherwise the packet is
                                   forwarded to trusted
                                   interfaces only, and the
                                   entry is removed from
                                   database.
        DHCPRELEASE                Same as                   Same as
                                   DHCPDECLINE.              DHCPDECLINE.
        DHCPINFORM                 Forward to trusted        Forward to trusted
                                   interfaces only.          interfaces only.
        DHCPLEASEQUERY             Filtered.                 Forward.




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      As shown in Table 21-1, the DHCP Snooping Binding database is updated by
      interception of DHCPACK, DHCPDECLINE and DHCPRELEASE packets,
      and is stored in non-volatile memory.
      Even if a port is down, its entries are not deleted.
              NOTE: Only DHCP requests on untrusted ports are maintained in the Binding
              database.

      Limitations
      The following limitations apply:
          •   Enabling DHCP snooping uses TCAM resources.
          •   The switch writes changes to the binding database only when the switch
              system clock is synchronized with SNTP.
          •   The switch does not update the Binding database when a station moves to
              another interface.

      Global Parameters
      Use the Global Parameters page to:
          •   Enable/disable DHCP snooping globally.
          •   Determine whether to forward or filter DHCP packets received from
              untrusted interfaces, whose source MAC address and the DHCP client
              MAC address do not match.
          •   Determine whether to forward or filter DHCP packets, received from
              untrusted interfaces, with option-82 information.
          •   Set Binding database update interval.




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        To configure DHCP snooping on the device:
         1 Click Switching > DHCP Snooping > Global Parameters in the tree view
           to display the Global Parameters page.

        Figure 19-1. Global Parameters




         2 Enable/disable DHCP snooping on the device in the DHCP Snooping
           Status field.
         3 If DHCP snooping is enabled, enter the fields:
             –   Option 82 Passthrough — Enable/disable whether to forward (enable)
                 or filter (disable) DHCP packets, received from untrusted interfaces,
                 with option-82 information.
             –   Verify MAC Address — Enable/disable MAC addresses verification.
                 This determines whether to forward (enable) or filter (disable) DHCP
                 packets received from untrusted interfaces, whose source MAC
                 address and the DHCP client MAC address do not match.
             –   Save Binding Database to File — Enable/disable saving the DHCP
                 snooping database to flash memory.
             –   Save Binding Database Internal (600-86400) — Enter how often, in
                 seconds, the Binding database is updated.

        Configuring DHCP Snooping Global Parameters Using CLI Commands



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      The following table summarizes the CLI commands for configuring DHCP
      snooping global parameters.
      Table 19-2. DHCP Snooping Global Parameters CLI Commands

      CLI Command                               Description
      ip dhcp snooping                          Globally enables DHCP snooping.
      no ip dhcp snooping                       Use the no form of this command to
                                                return to the default setting.
      ip dhcp snooping information    Allows a device to accept DHCP
      option allowed-untrusted        packets with option-82 information
      no ip dhcp snooping information from an untrusted port.
      option allowed-untrusted        Use the no form of this command to
                                      return to the default setting.
      ip dhcp snooping verify                   Configures the switch to verify on an
      no ip dhcp snooping verify                untrusted port that the source MAC
                                                address in a DHCP packet matches the
                                                client hardware address.
                                                Use the no form of this command to
                                                configure the switch to not verify the
                                                MAC addresses.
      ip dhcp snooping database                 Configures the DHCP snooping
      no ip dhcp snooping database              binding file.
                                                Use the no form of this command to
                                                delete the binding file.
      ip dhcp snooping database                 Configures the update frequency of
      update-freq seconds                       the DHCP snooping binding file.
      no ip dhcp snooping database              Use the no form of this command to
      update-freq                               return to default.
      show ip dhcp snooping           Displays the DHCP snooping
      [[gigabitethernet|tengigabiteth configuration.
      ernet] port-number|port-channel
      LAG-number]




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        The following is an example of some of the CLI commands:
         console(config)# ip dhcp snooping
         console(config)# ip dhcp snooping information option
         allowed-untrusted
         console(config)# ip dhcp snooping verify
         console(config)# ip dhcp snooping database
         console(config)# ip dhcp snooping database frequency 1200
         console# show ip dhcp snooping
         DHCP snooping is enabled
         DHCP snooping database: enabled
         Option 82 on untrusted port is allowed
         Verification of hwaddr field is enabled
         DHCP snooping file update frequency is configured to: 1200
         seconds
                  Interface     Trusted
                  ---------     ----------
                  gi2/0/1       yes
                  gi2/0/2       yes




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      VLAN Settings
      To separate ports in a VLAN, enable DHCP snooping on it.
      Before you enable DHCP snooping on a VLAN, you must globally enable
      DHCP snooping on the device.
      When DHCP snooping is disabled for a VLAN, the Binding entries that were
      collected for that VLAN are removed from the Binding database.
      To enable/disable DHCP snooping on a VLAN:
          1 Click Switching > DHCP Snooping > VLAN Settings in the tree view to
            display the VLAN Settings page.

      Figure 19-2. VLAN Settings




             The list of existing VLANs are displayed in the VLAN ID list.
          2 Click Add to move the VLANs, for which you want to enable DHCP
            snooping, from the VLAN ID list to the Enabled VLANs list. To remove a
            VLAN, click Remove to move it from the Enabled VLANs list to the
            VLAN ID list.




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        Configuring DHCP Snooping on VLANs Using CLI Commands
        The following table summarizes the CLI commands for configuring DHCP
        snooping on VLANs .
        Table 19-3. DHCP Snooping on VLANs CLI Commands

        CLI Command                            Description
        ip dhcp snooping vlan vlan-id          Enables DHCP snooping on a VLAN.
        no ip dhcp snooping vlan-id            Use the no form of this command to
                                               disable DHCP snooping on a VLAN.

        The following is an example of some of the CLI commands:
         console(config)# ip dhcp snooping vlan 1




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          Trusted Interfaces
          To define a trusted interface:
           1 Click Switching > DHCP Snooping > Trusted Interface in the tree view
             to display the Trusted Interface: Summary page.

          Figure 19-3. Trusted Interfaces: Summary




               A list of the interfaces is displayed.
           2 To change the trust status of an interface, click Edit, and enter the fields:
               –    Interface — Select a unit and port or LAG.
               –    Trust Status — Enable/disable DHCP Snooping Trust mode on the
                    selected port or LAG.




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        Configuring DHCP Snooping Trusted Interfaces Using CLI Commands
        The following table summarizes the CLI commands for configuring DHCP
        snooping trusted interfaces.

        Table 19-4.   DHCP Snooping Trusted Interfaces CLI Commands

        CLI Command                      Description
        ip dhcp snooping trust Configures an interface as trusted for DHCP
        no ip dhcp snooping    snooping purposes.
        trust                            Use the no form of this command to return to the
                                         default setting.

        The following is an example of some of the CLI commands:
         console(config)# interface gi1/0/5
         console(config-if)# ip dhcp snooping trust

        Snooping Binding Database
        Entries in the DHCP Snooping Binding database consist of pairs of MAC/IP
        addresses.
        In addition to the entries added by DHCP snooping, entries to the Snooping
        Binding database can be manually added or deleted. These entries are added
        to the Snooping Binding database and Snooping Binding file, if it exists, but
        they are not added to the configuration files.
        A manually-added entry can be either dynamic or a static. When configuring
        a dynamic entry, an expiration date must be assigned.
        The refresh time (in seconds) of the binding table is added in the Global
        Parameters pages.




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          To query and add IP addresses to the Binding database:
           1 Click Switching > DHCP Snooping > Binding Database in the tree view
             to display the Binding Database: Summary page.

          Figure 19-4. Binding Database




               A list of the database entries is displayed.
           2 To query the database, enter query criteria and click Query. Database
             entries matching the query are displayed.
           3 To add a entry, click Add, and enter the fields:
               –   Type — Select the entry type. The possible options are:
                   •    Static —IP address was statically configured.
                   •    Dynamic —IP address was dynamically configured.
               –   MAC Address — Enter the MAC address to be recorded in the entry.



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              –       VLAN ID — Select the VLAN ID to which the IP address is
                      associated in the entry.
              –       IP Address — Enter the IP address to be recorded in the entry.
              –       Interface — Select the unit and port or LAG to be recorded in the
                      entry.
              –       Lease Time — If the entry is dynamic, enter the amount of time that
                      the entry will be active in the DHCP Database. If there is no Lease
                      Time, check Infinite.

        Configuring DHCP Snooping Binding Database Using CLI Commands
        The following table summarizes the CLI commands for configuring the
        DHCP Snooping Binding database.

        Table 19-5.     DHCP Snooping Binding Database CLI Commands

        CLI Command                                        Description
        ip dhcp snooping database                          Enables the DHCP Snooping
        no ip dhcp snooping database                       binding database file.
                                                           Use the no form of this command
                                                           to delete the DHCP Snooping
                                                           binding database file.
        ip dhcp snooping database update- Enables the DHCP Snooping
        freq seconds                      binding database file.
        no ip dhcp snooping database                       Use the no form of this command
        update-freq                                        to delete the DHCP Snooping
                                                           binding database file.
        ip dhcp snooping binding mac-                      Configures the DHCP snooping
        address vlan-id ip-address                         binding database and adds
        [gigabitethernet|tengigabitethern                  binding entries to the database.
        et] port-number|port-channel LAG-                  Use the no form of this command
        number] expiry {seconds|infinite}                  to delete entries from the binding
        no ip dhcp snooping binding mac-                   database.
        address vlan-id
        clear ip dhcp snooping database                    Clears the DHCP binding
                                                           database.




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          Table 19-5.   DHCP Snooping Binding Database CLI Commands (Continued)

          CLI Command                                        Description
          show ip dhcp snooping binding                      Displays the DHCP snooping
          [mac-address mac-address] [ip-                     binding database and
          address ip-address] [vlan vlan-                    configuration information for all
          id][[gigabitethernet|tengigabitet                  interfaces or some interfaces on a
          hernet] port-number|port-channel                   switch.
          LAG-number]]

          The following is an example of some of the CLI commands:
           console(config)# ip dhcp snooping database
           console(config)# ip dhcp snooping update-freq 3600
           console# show ip dhcp snooping binding
           Update frequency: 3600
           Total number of binding: 2
           MAC Address          IP Address   Lease      Type               VLAN     Interface
                                             (sec)
           -----------          ----------   ------     --------           -----    ----------
           0060.704C.73FF       10.1.8.1     7983       snooping           3        gi1/0/21
           0060.704C.7BC1       10.1.8.2     92332      snooping           (s)3     gi1/0/22




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        DHCP Relay
        This section describes DHCP relay.
        It contains the following topics:
         •   DHCP Relay Overview
         •   Option 82
         •   Global Settings
         •   Interface Settings

        DHCP Relay Overview
        The device can act as a DHCP Relay agent that listens for DHCP messages,
        and relays them between DHCP servers and clients, which reside in different
        VLANs or IP subnets.
        This functionality is intended to be used when the client ingress VLAN is
        different than the VLAN on which DHCP servers are connected.
        The switch can relay DHCP messages received from its IPv4 interfaces to one
        or more configured DHCP servers. The switch puts the IPv4 address into the
        message giaddr before relaying it to the servers. It uses the switch’s IPv4
        address of the interface where the message is received. The switch uses the
        giaddr from the response to determine how to forward the response back to
        the DHCP client.
        DHCP Relay must be enabled globally and per VLAN.




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          Option 82 Overview
          The relay agent information option (Option 82) in the DHCP protocol
          enables a DHCP relay agent to send additional client information when
          requesting an IP address. Option 82 specifies the relaying switch's MAC
          address, the port identifier, and the VLAN that forwarded the packet.
          Both DHCP snooping and DHCP relay can insert option 82 into traversing
          packets.
          DHCP snooping with option 82 insertion provides transparent Layer 2 relay
          agent functionality when the DHCP server is on the same VLAN as the
          clients.

          Limitations
          The following limitations exist for DHCP Relay:
           •   It is not supported on IPv6.
           •   It is not relayed to servers on the client’s VLAN.
           •   Packets that have option-82 information, added by other devices, are
               discarded.
           •   It does not support Option 82 on non-VLAN interfaces.
           •   It can be enabled only on a VLAN/Port/LAG that has an IP address defined
               on it.




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        Option 82
        To enable Option82 insertion:
         1 Click Switching > DHCP Relay > Option 82 in the tree view to display
           the Option 82 page.

        Figure 19-5. Option 82




         2 Enable/disable Option 82 insertion.




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          Configuring Option 82 Using CLI Commands
          The following table summarizes the CLI commands for defining fields
          displayed in the Option 82 page.

          Table 19-6.   CLI Option 82 Commands

          CLI Command                              Description
          ip dhcp information option               Enables DHCP option-82 data insertion.
          no ip dhcp information option Use the no form of this command to
                                        disable DHCP option-82 data insertion.

          The following is an example of the CLI command:
           console(config)# ip dhcp information option

          Global Settings
          To set the DHCP Relay global settings:
            1 Click Switching > DHCP Relay > Global Settings in the tree view to
              display the Global Settings: Summary page.

          Figure 19-6. Global Settings: Summary




                The currently-define DHCP servers are displayed.
            2 Enable/disable DHCP relay.

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          3 To add a DHCP server, click Add.
          4 Enter the IP address of the DHCP server in the DHCP Server IP Address
            field.

        Defining Global Parameters Using CLI Commands
        The following table summarizes the CLI commands for defining fields
        displayed in the Global Settings pages.

        Table 19-7.   Global Parameters CLI Commands

        CLI Command                              Description
        ip dhcp relay enable                     Enables DHCP relay features on the
        no ip dhcp relay enable                  device.
                                                 Use the no form of this command to
                                                 disable the DHCP relay agent.
        ip dhcp relay address ip-                Defines the DHCP servers available for
        address                                  the DHCP relay.
        no ip dhcp relay address [ip- Use the no form of this command to
        address]                      remove servers from the list.
        show ip dhcp relay                       Displays the server addresses on the
                                                 DHCP relay.

        The following is an example of the CLI commands:
         console(config-if)# ip dhcp relay enable
         console(config)# ip dhcp relay address 176.16.1.1
         console(config)# do show ip dhcp relay
         DHCP relay is Enabled
         Option 82 is Disabled
         Maximum number of supported VLANs without IP Address is 0
         DHCP relay is not configured on any port.
         DHCP relay is not configured on any VLAN.
         Servers: 176.16.1.1
         console(config)#



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          Interface Settings
              . NOTE: For DHCP Relay to function on an interface, it also must be activated
               globally in the Global Settings page.
          To enable DHCP relay on a port, LAG, or VLAN:
           1 Click Switching > DHCP Relay > Interface Settings in the tree view to
             display the Interface Settings: Summary page.

          Figure 19-7. Interface Settings: Summary




               The currently-define DHCP interfaces are displayed.
           2 To enable DHCP relay on an interface, click Add.
           3 Select the interface.




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        Defining Interface Settings Using CLI Commands
        The following table summarizes the CLI commands for defining fields
        displayed in the Interface Settings pages.

        Interface Settings Parameters CLI Commands

        CLI Command                          Description
        ip dhcp relay enable                 Enables the DHCP relay features on the
        no ip dhcp relay enable              interface (in Interface Configuration
                                             mode).
                                             Use the no form of this command to
                                             disable the DHCP relay agent feature on
                                             the interface.
        ip dhcp relay address ip-            Defines a DHCP servers available for
        address                              DHCP relay.
        no ip dhcp relay address             Use the no form of this command to
                                             remove servers from the list.

        The following is an example of the CLI commands that enable DHCP Relay
        on VLAN 2, assign it an IP address and show the DHCP Relay status:
         console(config)# interface vlan 2
         console(config-if)# ip dhcp relay enable
         console(config)# ip dhcp relay address 176.16.1.1
         console> show ip dhcp relay
         DHCP relay is Enabled
         Option 82 is Disabled
         Maximum number of supported VLANs without IP Address is 0
         DHCP relay is not configured on any port.
         DHCP relay is not configured on any vlan.
         No servers configured




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      iSCSI Optimization
      This section describes iSCSI optimization.
      It contains the following topics:
          •   Optimizing iSCSI Overview
          •   Global Parameters
          •   iSCSI Targets
          •   iSCSI Sessions
          •   Configuring iSCSI Using CLI




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        Optimizing iSCSI Overview
        The Internet Small Computer System Interface (iSCSI) is an IP-based
        storage networking standard for linking data storage facilities. By carrying
        SCSI commands over IP networks, iSCSI is used to facilitate data transfers
        over intranets, and to manage storage over long distances.
        iSCSI can be used to transmit data over local area networks (LANs), wide area
        networks (WANs), or the Internet, and can enable location-independent data
        storage and retrieval.
        Unlike traditional Fiber channels, which requires special-purpose cabling,
        iSCSI can be run over long distances, using existing network infrastructure.
        The protocol enables clients (called initiators) to send SCSI commands
        (CDBs) to SCSI storage devices (targets) on remote servers. This enables
        organizations to consolidate storage into data center storage arrays, while
        providing hosts (such as database and web servers) with the illusion of
        locally-attached disks.
        The targets listen on a well-known TCP port (or any other TCP port that has
        been explicitly specified) for incoming connections. The login process is
        started when the initiator establishes a TCP connection to the desired target,
        through the TCP port that was explicitly specified.
        The group of iSCSI TCP connections that link an initiator with a target is
        called an iSCSI session.
        When you connect an EqualLogic device to the switch, and iSCSI
        optimization is enabled, the switch automatically recognizes the port to
        which the EqualLogic equipment is connected to, and configures the STP
        Mode to RSTP to support fast network convergence.

        Optimizing iSCSI
        iSCSI optimization provides the following features:
         •   Ability to assign a specific QoS profile to the iSCSI flows
         •   Display of iSCSI session details (connections, initiator, target, and so on)
         •   Identification of (self-discovered) iSCSI sessions
         •   Identification of iSCSI session termination
         •   Identification of non-active iSCSI sessions



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      Limitations
      The following limitations exist:
          •   All iSCSI connections receive the relevant QoS, regardless of whether they
              are being monitored or not. If, for example, a feature was disabled for some
              period and was enabled again, it is possible that there are iSCSI TCP
              connections that were established during this period of time. These cannot
              be monitored, because all relevant information was already passed at the
              beginning of the session. But these unidentified sessions will still be
              assigned to iSCSI QoS.
          •   The maximum number of iSCSI TCP connections, which is also the
              default setting, is 1K. This can be changed after reset.
          •   The number of iSCSI connections affects other system features.
              iSCSI-aware, DHCP Snooping, and ACL rules all use the TCAM system
              resource. If the number of iSCSI connections has been increased, the
              other application rules (DHCP Snooping or ACL) can be removed after
              reset.
          •   If the target uses redirect messages upon the initiator request, and, as a
              result, the initiator opens a connection to a different target, the new target
              must be configured as part of the general configuration.
          •   Only iSCSI flows to targets that use the iSCSI well-known port or other
              explicit user-defined configuration are assigned QoS.
          •   The aging configuration works for each connection. The mechanism
              checks connection activities in a group of 28 TCP iSCSI connections,
              within the aging time. In the worst case, when the maximum number of
              1K TCP connections are monitored and are not terminated gracefully, the
              mechanism causes inaccuracy, namely, the last 28 TCP iSCSI connections
              are aged out after (1K/28)*aging-time.
          •   In general, the greater the number of ungracefully terminated iSCSI TCP
              connections, the greater the inaccuracy is. Not all iSCSI TCP connections
              are monitored for aging at the same time. Sessions, whose associated TCP
              connections are not being currently monitored, will show unchanged aging
              time.
          •   Encryption (Ipsec) must not be applied on iSCSI traffic, otherwise a QoS
              profile will not be assigned to iSCSI.
          •   iSCSI optimization does not work with IP fragmented frames.


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         •   Each session supports at most four TCP connections. If a new TCP
             connection of an already opened iSCSI session arrives, and there are
             already four TCP connections, the new connection replaces the oldest one,
             within this specific iSCSI session.
         •   A short flow interruption, caused by STP topology change or
             administrative port-down action, might cause the TCP connection to
             reinitiate without closing the iSCSI session. If the actual iSCSI session
             used only one TCP connection, the reinitiated one will be added to the
             monitoring table, for an aging-time period. After that, it is removed from
             the list.




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      Global Parameters
      Use the Global Parameters page to enable iSCSI and to set iSCSI QoS frame
      priority. You may also enable Remark to change the DSCP or CoS user
      priority field in the packet. In the QoS Properties pages, you can then set the
      queuing to strict priority or WRR, and map the CoS or DSCP to the desired
      queue in the CoS to Queue or DSCP to Queue pages.
      To enable iSCSI and set its QoS parameters:
          1 Click System > iSCSI Optimization > Global Parameters in the tree
            view to display the Global Parameters page.

      Figure 20-1. Global Parameters




          2 Enter the fields:
             –   iSCSI Status — Enable/disable iSCSI optimization.
             –   iSCSI COS Status — Enable/disable the Class of Service profile to
                 apply to iSCSI flows.
             –   Classification — Select whether the priority of iSCSI packets is
                 determined by CoS or DSCP. Check the classification, and select the
                 desired value.
             –   Remark — Enable/disable whether iSCSI frames will be remarked
                 with the CoS or DSCP value.



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              –       iSCSI Aging Time — Enter how long the device will wait, after the
                      last received frame of an iSCSI session, before deleting the session
                      from the list.
        Enabling iSCSI automatically enables Jumbo frames and enables Flow
        Control on all interfaces. Jumbo frames are only enabled after copying the
        Running configuration to the Startup configuration and resetting the device
        (the Flow Control changes are effective immediately).

        Defining iSCSI Global Parameters Using CLI Commands
        The following table summarizes the CLI commands for defining fields
        displayed in the iSCSI Global Parameters pages.

        Table 20-1.     iSCSI Global Parameters CLI Commands

        CLI Command                                  Description
        iscsi enable                                 Enables iSCSI awareness.
        no iscsi enable                              Use the no form of the command to
                                                     disable iSCSI awareness.
        iscsi cos {vpt vpt|dscp dscp} Sets the quality of service profile that will
        [remark]                      be applied to iSCSI flows.
        no iscsi cos                                 Use the no form of the command to
                                                     return to default.
        iscsi aging time minutes                     Sets the aging time for iSCSI sessions.
        no iscsi aging time                          Use the no form of the command to
                                                     cancel aging.
        show iscsi                                   Displays iSCSI settings.




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      The following is an example of the CLI commands:
          console(config)# iscsi enable
          console(config)# iscsi cos dscp 31
          console(config)# iscsi aging time 10
          console# show iscsi
          Target: iqn.1993-11.com.disk-vendor:diskarrays.sn.45678
          --------------------------------------------------------
          Session 1:
          ---------
          Initiator: iqn.1992-04.com.os-vendor.plan9:cdrom.12.
          storage:sys1.xyz
          Time started: 23-Jul-2002 10:04:50
          Time for aging out: 10 min
          ISID: 11


          Initiator    Initiator        Target          Target
          IP Address   TCP Port         IP Address      IP port
          ----------   ---------        ----------      -------
          172.16.1.3   49154            172.16.1.20         30001




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        iSCSI Targets
        To add an iSCSI target:
         1 Click System > iSCSI Optimization > iSCSI Targets in the tree view to
           display the iSCSI Targets: Summary page.

        Figure 20-2. iSCSI Targets: Summary




             The currently-defined targets are displayed.
         2 To add a new target, click Add.
         3 Enter the fields:
             –   TCP Port — TCP port used by the target for iSCSI communications.
             –   IP Address — IP address of the target. The IP address 0.0.0.0 is any IP
                 address.
             –   Target Name (0-223 characters) — Name of the target.



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      Defining iSCSI Targets Using CLI Commands
      The following table summarizes the CLI commands for defining fields
      displayed in the iSCSI Targets Table.

      Table 20-2. iSCSI Targets Table CLI Commands

      CLI Command                              Description
      iscsi target port tcp-port-1             Configures iSCSI port/s, target address
      [tcp-port-2… tcp-port-8]                 and name.
      [address ip-address] [name               Use the no form of this command to
      target-name]                             delete an iSCSI target.
      no iscsi target port tcp-
      port-1 [tcp-port-2… tcp-port-
      8] [address ip-address]
      show iscsi sessions                      Show the current iSCSI targets and
                                               sessions.

      The following is an example of the CLI commands:
          console(config)# iscsi target port 30001 address
          176.16.1.1 name iqn.1993-11.com.disk
          vendor:diskarrays.sn.45678.tape:sys1.xyz




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        iSCSI Sessions
        To display information about iSCSI communications to various targets:
         1 Click System > iSCSI Optimization > iSCSI Sessions in the tree view to
           display the iSCSI Sessions page.

        Figure 20-3. iSCSI Sessions




         2 Select a target and click Details. The following is displayed:
             –   Target Name — The name of the target.
             –   Initiator Name — The name of the initiator.
             –   ISID — The iSCSI session ID.
             –   Session Life Time — The amount of time that has passed since the
                 first frame of the session.
             –   Aging Time — The time left until the session ages out and is
                 removed.


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             –   Initiators/Targets — The IP address and TCP port used by each
                 initiator and target in the session is displayed.

      Displaying iSCSI Sessions Using CLI Commands
      The following table summarizes the CLI commands for displaying iSCSI
      sessions.

      Table 20-3. iSCSI CLI Commands

      CLI Command                             Description
      show iscsi sessions                     Displays iSCSI sessions
      [detailed]

      The following is an example of the CLI commands:
          console(config)# show iscsi sessions
          Target: iqn.1993-11.com.disk-vendor:diskarrays.sn.45678
          -------------------------------------------------------------
          Initiator: iqn.1992-04.com.os-vendor.plan9:cdrom.12
          ISID: 11
          Initiator: iqn.1995-05.com.os-vendor.plan9:cdrom.10
          ISID: 222
          --------------------------------------------------------------
          Target: iqn.103-1.com.storage-vendor:sn.43338.storage.tape:sys1.xyz
          --------------------------------------------------------------
          Initiator: iqn.1992-04.com.os-vendor.plan9:cdrom.12
          ISID: 44
          Initiator: iqn.1995-05.com.os-vendor.plan9:cdrom.10
          ISID: 65
          --------------------------------------------------------------
          console# show iscsi sessions detailed
          Target: iqn.1993-11.com.disk-vendor:diskarrays.sn.45678
          --------------------------------------------------------------
          Session 1:
          ---------
          Initiator: iqn.1992-04.com.os-vendor.plan9:cdrom.12.storage:sys1.xyz
          UP Time: 02:10:45 (DD:HH:MM)
          Time for aging out: 10 min
          ISID: 11
          Initiator IP Address Initiator TCP Port Target IP Address     Target IP Port
          --------------------   ----------------- ----------------     -------------
          172.16.1.3             49154              172.16.1.20         3001
          172.16.1.3             49154              172.16.1.20         3001
          1172.16.1.3             49154              172.16.1.20         3001
          30001Initiator: iqn.1995-05.com.os-vendor.plan9:cdrom.10
          Status: Active
          UP Time: 00:04:50 (DD:HH:MM)
          Time for aging out: 2 min
          ISID: 22




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      Configuring iSCSI Using CLI
      The following is a sample procedure to configure the iSCSI feature using CLI:

      Table 20-4. Sample CLI Script to Configure iSCSI

      CLI Command                                Description
      iscsi enable                              Enable iSCSI.
      iscsi cos vpt 2 remark                    Set iSCSI flow to use VPT 2 (Layer 2
                                                CoS). This VPT value replaces the
                                                original VPT in the packet.
      show iscsi sessions                       Verify that iSCSI is enabled and that the
                                                iSCSI flows are displayed.




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        Statistics/RMON
        This section describes many of the statistics available on the device. The only
        exception is the QoS statistics described in "Quality of Service" on page 640.
        It contains the following topics:
         •   Table Views
         •   RMON Components
         •   Charts




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        Table Views
        This section displays statistics in table form.
        It contains the following topics:
         •   Denied ACEs Counters
         •   Utilization Summary
         •   Counter Summary
         •   Interface Statistics
         •   Etherlike Statistics
         •   GVRP Statistics
         •   EAP Statistics




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      Denied ACEs Counters
      The Denied ACEs counters contain the number of packets that were dropped
      (denied) because they did not meet ACL criteria expressed in some ACE.
      To display the denied ACE counters:
          1 Click Statistics/RMON > Table Views > Denied ACEs Counters in the
            tree view to display the Denied ACEs Counters page.

      Figure 21-1. Denied ACEs Counters




             The global number of dropped packets is displayed along with the number
             of dropped packets on each interface.
          2 To clear the counters, select either a stack unit and port or LAG. All
            ports/LAGs in the unit are displayed.
          3 Mark the counters to be cleared and click Clear Counters.
          4 To clear all counters, click Clear All Counters.



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        Viewing Denied ACE Counters Statistics Using the CLI Commands
        The following table contains the CLI commands for viewing denied ACE
        counters statistics.

        Table 21-1.   Denied ACE Counters CLI Commands

        CLI Command                              Description
        show interfaces access-lists Displays Access List counters.
        counters
        [gigabitethernet|tengigabite
        thernet] port-number|port-
        channel LAG-number]

        The following is an example of the CLI commands:
          console# show interfaces access-lists counters
          Interface Denied ACE hits
          --------- -------------
          gi1/0/1                55
          gi1/0/2                33
          gi1/0/3                32




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      Utilization Summary
      Use the Utilization Summary page to display interface utilization. This page
      is refreshed periodically to minimize impact on performance. Display may be
      disrupted during this period.
      To display interface utilization statistics:
          1 Click Statistics/RMON > Table Views > Utilization Summary in the tree
            view to display the Utilization Summary page.

      Figure 21-2. Utilization Summary




          2 Select a unit and port/LAG.
             The following fields are displayed:
             –   Port/LAG — The port/LAG number.
             –   Interface Status — The status of the interface: Up, Down or Not
                 Present when no port is attached to the LAG.
             –   % Interface Utilization — Network interface utilization percentage,
                 based on the duplex mode of the interface. The range of this reading is
                 from 0 to 200%. The maximum reading of 200% for a full duplex
                 connection indicates that 100% of bandwidth of incoming and
                 outgoing connections is used by the traffic travelling through the
                 interface. The maximum reading for a half duplex connection is 100%.



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            –   % Unicast Received — Percentage of Unicast packets received on the
                interface.
            –   % Non Unicast Packets Received — Percentage of non-Unicast
                packets received on the interface.
            –   % Error Packets Received — Percentage of packets with errors
                received on the interface.
         3 Select one of the Refresh Rate options to specify how frequently the
           statistics should be refreshed.
            The CPU utilization chart is displayed.




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      Counter Summary
      To display the number of received and transmitted packets on ports, as
      numeric figures and not percentages:
          1 Click Statistics/RMON > Table Views > Counter Summary in the tree
            view to display the Counter Summary page.

      Figure 21-3. Counter Summary




             Counters for the selected units or LAG are displayed.
          2 Select a port/LAG.
             The following fields are displayed:
             –   Port/LAG — The interface number.
             –   Interface Status — Status of the interface: Up or Down.
             –   Received Unicast Packets — Number of received Unicast packets on
                 the interface.


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            –   Transmitted Unicast Packets — Number of transmitted Unicast
                packets from the interface.
            –   Received Non Unicast Packets — Number of received non-Unicast
                packets on the interface.
            –   Transmitted Non Unicast Packets — Number of transmitted non-
                Unicast packets from the interface.
            –   Received Errors — Number of received packets with errors on the
                interface.
         3 Select one of the Refresh Rate options to specify how frequently the
           counters should be refreshed.




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      Interface Statistics
      To display the number of received and transmitted packets on an interface:
          1 Click Statistics/RMON > Table Views > Interface Statistics in the tree
            view to display the Interface Statistics page.

      Figure 21-4. Interface Statistics




          2 Select a port/LAG.
          3 Select one of the Refresh Rate options to specify how frequently the
            counters should be refreshed.
             The following fields are displayed:
             Receive Statistics
             –   Total Bytes (Octets) — Amount of octets received on the selected
                 interface.




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            –   Unicast Packets — Number of Unicast packets received on the
                selected interface.
            –   Multicast Packets — Number of Multicast packets received on the
                selected interface.
            –   Broadcast Packets — Number of Broadcast packets received on the
                selected interface.
            –   Packets with Errors — Number of errors packets received on the
                selected interface.
            Transmit Statistics
            –   Total Bytes (Octets) — Number of octets transmitted from the
                selected interface.
            –   Unicast Packets — Number of Unicast packets transmitted from the
                selected interface.
            –   Multicast Packets — Number of Multicast packets transmitted from
                the selected interface.
            –   Broadcast Packets — Number of Broadcast packets transmitted from
                the selected interface.
         4 Click Reset All Counters to clear these counters.




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      Etherlike Statistics
      To display interface error statistics:
          1 Click Statistics/RMON > Table Views > Etherlike Statistics in the tree
            view to display the Etherlike Statistics page.

      Figure 21-5. Etherlike Statistics




          2 Select a port/LAG.
             The following fields are displayed:
             –   Frame Check Sequence (FCS) Errors — Number of frames received
                 that are an integral number of octets in length but do not pass the
                 FCS check.
             –   Single Collision Frames — Number of frames that are involved in a
                 single collision, and are subsequently transmitted successfully.
             –   Late Collisions — Number of collisions detected after the first 512
                 bits of data.

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              –       Excessive Collisions — Number of frames for which transmission fails
                      due to excessive collisions.
              –       Internal MAC Transmit Errors — Number of frames for which
                      reception fails due to an internal MAC sublayer receive error.
              –       Oversize Packets — Number of frames received that exceed the
                      maximum permitted frame size.
              –       Received Pause Frames — Number of MAC Control frames received
                      with a PAUSE operation code.
              –       Transmitted Pause Frames — Number of MAC Control frames
                      transmitted on this interface with a PAUSE operation code.
          3 Select one of the Refresh Rate options to clears the statistics for the
            selected interface.

        Viewing Interface Statistics Using the CLI Commands
        The following table contains the CLI commands for viewing utilization,
        counters and interface statistics.

        Table 21-2.     Interface Statistics CLI Commands

        CLI Command                                  Description
        show interfaces counters     Displays traffic seen by the physical
        [[gigabitethernet|tengigabit interface.
        ethernet] port-number|port-
        channel LAG-number]




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      The following is an example of the CLI command for all ports:
          console# show interfaces counters
          Port       InUcastPkts InMcastPkts InBcastPkts InOctets
          ------- ------------ ----------- ----------- --------
          gi2/0/1    0                  0                 0              0
          gi2/0/2    0                  0                 0              0
          gi2/0/3    0                  0                 0              0
          gi2/0/4    0                  0                 0              0
          gi2/0/5    0                  0                 0              0
          Port        OutUcastPkts OutMcastPkts OutBcastPkts                          OutOctets
          --------- ------------ ------------ ------------ ------------
          gi2/0/1    0                  0                 0                      0
          gi2/0/2    0                  0                 0                      0
          gi2/0/3    0                  0                 0                      0
          gi2/0/4    0                  0                 0                      0


      The following is an example of the CLI command for a single port:
          console# show interfaces counters gi1/0/1
          Port           InUcastPkts        InMcastPkts       InBcastPkts               InOctets
          -------- ------------- ------------ ------------ ------------
          gi1/0/1               0                 0                  0                      0


          Port       OutUcastPkts OutMcastPkts OutBcastPkts                          OutOctets
          -------- ----------- ------------ ------------ ------------
          gi1/0/1    0              0                 0                      0


          Alignment Errors: 0
          FCS Errors: 0
          Single Collision Frames: 0
          Multiple Collision Frames: 0
          SQE Test Errors: 0
          Deferred Transmissions: 0
          Late Collisions: 0
          Excessive Collisions: 0
          Carrier Sense Errors: 0
          Oversize Packets: 0
          Internal MAC Rx Errors: 0
          Symbol Errors: 0
          Received Pause Frames: 0




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        GVRP Statistics
        To display device GVRP statistics:
         1 Click Statistics/RMON > Table Views > GVRP Statistics in the tree view
           to display the GVRP Statistics page.

        Figure 21-6. GVRP Statistics




         2 Select a port/LAG.
             The number of received and transmitted packets in the following counters
             is displayed:
             GVRP Statistics Table
             –    Join Empty — The number of GVRP Join Empty packets.
             –    Empty — The number of GVRP empty packets.
             –    Leave Empty — The number of GVRP Leave Empty packets.
             –    Join In — The number of GVRP Join In packets.


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             –   Leave In — The number of GVRP Leave In packets.
             –   Leave All — The number of GVRP Leave All packets.
             GVRP Error Statistics
             –   Invalid Protocol ID — The number of GVRP Invalid Protocol ID
                 errors.
             –   Invalid Attribute Type — The number of GVRP Invalid Attribute ID
                 errors.
             –   Invalid Attribute Value — The number of GVRP Invalid Attribute
                 Value errors.
             –   Invalid Attribute Length — The number of GVRP Invalid Attribute
                 Length errors.
             –   Invalid Event — The number of GVRP Invalid Events errors.
          3 Select one of the Refresh Rate options to specify how frequently the
            statistics should be refreshed.

      Viewing GVRP Statistics Using the CLI Commands
      The following table contains the CLI commands for viewing GVRP statistics.

      Table 21-3. GVRP Statistics CLI Commands

      CLI Command                                            Description
      show gvrp statistics                                   Displays GVRP statistics.
      [[gigabitethernet|tengigabitethernet
      ] interface|port-channel LAG-number]
      show gvrp error-statistics                             Displays GVRP error
      [[gigabitethernet|tengigabitethernet                   statistics.
      ] interface|port-channel LAG-number]




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        The following is an example of the CLI commands:
         console# show gvrp statistics
         GVRP Statistics:
         ----------------
         Legend:
           rJE     : Join Empty Received       rJIn: Join In Received
           rEmp : Empty Received               rLIn: Leave In Received
           rLE     : Leave Empty Received      rLA : Leave All Received
           sJE     : Join Empty Sent           sJIn: Join In Sent
           sEmp : Empty Sent                   sLIn: Leave In Sent
           sLE     : Leave Empty Sent          sLA : Leave All Sent
         Port      rJE   rJIn   rEmp   rLIn   rLE   rLA   sJE   sJIn   sEmp   sLIn   sLE    sLA
         ----- ----- ----- ----- ----- ----- ----- ---- ----- ----            ---    ----   ---




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      EAP Statistics
      For information about EAP, see "Dot1x Authentication" on page 127.
      To display EAP statistics:
          1 Click Statistics/RMON > Table Views > EAP Statistics in the tree view
            to display the EAP Statistics page.

      Figure 21-7. EAP Statistics




          2 Select a port/LAG.
             The following fields are displayed:
             –   Frames Received — The number of valid EAPOL frames received on
                 the port.
             –   Frames Transmitted — The number of EAPOL frames transmitted
                 via the port.




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              –       Start Frames Receive — The number of EAPOL Start frames received
                      on the port.
              –       Log off Frames Receive — The number of EAPOL Logoff frames
                      received on the port.
              –       Respond ID Frames Receive — The number of EAP Resp/ID frames
                      received on the port.
              –       Respond Frames Receive — The number of valid EAP Response
                      frames received on the port.
              –       Request ID Frames Transmit — The number of EAP Req/ID frames
                      transmitted via the port.
              –       Request Frames Transmitted — The number of EAP Request frames
                      transmitted via the port.
              –       Invalid Frames Receive — The number of unrecognized EAPOL
                      frames received on this port.
              –       Length Error Frames Receive — The number of EAPOL frames with
                      an invalid Packet Body Length received on this port.
              –       Last Frame Version — The protocol version number attached to the
                      most recently received EAPOL frame.
              –       Last Frame Source — The source MAC address attached to the most
                      recently received EAPOL frame.
          3 Select one of the Refresh Rate options to specify how frequently the
            statistics should be refreshed.

        Viewing EAP Statistics Using the CLI Commands
        The following table summarizes the CLI commands for viewing EAP
        statistics.

        Table 21-4.     EAP Statistics CLI Commands

        CLI Command                            Description
        show dot1x statistics                  Displays 802.1X statistics for the
                                               specified interface.




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      The following is an example of the CLI commands:
          console# show dot1x statistics gi1/0/1
          EapolFramesRx: 11
          EapolFramesTx: 12
          EapolStartFramesRx: 1
          EapolLogoffFramesRx: 1
          EapolRespIdFramesRx: 3
          EapolRespFramesRx: 6
          EapolReqIdFramesTx: 3
          EapolReqFramesTx: 6
          InvalidEapolFramesRx: 0
          EapLengthErrorFramesRx: 0
          LastEapolFrameVersion: 1
          LastEapolFrameSource: 0008.3b79.8787




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      RMON Components
      This section describes Remote Monitoring (RMON), which enables network
      managers to display network information from a remote location.
      It contains the following topics:
       •   Statistics
       •   History Control
       •   History Table
       •   Events Control
       •   Events Log
       •   Alarms




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      Statistics
      To display device utilization statistics and errors that occurred on the device:
          1 Click Statistics/RMON > RMON > Statistics in the tree view to display
            the Statistics page.

      Figure 21-8. Statistics




          2 Select a port/LAG.
             The following fields are displayed:
             –   Received Bytes (Octets) — Number of bytes received on the selected
                 interface.
             –   Received Packets — Number of packets received on the selected
                 interface.
             –   Broadcast Packets Received — Number of good Broadcast packets
                 received on the interface since the device was last refreshed. This
                 number does not include Multicast packets.

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         –   Multicast Packets Received — Number of good Multicast packets
             received on the interface, since the device was last refreshed.
         –   CRC&Align Errors — Number of packets received with a length
             (excluding framing bits, but including FCS octets) of between 64 and
             1518 octets, inclusive, but with either a bad Frame Check Sequence
             (FCS) with an integral number of octets (FCS Error) or a bad FCS
             with a non-integral number of octets (Alignment Error).
         –   Undersize Packets — Number of packets received, less than 64 octets
             long (excluding framing bits, but including FCS octets), and
             otherwise well formed.
         –   Oversize Packets — Number of packets received, longer than 1518
             octets (excluding framing bits, but including FCS octets), and
             otherwise well formed.
         –   Fragments — Number of packets received, less than 64 octets in
             length (excluding framing bits but including FCS octets), which has
             either a bad Frame Check Sequence (FCS) with an integral number of
             octets (FCS Error), or a bad FCS with a non-integral number of octets
             (Alignment Error).
         –   Jabbers — Number of packets received, longer than 1518 octets
             (excluding framing bits, but including FCS octets), and having either
             a bad Frame Check Sequence (FCS) with an integral number of
             octets (FCS Error), or a bad FCS with a non-integral number of octets
             (Alignment Error).
         –   Collisions — Number of collisions received on the interface, since the
             device was last refreshed.
         –   Frames of 64 Bytes — Number of 64-byte frames received on the
             interface, since the device was last refreshed.
         –   Frames of 65 to 127 Bytes — Number of 65-127-byte frames received
             on the interface, since the device was last refreshed.
         –   Frames of 128 to 255 Bytes — Number of 128-255-byte frames
             received on the interface, since the device was last refreshed.
         –   Frames of 256 to 511 Bytes — Number of 256-511-byte frames
             received on the interface, since the device was last refreshed.
         –   Frames of 512 to 1023 Bytes — Number of 512-1023-byte frames
             received on the interface, since the device was last refreshed.


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             –   Frames of 1024 to Max Octets — Number of 1024-Max Octet frames
                 received on the interface, since the device was last refreshed.
          3 Select one of the Refresh Rate options to specify how frequently the
            statistics should be refreshed.

      Configuring RMON Statistics Using the CLI Commands
      The following table contains the CLI commands for viewing and enabling
      RMON statistics.

      Table 21-5. Configuring RMON Statistics Using CLI Command

      CLI Command                                  Description
      show rmon statistics            Displays RMON Ethernet statistics.
      {[gigabitethernet|tengigabiteth
      ernet] interface|port-channel
      LAG-number]

      The following is an example of the CLI commands:
          console# show rmon statistics gi1/0/1
          Port te1/0/1
          Dropped: 0
          Octets: 0 Packets: 0
          Broadcast: 0 Multicast: 0
          CRC Align Errors: 0 Collisions: 0
          Undersize Pkts: 0 Oversize Pkts: 0
          Fragments: 0 Jabbers: 0
          64 Octets: 0 65 to 127 Octets: 1
          128 to 255 Octets: 1 256 to 511 Octets: 1
          512 to 1023 Octets: 0 1024 to max Octets: 0




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      History Control
      To display the requested RMON history group statistics or request a new
      sample of interface statistics:
       1 Click Statistics/RMON > RMON > History Control in the tree view to
         display the History Control: Summary page.

      Figure 21-9. History Control: Summary




           Previously-defined samples are displayed.
       2 To add a new entry, click Add. The New History Entry number, which
         uniquely identifies the sample, is displayed.
       3 Enter the fields for the entry:
           –    Source Interface — Sampled Ethernet interface.
           –    Owner (0-20 characters) — RMON station or user that configured the
                entry.



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             –   Max No. of Samples to Keep (1-50) — Number of samples to be
                 saved.
             –   Sampling Interval (1-3600) — The time interval in seconds between
                 samples.

      Configuring RMON History Control Using the CLI Commands
      The following table contains the CLI commands for configuring RMON
      history control.

      Table 21-6. RMON History Control CLI Commands

      CLI Command                                 Description
      rmon collection stats index                 Enables and configures RMON on an
      [owner ownername|bucket                     interface.
      bucket-number] [interval       Use the no form of this command to
      seconds]                       remove a specified RMON history
      no rmon collection stats index group of statistics.
      show rmon collection history   Displays RMON collection history
      [[gigabitethernet|tengigabitet statistics.
      hernet] interface|port-channel
      LAG-number]

      The following is an example of the CLI commands:
          console(config)# interface gi1/0/8
          console(config-if)# rmon collection stats 1 interval
          2400




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      History Table
      The History Table page displays interface-specific statistical network
      samplings. Each table entry represents the counter values compiled during a
      single sample.
      To display RMON statistics for a specified sample:
       1 Click Statistics/RMONRMONHistory Table in the tree view to
         display the History Table page.

      Figure 21-10. History Table




       2 Select a History Entry No.
           The following fields are displayed:
           –    Owner — RMON station or user that requested the RMON
                information.
           –    Sample No. — Number of the specific sample the information in the
                table reflects.

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          –   Drop Events — Number of dropped packets due to lack of network
              resources during the sampling interval. This may not represent the
              exact number of dropped packets, but rather the number of times
              dropped packets were detected.
          –   Received Bytes (Octets) — Number of data octets, including bad
              packets, received on the network.
          –   Received Packets — Number of packets received during the sampling
              interval.
          –   Broadcast Packets — Number of good Broadcast packets received
              during the sampling interval.
          –   Multicast Packets — Number of good Multicast packets received
              during the sampling interval.
          –   CRC Align Errors — Number of packets received during the sampling
              session, with a length of between 64-1632 octets, who had a bad
              Check Sequence (FCS) with an integral number of octets, or a bad
              FCS with a non-integral number.
          –   Undersize Packets — Number of packets, having less than 64 octets,
              received during the sampling session.
          –   Oversize Packets — Number of packets having more than 1632 octets,
              received during the sampling session.
          –   Fragments — Number of packets, having less than 64 octets and
              having a FCS, received during the sampling session.
          –   Jabbers — Number of packets, having more than 1632 octets and who
              had an FCS, received during the sampling session.
          –   Collisions — Estimated number of packet collision that occurred
              during the sampling session. Collisions are detected when repeater
              port detects two or more stations transmitting simultaneously.
          –   Utilization — Estimated main physical layer network usage on an
              interface during the session sampling. The value is stated in
              hundredths of a percent.




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      Viewing the RMON History Table Using the CLI Commands
      The following table contains the CLI commands for viewing the RMON
      history table.

      Table 21-7. RMON History Table CLI Commands

      CLI Command                      Description
      show rmon history index Displays RMON Ethernet statistics history.
      {throughput|errors|other
      } [period seconds]

      The following is an example of a CLI command:
      console# show rmon history 1 throughput
      Sample Set: 1
      Interface: 1/0/1
      Requested samples: 50
      Owner: CLI
      Interval: 1800
      Granted samples: 50
      Maximum table size: 500
      Time
      --------------------
      Jan 18 2005 21:57:00
      Octets
      ---------
      303595962
      Packets
      --------
      357568
      Broadcast
      ---------
      3289
      Multicast
      ----------
      7287
      Util
      --------
      19%




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      Events Control
      Events are actions that are performed when an alarm is generated (alarms are
      defined in the Alarms page).
      An event can be any combination of logs/traps. If the action includes logging,
      then the events are logged in the Events Log page.
      To define an RMON event:
          1 Click Statistics/RMON > RMON > Events Control in the tree view to
            display the Events Control: Summary page.

      Figure 21-11. Events Control: Summary




             The currently-defined events are displayed. Along with the fields described
             in the Events Control: Add page, the following field is displayed for the
             events:
             –   Time — The time that the event occurred.
          2 To define a new event, click Add.


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       3 Enter the fields:
           –   Event Entry — Displays a new event number.
           –   Community — Enter the community to which the event belongs or
               keep the default community.
           –   Description — Enter the event description.
           –   Type — Select the event action. The possible options are:
               •    None — No action is taken.
               •    Log — When an alarm occurs, a log entry is recorded.
               •    Trap — When an alarm occurs, a trap is generated.
               •    Log and Trap — When an alarm occurs, a log entry is recorded
                    and a trap is generated.
           –   Owner — Enter the event owner.

      Defining RMON Events Using the CLI Commands
      The following table contains the CLI commands for defining RMON events.

      Table 21-8. RMON Event Definition CLI Commands

      CLI Command                        Description
      rmon event index                   Configures an event.
      {none|log|trap|log-trap}           Use the no form of this command to
      [community text]                   remove an event.
      [description text] [owner
      name]
      no rmon event index
      show rmon events                   Displays RMON event table.




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      The following is an example of the CLI commands:
      console(config)# rmon event 1 log
      console(config)# exit
      console# show rmon events
      Index    Description      Type       Community      Owner   Last Time
                                                                  Sent
      -----    -----------      ------     ---------      -----   -----------
      1        Errors           Log        Default        CLI     Jan 18 2002
                                           Community              23:58:17
      2        High             Log-       Router         Manager Jan 18 2002
               Broadcast        Trap                              23:59:48




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      Events Log
      The Events log displays the log of events that occurred. An event is logged
      when the type of the event is Log or Log and Trap. The action in the event is
      performed when the event is bound to an alarm (see the Alarms page) and
      the conditions of the alarm have occurred.
      To display the events log:
       •   Click Statistics/RMON > RMON > Events Log in the tree view to
           display the Events Control page.

      Figure 21-12. Events Control




           The following fields are displayed:
           –    Event — The event identifier.
           –    Log No. — The log number.
           –    Log Time — Time when the log entry was entered.


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              –   Description — Description of the log entry.

      Viewing Device Events Using the CLI Commands
      The following table contains the CLI commands for viewing device events.

      Table 21-9. Device Event Viewing CLI Commands

      CLI Command                                   Description
      show rmon log [event]                         Displays the RMON logging table.

      The following is an example of the CLI commands:
          console(config)# rmon event 1 log
          console> show rmon log
          Maximum table size: 500
          Event Description                 Time
          ----- ---------------             --------------
          1       Errors                    Jan 18 2002 23:58:17
          2       High Broadcast            Jan 18 2002 23:59:48

      Alarms
      RMON alarms provide a mechanism for setting thresholds and sampling
      intervals to generate exception events on a counter or any other SNMP object
      counter maintained by the agent.
      Both the rising and falling thresholds must be configured in the alarm. After a
      rising threshold is crossed, another rising event is not generated until the
      companion falling threshold is crossed. After a falling alarm is issued, the next




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      alarm is issued when a rising threshold is crossed. One or more alarms are
      bound to an event. The event indicates the action to be taken when the alarm
      occurs.
      To add an RMON alarm:
       1 Click Statistics/RMON > RMON > Alarms in the tree view to display
         the Alarms: Summary page.

      Figure 21-13. Alarms: Summary




           The currently-defined alarms are displayed.
       2 To add a new alarm, click Add and enter the fields:
           –   Alarm Entry — Displays a new alarm entry.
           –   Interface — Select the interface for which RMON statistics are
               displayed.
           –   Counter Name — Select the selected MIB variable.



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          –   Sample Type — Select the sampling method for the selected variable
              and comparing the value against the thresholds. The possible options
              are:
              •   Delta — Subtracts the last sampled value from the current value.
                  The difference in the values is compared to the threshold.
              •   Absolute — Compares the values directly with the thresholds at
                  the end of the sampling interval.
          –   Rising Threshold (0–2147483647) — Enter the rising counter value
              that triggers the rising event alarm.
          –   Rising Event — Select one of the previously-defined events.
          –   Falling Threshold (0–2147483647) — Enter the falling counter value
              that triggers the falling event alarm.
          –   Falling Event — Select one of the previously-defined events.
          –   Startup Alarm — Select the trigger that activates the alarm. The
              possible options are:
              •   Rising Alarm — A rising counter value triggers the alarm
              •   Falling Alarm — A falling counter value triggers the alarm.
              •   Rising and Falling — Both rising and falling counter values
                  trigger the alarm.
          –   Interval (1–2147483647) — Enter the alarm interval time in seconds.
              This is the interval in seconds over which the data is sampled and
              compared with the rising and falling thresholds.
          –   Owner — Enter the name of the user or network management system
              that receives the alarm.




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      Defining Device Alarms Using the CLI Commands
      The following table contains the CLI commands for defining device alarms.

      Table 21-10. Device Alarm CLI Commands

      CLI Command                        Description
      rmon alarm index           Configures RMON alarm conditions.
      MIB_Object_ID interval     Use the no form of this command to
      rthreshold fthreshold      remove an alarm.
      revent fevent [type type]
      [startup direction] [owner
      name]
      no rmon alarm index
      show rmon alarm-table              Displays summary of the alarm table.
      show rmon alarm number             Displays the RMON alarm
                                         configuration.




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      The following is an example of the CLI commands:
          console(config)# rmon alarm 1000
          1.3.6.1.2.1.2.2.1.10.1 360000 1000000 1000000 10 20
          console# show rmon alarm-table
          Index
          -----
          123
          OID
          ----------------------
          1.3.6.1.2.1.2.2.1.10.1
          1.3.6.1.2.1.2.2.1.10.1
          1.3.6.1.2.1.2.2.1.10.9
          Owner
          -------
          CLI
          Manager
          CLI




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      Charts
      This section describes how to display statistics as charts.
      It contains the following topics:
       •   Ports
       •   LAGs
       •   CPU Utilization

      Ports
      To display port statistics in chart format:
       1 Click Statistics/RMON > Charts > Ports in the tree view to display the
         Ports page.

      Figure 21-14. Ports




       2 Select the unit ID of a unit in the stack for which you want to display
         statistics.



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          3 Check the type of statistics to be displayed:
             –    Interface Statistics — Select the interface statistics to display.
             –    Etherlike Statistics — Select the frame error statistics to display.
             –    RMON Statistics — Select the RMON statistics to display.
             –    GVRP Statistics — Select the GVRP statistics type to display.
             –    Refresh Rate — Select the amount of time that passes before the
                  statistics are refreshed.
          4 To draw a chart for the selected statistics, click Draw. The chart for the
            selected statistic is displayed on the page.




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      Viewing Port Statistics Using the CLI Commands
      The CLI commands for viewing port statistics are the same CLI commands
      described above. The Ports page simply shows the same statistics in chart
      form.

      LAGs
      To display LAG statistics in chart format:
       1 Click Statistics/RMON > Charts > LAGs in the tree view to display the
         LAGs page.

      Figure 21-15. LAGs




       2 Check the type of statistics to be displayed:
           –   Interface Statistics — Select the interface statistics to display.
           –   Etherlike Statistics — Select the frame error statistics to display.
           –   RMON Statistics — Select the RMON statistics to display.

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             –    GVRP Statistics — Select the GVRP statistics type to display.
             –    Refresh Rate — Select the amount of time that passes before the
                  statistics are refreshed.
          3 To draw a chart for the selected statistics, click Draw. The chart for the
            selected statistic is displayed on the page.

      Viewing LAG Statistics Using the CLI Commands
      The following table contains the CLI commands for viewing LAG statistics.

      Table 21-11. LAG Statistic CLI Commands

      CLI Command                                   Description
      show interfaces counters       Displays traffic seen by the physical
      [[gigabitethernet|tengigabitet interface.
      hernet] interface|port-channel
      LAG-number]
      show rmon statistics           Displays RMON Ethernet
      {[gigabitethernet|tengigabitet statistics.
      hernet] interface|port-channel
      LAG-number}
      show gvrp statistics           Displays GVRP statistics.
      {[gigabitethernet|tengigabitet
      hernet] interface|port-channel
      LAG-number}
      show gvrp-error statistics     Displays GVRP error statistics.
      {[gigabitethernet|tengigabitet
      hernet] interface|port-channel
      LAG-number}




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      The following is an example of the CLI commands:
       console# show rmon statistics gi1/0/1
       Port gi1/0/1
       Dropped: 0
       Octets: 0 Packets: 0
       Broadcast: 0 Multicast: 0
       CRC Align Errors: 0 Collisions: 0
       Undersize Pkts: 0 Oversize Pkts: 0
       Fragments: 0 Jabbers: 0
       64 Octets: 0 65 to 127 Octets: 1
       128 to 255 Octets: 1 256 to 511 Octets: 1
       512 to 1023 Octets: 0 1024 to max Octets: 0




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      CPU Utilization
      Use the CPU Utilization page to display the system’s CPU utilization and
      percentage of CPU resources consumed by each unit in the stack. Each unit
      in the stack is assigned a color on the graph.
      To display CPU utilization in chart format:
          1 Click Statistics/RMON > Charts > CPU Utilization in the tree view to
            display the CPU Utilization page.

      Figure 21-16. CPU Utilization




          2 Select the Refresh Rate to specify how frequently the statistics should be
            refreshed.
          3 The CPU utilization chart is displayed.




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      Viewing CPU Utilization Using CLI Commands
      The following table summarizes the CLI commands for viewing CPU
      utilization.

      Table 21-12. CPU Utilization CLI Commands

      CLI Command                            Description
      show cpu utilization                   Displays CPU utilization.

      The following is an example of the CLI commands:
       console# show cpu utilization
       CPU utilization service is on.
       CPU utilization
       --------------------------
       five seconds: 5%; one minute: 3%; five minutes: 3%




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        Quality of Service
        This section provides information for configuring Quality of Service (QoS).
        It contains the following topics:
         •   QoS Features and Components
         •   General
         •   QoS Basic Mode
         •   QoS Advanced Mode
         •   QoS Statistics




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        QoS Features and Components
        The QoS feature is used to optimize network performance. It provides
        classification of incoming traffic into traffic classes, based on one or more
        attributes, including:
             –   Device configuration
             –   Ingress interface
             –   Packet contents
        QoS includes the following features:
         •   Traffic Classification — Classifies each incoming packet, as belonging to
             a specific traffic flow, based on the packet contents and/or interface. The
             classification is done by an ACL (Access Control List), and only traffic
             that meets the ACL criteria is subject to classification.
         •   Assignment to Hardware Queues — Assigns incoming packets to
             forwarding queues. Packets are sent to a particular queue for handling as a
             function of the traffic class to which they belong.
         •   Other Traffic Class-Handling Attribute — Applies QoS mechanisms to
             various classes, including bandwidth management.

        QoS Modes
        A single QoS mode is selected and applies to all interfaces in the system. The
        modes are:
         •   Basic Mode — Class of Service (CoS).
             –   Traffic is divided into classes that determine how it is treated. All
                 traffic in a class is treated with the same QoS action. The QoS action
                 for the class of traffic determines the egress queue on the egress port,
                 based on the indicated QoS value in the incoming frame.
                 The QoS value in the incoming frame is:
                 •    Layer 2 Packets — VLAN Priority Tag (VPT) 802.1p value
                 •    Layer 3 IPv4 Frames — Differentiated Service Code Point
                      (DSCP) value
                 •    Layer 3 IPv6 Frames —Traffic Class (TC) value
                 When operating in Basic mode, the switch trusts this
                 externally-assigned QoS value.

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                  This is the default QoS mode.
          •   Advanced Mode — Per-flow Quality of Service (QoS).
              In Advanced mode, a per-flow QoS consists of a class map and a policer:
              –   A class map defines the kind of traffic in a flow, and contains one or
                  more ACLs. Packets that match the ACLs belong to the flow.
              –   A policer applies the configured QoS to a flow. The QoS configuration
                  of a flow may consist of the egress queue, the DSCP or CoS value, and
                  actions on out-of-profile (excess) traffic.
          •   Disable Mode (QoS is not enabled)
              In this mode, all traffic is mapped to a single best-effort queue, so that no
              type of traffic is prioritized over another.
      Only a single mode can be active at a time. When the system is configured to
      work in QoS Advanced mode, settings for QoS Basic mode are not active and
      vice versa.
      When the QoS mode is changed, the following occurs:
          •   When changing from Advanced mode to any other mode, policy profile
              definitions and class maps are deleted. ACLs, which are bonded directly to
              interfaces, remain bonded.
          •   When changing from Basic mode to Advanced mode, the QoS Trust mode
              configuration in Basic mode is not retained.
          •   When disabling QoS, the shaper and queue setting (WRR/SP bandwidth
              settings) are reset to default values.
      All other user configurations remain intact.




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        General
        This section contains the following topics:
         •   QoS Mode
         •   QoS Properties
         •   Queue
         •   Mapping to Queue
         •   Bandwidth
         •   TCP Congestion Avoidance

        QoS Mode
        To enable/disable the QoS mode:
         1 Click Quality of Service > General >QoS Mode in the tree view to
           display the QoS Mode page.
        Figure 22-1. QoS Mode




         2 Select the QoS Mode. The possible options are:
             –   Basic — QoS is enabled in Basic mode on the switch


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             –   Advanced — QoS is enabled in Advanced mode on the switch.
             –   Disable — QoS is not enabled on the switch.

      Setting QoS Mode Using CLI Commands
      The following table summarizes the CLI commands for setting the QoS
      mode.

      Table 22-1. QoS Mode CLI Commands

      CLI Command                    Description
      qos [basic|advanced] Enables QoS on the device.
      no qos                         Use the no form of this command to disable QoS
                                     on the device
      show qos                       Displays the QoS mode.

      The following is an example of the CLI commands:
          console(config)# qos basic




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        QoS Properties
        To set the default CoS value on incoming, untagged packets:
         1 Click Quality of Service > General > QoS Properties in the tree view to
           display the QoS Properties: Summary page.

        Figure 22-2. QoS Properties: Summary




             The default CoS values for all interfaces on the selected unit are displayed.
         2 To modify the CoS value for an interface, click Edit, and enter the fields:
             –   Interface — Select a port or LAG if required.
             –   Set Default CoS — Enter the default CoS tag value for untagged
                 packets.




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      Configuring QoS Properties Using CLI Commands
      The following table summarizes the CLI commands for configuring fields in
      the QoS Properties: Summary page.

      Table 22-2. QoS Properties CLI Commands

      CLI Command                          Description
      qos cos default-cos                  Defines the default CoS value of a port.
      no qos cos                           Use the no form of this command to restore the
                                           default configuration.

      The following is an example of the CLI command:
          console(config)# interface gi1/0/15
          console(config-if)# qos cos 3

      Queue
      The switch supports eight queues for each interface. Queue number eight is
      the highest priority queue. Queue number one is the lowest priority queue.

      Traffic Limitation Methods
      There are two ways of determining how traffic in queues is handled, Strict
      Priority and Weighted Round Robin (WRR):
          •   Strict Priority — Egress traffic from the highest-priority queue is
              transmitted first. Traffic from the lower queues is processed only after the
              highest queue has been transmitted, thus providing the highest level of
              priority of traffic to the lowest-numbered queue.
          •   Weighted Round Robin (WRR) — In WRR mode, the number of packets
              sent from the queue is proportional to the weight of the queue (the higher
              the weight, the more frames are sent). For example, if all eight queues are
              WRR and the default weights are used, queue 1 receives 1/15 of the
              bandwidth (assuming all queues are saturated and there is congestion),
              queue 2 receives 2/15, queue 3 receives 4/15, and queue 8 receives 8/15 of
              the bandwidth. The type of WRR algorithm used in the device is not the
              standard Deficit WRR (DWRR), but rather Shaped Deficit WRR
              (SDWRR).



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        Combination of WRR and Strict Priority
        The priority for handling traffic can be selected for each queue. When the
        queuing mode is Weighted Round Robin for all queues, queues are serviced
        according to their weights. If all queues are assigned strict priority, queues are
        serviced according to that order.
        The following is true if some queues are assigned strict priority and others are
        assigned WRR:
         •   If one queue is assigned strict priority, all higher queues are also assigned
             strict priority. Conversely, if a queue is assigned a WRR weight, all lower
             queues must also have a WRR weight assigned to them.
         •   In the above case, traffic for the strict priority queues is always sent before
             traffic from the WRR queues. Traffic from the WRR queues is forwarded
             only after the strict priority queues have been emptied. The relative
             portion from each WRR queue depends on its weight.




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      To select the priority method and enter WRR weights:
          1 Click Quality of Service > General > Queue in the tree view to display
            the Queue page.

      Figure 22-3. Queue




             The queues are displayed.
          2 Enter the parameters for the queues:
             –   Strict Priority — Check to indicate that traffic scheduling for the
                 selected queue, and all higher queues, is based strictly on the queue
                 priority.
             –   WRR — Check to indicate that traffic scheduling for the selected
                 queue is based on WRR. The time period is divided between the
                 WRR queues that are not empty, meaning they have descriptors to
                 egress. This happens only if strict priority queues are empty.




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              –       Scheduling WRR Weight — If WRR is selected, enter the WRR
                      weight assigned to the queue.
              –       % of WRR Bandwidth — Displays the amount of bandwidth assigned
                      to the queue. These values represent the percent of the WRR weight.

        Configuring Queue Settings Using CLI Commands
        The following table summarizes the CLI commands for configuring fields in
        the Queue page.

        Table 22-3.     Queue Setting CLI Commands

        CLI Command                                  Description
        priority-queue out num-of-                   Configures the number of expedite
        queues number-of-queues                      queues.
        no priority-queue out num-                   Use the no form of this command to
        of-queues                                    restore the default configuration.
        wrr-queue bandwidth weight1                  Assigns WRR weights to egress queues.
        weight2 ... weight_n                         Use the no form of this command to
        no wrr-queue bandwidth                       restore the default configuration.

        The following is an example of the CLI commands:
             console(config)# priority-queue out num-of-queues 2
             console(config-if)# wrr-queue bandwidth 6 6 6 6 6 6

        Mapping to Queue
        This section provides information for mapping DSCP and CoS values to
        service queues, and contains the following topics:
         •    CoS to Queue
         •    DSCP to Queue




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      CoS to Queue
      The CoS to Queue page maps CoS priorities to an egress queue, meaning
      that the egress queues of the incoming packets is based on the CoS priority in
      their VLAN Tags. For incoming, untagged packets, the CoS priority is the
      default CoS priority assigned to ingress ports.
      By changing CoS to Queue mapping, Queue schedule method, and
      bandwidth allocation, it is possible to achieve the desired quality of services in
      a network.
      The CoS to Queue mapping is applicable only if one of the following exists:
          •   The switch is in QoS Basic mode, and CoS is the trusted mode.
          •   The switch is in QoS Advanced mode, and the packets belong to flows that
              are CoS trusted.




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        To map CoS values to egress queues:
         1 Click Quality of Service > General > CoS to Queue in the tree view to
           display the CoS to Queue page.

        Figure 22-4. CoS to Queue




             The CoS/queue mappings are displayed.
         2 Enter the fields:
             –   Class of Service — The CoS priority tag values, where zero is the
                 lowest priority and 7 is the highest priority.
             –   Queue — The queue to which the CoS priority is mapped.




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      Mapping CoS Priorities to Queues Using CLI Commands
      The following table summarizes the CLI commands for configuring fields in
      the CoS to Queue page .

      Table 22-4. CoS to Queue CLI Commands

      CLI Command                                 Description
      wrr-queue cos-map queue-id                  Maps CoS values to the egress queues.
      cos1 ... cos8                               Use the no form of this command to
      no wrr-queue cos-map [queue-                restore the default configuration.
      id]

      The following is an example of the CLI commands:
          console(config)# wrr-queue cos-map 4 7

      DSCP to Queue
      The DSCP to Queue mapping determines the egress queues of the incoming
      IP packets, based on their DSCP values. The original VPT (VLAN Priority
      Tag) of the packet is unchanged.
      By changing the DSCP to Queue mapping, the Queue schedule method, and
      bandwidth allocation, it is possible to achieve improved quality of service in a
      network.
      The DSCP to Queue mapping is applicable to IP packets when:
          •   The switch is in Basic mode and DSCP is the trusted mode
          •   The switch is in Advanced mode and the packets belongs to flows that are
              DSCP trusted
      Non-IP packets are always classified to the best-effort queue.




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        To map DSCP to queues:
         1 Click Quality of Service > General > DSCP to Queue in the tree view to
           display the DSCP to Queue page.

        Figure 22-5. DSCP to Queue




             The DSCP values in the incoming packet and its associated queues are
             displayed.
         2 Enter the fields:
             –   DSCP In — The values of the DSCP field in the incoming packet.
             –   Queue — The queue to which packets with the specific DSCP value is
                 assigned. The values are 1-8, where 1 is the lowest value, and 8 is the
                 highest.




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      Mapping DSCP Values to Queues Using CLI Commands
      The following table summarizes the CLI commands for configuring fields in
      the DSCP to Queue page.

      Table 22-5. DSCP to Queue CLI Commands

      CLI Command                                   Description
      qos map dscp-queue dscp-list to Modifies the DSCP to queue
      queue-id                        mapping.
      no qos map dscp-queue [dscp-                  Use the no form of this command to
      list]                                         restore the default configuration.

      The following is an example of the CLI command:
          console(config)# qos map dscp-queue 33 40 41 to 1

      Bandwidth
      The amount of traffic that can be received and transmitted on an interface
      can be limited by the following:
          •   Ingress Rate Limit — Number of bits per second that can be received
              from the ingress interface. Excess bandwidth above this limit is discarded.
          •   Egress Shaping Rates is defined by the following:
              –   Committed Information Rate (CIR) sets the average maximum
                  amount of data allowed to be sent on the egress interface, measured in
                  bits per second
              –   Committed Burst Shape (CBS) sets the maximum burst of data that
                  is allowed to be sent, even though it is above the CIR. This is defined
                  in number of bytes of data.




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        To configure bandwidth limitation:
         1 Click Quality of Service > General > Bandwidth in the tree view to
           display the Bandwidth: Summary page.

        Figure 22-6. Bandwidth: Summary




             The ingress and egress rates are displayed for all ports on the selected unit.
         2 To set interface parameters, click Edit.
         3 Select an interface, and enter the fields:
             –   Enable Ingress Rate Limit — Enable/disable ingress traffic limit for
                 the interface. If this field is selected, enter the Ingress Rate Limit.
             –   Ingress Rate Limit — Enter the ingress traffic limit for the interface.




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           –   Egress Shaping Rate — Enable/disable egress traffic limitation. If this
               field is selected, enter the following fields.
           –   Committed Information Rate (CIR) — Enter the average maximum
               amount of data allowed to be sent on the egress interface, measured in
               bits per second.
           –   Committed Burst Size (CBS) — Enter the maximum burst of data
               that is allowed to be sent on the egress interface, even though it is
               above the CIR. This is defined in number of bytes of data.

      Configuring Bandwidth Using CLI Commands
      The following table summarizes the CLI commands for configuring fields in
      the Bandwidth pages.

      Table 22-6. Bandwidth CLI Commands

      CLI Command                                      Description
      traffic-shape committed-rate                     Sets shaper on egress port.
      [committed-burst]                                Use no form in order to disable
      no traffic-shape                                 the shaper.
      rate-limit committed-rate-kbps                   Limits the rate of the incoming
      [burst committed-burst-byte]                     traffic.
      no rate-limit                                    Use the no form to disable rate
                                                       limit.

      The following is an example of the CLI commands:
          console(config)# interface gi1/0/5
          console(config-if)# traffic-shape 124000 9600
          console(config-if)# rate-limit 150000




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        TCP Congestion Avoidance
        Use the TCP Congestion Avoidance page to activate a congestion avoidance
        algorithm. The algorithm breaks up or prevents TCP global synchronization
        in a congested node, where the congestion is due to various sources sending
        packets with the same byte count.
        To configure TCP congestion avoidance:
         1 Click Quality of Service > General > TCP Congestion Avoidance in the
           tree view to display the TCP Congestion Avoidance page.
             NOTE: TCP Congestion Avoidance increases network reliability, but it also
             increases network traffic. Continue only if you are sure it will improve overall
             network performance. For this change to be effective you must save the
             configuration and reboot the device.

        Figure 22-7. TCP Congestion Avoidance




         2 Check TCP Congestion Avoidance to enable the algorithm.




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      Configuring TCP Congestion Avoidance Using CLI Commands
      The following table summarizes the CLI commands for configuring fields in
      the TCP Congestion Avoidance page.
      Table 22-7. TCP Congestion Avoidance CLI Commands

      CLI Command                       Description
      qos wrr-queue wrtd                Enables Weighted Random Tail Drop (WRTD).
      no qos wrr-queue wrtd             Use the no form of this command to disable
                                        WRTD.

      The following is an example of the CLI commands:
          console(config)# qos wrr-queue wrtd
          This setting will take effect only after copying running
          configuration to startup configuration and resetting the
          device.




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        QoS Basic Mode
        This section describes QoS Basic mode.
        It contains the following topics:
         •   Basic Mode Overview
         •   Workflow to Configure Basic Mode
         •   Global Settings
         •   DSCP Rewrite
         •   Interface Settings

        Basic Mode Overview
        In QoS Basic mode, a specific domain in the network can be defined as
        trusted. Within that domain, packets are marked with CoS priority and/or
        DSCP values, to signal the type of service they require. Nodes within the
        domain use these fields to assign the packet to a specific output queue. The
        initial packet classification and marking of these fields is done in the ingress
        of the trusted domain.

        Workflow to Configure Basic Mode
        To configure Basic QoS mode, perform the following:
         1 Select Basic mode for the system in the QoS Mode page.
         2 Select the trust-behavior in the Global Settings page.
         3 If there is any port that, as an exception, should not trust the incoming
           CoS mark, disable the QoS state on that port in the Interface Settings
           pages.
             If a port is disabled without trusted mode, all its ingress packets are
             forwarded in best effort. It is recommended that you disable the trusted
             mode at the ports where the CoS and/or DSCP values in the incoming
             packets are not trustworthy. Otherwise, performance in the network might
             be negatively affected.
         4 If you selected DSCP Rewrite in the Global Settings page, set the DSCP
           in/out values in the DSCP Rewrite page.




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      Global Settings
      Use the Global Settings page to enable Trust on all interfaces on the switch.
      This configuration is only active when the QoS mode is Basic. Packets
      entering a QoS domain are classified at the edge of the QoS domain.
      For more information on setting Trust mode on an interface, see "Interface
      Settings" on page 664.
      To define Trust configuration:
          1 Click Quality of Service > QoS Basic Mode > Global Settings in the tree
            view to display the Global Settings page.

      Figure 22-8. Global Settings




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          2 Enter the fields:
              –       Trust Mode — Enable/disable Trust mode.
                      •     CoS — Traffic is mapped to queues, based on the VPT field in the
                            VLAN tag, or based on the per-port default CoS value (if there is
                            no VLAN tag on the incoming packet). The mapping of the VPT
                            to queue can be configured in the CoS to Queue page.
                      •     DSCP — All IP traffic is mapped to queues, based on the DSCP
                            field in the IP header. The mapping of the DSCP to queue is
                            configured in the DSCP to Queue page.
              –       Always Rewrite DSCP — Check to always rewrite the DSCP values in
                      the incoming packets with the new values set in the DSCP to Queue
                      page. When this field is enabled, the switch uses the new DSCP
                      values to select the egress queue.

        Assigning Global Settings Using CLI Commands
        The following table summarizes the CLI commands for configuring fields in
        the Global Settings page.

        Table 22-8.       Global Settings CLI Commands

        CLI Command                                        Description
        qos trust {cos|dscp}                               Configures the system to either the
        no qos trust                                       CoS or DSCP trust state.
                                                           Use the no form of this command to
                                                           return to the default configuration.
        qos dscp-mutation                                  Applies the DSCP Mutation map to
        no qos dscp-mutation                               system DSCP trusted ports.
                                                           Use the no form of this command to
                                                           restore the trusted port with no
                                                           DSCP mutation.

        The following is an example of the CLI commands:
          console(config)# qos trust dscp
          console(config)# qos dscp-mutation




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      DSCP Rewrite
      Use the DSCP Rewrite page to rewrite the DSCP tags for incoming traffic,
      when different DSCP values are used in the incoming and outgoing domains.
      Changing the DSCP value used in one domain to the DSCP value used in the
      other domain preserves the priority of traffic used in the first domain.
      As an example, assume that there are three levels of service: Silver, Gold, and
      Platinum. The DSCP incoming values used to mark these levels are 10, 20,
      and 30 respectively. If this traffic is forwarded to another service provider that
      has the same three levels of service, but uses DSCP values 16, 24, and 48, the
      values set in the DSCP Rewrite page are used to change the incoming values
      to the outgoing values.
      These settings are active globally when the system is in QoS Basic mode.




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        To map DSCP In values to DSCP Out values:
         1 Click Quality of Service > QoS Basic Mode > DSCP Rewrite in the tree
           view to display the DSCP Rewrite page.

        Figure 22-9. DSCP Rewrite




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          2 For each DSCP In value (DSCP value of the incoming packet) that needs
            to be rewritten to an alternative value, set a DSCP Out value.

      Assigning DSCP Rewrite Values Using CLI Commands
      The following table summarizes the CLI commands for configuring fields in
      the DSCP Rewrite page.

      Table 22-9. DSCP Rewrite CLI Commands

      CLI Command                              Description
      qos map dscp-mutation in-                Configures the DSCP to DSCP Mutation
      dscp to out-dscp                         table.
      no qos map dscp-mutation                 Use the no form of this command to restore
      [in-dscp]                                the default configuration.

      The following is an example of the CLI commands:
              console(config)# qos map dscp-mutation 1 2 4 5 6 to 63

      Interface Settings
      QoS Trust mode can be configured on each port of the switch, as follows:
          •    QoS Trust State Disabled on an Interface — All inbound traffic on the
               port is mapped to the best effort queue and no classification/prioritization
               takes place.
          •    QoS Trust State Enabled on an Interface — Port prioritized traffic on
               ingress is based on the system- wide configured trusted mode, which is
               either CoS Trusted mode or DSCP Trusted mode.




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        To define QoS Trust for an interface:
         1 Click Quality of Service > QoS Basic Mode > Interface Settings in the
           tree view to display the Interface Settings: Summary page.

        Figure 22-10. Interface Settings: Summary




             Trust mode is displayed for each interface on the selected unit.
         2 To change the QoS trust state for an interface, click Edit, and select an
           interface on a unit.
         3 Enable/disable the QoS Trust State.




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      Assigning Interface Settings Using CLI Commands
      The following table summarizes the CLI commands for configuring fields in
      the Interface Settings page.

      Table 22-10. Interface Settings CLI Commands

      CLI Command                                Description
      qos trust                                  Enables each port trust state while the
      no qos trust                               system is in the basic QoS mode.
                                                 Use the no form of this command to
                                                 disable the trust state on each port.
      show qos interface[buffers |               Displays QoS information on the
      queueing | policers | shapers              interface.
      | rate-limit] [interface-id]]


      The following is an example of the CLI commands:
          console(config)# interface gi1/0/15
          console(config-if)# qos trust

      Configuring QoS Basic Mode Using CLI Commands
      The following is a sample script configuring QoS Basic mode.

      Table 22-11. Sample CLI Script to Configure QoS Basic Mode

      CLI Command                                           Description
      console#configure                                     Enable QoS in Basic mode.
      console(config)# qos basic
      console(config)#mac access-list                       Define an ACL named
      extended MAC1                                         "MAC1"
      console(config-mac-a1)#deny                           MAC1 discards all traffic with
      00:00:00:00:00:11 00:00:00:00:00:ff                   source MAC
      any                                                   00:00:00:00:00:XX addresses.
      console(config-mac-a1)# permit any                    MAC1 permits all other
      any                                                   traffic.
      console(config-mac-a1)#exit                           Exit ACL mode.


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        Table 22-11. Sample CLI Script to Configure QoS Basic Mode (Continued)

        CLI Command                                           Description
        console(config)#interface gi1/0/1                     Enter Interface mode on port
                                                              gi1/0/1.
        console(config-if)#service-acl input                  Bind MAC1 to port gi1/0/1.
        mac1




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      QoS Advanced Mode
      This section describes QoS Advanced mode.
      It contains the following topics:
          •   Advanced Mode Overview
          •   Workflow to Configure Advanced QoS Mode
          •   DSCP Mapping
          •   Class Mapping
          •   QoS Policers
          •   Policy Binding

      Advanced Mode Overview
      In Advanced mode, the switch uses policies to support per-flow QoS. A policy
      and its components have the following characteristics and relationships:
          •   A policy contains one or more class maps.
          •   A class map defines a flow with one or more associated ACLs. Packets that
              match the ACL rules (ACEs) in a class map with Permit (forward) action,
              belong to the same flow, and are subject to the same quality of service
              action. A policy can contain one or more flows, each with a user-defined
              QoS action.
          •   The QoS of a class map (flow) may be enforced by the associated policer.
              There are two type of policers, as described in "Defining Class Mapping
              Using CLI Commands" on page 674.
          •   Per-flow QoS actions are applied to flows by binding the policy maps to the
              desired ports. A policy map and its class maps can be bound to one or more
              ports, but each port is bound with, at the most, one policy map.
      The following points should be considered:
          •   An ACL can be configured to one or more class maps, regardless of
              policies.
          •   A class map can belong to only one policy map.
          •   When a class map, using a single policer, is bound to multiple ports, each
              port has its own instance of the policer. Each instance applies the QoS
              actions on the class map (flow) at a port independent of each other.


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         •   If you bind a policy map to more than one port and one of its classes
             contains a single policer, all policy map rules will be multiplied per port
             (using up more TCAM resources).
         •   An aggregate policer applies the QoS to all of its flows in aggregation,
             regardless of policies and ports.
        Advanced QoS settings consist of the following elements:
         •   Rules — All frames matching a single group of rules are considered to be a
             flow.
         •   Actions — To be applied to frames in each flow that match the rules.
             –   Policers — See "Single Policers" on page 679
             –   Aggregate Policers — "Aggregate Policers" on page 677
             –   Trust —"Interface Settings" on page 664, "Policy Class Maps" on
                 page 682
             –   Set DSCP/CoS — "Policy Class Maps" on page 682
             –   Set Queue — "DSCP Mapping" on page 670
         •   Binding — Combination of rules and actions that are bound to one or
             more interfaces.

        Workflow to Configure Advanced QoS Mode
        To configure Advanced QoS mode, perform the following:
         1 Select Advanced mode for the system in the QoS Mode page.
         2 If external DSCP values are different from those used on incoming
           packets, map the external values to internal values in the DSCP Rewrite
           page.
         3 Create ACLs, as described in "Network Security" on page 92.
         4 When ACLs are defined, create class maps and associate the ACLs with
           them in the Class Mapping pages.
         5 Create a policy map in the Policy Class Maps pages, and associate the
           policy map with one or more class maps. Specify the QoS action, if needed,
           for example by assigning a policer to a class map, when you associate the
           class map to the policy.




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             a   Single Policer — Create a policy that associates a class map with a
                 single policer in the Policy Table pages and the Class Mapping pages.
                 Within the policy, define the single policer.
             b   Aggregate Policer — Create a QoS action for each flow. This action
                 sends all matching frames to the same policer (aggregate policer),
                 defined in the Aggregate Policer pages. Create a policy that associates
                 a class map with the aggregate policer in the Policy Table pages.
          6 Bind the policy to an interface in the Policy Binding pages.

      DSCP Mapping
      When a policer is assigned to a class map (flow), you can specify the action to
      take when the amount of traffic in the flow(s) exceeds the QoS-specified
      limits. The portion of the traffic that causes the flow to exceed its QoS limit
      is referred to as out-of-profile packets.
      If the exceed action is Remark DSCP (as opposed to Drop), the switch
      rewrites the original DSCP value of the out-of-profile IP packets to a new
      value, based on the values entered in the DSCP Mapping page. The switch
      uses the new values to assign resources and egress queues to these packets.
      The switch physically replaces the original DSCP value in the out-of-profile
      packets with the new DSCP value.
      To use the Remark DSCP exceed action, set the DSCP Out value in the
      DSCP Mapping page. Otherwise the action is null, because the DSCP value
      in the packet is rewritten to the original DSCP value, set by factory default.




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        To set new DSCP values:
         1 Click Quality of Service > QoS Advanced Mode > DSCP Mapping to
           display the DSCP Mapping page.

        Figure 22-11. DSCP Mapping




         2 If the Exceed Action is Out-of-Profile (in the Policy Class Maps page) or
           Remark DSCP (in the Aggregate Policy page), the DSCP In values are
           rewritten with the DSCP Out values. Set the DSCP Out values as
           required.




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      Configuring DSCP Mapping Using CLI Commands
      The following table summarizes the CLI commands for setting the fields in
      the DSCP Mapping page.

      Table 22-12. DSCP Mapping CLI Commands

      CLI Command                                   Description
      qos map policed-dscp dscp-list Configures the policed-DSCP map for
      to dscp-mark-down              remarking purposes.
      no qos map policed-dscp [dscp- Use the no form of this command to
      list]                          restore the default configuration.

      The following is an example of the CLI commands:
              console(config)# qos map policed-dscp 3 to 43

      Class Mapping
      A Class Map defines a traffic flow associated with ACL(s). A MAC-based
      ACL, IP-based ACL, and an IPv6-based ACL can be combined into a class
      map. Class maps are configured to match packet criteria on a match-all or
      match-any basis. They are matched to packets on a first-fit basis, meaning
      that the action associated with the first-matched class map is the action
      performed by the system. Packets that match the same class map belong to
      the same flow.
      There are two possible types of matching:
          •    match-all — Traffic matches class map if it matches IP/IPV6 and MAC
               ACLs
          •    match-any — Traffic matches class map if it matches at least one of the
               ACLs
      If a more complex set of rules is needed, several class maps can be grouped
      into a super-group called a policy (see "Defining Class Mapping Using CLI
      Commands" on page 674).




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        To define a class map:
         1 Click Quality of Service > QoS Advanced Mode > Class Mapping to
           display the Class Mapping: Summary page.

        Figure 22-12. Class Mapping: Summary




             The previously-defined class maps are displayed.
         2 To add a class map, click Add.
             A new class map is added by selecting one or two ACLs and assigning them
             a class map name. If a class map has two ACLs, specify that a frame must
             match both ACLs, or that it must match either one or both of the ACLs
             selected.
         3 Enter the parameters.
             –   Class Map Name — Enter the name of a new class map.




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           –   Match ACL Type — Enter the criteria that a packet must match in
               order to belong to the flow defined by the class map. The possible
               options are:
               •    IP — A packet must match either of the IP-based ACLs in the
                    class map.
               •    MAC — A packet must match the MAC-based ACL in the class
                    map.
               •    IP and MAC — A packet must match the IP-based ACL and the
                    MAC-based ACL in the class map (match-all).
               •    IP or MAC — A packet must match either the IP-based ACL or
                    the MAC-based ACL in the class map (match-any).
           –   IP ACL — Select the IPv4-based ACL or the IPv6-based ACL for the
               class map.
           –   MAC ACL — Select the MAC-based ACL for the class map.
           –   Preferred ACL — Select whether packets are first matched to an
               IP-based ACL or a MAC-based ACL.

      Defining Class Mapping Using CLI Commands
      The following table summarizes the CLI commands for setting the fields in
      the Class Mapping pages.

      Table 22-13. Class Mapping CLI Commands

      CLI Command                                Description
      class class-map-name [access-              Defines a traffic classification and
      group acl-name]                            enters the Policy-map Class
      no class class-map-name                    Configuration mode.
                                                 Use the no form of this command to
                                                 detach a class map from the policy
                                                 map.
      class-map class-map-name                   Creates or modifies a class map and
      [match-all|match-any]                      enters the Class-map Configuration
      no class-map class-map-name                mode.
                                                 Use the no form of this command to
                                                 delete a class map.



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        Table 22-13. Class Mapping CLI Commands (Continued)

        CLI Command                                  Description
        match access-group acl-name                  Defines the match criteria for
        no match access-group acl-name               classifying traffic.
                                                     Use the no form of this command to
                                                     delete the match criteria.
        show class-map [class-map-name] Displays information about the class
                                        map.

        The following is an example of the CLI commands:
         console(config)# qos advanced
         console(config)# class-map class1 match-all
         console(config-cmap)# match access-group enterprise
         console(config-cmap)# do show class-map class1
         Class Map matchAll class1
         Match access-group enterprise

        QoS Policers
        This section describes QoS policers.
        It contains the following topics:
         •   QoS Policers Overview
         •   Aggregate Policers
         •   Single Policers




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      QoS Policers Overview
      The rate of traffic that matches a pre-defined set of rules can be measured,
      and limits, such as limiting the rate of file-transfer traffic that is allowed on a
      port, can be enforced.
      This is done by using the ACLs in the class map(s) to match the desired
      pattern of traffic, and by using a policer to apply QoS on the matching traffic.
      A policer is configured with a QoS specification. There are two kinds of
      policers:
          •   Single Policer — A single policer applies the QoS to a single class map,
              and to a single flow, based on the policer's QoS specification. When a class
              map, using a single policer, is bound to multiple ports, each port has its
              own instance of the single policer; each applying the QoS on the class map
              (flow) at ports that are otherwise independent of each other. A single
              policer is created in the Policy Table and Policy Class Maps pages.
          •   Aggregate Policer — An aggregate policer applies QoS to one or more class
              maps, and to one or more flows. An aggregation policer can support class
              maps from various policies. An aggregate policer applies QoS to all its
              flow(s) in aggregation, regardless of policies and ports. An aggregate policer
              is created in the Aggregate Policer pages.
              An aggregate policer is defined if the policer is to be shared with more than
              one class.
      Each policer is defined with its own QoS specification, and is composed of a
      combination of the following parameters:
          •   Committed Information Rate (CIR) — A maximum allowed rate of
              traffic, measured in Kbps.
          •   Committed Burst Size (CBS) — An amount of traffic, measured in bytes,
              which is allowed to pass as a temporary burst, even if it is above the
              defined maximum rate.
          •   Exceed Action — An action to be applied to frames that are over the limits
              (called out-of-profile traffic). These frames can be forwarded as is,
              dropped, or forwarded, after rewriting their DSCP value with a value that
              marks them as lower-priority frames for all subsequent handling within the
              device.
      A policer is assigned to a class map when a class map is added to a policy.



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        Aggregate Policers
        To define an aggregate policer:
         1 Click Quality of Service > QoS Advanced Mode > Aggregate Policer to
           display the Aggregate Policer: Summary page.

        Figure 22-13. Aggregate Policer: Summary




             The existing aggregate policers are displayed.
         2 To add an aggregate policer, click Add, and enter the fields.
             –   Aggregate Policer Name — Enter the name of the Aggregate Policer.
             –   Committed Information Rate (CIR) — Enter the maximum
                 bandwidth allowed in bits per second. See the description of this field
                 in "Bandwidth" on page 654.
             –   Committed Burst Size (CBS) — Enter the maximum burst size
                 (even if it goes beyond the CIR) in bytes. See the description of this in
                 the "Bandwidth" on page 654.


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            –   Exceed Action — Select the action to be performed on incoming
                packets that exceed the CIR. The possible options are:
                •   None — No action is performed on packets exceeding the defined
                    CIR value.
                •   Drop — Packets exceeding the defined CIR value are dropped.
                •   Remark DSCP — The DSCP values of packets exceeding the
                    defined CIR value are rewritten to a value entered in the DSCP
                    Mapping pages.

      Defining Aggregate Policers Using CLI Commands
      The following table summarizes the CLI commands for setting the fields in
      the Aggregate Policer pages.

      Table 22-14. Aggregate Policer CLI Commands

      CLI Command                               Description
      qos aggregate-policer                     Defines the policer parameters that can
      aggregate-policer-name                    be applied to multiple traffic classes
      committed-rate-kbps excess-               within the same policy map.
      burst-byte[exceed-action                  Use the no form of this command to
      {drop|policed-dscp-transmit}]             remove an existing aggregate policer.
      no qos aggregate-policer
      aggregate-policer-name

      The following is an example of the CLI commands:
          console(config)# qos aggregate-policer policer1 124000
          9600 exceed-action drop




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        Single Policers

        Defining Aggregate Policers Using CLI Commands
        The following table summarizes the CLI commands for setting the fields in
        the Aggregate Policer pages.

        Table 22-15. Aggregate Policer CLI Commands

        CLI Command                              Description
        qos aggregate-policer                    Defines the policer parameters that can
        aggregate-policer-name                   be applied to multiple traffic classes
        committed-rate-kbps excess-              within the same policy map.
        burst-byte[exceed-action                 Use the no form of this command to
        {drop|policed-dscp-transmit}]            remove an existing aggregate policer.
        no qos aggregate-policer
        aggregate-policer-name

        The following is an example of the CLI commands:
         console(config)# qos aggregate-policer policer1 124000
         9600 exceed-action drop

        Single policers are created by:
         1 Create a policy in the Police Table pages
         2 Configure the policy in the Policy Class Maps pages. Here the policy class
           can be designated as containing a single policer, or it can be designated as
           containing Aggregate policers.

        Policy Table
        A policy can consist of one of the following:
         •   One or more class maps of ACLs that define the traffic flows in the policy.
         •   One or more aggregate policers that apply the QoS to the traffic flows in
             the policy.




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      Only those policies that are bound to an interface are active (see the Policy
      Binding pages).
      After a policy has been added, class maps can be added in the Policy Table
      pages.
      To create a QoS policy:
          1 Click Quality of Service > QoS Advanced Mode > Policy Table to
            display the Policy Table: Summary page.

      Figure 22-14. Policy Table: Summary




             The previously-defined policies are displayed.
          2 To create a policy, click Add.
          3 Enter the name of the new policy in the Policy Name field.
          4 Add class maps to the new policy in the Policy Class Maps page.




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        Defining Policies Using CLI Commands
        The following table summarizes the CLI commands for setting the fields in
        the Policy Table page.

        Table 22-16. Policy Table CLI Commands

        CLI Command                              Description
        policy-map policy-map-name               Creates a policy map and enters the Policy-
        no policy-map policy-map-                map Configuration mode.
        name                                     Use the no form of this command to
                                                 delete a policy map.

        The following is an example of the CLI commands:
         console(config)# policy-map policy1




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      Policy Class Maps
      One or more class maps can be added to a policy. A class map defines the type
      of packets that are considered to belong to the same traffic flow.
          To add a class map to a policy:
          1 Click Quality of Service > QoS Advanced Mode > Policy Class Maps to
            display the Policy Class Maps: Summary page.

      Figure 22-15. Policy Class Maps: Summary




          2 Select a policy in the Policy Name field. The class maps in that policy are
            displayed.
          3 To add a class map, click Add.
          4 Enter the parameters.
             –    Policy Name — Select the policy to which the class map is being
                  added.



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            –   Class Map Name — Select an existing class map to be associated with
                the policy. Class maps are created in the Class Mapping pages.
            –   Action Type — Select the action regarding the ingress CoS and/or
                DSCP value of all the matching packets.
                •   None — Ignore the ingress CoS and/or DSCP value. The
                    matching packets are sent as best effort.
                •   Trust CoS, DSCP — If this option is selected, the switch will
                    trust the CoS or DSCP value of the matching packet. If a packet
                    is an IP packet, the switch will put the packet in the egress queue,
                    based on its DSCP value and the DSCP to Queue mapping.
                    Otherwise, the egress queue of the packet is based on the packet's
                    CoS value and the CoS to Queue mapping.
                •   Set — See the description of this field below.
            –   Set — If this option is selected, enter a New Value, which determines
                the egress queue of the matching packets:
                •   DSCP — If DSCP is selected, the new DSCP value and the
                    DSCP to Queue mapping determines the egress queue of the
                    matching packets.
                •   Queue — If Queue is selected, the new value is the egress queue
                    number for all matching packets.
                •   CoS — If CoS is selected, the CoS priority value and the CoS to
                    Queue mapping determines the egress queue of the matching
                    packets.
            –   Police Type — Available in Layer 2 Mode only. Select the policer type
                for the policy. The possible options are:
                •   None — No policy is used.
                •   Single — The policer for the policy is a single policer.
                •   Aggregate — The policer for the policy is an aggregate policer.
            –   Aggregate Policer — Available in Layer 2 Mode only. If Police Type is
                Aggregate, select a previously-defined aggregate policer.
            If Police Type is Single, enter the following QoS parameters:
            –   Ingress Committed Information Rate (CIR) (Range: 100 - 1000000)
                — Enter the CIR in Kbps. See its description in the Bandwidth pages.


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           –   Ingress Committed Burst Size (CBS) (Range: 3000 - 16769020) —
               Enter the CBS in bytes. See its description in the Bandwidth pages.
           –   Exceed Action — Select the action assigned to incoming packets
               exceeding the CIR. The possible options are:
               •    None — No action.
               •    Drop — Packets exceeding the defined CIR value are dropped.
               •    Out-of-Profile DSCP — Packets, exceeding the defined CIR, are
                    forwarded with a new DSCP, derived from the DSCP Mapping
                    pages.

      Defining Policy Class Maps Using CLI Commands
      The following table summarizes the CLI commands for setting the fields in
      the Policy Class Maps pages.

      Table 22-17. Policy Class Maps CLI Commands

      CLI Command                               Description
      class class-map-name [access-             Defines a traffic classification and
      group acl-name]                           enters the Policy-map Class
      no class class-map-name                   Configuration mode.
                                                Use the no form of this command to
                                                detach a class map from the policy
                                                map.
      trust [cos-dscp]                          Configures the trust state, which
      no trust                                  selects the value that QoS uses as the
                                                source of the internal DSCP value.
                                                Use the no form of this command to
                                                return to the default trust state.
      set {dscp new-dscp|queue queue- Sets new values in the IP packet.
      id|cos new-cos}                 Use the no form of this command to
      no set                          return to the default values.
      police committed-rate-kbps                Defines the policer for classified traffic.
      committed-burst-byte [exceed-             Use the no form of this command to
      action {drop|policed-dscp-                remove a policer.
      transmit}]
      no police


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        Table 22-17. Policy Class Maps CLI Commands (Continued)

        CLI Command                                Description
        qos aggregate-policer                      Defines the policer parameters that
        aggregate-policer-name                     can be applied to multiple traffic
        committed-rate-kbps excess-                classes.
        burst-byte [exceed-action                  Use the no form of this command to
        {drop|policed-dscp-transmit}]              remove an existing aggregate policer.
        no qos aggregate-policer
        aggregate-policer-name
        show policy-map [policy-map-               Displays all policy maps or a specific
        name]                                      policy map.

        The following is an example of the CLI commands:
         console(config)# policy-map policy1
         console(config-pmap)# class class1 access-group enterprise
         console(config-pmap)# trust cos-dscp
         console(config-pmap)# set dscp 56
         console(config-pmap)# class class1
         console(config-pmap-c)# police 124000 9600 exceed-action
         drop
         console(config)# qos aggregate-policer policer1 124000
         9600 exceed-action drop




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      Policy Binding
      After policies are created, they must be bound to interfaces (ports or
      LAGs).When a policy is bound to a specific interface, it becomes active on it
      (subject to time range restrictions). Only one policy can be active on a single
      interface, but a single policy can be bound to more than one interface.
      When a policy is bound to an interface, it filters and applies QoS to ingress
      traffic that belongs to the flows defined in the policy. The policy does not
      apply to traffic egress to the same port.
      To edit a policy, it must first be removed (unbound) from all those ports to
      which it is bound.
      To define policy binding:
          1 Click Quality of Service > QoS Advanced Mode > Policy Binding to
            display the Policy Binding: Summary page.

      Figure 22-16. Policy Binding: Summary




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             Previously-defined policy bindings are displayed.
         2 To bind a policy to an interface, click Add.
         3 Select the interface assigned to the policy.
         4 Select the Policy Name to be activated on the interface.

        Defining Policy Binding Using CLI Commands
        The following table summarizes the CLI commands for setting the fields in
        the Policy Binding pages.

        Table 22-18. Policy Binding CLI Commands

        CLI Command                  Description
        service-policy input         Applies a policy map to the input of a particular
        policy-map-name              interface.
        no service-policy            Use the no form of this command to detach a
        input                        policy map from an interface.

        The following is an example of the CLI commands:
         console(config-if)# service-policy input policy1




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      QoS Statistics
      This section describes how to view and manage QoS statistics.
      It contains the following topics:
          •   Policer Statistics
          •   Aggregated Policer
          •   Queues Statistics




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        Policer Statistics
        A Single Policer is bound to a class map from a single policy. An Aggregate
        Policer is bound to one or more class maps from one or more policies.
        Use the Policer Statistics pages to view the number of in-profile and out-of-
        profile packets received from an interface that meet the conditions defined in
        the class map of a policy.
        To view policer statistics:
         1 Click Quality of Service QoS Statistics Policer Statistics to display the
           Policer Statistics: Summary page.

        Figure 22-17. Policer Statistics: Summary




             The following statistics for the previously-defined counters are displayed:
             –    Interface — Statistics are displayed for this interface.
             –    Policy — Statistics are displayed for this policy.


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             –   Class Map — Statistics are displayed for this class map.
             –   In-Profile Bytes — Number of in-profile bytes received.
             –   Out-of-Profile Bytes — Number of out-of-profile bytes received.
          2 Click Add to add a new counter that applies to another policy-class map.
          3 Enter the fields:
             –   Interface — Select the interface for which the counter is defined.
             –   Policy - Class Map Name — Select a policy class map pair.

      Defining Policer Statistics Using CLI Commands
      The following table summarizes the CLI commands for setting the fields in
      the Policer Statistics pages.

      Table 22-19. Policer Statistics CLI Commands

      CLI Command                                Description
      qos statistics policer policy- Enables counting in-profile and out-of-
      map-name class-map-name        profile bytes vis-a-vis a policer.
      no qos statistics policer      Use the no form of this command to
      policy-map-name class-map-name disable counting.
      clear qos statistics                       Clears the statistics
      show qos statistics                        Displays the statistics

      The following is an example of the CLI commands:
          console(config-if)# qos statistics policer policy1 class1




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        Aggregated Policer
        To view aggregated policer statistics:
         1 Click Quality of Service QoS Statistics Aggregate Policer to display
           the Aggregate Policer: Summary page.

        Figure 22-18. Aggregate Policer: Summary




             The following statistics for the previously-defined counters are displayed:
             –   Aggregate Policer Name — Policer on which statistics are based.
             –   In-Profile Bytes — Number of in-profile packets that were received.
             –   Out-of-Profile Bytes — Number of out-of-profile packets that were
                 received.
         2 To add a new counter that applies to another aggregate policer, click Add.




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          3 Select an aggregate policer in the Aggregate Policer Name field.

      Defining Aggregate Policer Statistics Using CLI Commands
      The following table summarizes the CLI commands for setting the fields in
      the Aggregate Policer Statistics pages.

      Table 22-20. Aggregate Policer Statistics CLI Commands

      CLI Command                                      Description
      qos statistics aggregate-policer                 Enables counting in-profile and
      aggregate-policer-name                           out-of-profile bytes vis-a-vis an
      no qos statistics aggregate-                     aggregate policer.
      policer aggregate-policer-name                   Use the no form of this command
                                                       to disable counting.
      clear qos statistics                             Clears the statistics
      show qos statistics                              Displays the statistics

      The following is an example of the CLI commands:
          console (config)# qos statistics aggregate-policer policer1

      Queues Statistics
      Queue statistics include statistics of forwarded and dropped packets, based
      on interface, queue, and drop precedence. Lowest drop precedence has the
      lowest probability of being dropped.




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        To view Queue Statistics:
         1 Click Quality of Service QoS Statistics Queues Statistics to display
           the Queues Statistics: Summary.

        Figure 22-19. Queues Statistics: Summary




             The statistics for previously-defined counters are displayed.
             –   Counter Set —Number of counter.
             –   Port —Number of port.
             –   Queue —Number of queue.
             –   Total Packets —Number of packets forwarded or tail dropped.
             –   Tail Drop Packets —Percentage of packets that were tail dropped.




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          2 To add a new counter, click Add, and enter the fields:
             –   Counter Set—Select the counter set. The possible options are:
                 •   Set 1 — Displays the statistics that contains all interfaces and
                     queues with a high DP (Drop Precedence).
                 •   Set 2 — Displays the statistics that contains all interfaces and
                     queues with a low DP.
             –   Interface — Select the unit/interface for which Queue statistics are
                 displayed.
             –   Queue — Select the queue on which packets were forwarded or tail
                 dropped.

      Defining QoS Statistics Using CLI Commands
      The following table summarizes the CLI commands for setting the fields in
      the QoS Statistics pages.

      Table 22-21. QoS Statistics CLI Commands

      CLI Command                                    Description
      qos statistics queues set-number               Enables QoS statistics for output
      {queue|all} {dp|all}                           queues.
      {[gigabitethernet|tengigabitethe               Use the no form of this command to
      rnet]port-number|all}                          disable QoS statistics for output
      no qos statistics queues set-                  queues.
      number
      clear qos statistics                           Clears the statistics
      show qos statistics                            Displays the statistics

      The following is an example of the CLI commands:
          console(config)# qos statistics queues 1 all all all




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        Glossary
        Figure 23-1. This glossary contains key technical words of interest.
          A B C D E F G H I                        L M N O P Q


         R     S    T   U   V      W

        A
        Access Mode
        Specifies the method by which user access is granted to the system.
        Access Profiles
        Allows network managers to define profiles and rules for accessing the switch
        module. Access to management functions can be limited to user groups,
        which are defined by the following criteria:
         •    Ingress interfaces
         •    Source IP address or Source IP subnets
        ACL
        Access Control List. Allow network managers to define classification actions
        and rules for specific ingress ports.
        Aggregated VLAN
        Groups several VLANs into a single aggregated VLAN. Aggregating VLANs
        enables routers to respond to ARP requests for nodes located on different sub-
        VLANs belonging to the same Super VLAN. Routers respond with their MAC
        address.
        ARP
        Address Resolution Protocol. A protocol that converts IP addresses into
        physical addresses.
        ASIC
        Application Specific Integrated Circuit. A custom chip designed for a specific
        application.
        Asset Tag
        Specifies the user-defined switch module reference.

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      Authentication Profiles
      Sets of rules which that enables login to and authentication of users and
      applications.
      Auto-negotiation
      Allows 10/100 Mpbs or 10/100/1000 Mbps Ethernet ports to establish for the
      following features:
          •   Duplex/Half Duplex mode
          •   Flow Control
          •   Speed

      B
      Back Pressure
      A mechanism used with Half Duplex mode that enables a port not to receive
      a message.
      Backplane
      The main BUS that carries information in the switch module.
      Backup Configuration Files
      Contains a backup copy of the switch module configuration. The Backup file
      changes when the Running Configuration file or the Startup Configuration
      file is copied to the Backup file.
      Bandwidth
      Bandwidth specifies the amount of data that can be transmitted in a fixed
      amount of time. For digital switch modules, bandwidth is defined in Bits per
      Second (bps) or Bytes per Second.
      Bandwidth Assignments
      The amount of bandwidth assigned to a specific application, user, or
      interface.
      Baud
      The number of signaling elements transmitted each second.
      Best Effort
      Traffic is assigned to the lowest priority queue, and packet delivery is not
      guaranteed.


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        Boot Version
        The boot version.
        BootP
        Bootstrap Protocol. Enables a workstation to discover its IP address, an IP
        address of a BootP server on a network, or a configuration file loaded into the
        boot of a switch module.
        BPDU
        Bridge Protocol Data Unit. Provide bridging information in a message format.
        BPDUs are sent across switch module information with in Spanning Tree
        configuration. BPDU packets contain information on ports, addresses,
        priorities, and forwarding costs.
        Bridge
        A device that connect two networks. Bridges are hardware specific, however
        they are protocol independent. Bridges operate at Layer 1 and Layer 2 levels.
        Broadcast Domain
        device sets that receive Broadcast frames originating from any device within a
        designated set. Routers bind Broadcast domains, because routers do not
        forward Broadcast frames.
        Broadcasting
        A method of transmitting packets to all ports on a network.
        Broadcast Storm
        An excessive amount of Broadcast messages simultaneously transmitted
        across a network by a single port. Forwarded message responses are heaped
        onto the network, overloading network resources or causing the network to
        time out.
        For more information about Broadcast storms, see "LACP Parameters" on
        page 503.

        C
        CDB
        Configuration Data Base. A file containing a device’s configuration
        information.
        Class of Service


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      Class of Service (CoS). Class of Service is the 802.1p priority scheme. CoS
      provides a method for tagging packets with priority information. A CoS value
      between 0-7 is added to the Layer II header of packets, where zero is the
      lowest priority and seven is the highest.
      A overlapping transmission of two or more packets that collide. The data
      transmitted cannot be used, and the session is restarted.
      CLI
      Command Line Interface. A set of line commands used to configure the
      system. For more information on using the CLI, see Using the CLI.
      Communities
      Specifies a group of users which retains the same system access rights.
      CPU
      Central Processing Unit. The part of a computer that processes information.
      CPUs are composed of a control unit and an ALU.

      D
      DHCP Client
      A device using DHCP to obtain configuration parameters, such as a network
      address.
      DHCP Snooping
      DHCP Snooping expands network security by providing firewall security
      between untrusted interfaces and DHCP servers.
      DSCP
      DiffServe Code Point (DSCP). DSCP provides a method of tagging IP
      packets with QoS priority information.
      Domain
      A group of computers and devices on a network that are grouped with
      common rules and procedures.
      Duplex Mode
      Permits simultaneous transmissions and reception of data. There are two
      different types of duplex mode:




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            •   Full Duplex Mode — Permits for bisynchronous communication, for
                example, a telephone. Two parties can transmit information at the same
                time.
            •   Half Duplex Mode — Permits asynchronous communication, for
                example, a walkie-talkie. Only one party can transmit information at a
                time.
        Dynamic VLAN Assignment (DVA)
            •   Allows automatic assignment of users to VLANs during the RADIUS
                server authentication. When a user is authenticated by the RADIUS
                server, the user is automatically joined to the VLAN configured on the
                RADIUS server.

        E
        Egress Ports
        Ports from which network traffic is transmitted.
        End System
        An end user device on a network.
        Ethernet
        Ethernet is standardized as per IEEE 802.3. Ethernet is the most common
        implemented LAN standard. Supports data transfer rates of Mpbs, where 10,
        100 or 1000 Mbps is supported.
        EWS
        Embedded Web Server. Provides device management via a standard web
        browser. Embedded Web Servers are used in addition to or in place of a CLI
        or NMS.

        F
        FFT
        Fast Forward Table. Provides information about forwarding routes. If a packet
        arrives to a device with a known route, the packet is forwarded via a route
        listed in the FFT. If there is not a known route, the CPU forwards the packet
        and updates the FFT.
        FIFO



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      First In First Out. A queuing process where the first packet in the queue is the
      first packet out of the packet.
      Flapping
      Flapping occurs when an interfaces state is constantly changing. For example,
      an STP port constantly changes from listening to learning to forwarding. This
      may cause traffic loss.
      Flow Control
      Enables lower speed devices to communicate with higher speed devices, that
      is, that the higher speed device refrains from sending packets.
      Fragment
      Ethernet packets smaller than 576 bits.
      Frame
      Packets containing the header and trailer information required by the physical
      medium.

      G
      GARP
      General Attributes Registration Protocol. Registers client stations into a
      Multicast domain.
      Gigabit Ethernet
      Gigabit Ethernet transmits at 1000 Mbps, and is compatible with existing
      10/100 Mbps Ethernet standards.
      GVRP
      GARP VLAN Registration Protocol. Registers client stations into a VLANs.

      H
      HOL
      Head of Line. Packets are queued. Packets at the head of the queue are
      forwarded before packets at the end of the line.
      Host
      A computer that acts as a source of information or services to other
      computers.



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        HTTP
        HyperText Transport Protocol. Transmits HTML documents between servers
        and clients on the internet.

        I
        IC
        Integrated Circuit. Integrated Circuits are small electronic devices composed
        from semiconductor material.
        ICMP
        Internet Control Message Protocol. Allows gateway or destination host to
        communicate with a source host, for example, to report a processing error.
        IEEE
        Institute of Electrical and Electronics Engineers. An Engineering
        organization that develops communications and networking standards.
        IEEE 802.1d
        Used in the Spanning Tree Protocol, IEEE 802.1d supports MAC bridging to
        avoid network loops.
        IEEE 802.1p
        Prioritizes network traffic at the data-link/MAC sublayer.
        IEEE 802.1Q
        Defines the operation of VLAN Bridges that permit the definition, operation,
        and administration of VLANs within Bridged LAN infrastructures.
        IGMP Snooping
        IGMP Snooping examines IGMP frame contents, when they are forwarded by
        the device from work stations to an upstream Multicast router. From the
        frame, the device identifies work stations configured for Multicast sessions,
        and which Multicast routers are sending Multicast frames.
        Image File
        System images are saved in two Flash sectors called images (Image 1 and
        Image 2). The active image stores the active copy; while the other image
        stores a second copy.
        Ingress Port



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      Ports on which network traffic is received.
      IP
      Internet Protocol. Specifies the format of packets and there addressing
      method. IP addresses packets and forwards the packets to the correct port.
      IP Address
      Internet Protocol Address. A unique address assigned to a network device
      with two or more interconnected LANs or WANs.
      IP Version 6 (IPv6)
      A version of IP addressing with longer addresses than the traditional IPv4.
      IPv6 addresses are 128 bits long, whereas IPv4 addresses are 32 bits; allowing a
      much larger address space.
      ISATAP
      Intra-Site Automatic Tunnel Addressing Protocol .
      ISATAP is an automatic overlay tunneling mechanism that uses the
      underlying IPv4 network as a non-Broadcast/multicast access link layer for
      IPv6. ISATAP is designed for transporting IPv6 packets within a site where a
      native IPv6 infrastructure is not yet available.

      L
      LAG
      Link Aggregated Group. Aggregates ports or VLANs into a single virtual port
      or VLAN.
      For more information on LAGs, see Defining LAG Membership.
      LAN
      Local Area Networks. A network contained within a single room, building,
      campus or other limited geographical area.
      Layer 2
      Data Link Layer or MAC Layer. Contains the physical address of a client or
      server station. Layer 2 processing is faster than Layer 3 processing because
      there is less information to process.
      Layer 3




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        Establishes a connections and ensures that all data arrives to their
        destination. Packets inspected at the Layer 3 level are analyzed and
        forwarding decisions, based on their applications.
        LLDP-MED
        Link Layer Discovery Protocol - Media Endpoint Discovery. LLDP allows
        network managers to troubleshoot and enhance network management by
        discovering and maintaining network topologies over multi-vendor
        environments. MED increases network flexibility by allowing different IP
        systems to co-exist on a single network LLDP.
        Load Balancing
        Enables the even distribution of data or processing packets across available
        network resources. For example, load balancing may distribute the incoming
        packets evenly to all servers, or redirect the packets to the next available
        server.

        M
        MAC Address
        Media Access Control Address. The MAC Address is a hardware specific
        address that identifies each network node.
        MAC Address Learning
        MAC Address Learning characterizes a learning bridge, in which the packet’s
        source MAC address is recorded. Packets destined for that address are
        forwarded only to the bridge interface on which that address is located.
        Packets addressed to unknown addresses are forwarded to every bridge
        interface. MAC Address Learning minimizes traffic on the attached LANs.
        MAC Layer
        A sub-layer of the Data Link Control (DTL) layer.
        Mask
        A filter that includes or excludes certain values, for example parts of an IP
        address.
        For example, Unit 2 is inserted in the first minute of a ten-minute cycle, and
        Unit 1 is inserted in fifth minute of the same cycle, the units are considered
        the same age.
        MD5


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      Message Digest 5. An algorithm that produces a 128-bit hash. MD5 is a
      variation of MD4, and increases MD4 security. MD5 verifies the integrity of
      the communication, authenticates the origin of the communication.
      MDI
      Media Dependent Interface. A cable used for end stations.
      MDIX
      Media Dependent Interface with Crossover (MDIX). A cable used for hubs
      and switches.
      MIB
      Management Information Base. MIBs contain information describing specific
      aspects of network components.
      Multicast
      Transmits copies of a single packet to multiple ports.

      N
      NA
      Neighbor Advertisement.
      ND
      Neighbor Discovery.
      NS
      Neighbor Solicitation.
      NMS
      Network Management System. An interface that provides a method of
      managing a system.
      Node
      A network connection endpoint or a common junction for multiple network
      lines. Nodes include:
          •   Processors
          •   Controllers
          •   Workstations




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        O
        OID
        Organizationally Unique Identifiers. Identifiers associated with a Voice
        VLAN.
        OUI
        Object Identifier. Used by SNMP to identify managed objects. In the SNMP
        Manager/Agent network management paradigm, each managed object must
        have an OID to identify it.

        P
        Packets
        Blocks of information for transmission in packet switched systems.
        PDU
        Protocol Data Unit. A data unit specified in a layer protocol consisting of
        protocol control information and layer user data.
        PING
        Packet Internet Groper. Verifies if a specific IP address is available. A packet is
        sent to another IP address and waits for a reply.
        Port
        Physical ports provide connecting components that allow microprocessors to
        communicate with peripheral equipment.
        Port Mirroring
        Monitors and mirrors network traffic by forwarding copies of incoming and
        outgoing packets from one port to a monitoring port.
        For more information on port mirroring, see Defining Port Mirroring Sessions.
        Protocol
        A set of rules that governs how devices exchange information across networks.
        PVE
        Protocol VLAN Edge. A port can be defined as a Private VLAN Edge (PVE)
        port of an uplink port, so that it will be isolated from other ports within the
        same VLAN.



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      Q
      QoS
      Quality of Service. QoS allows network managers to decide how and what
      network traffic is forwarded according to priorities, application types, and
      source and destination addresses.
      Query
      Extracts information from a database and presents the information for use.

      R
      RA
      RADIUS Advertisement.
      RD
      RADIUS Discovery.
      RS
      Router Solicitation.
      RADIUS
      Remote Authentication Dial-In User Service. A method for authenticating
      system users, and tracking connection time.
      RMON
      Remote Monitoring. Provides network information to be collected from a
      single workstation.
      Router
      A device that connects to separate networks. Routers forward packets
      between two or more networks. Routers operate at a Layer 3 level.
      RSTP
      Rapid Spanning Tree Protocol. Detects and uses network topologies that
      allow a faster convergence of the spanning tree, without creating forwarding
      loops.
      Running Configuration File
      Contains all startup configuration file commands, as well as all commands
      entered during the current session. After the switch module is powered down
      or rebooted, all commands stored in the Running Configuration file are lost.


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        S
        Segmentation
        Divides LANs into separate LAN segments for bridging. Segmentation
        eliminates LAN bandwidth limitations.
        Server
        A central computer that provides services to other computers on a network.
        Services may include file storage and access to applications.
        SNMP
        Simple Network Management Protocol. Manages LANs. SNMP based
        software communicates with network devices with embedded SNMP agents.
        SNMP agents gather network activity and device status information, and send
        the information back to a workstation.
        SNTP
        Simple Network Time Protocol. SNTP assures accurate network switch clock
        time synchronization up to the millisecond.
        SoC
        System on a Chip. An ASIC that contains an entire system. For example, a
        telecom SoC application can contain a microprocessor, digital signal
        processor, RAM, and ROM.
        Spanning Tree Protocol
        Prevents loops in network traffic. The Spanning Tree Protocol (STP) provides
        tree topography for any arrangement of bridges. STP provides one path
        between end stations on a network, eliminating loops.
        SSH
        Secure Shell. Permits logging to another computer over a network, execute
        commands on a remote machine, and move files from one machine to
        another. Secure Shell provides strong authentication and secure
        communications methods over insecure channels.
        Startup Configuration
        Retains the exact switch module configuration when the switch module is
        powered down or rebooted.
        Subnet



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      Sub-network. Subnets are portions of a network that share a common address
      component. On TCP/IP networks, devices that share a prefix are part of the
      same subnet. For example, all devices with a prefix of 157.100.100.100 are
      part of the same subnet.
      Subnet Mask
      Used to mask all or part of an IP address used in a subnet address.
      Switch
      Filters and forwards packets between LAN segments. Switches support any
      packet protocol type.

      T
      TCP/IP
      Transmissions Control Protocol. Enables two hosts to communicate and
      exchange data streams. TCP guarantees packet delivery, and guarantees
      packets are transmitted and received in the order their sent.
      Telnet
      Terminal Emulation Protocol. Enables system users to log in and use
      resources on remote networks.
      TFTP
      Trivial File Transfer Protocol. Uses User Data Protocol (UDP) without
      security features to transfer files.
      Trap
      A message sent by the SNMP that indicates that system event has occurred.
      Trunking
      Link Aggregation. Optimizes port usage by linking a group of ports together
      to form a single trunk (aggregated groups).

      U
      UDP
      User Data Protocol. Transmits packets but does not guarantee their delivery.
      Unicast
      A form of routing that transmits one packet to one user.



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        V
        VLAN
        Virtual Local Area Networks. Logical subgroups with a Local Area Network
        (LAN) created via software rather than defining a hardware solution.
        VoIP
        Voice over IP.

        W
        WAN
        Wide Area Networks. Networks that cover a large geographical area.
        Wildcard Mask
        Specifies which IP address bits are used, and which bits are ignored. A wild
        switch module mask of 255.255.255.255 indicates that no bit is important. A
        wildcard of 0.0.0.0 indicates that all the bits are important.




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        Revision History
         Rev       Date                 Description
         A5        May 1, 2012          Added "Auto-Update/Configuration Feature" on
                                        page 331
         A4        April 4, 2012        Made the following corrections:
                                         • Put a the note (of the recommendation of
                                           using HDMI cable version to 1.4 for stacking)
                                           more clearly.
                                         • Fixed RDP description
         A4        April 2, 2012        Following corrections made:
                                         • Add description regarding the Egress ACL
                                           feature
                                         • Enter comments regarding the PVLAN feature.
                                         • Fixed RDP abbreviation to Reliable Data
                                           Protocol in ACL section.
                                         • Add the recommendation of using HDMI
                                           cable version to 1.4 for stacking
         A3        Jan 31, 2012         Corrected command in private VLAN CLI
                                        command.
         A2        Sept 21, 2011        Entered comment that enabling iSCSI also
                                        enables flow control on all interfaces.
         A1        Sept 9, 2010         Released to customer




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